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                     EXHIBIT B
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA ex rel.
[SEALED],                                Civ. Action No. 19-cv-2553

     Plaintiff-Relator,
                                         FILED UNDER SEAL
v.                                       DO NOT PLACE ON PACER

[SEALED],                                (Plaintiff-Relator demands a trial by jury on
                                         all counts)
     Defendants.




          RELATOR’S SEALED SECOND AMENDED QUI TAM COMPLAINT
             FILED UNDER SEAL PURSUANT TO 28 U.S.C. § 3730(b)(2)




W. Scott Simmer (pro hac vice)
William G. Powers (PA Bar No. 316876)
Jennifer Connolly (pro hac vice)
BARON & BUDD, P.C.
The Watergate
600 New Hampshire Ave. NW,
10th Floor
Washington, DC 20037
Telephone: (202) 333-4562
Facsimile: (202) 337-1039
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 UNITED STATES OF AMERICA ex rel.
 ELLSWORTH ASSOCIATES, LLP,                  Civ. Action No. 19-cv-2553

      Plaintiff-Relator,                     FILED UNDER SEAL
                                             Pursuant to 31 U.S.C. § 3730(b)(2)
 v.
                                             (Plaintiff-Relator demands a trial by jury on
 CVS HEALTH CORPORATION,                     all counts)
 SILVERSCRIPT INSURANCE COMPANY,
 LLC, CVS CAREMARK CORPORATION,
 and CVS PHARMACY, INC.,

      Defendants.



      SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
                     UNDER 31 U.S.C. § 3729, ET SEQ.




W. Scott Simmer (pro hac vice)
William G. Powers (PA Bar No. 316876)
Jennifer Connolly (pro hac vice)
BARON & BUDD, P.C.
The Watergate
600 New Hampshire Ave. NW,
10th Floor
Washington, DC 20037
Telephone: (202) 333-4562
Facsimile: (202) 337-1039


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     SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
                    UNDER 31 U.S.C. § 3729, ET SEQ.

       On behalf of the United States of America (“United States”), Plaintiff-Relator Ellsworth

Associates, LLP (“Relator”) hereby files this Second Amended Complaint against Defendants

CVS Health Corporation (“CVS Health”), SilverScript Insurance Company, LLC (“SilverScript”),

CVS Caremark Corporation (“CVS Caremark”), and CVS Pharmacy, Inc., (collectively herein

“the CVS Defendants,” “CVS,” or “CVS Health”), pursuant to the qui tam provisions of the

Federal False Claims Act, 31 U.S.C. §§ 3729 et seq. (“FCA”). Relator brings this action on behalf

of the United States to recover damages and civil penalties under the FCA, arising from false

and/or fraudulent records, statements and claims made, used and caused to be made, used, or

presented by Defendants and/or their agents, predecessors, successors, and employees in violation

of the FCA, as amended.

I.     INTRODUCTION

       1.      CVS Health has devised an intentionally fraudulent Single Source Generic/Do Not

Substitute scheme (hereinafter the “SSG/DNS Scheme”) to prevent Medicare Part D beneficiaries

from accessing less costly, equivalent versions of numerous generic prescription drugs in favor of

much costlier, multi-source brand-name drugs. In doing so, CVS Health has ensured astonishing

profits for itself while passing the increased costs onto taxpayers and Part D beneficiaries. Sadly,

the SSG/DNS Scheme has disproportionately affected many elderly, end stage renal disease

(“ESRD”), and disabled SilverScript Part D beneficiaries who, given their cost sensitivities, have

been forced to forgo critical treatment due to the higher cost shares resulting from the blocking of

less expensive generic drugs.

       2.      Medicare Part D relies on fair competition in private market negotiations between

Part D plans, PBMs, pharmacies and drug makers to ensure that the benefits offered provide quality


                                                 1
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drugs at affordable prices. Unlike Medicare Parts A and B, which are administered by Medicare

itself, the Medicare Part D prescription drug benefit was designed to be offered only by the private

companies which contract with the government to provide competitive prescription benefits to

attract beneficiaries.

        3.      Here, the conduct of CVS Health and its subsidiaries cheated beneficiaries and

taxpayers by selling off access to Part D formularies to the SSG/DNS Drug Makers in exchange

for blocking access to less costly generic drugs. In doing so, the CVS Health entities betrayed the

marketing promise made to prospective members that SilverScript could be trusted to act only on

their behalf “every day, in every way.”

        4.      In reality, behind closed doors CVS Health and its subsidiaries had sold off

SilverScript Part D formulary access to the SSG/DNS Drug Makers who were intent on obstructing

competition for their blockbuster drugs.

        5.      The fraudulent conduct alleged herein has been implemented through the SSG/DNS

Scheme and started at least as early as June 22, 2015 and continues up through today. The

SSG/DNS Scheme has involved, in relevant part, at least the following fifteen drugs (and their

manufacturers, collectively the “Drug Makers”): Copaxone (Teva), Exelon (Novartis), Voltaren

Gel (Endo), Invega (Janssen), Asacol HD (Allergan), Xopenex HFA (Sunovion), Renvela Packets

(Sanofi), Renvela Tablets (Sanofi), Istalol (Bausch & Lomb), Harvoni (Gilead), Epclusa (Gilead),

Ventolin HFA (GSK), Canasa Rectal Suppository (Allergan), Advair Diskus (GSK), and

Suboxone Sublingual Film (Indivior). Collectively herein these fifteen (15) drugs are referred to

as the “SSG/DNS Drugs.”

        6.      The secret SSG/DNS deals cut by the CVS Health entities became key to

facilitating the Drug Makers’ evergreening, pay-for-delay, product hopping, sham patent litigation,




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sham Citizen’s Petitions, authorized generic and other schemes (used in combination or separately)

to block generic competition. As such, the CVS Health entities’ SSG/DNS Scheme has aided and

abetted the Drug Makers competing not solely on the basis of innovation, but rather on their ability

to obstruct access to generic competition.

       7.      The complicity among CVS Health’s Part D Plan Sponsor (SilverScript), its

pharmacy benefit manager (CVS Caremark), and pharmacies (CVS Pharmacies) has created a

veritable playground of opportunities to hold off generic competition, allowing the Drug Makers

free reign to block beneficiary access to less costly generic drugs, frequently authorized generics.

This obstruction would otherwise have been impossible if the CVS Health entities had not colluded

together, particularly given their different competing interests, which were supposedly firewalled

off from each other because of a 2007 agreement with the Federal Trade Commission (“FTC”) at

the time of the merger between CVS and Caremark.

       8.      Normally, arm’s length competitive interactions between PDPs, PBMs and

pharmacies would have served as a system of checks and balances to ensure that consumers had

access to affordable medications. But with all its wholly-owned subsidiaries conspiring together,

CVS Health has been able to achieve an “enterprise-wide benefit” from the anticompetitive deals

with the Drug Makers that has padded its bottom line, but has harmed taxpayers as well as elderly,

ESRD and disabled Part D beneficiaries.

       9.      The Scheme required collusion between the supposedly firewalled CVS Health

entities. Under the terms of secret rebate agreements between the SSG Drug Makers and CVS

Caremark, SilverScript was required to block substitution on its formularies of generic drugs in

favor of the much more expensive brand-name SSG/DNS Drugs.

       10.     Most disturbing is SilverScript required its call center Customer Care




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Representatives (“CCRs”) to provide intentionally misleading information to SilverScript

beneficiaries about access to less costly generic drugs and, more troublingly, provide outright

falsehoods that the brand-name SSG/DNS Drugs would be less costly for the beneficiary than the

generic. These CCR representations were not only aimed at discouraging SilverScript beneficiaries

into abandoning coverage determination requests to change to less costly drugs, they were palpably

false.

         11.   Along the way, SilverScript’s CCRs became unsuspecting accomplices in the

SSG/DNS Scheme, frequently themselves expressing confusion disappointment during

beneficiary calls because (even though they could see on their computer screens that less costly

generic alternatives should be available) they were unable to offer elderly, ESRD and disabled

beneficiaries access to these less costly medications, which were blocked on the SilverScript

formulary.

         12.   Even if beneficiaries were occasionally able to fight through the misinformation

they received from SilverScript, CVS Health ultimately has ensured the much costlier brand-name

drug was still dispensed by requiring the CVS Pharmacies to block Part D claims for the less costly

generic versions.

         13.   At its core, the SSG/DNS Scheme has involved a calculated and widespread

campaign of misinformation, deception, and outright lies to SilverScript beneficiaries. In doing so,

CVS Health and its subsidiaries have denied Part D beneficiaries the opportunity to obtain less

costly generic drugs by withholding information about generic options, lying to those who seek

out pricing information on generic options, and denying formulary exceptions to those who are

occasionally able to get through the web of lies.

         14.   If that were not enough, realizing there was even more profit to be made if




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beneficiaries’ access to less costly options were eliminated entirely, the rebate deals that CVS

Caremark had struck required the blanket denial of all formulary exceptions for certain of the

SSG/DNS Scheme’s most expensive drugs, specifically Gilead’s Harvoni and Epclusa, driving

elderly, ESRD and disabled beneficiaries into the Catastrophic Coverage Stage of their Part D

benefits, where they faced substantial additional costs.

       15.     Not just that, under the rebate agreements CVS Caremark had entered into with

Gilead and GSK, the CVS Pharmacies were required to stop stocking not just the generic versions

for Gilead’s Harvoni and Epclusa but also GSK’s Advair Diskus and Ventolin HFA, violating

CMS’s uniformity of benefits requirement.

       16.     The sharing of sensitive competitive information across the CVS Health

subsidiaries has ensured that the fraudulent SSG/DNS Scheme could be successful. Even though

the fraudulent scheme violates Federal anticompetition laws as well as State laws requiring

pharmacies to substitute generic medications for the costlier brand-name versions, because CVS

Health owned (and therefore controlled) the SilverScript PDP, the CVS Caremark PBM, and the

CVS Pharmacies, any potential competitive discord between its goal of dispensing more expensive

brand-name SSG/DNS Drugs and what Federal and State laws required would simply be ignored.

Because of what they cynically termed internally as the “enterprise-wide” benefit to the parent

CVS Health, they would simply flout any obligation to provide truthful, non-deceptive information

to beneficiaries and/or to dispense the less costly generics.

       17.     CVS Health’s actions are particularly brazen because it had in 2012 entered into a

Settlement Agreement and Consent Order with the FTC, under which it agreed for a period of

twenty (20) years that it would not make deceptive claims, directly or indirectly, “expressly or by




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implication, [in connection with] the price or cost of Medicare Part D prescription drugs....” 1

        18.     This fraudulent and deceptive conduct has had the blessing of the CVS Health

Executive Committee, the committee of senior executives who were charged with overseeing

activities across the parent corporation and its subsidiaries. Even though many in the organization

(including the Relator) had raised concerns about the ethics and legality of the Scheme, and even

though its Code of Conduct required these executives to “Do the Right Thing,” the Executive

Committee ignored these admonitions and approved it nonetheless because the financial benefit to

the company was simply too tempting to pass up.

        19.     The unfortunate casualties have been SilverScript elderly, ESRD and disabled

beneficiaries. In call after Customer Care call from these beneficiaries seeking less costly options,

what comes through is that the increased cost for many would involve delaying or rationing needed

lifesaving drugs, and for others the drugs would simply be unaffordable. What also is clear is that

the Executive Committee calibrated that the Scheme would be worth the risk because of their

conclusion that only a few of the SilverScript beneficiaries would complain and, if they did call in

to complain, would simply give up after being bounced from CCR to CCR. Clearly, for CVS

Health doing the “Right Thing” was only window dressing.

        20.     But, as one caller, a 78-year-old retired nurse from Massachusetts, responded when

told by the CCR she could only get the brand Advair Diskus she needed to treat her asthma instead

of the 70% less costly generic: “It sounds like SilverScript just doesn’t want to change because it’s

to their benefit.... I’m not feeling that they’re thinking of the consumer.... It shouldn’t be that way.”

        21.     Beyond the ethical and moral implications of deceiving SilverScript’s vulnerable



1
 FTC Agreement Containing Consent Order, In the Matter of CVS Caremark Corporation, File
No: 112-3210, at Section VIII, p. 8 (emphasis added).



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elderly, ESRD and disabled Part D beneficiaries, CVS Health’s conduct also has violated

numerous laws. Fundamentally, the SSG/DNS Scheme violates:

          a) The FTC Consent Order that it would not, directly or indirectly, make deceptive

             claims about the price or cost of Medicare Part D prescription drugs, and is thereby

             liable for civil monetary penalties of up to $10,000 per violation, pursuant to

             Section 5(l) of the FTC Act.

          b) Its obligation under the Federal antitrust laws not to engage in deceptive business

             practices that unreasonably deprive consumers of the benefits of competition.

          c) Its obligation under the Federal antitrust laws not to share competitively sensitive

             information between its firewalled subsidiaries, which conduct was aimed at

             driving up prices for the SSG/DNS Drugs, thereby harming elderly, ESRD and

             disabled SilverScript beneficiaries.

          d) Knowingly submitting or causing to be submitted hundreds of thousands of

             inaccurate, incomplete and untruthful prescription drug event (“PDE”) records for

             the purpose of unlawfully obtaining reimbursement payments higher than those

             authorized by law.

          e) Annually falsely attesting that, as a condition of participation, it had complied with

             Federal laws and regulations designed to prevent or ameliorate fraud and deceptive

             conduct, including compliance with the False Claims Act.

          f) Submitting (or causing the submission of) what it knew to be false claims for the

             SSG/DNS Drugs furnished to SilverScript beneficiaries.

          g) Submitting (or causing the submission of) what it knew to be materially false

             records and statements in support of false claims presented to the Government.




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       22.      In furtherance of the illegal SSG/DNS Scheme, CVS Health has engaged in

widespread fraudulent and deceptive conduct made possible by its derogation of:

             a) Its obligations to have in place a robust and effective compliance program.

             b) Its promise as spelled out in its Code of Conduct that it would operate fairly and

                ethically.

             c) Its obligation that it be honest and forthright in all its dealings with both the

                Government and Part D beneficiaries.

             d) Its obligation to fully and fairly adjudicate grievances and coverage determinations.

             e) Its duty to disclose differential pricing for less costly generic drugs to Part D

                beneficiaries.

             f) Its obligation to provide nondiscriminatory, uniform benefits under the Medicare

                Part D program.

             g) Its promise to submit truthful, accurate and complete records in support of Medicare

                Part D claims.

             h) Its agreement to pay only “valid” claims – i.e., claims valid under State laws

                requiring mandatory generic substitution.

       23.      CVS Health has made numerous false and misleading public statements and

promises about its commitment to compliance and ensuring economical access to medication

through competition. But these statements – like the falsehoods made to numerous Part D

beneficiaries – were intended to help Defendants avoid detection and to conceal their fraudulent

and deceptive conduct.

       24.      As a direct result of Defendants’ fraudulent, improper and illegal practices, the

United States has continued to:




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               a) Pay false or fraudulent claims related to invalid Part D prescriptions that would not

                  have been paid but for CVS Health’s intentional, illegal, improper, and reckless

                  business practices.

               b) Pay increased subsidies to SilverScript through direct advance monthly payments;

                  reinsurance subsidies; low-income cost-sharing subsidies (or grants for low-income

                  Part D individuals received in lieu of low-income subsidies); risk-sharing

                  arrangements; and/or year-end retroactive adjustments and reconciliations.

               c) Re-entered into contracts with CVS Health as a provider of Part D services through

                  SilverScript, as a PBM through CVS Caremark, or contracted network pharmacies

                  through the CVS Pharmacies, based on false annual attestations to the accuracy and

                  truthfulness of its PDE data 2 and that they had complied “with . . . Federal laws and

                  regulations designed to prevent or ameliorate fraud, waste, and abuse, including,

                  but not limited to, applicable provisions of Federal criminal law [and] the False

                  Claims Act (31 USC §§ 3729 et seq.).” 3

         25.      The aforementioned conduct is ongoing.

         26.      The causes of action alleged herein are timely brought because, among other things,

of efforts by Defendants to conceal from the United States its wrongdoing in connection with the

allegations made herein.

II.      PERFECTION OF FILING AND STANDING

         27.      This Second Amended Complaint was properly filed in camera and under seal, as

required by the FCA, and shall remain under seal for at least sixty days as required by said


2
    42 C.F.R. § 423.505(k).
3
    42 C.F.R. § 423.



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provisions.

        28.     In advance of the filing of the Second Amended Complaint, Plaintiff properly

served a copy of the Second Amended Complaint and written disclosure of substantially all

material evidence and information supporting these allegations upon the United States.

        29.     Relator is not aware of any “public disclosure,” as that term is used in the FCA, of

the allegations forming the core elements of the Counts against CVS Health.

        30.     In the event there is found to be any such public disclosure, Relator is an “original

source,” as that term is used in the FCA, of the allegations or transactions forming the core

elements of the cause(s) of action against CVS Health.

        31.     In particular, Relator has direct and independent knowledge of the information on

which the allegations are based, and voluntarily provided that information to the Federal

Government before filing this action. Furthermore, and consistent with the meaning of “original

source” under the FCA, Relator either “voluntarily disclosed to the Government the information

on which allegations or transactions in a claim are based” prior to any public disclosure under

subsection (e)(4)(A), or has “knowledge that is independent of and materially adds to the publicly

disclosed allegations or transactions and voluntarily provided the information to the Government

before filing” this action.

III.    PARTIES



        32.     Relator ELLSWORTH ASSOCIATES, LLP (hereinafter “Relator”), a Delaware

limited liability partnership, brings this action on behalf of itself and the United States of America.

The registered office of Relator is located at 1925 Lovering Avenue, Wilmington, Delaware

19806, and the name of the registered agent at such address is The First State Registered Agent

Company.


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       33.     Pursuant to Section 15-201(a) of the Delaware Revised Uniform Partnership Act,

Relator is not distinct from its partners. At least one of its partners, Alexandra Miller, who by

virtue of employment with CVS Health, at all times material hereto has had firsthand, personal

knowledge of the false claims, statements, and concealments alleged herein.

       34.     Ms. Miller was employed by CVS Health for 19 years, eventually being promoted

to a senior executive position. She has extensive personal knowledge and experience regarding the

SSG/DNS Scheme alleged herein, including personal contact with the CVS Health employees and

executives who have committed violations of law alleged herein.

       35.     When Ms. Miller complained to a supervisor that the SSG/DNS Scheme was

unethical and violated the company Code of Conduct, the supervisor said that senior management

on the Executive Committee (as well as the Chief of Compliance for CVS Health, Medicare,

Patrick Jeswald) had already decided that the upside benefit to the “enterprise” was much greater

than the risk that its wrongdoing would be detected by the Government. As such, Relator had no

recourse internally to redress these concerns.

       36.     Relator thus has direct knowledge of the conduct alleged in this Second Amended

Complaint and conducted an independent investigation to uncover false claims submitted to the

United States. Accordingly, Relator is an “original source” of the non-public information alleged

in this Second Amended Complaint within the meaning of the FCA.



       37.     CVS HEALTH CORPORATION, formerly known as CVS Caremark Corporation,

(hereinafter “CVS Health”) is incorporated under the laws of the state of Delaware, and

headquartered at One CVS Drive, Woonsocket, Rhode Island 02895.

       38.     CVS Health has reported to the public that since at least 2007 it has been the largest

provider of prescription and related healthcare services in the United States. During the year ended


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December 31, 2018, the Company’s PBM filled or managed approximately 1.9 billion

prescriptions on a 30-day equivalent basis. CVS Health operates three business segments:

Pharmacy Services, Retail/Long-term Care, and Health Care Benefits:

          •   The Pharmacy Services segment provides a range of pharmacy benefit

              management (“PBM”) plans, including plan design offerings and administration,

              formulary management, retail pharmacy network management services, mail order

              pharmacy, specialty pharmacy and infusion services, Medicare Part D services,

              clinical services, disease management services and medical spend management.

              The Pharmacy Services segment’s clients include Medicare Part D prescription

              drug plans (“Part D plans” or “PDPs”) throughout the United States. In addition,

              through SilverScript, CVS Health is a national provider of drug benefits to eligible

              beneficiaries under the Medicare Part D prescription drug program. The Pharmacy

              Services segment operates retail specialty pharmacy stores, specialty mail order

              pharmacies, mail order dispensing pharmacies, compounding pharmacies and

              branches for infusion and enteral nutrition services.

          •   The Retail/Long-term Care (“LTC”) segment sells prescription drugs and

              general merchandise. As of December 31, 2018, the Retail/LTC segment operated

              more than 9,900 retail locations. During the year ended December 31, 2018, the

              Retail/LTC segment filled approximately 1.3 billion prescriptions.

          •   The Health Care Benefits segment is one of the nation’s largest diversified health

              care benefits providers, serving an estimated 38 million people as of December 31,

              2018. The Health Care Benefits segment offers a range of traditional, voluntary and

              consumer-directed health insurance products and related services, including




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               Medicare Advantage and Medicare Supplement plans, and PDPs.

       39.     All prescriptions managed by CVS Health, whether filled at one of its own mail

service pharmacies, its specialty pharmacies, or through one of its retail pharmacies, are uniformly

and systematically analyzed, processed and documented by CVS Health’s nationwide proprietary

prescription management systems.

       40.     According to CVS Health’s own financial reports, these uniform computerized

prescription management systems assist staff and network pharmacists in the processing of

prescriptions by automating tests for various items, including plan eligibility, early refills,

duplicate dispensing, appropriateness of dosage-drug interactions or allergies, over-utilization and

potential fraud issues.

       41.     SILVERSCRIPT INSURANCE COMPANY (“SilverScript”) is a Tennessee

corporation with its principal place of business located at 300 Montvue Rd., Knoxville, Tennessee.

SilverScript is a corporate affiliate of CVS Health. SilverScript is the largest PDP in the United

States and has the largest number of beneficiaries of any Medicare PDP in the country who are

eligible for the low-income subsidy whereby the Government subsidizes most of the Part D

premium, deductibles and cost sharing.

       42.     CVS        Health   subsidiary   CVS   CAREMARK         CORPORATION           (“CVS

Caremark”) (formerly “Caremark Rx”) is one of largest the PBMs in the United States. CVS

Caremark is headquartered in Woonsocket, Rhode Island. Through SilverScript, it provides PBM

services (including formulary development and establishing and maintaining pharmacy networks)

as well as for PDP Sponsors throughout the country.

       43.     CVS PHARMACY, INC. (“CVS Pharmacy”) is a Rhode Island corporation whose

principal place of business is at the same location as CVS Health. CVS Pharmacy is owned and




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controlled by CVS Health. As alleged herein, CVS Pharmacy, Inc. includes its nearly 9,900 retail

pharmacies located throughout the U.S., CVS Caremark Mail Service Pharmacy, Inc., CVS

Specialty Pharmacy, Inc., Navarro Discount Pharmacies, Inc., and Longs Drugs, Inc. These

entities shall collectively be referred herein as the “CVS Pharmacies.”

         44.    In short, CVS Health, through its subsidiaries, operates the Medicare PDP

SilverScript, the PBM CVS Caremark, as well as retail, mail order, specialty mail order and retail

pharmacies, the CVS Pharmacies, all of which conduct business throughout the United States

and/or its legal territories, and in this District.

IV.      JURISDICTION AND VENUE

         45.    Pursuant to 28 U.S.C. § 1331, this District Court has original jurisdiction over the

subject matter of this civil action since it arises under the laws of the United States—in particular,

the FCA, 31 U.S.C. §§ 3729 et seq. (“FCA”). In addition, the FCA specifically confers jurisdiction

upon the United States District Court. 4

         46.    This District Court has personal jurisdiction over CVS Health pursuant to 31 U.S.C.

§ 3732(a) because the FCA authorizes nationwide service of process and CVS Health has sufficient

minimum contacts with the United States of America. Venue is proper in this district pursuant to

31 U.S.C. § 3732(a). CVS Health transacts business within this District, and acts proscribed by 31

U.S.C. § 3729, et seq. occurred in this district.

         47.    CVS Health’s operations within this District include numerous retail stores

(operating fifty-eight CVS retail pharmacies in Philadelphia alone), along with offices in Blue

Bell, Pennsylvania, and a substantial presence for its Medicare Part D Program SilverScript in this

District, including some 96,419 enrolled SilverScript beneficiaries in Pennsylvania (many of



4
    31 U.S.C. § 3732(b).


                                                      14
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whom reside in this District). Moreover, at all times material hereto, the Philadelphia Regional

Office for CMS has had direct oversight for the SilverScript plan.

V.       NATURE OF ACTION



         48.       The False Claims Act prohibits:

               •   “knowingly” presenting or causing to be presented to the United States any false or

                   fraudulent claim for payment or approval, 31 U.S.C § 3729(a)(1)(A);

               •   “knowingly” making, using, or causing to be used or made, a false record or

                   statement material to a false or fraudulent claim, id. § 3729(a)(1)(B); and

               •   conspiring to commit a violation of the FCA, id. § 3729(a)(1)(C).

         49.       As defined under 31 U.S.C. § 3729(b), “knowing” and “knowingly” mean that a

person: (1) has actual knowledge of the information; (2) acts in deliberate ignorance of the truth

or falsity of the information; or (3) acts in reckless disregard of the truth or falsity of the

information.

         50.       Under 31 U.S.C. § 3729(c), a “claim” includes “any request or demand, whether

under a contract or otherwise, for money or property which is made to a contractor, grantee, or

other recipient if the United States Government provides any portion of the money or property

which is requested or demanded, or if the Government will reimburse such contractor, grantee, or

other recipient for any portion of the money or property which is requested or demanded.” 5 Under

this language, Medicare claims submitted to Federal agencies are claims presented to the Federal

Government and therefore give rise to liability under the FCA.

         51.       Under the FCA, “the term ‘material’ means having a natural tendency to influence,


5
    31 U.S.C. § 3729(c).



                                                     15
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or be capable of influencing, the payment or receipt of money or property.” 6

           52.   The FCA enforces certain principles that apply when one deals with the Federal

Government. These include the fact that caveat emptor is replaced by a duty to “turn square

corners” and be honest and forthright with the Government, and to deliver goods and services

precisely according to the specifications mandated. 7 This principle is reflected in the fact that the

FCA mandates civil monetary penalties of not less than eleven thousand one hundred eighty-one

($11,181) or more than twenty-two thousand three hundred sixty-three dollars ($22,363) per

claim. 8

           53.   In addition, when the misconduct results in the Government paying more than the

value it received, then that difference is subject to mandatory trebling. FCA damages are the



6
    3l U.S.C. § 3729(a)(D).
7
  Caveat emptor does not apply when dealing with the Government. As stated long ago by Justice
Holmes, “[m]en must turn square corners when they deal with the government.” Rock Island,
Arkansas & Louisiana R.R. v. United States, 254 U.S. 141, 143, 41 S.Ct. 55, 65 L.Ed. 188 (1920);
see also Fed. Crop Ins. Corp. v. Merrill, 332 U.S. 380, 385 (1947) (setting out the fact that “’[m]en
must turn square corners when they deal with the Government,’ does not reflect a callous outlook.
It merely expresses the duty of all courts to observe the conditions defined by Congress for
charging the public treasury”). Important here, the principle is also widely applied in FCA actions.
See, e.g., U.S. v. Rogan, 517 F.3d 449, 452 (7th Cir. 2008); U.S. ex rel. Compton v. Midwest
Specialties, Inc., 142 F. 3d 296, 302-05 & n.4 (6th Cir. 1998) (setting out that “parties that contract
with the government are held to the letter of the contract – irrespective of whether the contract
terms appear onerous from an ex post perspective, or whether the contract's purpose could be
effectuated in some other way” and thus “the ‘square-corners’ rule applies fully in the False Claims
Act context”), following United States v. Aerodex, Inc., 469 F.2d 1003, 1007 (5th Cir. 1972)
(noting that ‘[t]he mere fact that the item supplied under contract is as good as the one contracted
for does not relieve defendants of liability”)(emphasis added); U.S. v. Rivera, 55 F.3d 703,709 (1st
Cir. 1995) (setting out that “[b]y attaching liability to the claim or demand for payment [under
(a)(l), the [FCA] encourages contractor [sic] to ‘turn square corners when they deal with the
government’”), quoted and followed by Machado v. Sanjurjo,559 F.Supp.2d 167, 174 (D. Puerto
Rico 2008); United States v. Bourseau, No. 03-cv-907, 2006WL2961105, * 1 & n.l (S.D. Cal.
2006).
8
    31 U.S.C. § 3729(a)(1).



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difference in value between what the Government paid and what it received.

        54.    According to Senator Charles Grassley, “when citizens contract with the

government, they contract with the taxpayers. When they cheat the government, they cheat the

taxpayers. Why does this matter so much? It matters because fraud on the government costs much

more than money . . . . ‘[F]raud erodes public confidence in the Government’s ability to efficiently

and effectively manage its programs.’” 9



        55.    The antitrust laws prohibit business practices that unreasonably deprive consumers

of the benefits of competition. In the case of access to affordable medications, no competition

means higher prices, often resulting in inferior patient adherence to frequently lifesaving

medicines.

        56.    The three major antitrust laws are:

    •   The Sherman Antitrust Act prohibits all contracts, schemes and conspiracies

        that unreasonably restrain interstate and foreign trade. The law also prohibits monopolies.

    •   The Clayton Act prohibits mergers or acquisitions that materially diminish competition.

    •   The final piece of legislation in the government’s antitrust arsenal is the Federal Trade

        Commission Act, which prohibits unfair methods of competition.

        57.    Section 4A of the Clayton Act allows the government to recover treble damages for

antitrust violations when the government itself is the victim.



9
 Senator Charles Grassley, Grassley: False Claims Act is Our Most Important Tool to Fight Fraud
against Taxpayers, Statement for the Record by Senator Chuck Grassley of Iowa,
Chairman, Senate Judiciary Committee at a House Judiciary Subcommittee on the Constitution
and Civil Justice Hearing on “Oversight of the False Claims Act,” (April 28, 2016),
https://www.grassley.senate.gov/news/news-releases/grassley-false-claims-act-our-most-
important-tool-fight-fraud-against-taxpayers.



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           58.   According to then Assistant Attorney General Makan Delrahim, “Section 4A of the

Clayton Act is a powerful enforcement tool that empowers the United States to obtain treble

damages for anticompetitive conduct when the government is itself the victim.” 10

           59.   Indeed, in 1955, Congress amended the Clayton Act to add Section 4A to ensure

that the government fell within the statute’s scope and could bring claims to recover damages

where it was the victim of an antitrust violation. Originally, Section 4A allowed the government

to recover only single damages; however, in 1990, Congress further amended the Clayton Act to

allow the government to seek treble damages pursuant to that provision. 11



                 1. Medicare Part D Relies on a Competitive Marketplace Where Plans Negotiate
                    Pricing that Provides Access to Affordable, Lifesaving Drugs

           60.   Medicare is a federally funded and administered health insurance program for

certain groups, primarily elderly, ESRD and disabled persons. The Department of Health and

Human Services (“HHS”) administers the Medicare program through CMS. Medicare Part D, one

of four parts of Medicare, is the voluntary prescription drug benefit program established in 2003

by the Medicare Prescription Drug, Improvement, and Modernization Act, Pub. L. 108-173, 117

Stat. 2066. It became effective January 1, 2006. 12

           61.   Medicare Part D is based on a private market model in which CMS contracts with



10
   Makan Delrahim, “November Rain"”: Antitrust Enforcement on Behalf of American
Consumers and Taxpayers (Nov. 15, 2018) (Remarks as Prepared for Delivery at the American
Bar Association Antitrust Section Fall Forum), available at
https://www.justice.gov/opa/speech/assistant-attorneygeneral-makan-delrahim-remarks-
american-bar-association-antitrust.
11
     Id.
12
     42 U.S.C. § 1395w-101(a)(2).



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private entities, known as “Sponsors” to administer prescription drug plans or “PDPs.” 13

          62.     For the Medicare Part D private model to operate successfully, according to the

HHS Office of Health Policy, “[t]he United States relies on the interactions of private entities –

drug manufacturers, health plans and pharmaceutical benefit managers (PBMs) – to achieve value

by negotiating prices, operating formularies and implementing other benefit management

strategies.” 14

          63.     Policymakers envisioned the Part D program would rely on private plan sponsors

that bear insurance risk competing in the marketplace to provide attractive benefit packages and

drug prices that are fairly negotiated in order to make these often lifesaving medications more

affordable.

          64.     Plan sponsors that collude with others to increase prices for Part D drugs not only

rob taxpayers, they cheat beneficiaries who often are forced to ration or abandon their medications

altogether. This is particularly insidious when this conduct increases prices for expensive drugs

that force their Part D coverage into the Catastrophic Coverage Stage where beneficiaries face

substantial additional costs.

          65.     According to the Kaiser Family Foundation, between 2010 and 2019, the number

of Part D beneficiaries with out-of-pocket spending above the Catastrophic Coverage threshold

had tripled, and by 2019 nearly 1.5 million Medicare Part D enrollees had out-of-pocket spending




13
     Id. § 423.265.
14
   HHS Assistant Secretary of Planning and Evaluation, Medicare Part D: Competition and
Generic Drug Prices (Jan. 19, 2021), 2007-2018, at 2; see also Douglas Holtz-Eakin, Robert
Book, Competition and the Medicare Part D Program (Sep. 11, 2013), available at
https://www.americanactionforum.org/research/competition-and-the-medicare-part-d-program/



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above the threshold. 15

                  2. Medicare Part D Bids from PDPs Rely on Accurate, Complete, and Truthful
                     PDE Records Submitted to CMS

          66.     Instead of setting payments to Part D plans, Medicare’s payments are based on bids

submitted by private plan sponsors that reflect their average cost (including administrative

expenses and an operating margin) of providing a basic outpatient drug benefit to an enrollee of

average health.

          67.     Under Part D, a PDP Sponsor submits a bid in the year prior to the calendar year in

which benefits will actually be delivered, which contains a per member per month cost estimate

for providing benefits to an average Medicare beneficiary in a particular geographic region. 16

          68.     From the bids, CMS calculates nationwide and regional benchmarks, which

represent the average per member, per month cost. 17 If the Sponsor’s bid exceeds the benchmark,

the enrolled beneficiary must pay the difference as part of a monthly premium. 18 CMS then

provides each PDP Sponsor with advance monthly payments equal to the Sponsor’s standardized

bid, risk-adjusted for health status, minus other amounts that the Sponsor is expected to receive

from other sources. 19



15
   Juliette Cubanski, Tricia Neuman, and Anthony Damico, Millions of Medicare Part D
Enrollees Have Had Out-of-Pocket Drug Spending Above the Catastrophic Threshold Over
Time, Kaiser Family Foundation (July 23, 2021), available at
https://www.kff.org/medicare/issue-brief/millions-of-medicare-part-d-enrollees-have-had-out-of-
pocket-drug-spending-above-the-catastrophic-threshold-over-time/
16
     Id. at §§ 423.265, 423.272.
17
     Id. at § 423.279.
18
     Id. at § 423.286.
19
     42 C.F.R. § 423.293.



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           69.      When a PDP network pharmacy dispenses a drug to a Medicare beneficiary, it

submits an electronic claim to the beneficiary’s PDP and receives reimbursement from the Sponsor

for the costs not paid by the beneficiary. The Sponsor (or its PBM) then submits a Prescription

Drug Event (“PDE”) record to CMS that reflects a drug has been purchased and dispensed. The

PDE record includes the amount paid to the pharmacy by the beneficiary. The PDE is an

electronically created document that includes multiple transactional and calculated fields about a

specific drug dispensed.

           70.      CMS uses this information in the PDE at the end of the payment year to reconcile

its advance payments to the Sponsor with actual costs the PDP Sponsor incurred. 20 If a PDP

Sponsor’s actual costs exceed the estimated costs, the Sponsor may be able to recoup some of its

losses through a risk sharing agreement with CMS. 21 If a Sponsor’s estimated costs exceed its

actual costs by a specified amount, payments to the PDP Sponsor for the year are reduced and the

Sponsor will have to pay back some its estimated payments. 22

           71.      PDP Sponsors subcontract with multiple entities to provide drugs to the Medicare

Part D beneficiaries enrolled in their PDPs, including subcontracts with pharmacy benefits

managers or “PBMs,” which administer at minimum the PDP’s formulary and pharmacy benefit

and arrange for various pharmacies to participate in the plan’s pharmacy network so members have

“access to their needed drugs. As a condition for receiving its monthly payment from CMS, a PDP

Sponsor must certify as to the accuracy, completeness, and truthfulness of all data related to the




20
     Instructions: Requirements for Submitting Prescription Drug Event Data (“CMS Instructions”).
21
     Id. at 9–10.
22
     Id.



                                                   21
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payment, which may include enrollment information, claims data, bid submission data, and any

other data specified by CMS.” 23

          72.      If the claims data has been generated by a subcontractor of a PDP Sponsor, such as

a PBM, that entity must “similarly certify” that the claims data it has generated is accurate,

complete and truthful, and must acknowledge that it will be used to obtain Federal

reimbursement. 24

          73.      PDP Sponsors must also certify in their contracts with CMS that they agree to

comply with all Federal laws and regulations designed to prevent fraud, waste, and abuse,

including the False Claims Act. 25 CMS regulations require that all subcontracts between PDP

Sponsors and downstream entities, including PBMs and pharmacies, require compliance by those

entities with all applicable Federal laws, regulations, and CMS instructions. 26

          74.      Part D beneficiaries’ coverage varies by the benefit design and cost of drug usage

over the course of a plan year:

                a) Deductible: As with most insurance plans, beneficiaries do not receive any benefits

                   under Medicare Part D until their out-of-pocket costs for prescription drugs meets

                   a modest deductible amount (up to $415 for 2019). LIS 1, 2, and 3 beneficiaries do

                   not have a deductible. LIS 4 beneficiaries do have a reduced deductible.

                b) Initial Coverage Limits (“ICL”): Once a beneficiary meets his or her deductible,




23
     42 C.F.R. § 423.505(k)(1).
24
     Id. at § 452.505(k)(3).
25
     Id. at § 423.505(h)(1).
26
     Id. at § 423.505(i)(4)(iv).



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                  they receive prescription drug benefits up to an annual cap ($3,820 for 2019).

               c) Coverage Gap (the “Donut Hole”): After the beneficiary reaches the cap of the

                  initial coverage, they fall into a coverage gap until their total out-of-pocket costs

                  reach a threshold for catastrophic coverage ($5,100 for 2019). In the coverage gap,

                  a beneficiary pays more for a brand-name drug that is more expensive than its

                  generic alternative. The coverage gap discount program does not apply to LIS

                  beneficiaries.

               d) Catastrophic Coverage: After the beneficiary meets the threshold amount, they are

                  again entitled to prescription drug benefits under a reinsurance scheme in which the

                  United States Treasury pays 80% of drug costs, the PDP Sponsor pays 15% and the

                  beneficiary pays 5%.

         75.      Between 2007 and 2017, PDP responsibility for the basic non-Low Income Subsidy

(non-LIS) benefit dropped significantly from 53 percent to 29 percent while the PDP responsibility

for the basic LIS benefit dropped from 30 percent to 19 percent. Meanwhile, Medicare’s share of

benefits rose commensurately through reinsurance and LIS. According to a MedPac June 2020

report to Congress: “The magnitude of decreases in plans’ share of [Part D] benefit liability raises

significant concerns because it shifts substantial financial risk to the Medicare program and

taxpayers and undermines a key feature of the Part D program: providing incentives for competing

private plans that bear insurance risk for their enrollees’ spending to negotiate prices with

pharmacies and pharmaceutical manufacturers.” 27

         76.      The MedPac concerns were in no small part the result of the collusion across CVS




27
     MedPac, Chapter 5: Realigning incentives in Medicare Part D (June 2020), at 120.



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Health subsidiaries to require SilverScript formularies to include only more expensive brand-name

drugs instead of lower cost, generic drugs.




          77.    PDP Sponsors’ obligations to the Medicare Program and the requirements for them

to participate in the Program are set forth in CMS regulations and, each year, the PDP Sponsors

must agree in writing to comply with those regulations. 28 In addition, PDP Sponsors must comply

with requirements set forth in statutes, such as the FCA, and guidance documents, such as the

Medicare Managed Care Manual and the Medicare Prescription Drug Benefit Manual.

          78.    Among their other obligations, Medicare PDP Sponsors are required 29 to (i)

maintain a compliance program to ensure the integrity of their payment data 30; (ii) annually attest

to the accuracy and truthfulness of that data 31; and (iii) “comply with . . . Federal laws and

regulations designed to prevent or ameliorate fraud, waste, and abuse, including, but not limited

to, applicable provisions of Federal criminal law [and] the False Claims Act (31 USC §§ 3729 et

seq.).” 32

          79.    Medicare PDP Sponsors are required 33 (i) to ensure the integrity of their payment




28
     42 C.F.R. §§ 423.504, 423.505.
29
     42 C.F.R. § 423.504(b)(4)(vi); IOM Pub. 100-18 Prescription Drug Benefit Manual Chapter 9.
30
     42 C.F.R. § 423.504(b)(4)(vi).
31
     42 C.F.R. § 423.505(k).
32
     42 C.F.R. § 423.
33
     42 C.F.R. § 423.504(b)(4)(vi); IOM Pub. 100-18 Prescription Drug Benefit Manual Chapter 9.



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data 34; (ii) annually attest to the accuracy and truthfulness of that data 35; and (iii) “comply with . .

. Federal laws and regulations designed to prevent or ameliorate fraud, waste, and abuse, including,

but not limited to, applicable provisions of Federal criminal law [and] the False Claims Act (31

USC §§ 3729 et seq.).” 36

           80.     CMS requires PDP Sponsors must have a compliance program which is effective

in detecting, correcting, and preventing Medicare program noncompliance. 37

           81.     The implementation of an effective compliance program is a prerequisite to a PDP

Sponsor obtaining and retaining payments under Part D of the Medicare Program. 38 One purpose

of requiring a compliance program is to ensure that the PDP Sponsor submits accurate and truthful

information to CMS.

           82.     The compliance program “must, at a minimum, include [certain] core

requirements,” 39 including (but not limited to):

           ...

           (F) Establishment and implementation of an effective system for routine monitoring and

           identification of compliance risks. The system should include internal monitoring and

           audits and, as appropriate, external audits, to evaluate the PDP, including first tier entities’,




34
     42 C.F.R. § 423.504(b)(4)(vi).
35
     42 C.F.R. § 423.505(k).
36
     42 C.F.R. § 423.
37
     42 C.F.R. § 423.504(b)(4)(vi).
38
     Id.
39
     42 C.F.R. § 422.504(b)(4)(vi).



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          compliance with CMS requirements and the overall effectiveness of the compliance

          program.

          (G)   Establishment and implementation of procedures and a system for promptly

          responding to compliance issues as they are raised, investigating potential compliance

          problems as identified in the course of self-evaluations and audits, correcting such

          problems promptly and thoroughly to reduce the potential for recurrence, and ensuring

          ongoing compliance with CMS requirements.

                 (1) If the PDP organization discovers evidence of misconduct related to payment

                 or delivery of items or services under the contract, it must conduct a timely,

                 reasonable inquiry into that conduct.

                 (2) The PDP organization must conduct appropriate corrective actions (for

                 example, repayment of overpayments, disciplinary actions against responsible

                 employees) in response to the potential violation.

                 (3) The PDP organization should have procedures to voluntarily self-report

                 potential fraud or misconduct related to the Plan to CMS or its designee. 40

          83.    As part of an effective compliance program, a Sponsor must establish and

implement systems to monitor and audit its First Tier, Downstream, and Related Entities

(“FDRs”). Sponsors may enter into contracts with FDRs to provide administrative or health care

services for enrollees on behalf of the Sponsor (e.g., a PBM or a Call Center). However, the

Sponsor maintains the ultimate responsibility for fulfilling the terms and conditions of its contract

with CMS, and for meeting the Medicare program requirements.




40
     42 C.F.R. § 422.504(b)(4)(vi)(F)-(G).



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           84.       In its compliance training materials, CMS has spelled out the requirement that Part

D Sponsors must “implement and maintain an effective compliance program for its Medicare Parts

C and D plans.” Furthermore, the CMS training states “[a]n effective compliance program must”:

                 •   Articulate and demonstrate an organization’s commitment to legal and ethical

                     conduct;

                 •   Provide guidance on how to handle compliance questions and concerns; and

                 •   Provide guidance on how to identify and report compliance violations. 41

           85.       CMS further defines an effective compliance program as one that “fosters a culture

of compliance within an organization” and “promotes the organization’s Standards of Conduct.”42

           86.       A fundamental part of compliance with CMS’s Medicare Part D requirements is

acting ethically and honestly. CMS states that, “[a]s part of the Medicare Program, [a Part D Plan]

must conduct [itself] in an ethical and legal manner. It’s about doing the right thing!” To do so, a

Part D Plan must, “[a]ct fairly and honestly, [a]dhere to high ethical standards in all [it does],

[c]omply with all applicable laws, regulations, and CMS requirements, [and r]eport suspected

violations.” 43

           87.       Non-compliant conduct is conduct that does “not conform to the law, Federal health

care program requirements, or an organization’s ethical and business policies.” 44 Areas CMS has




41
  Medicare Parts C and D General Compliance Training Web-Based Training Course
January 2019, available at: https://www.cms.gov/Outreach-and-Education/Medicare-Learning-
Network-MLN/MLNProducts/Downloads/MedCandDGenCompdownload.pdf.
42
     Id.
43
     Id.
44
     Id.



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identified as high risk include appeals and grievance review, ethics, as well as pharmacy,

formulary, and benefit administration. 45

           88.    CVS Health’s own training module for its 2018 Medicare Part D Annual

Certification of Compliance (the “Module”) mirrors CMS guidance nearly verbatim,

acknowledging its obligation to act ethically, legally, fairly, and honestly. 46

           89.    The CVS Health Module clearly defines fraud, waste and abuse as “knowingly and

willfully executing, or attempting to execute, a scheme or artifice to defraud any health care benefit

program, or to obtain, by means of false or fraudulent pretenses, representations, or promises, any

of the money or property owned by, or under the custody or control of, any health care benefit

program.” 47 It further explains “abuse” as “actions that may, directly or indirectly, result in

unnecessary costs to the Medicare Program. Abuse involves payment for items or services when

there is not legal entitlement to that payment and the provider has not knowingly and/or

intentionally misrepresented facts to obtain payment.” 48 Waste is the overutilization of services,

or other practices that, directly or indirectly, results in unnecessary costs to the Medicare program.

           90.    The Module acknowledges the role all of the various CVS Health components play

in combatting fraud, waste, and abuse (“FWA”), 49 including the CMS Contractor (Part D Plan




45
     Id.
46
   SilverScript, 2018 Annual Certification Medicare Parts C and D General Compliance &
Combating Fraud, Waste, and Abuse Training Course (January 2017), p. 11, available at
http://pfsinsurance.com/wp-content/uploads/2018-SilverScript-Certification-Guide.pdf.
47
     Id. at 31.
48
     Id. at 32.
49
     Id. at 49.



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Sponsor), PBMs (First Tier) and pharmacies (Downstream):




          91.     The Module also explains that beyond the ethical guidelines spelled out by CMS,

CVS Health incorporates into its compliance plan its Code of Conduct, which states its

“expectations and the principles and values” by which it operates. 50

          92.     In turn, the CVS Health Code of Conduct spells out its commitment to “upholding

the highest ethical standards and complying with applicable laws and regulations” and “federal

health care program requirements.” 51 In all its dealings with customers, CVS Health says its

interactions will “help us put people on a path to better health.” 52

          93.     The Code of Conduct says the company is committed to “Doing the Right Thing.”53

This means that, in undertaking all of its “contractual promises,” while it strives to outperform its


50
     Id. at 12.
51
   CVS Health Code of Conduct (2019) at 4, available at
https://cvshealth.com/sites/default/files/cvs-health-code-of-conduct.pdf.
52
     Id. at 21.
53
     Id. at 26.



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competition, it will “do so honestly, openly, fairly and with integrity. We will deal fairly with our

customers, members, providers, clients, suppliers, regulators, shareholders and others around the

world with whom we do business.” The Code very clearly states CVS Health will refuse to

participate in any conduct “intended to mislead, manipulate or take unfair advantage of anyone. .

. .” 54

           94.       The Code also makes clear that choosing not to follow a Medicare Program policy

“could be interpreted by the government as fraud or payment abuse.” 55 Likewise, its Code of

Conduct is the “underlying framework for our Medicare Compliance Program. . . .” 56

           95.       The Code includes this specific language concerning “Business firewalls”:

           As a good business practice, CVS Health maintains firewalls between select
           businesses within the Company to separate and protect certain competitively-
           sensitive information each business possesses. Colleagues may not use
           competitively sensitive information that is held by the Company, to compete
           unfairly in the marketplace. Competitively sensitive information includes contract
           terms, pricing and other financial arrangements. These firewalls become important
           in contract negotiations, bid preparation, pricing services, and establishing financial
           arrangements, in which the businesses must compete on the same terms as their
           competitors. Information firewalls also maintain commercial relations with CVS
           Health clients and suppliers who may be competitors to certain CVS Health
           business units.

           96.       The 2019 version of the Code also explained that CVS Health had entered into two

(2) Corporate Integrity Agreements (“CIAs”) with the HHS Office of the Inspector General in

2014 and 2016 as part of settlements for alleged wrongdoing related to Federal health care fraud.

Its 2014 CIA states, for example, that CVS Health “in accordance with the terms of the CIA” has




54
     Id.
55
     Id. at 27-28.
56
     Id. at 29.



                                                     30
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implemented a compliance program to cover all parts of the corporation that “conduct business

with Federal health care programs.” 57

          97.     These CIAs reinforce the CVS Health “strong commitment to compliance with the

law and the highest ethical standards of our colleagues.” 58

          98.     The Code spells out the obligation of CVS Health leadership to “walk the talk” and

“demonstrate the Company’s values in all of their dealings on its behalf.” CVS Health leadership

is to “[m]ake certain that colleagues understand what is expected of them both professionally and

ethically.” 59




          99.     A PDP Sponsor’s central mission is to provide beneficiaries access to needed Part

D drugs through their prescription drug benefits within a framework of Medicare Part D

requirements that provide enrollees with a number of protections.

          100.    As alleged herein, there is an underlying obligation that PDP Sponsors must act

ethically and honestly in all their dealings with Medicare Part D Beneficiaries. For example,

Medicare beneficiaries have clearly spelled out rights and protections. For example, the CMS

guidance states that “[n]o matter how you get your Medicare, you have certain rights and

protections designed to [p]rotect you when you get health care[;] [m]ake sure you get the health




57
   Corporate Integrity Agreement between the Office of Inspector General of the Department of
Health and Human Services and CVS Health Corporation, at 2, available at
https://oig.hhs.gov/fraud/cia/agreements/CVS_Health_Corporation_10112016.pdf.
58
     Id. at 32.
59
     Id. at 34.



                                                  31
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care services that the law says you can get[;] and [p]rotect you against unethical practices.” 60

           101.   A Medicare beneficiary is entitled to “[g]et clear and simple information about

Medicare to help you make health care decisions, including [w]hat’s covered[;] [w]hat Medicare

pays[;] [h]ow much you have to pay[;] [and w]hat to do if you want to file a complaint or an

appeal.” 61

           102.   A Medicare beneficiary is entitled to “[r]equest an appeal to resolve differences

with your plan. You have the right to ask your plan to provide or pay for an item or service you

think should be covered, provided, or continued. If your plan denies your request, you have the

right to appeal that decision.” 62

           103.   A Medicare beneficiary is entitled to “[g]et a coverage decision or coverage

information from your plan before getting services. Before you get an item, service, or supply, you

can call your plan to find out if it will be covered or get information about your coverage rules.

You can also call your plan if you have questions about home health care rights and protections.

Your plan must tell you if you ask.” 63

           104.   Medicare Part D requirements 64 apply to stand-alone PDP Sponsors like

SilverScript that offer prescription drug benefits directly to beneficiaries. Sponsors are required




60
   CMS, Medicare Rights & Protections, at 5 (rev. Jan. 2018), available at
https://www.medicare.gov/Pubs/pdf/11534-medicare-rights-and-protections.pdf.
61
     Id. at 6.
62
     Id. at 11.
63
     Id. at 12.
64
 See 42 C.F.R. § 423, Subpart M: IOM Pub. 100-18 Medicare Prescription Drug Benefit Manual,
Chapter 18.



                                                 32
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to enter into an agreement with CMS by which the Sponsor agrees to comply with a number of

requirements based upon the Medicare Part D statute, regulations, and program instructions.

           105.    A Sponsor’s grievance and coverage determination operations serve as a “safety

net” for improper formulary administration. 65

           106.    Improper processing of grievances and coverage determinations denies

beneficiaries due process and appeal rights and may delay a beneficiary’s access to medically

necessary or life-sustaining services or drugs. 66

           107.    Medicare enrollees have the right to contact their PDP Sponsor to express general

dissatisfaction with the operations, activities, or behavior of the PDP Sponsor or to make a specific

complaint about the denial of coverage for drugs or services to which the enrollee believes he or

she is entitled.

           108.    Federal regulations authorize CMS to impose intermediate sanctions (such as

suspension of enrollment and marketing), civil monetary penalties, or to terminate PDPs if it

determines that medically necessary items and services have not been provided as required. 67

           109.    SilverScript has been a serial offender under the CMS enforcement regime. For

example, SilverScript received a serious enrollment sanction on January 1, 2013, suspending all

enrollment of Medicare beneficiaries (pursuant to 42 C.F.R. § 423.750(a)(1)) and all marketing




65
  CMS Letter to Smart Insurance Company, Notice of Immediate Imposition of Intermediate
Sanctions (Suspension of Enrollment and Marketing) for Prescription Drug Plan Contract
Number: S0064, at 5 (April 23, 2013), available at https://www.cms.gov/Medicare/Compliance-
and-Audits/Part-C-and-Part-D-Compliance-and-Audits/Downloads/Smart-Immediate-Sanction-
4_23_2013.pdf.
66
     Id.
67
     42 C.F.R, §§ 423.7500; 423.752(a); 423,509(a).



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activities to Medicare beneficiaries (pursuant to 42 C.F.R. § 423.750(a)(3)). CMS imposed

       “intermediate sanctions immediately, effective January 15, 2013 at 11:59 p.m. EST,
       pursuant to 42 C.F.R. § 423.756(c)(2), because it has determined that
       [SilverScript’s] conduct poses a serious threat to the health and safety of Medicare
       beneficiaries. A significant number of the [SilverScript] enrollee complaints
       describe instances where the member had to pay more out of pocket than was
       required under the terms of the benefit plan because [SilverScript] systems could
       not correctly adjudicate the member’s claims in real time. For some beneficiaries,
       this meant paying a higher copay amount while others were charged the full cost of
       the drug. In many instances, beneficiaries could not afford the higher charge and
       left the pharmacy without their medication. SSIC has acknowledged to CMS that
       many of its enrollees have had difficulty obtaining their medications or are being
       charged incorrect co-pay or cost-sharing amounts.

       110.    As part of imposing these very serious sanctions, CMS determined that:

       •   “[SilverScript] substantially failed to carry out the terms of its Prescription Drug Plan
           contract with CMS (42 C.F.R. §423.509(a)(1)); and

       •   [SilverScript] is carrying out its contracts with CMS in a manner that is inconsistent
           with the effective and efficient implementation of the program (42 C.F.R.
           §423.509(a)(2)).”

       111.    Even after it released SilverScript from these sanctions in late 2013, CMS said it

still “considers [SilverScript] to be a high-risk sponsor, and will continue to closely monitor and

oversee [SilverScript’s] operational activities. [SilverScript] will be subject to targeted monitoring,

including heightened surveillance and oversight.”

       112.    Just two years later, on November 20, 2015, CMS sent a Notice of Imposition of

Civil Money Penalty to SilverScript, fining it $594,100 based on the fact that it had failed to

provide beneficiaries with prescription drug benefits within a framework of Medicare

requirements. 68




68
  See CMS letter to SilverScript (Nov. 20, 2015), https://www.cms.gov/Medicare/Compliance-
and-Audits/Part-C-and-Part-D-Compliance-and-
Audits/Downloads/SilverScript_CMP_11_20_2015.pdf.



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       113.    Coming off these two CMS sanctions, SilverScript was particularly concerned that

its conduct not be subject to sanctions again. Rather than toe the line, instead this has meant that it

took what it knew to be measures to conceal its illegal conduct. For example, SilverScript knew

what triggered the 2013 sanctions was that CMS had detected patterns in beneficiary grievances.

SilverScript also knew that CMS continued to monitor trends in its beneficiary grievances even

after it had been released from the sanctions in late 2013. As a result, SilverScript made sure that

the SSG/DNS Scheme would not apply to new enrollees whose grievances would immediately

draw increased attention during CMS audits.

       114.    Likewise, after CVS Health and its subsidiaries entered into the Harvoni and

Epclusa deals with Gilead in late 2018, rather than carefully monitoring member grievances to

ensure it was acting legally, CVS Health took steps to make sure its conduct would not be

uncovered.

       115.    In all other circumstances, CVS Health used a formal root cause tagging system for

grievances to track trends and monitor for member disruption. This system was used frequently

to tag actual drug names in cases of formulary disruption or potential member dissatisfaction when

a drug is not covered.

       116.    During a December 17, 2018 meeting, Ms. Miller was instructed that, rather than

use its formal tagging system, she was to informally monitor beneficiary grievances for Harvoni

and Epclusa behind the scenes to watch for any “member disruption” and/or grievances related to

generic block for these drugs, and notify management.

       117.    It was highly unusual for this monitoring to be done informally in this way, but it

was the only way to prevent a paper trail (showing that CVS Health was concerned about members

being disrupted) and also was the only way to keep front-line colleagues from being asked about




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trends, which would create more risk for CVS.

          118.   When she raised concerns with Emily Pefanis, Vice President Medicare Operations,

on January 11, 2019, Ms. Pefanis said the blocking scheme was “highly unethical” and that she

had had multiple conversations about the issue with Amy Moyer-Carey, Vice President Coverage

Determinations, who was apparently “sick over this.” However, Ms. Moyer-Carey had been told

by Mitch Betses (EVP Member Services), Todd Meek (President of SilverScript), and Patrick

Jeswald (Chief Compliance Office, Medicare Part D) that “this is a new strategy,” and they were

to do this anyway.

          119.   With regard to the conduct at issue, a PDP Sponsor like SilverScript that fails to

meet Part D grievance and coverage determination requirements has impeded enrollees’ access to

medications. This failure violates 42 C.F.R. §§ 423.564(b) and 423.566, subjecting the PDP

Sponsor to a Civil Money Penalty 69 because it has directly and adversely affected (or had the

substantial likelihood of adversely affecting) enrollees’ access to medications.

                 1.     Grievances

          120.   According to the Medicare Modernization Act, all PDP Sponsors must provide

meaningful procedures for hearing and resolving grievances between an enrollee and the Sponsor,

including an entity or individual through which the Sponsor provides benefits. 70

          121.   A grievance is any complaint or dispute, other than a coverage determination, or

appeal about any aspect of the operations, activities, or behavior of a Part D organization,




69
     42 C.F.R. §§ 423.752(c)(1); 423.760(b).
70
   CMS, Medicare Part D Reporting Requirements (Jan. 1, 2020),
https://www.cms.gov/files/document/cy2020part-d-reporting-requirements082719.pdf.



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regardless of whether remedial action is requested. 71

           122.   PDP Sponsors are required to notify enrollees of their decision no later than 30 days

after receiving their grievance based on the enrollee’s health condition. An extension up to 14 days

is allowed if it is requested by the enrollee, or if the PDP Sponsor needs additional information

and documents that this extension is in the interest of the enrollee. An expedited grievance that

involves refusal by a PDP Sponsor to process an enrollee’s request for an expedited coverage

determination or redetermination requires a response from the PDP Sponsor within 24 hours. 72

                  2. Coverage Determinations

           123.   The first level of review is the coverage determination, which is conducted by the

PDP Sponsor, and the point at which beneficiaries or their physicians submit justification for the

benefit. The enrollee, the enrollee’s representative, or the enrollee’s treating physician or

prescriber may make a request for a coverage determination.

           124.   Each PDP Sponsor must conduct meaningful and thorough coverage

determinations and redeterminations by attempting to contact prescribing physicians or other

prescribers to obtain supporting statements and additional medical documentation necessary to

evaluate a request, as appropriate.

           125.   If the coverage determination is adverse (not in favor of the beneficiary), the

beneficiary has the right to file an appeal. The first level of the appeal – called a redetermination

(Part D) – is handled by the PDP Sponsor and must be conducted by a physician who was not

involved in the organization determination or coverage determination decision. If the first level

appeal is adverse, a second level of appeal – called a reconsideration (Part D) – is made to an


71
     Id.
72
     Id.



                                                   37
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independent review entity (“IRE”) contracted by CMS.

       126.    There are different decision-making timeframes for the review of coverage

determinations. If the Sponsor does not issue timely decisions for Part D coverage determinations

or redeterminations, the decision is considered to be unfavorable to the enrollee and must be

automatically sent to the IRE. Failure to provide enrollees and/or their providers, notice of

decisions for coverage determinations or appeals within the required timeframes can result in

enrollees failing to receive the approved services or reimbursement, or delays with accessing

services and/or appeal rights.



       127.    When a brand-name pharmaceutical manufacturer receives approval from the Food

& Drug Administration (“FDA”) to market a new pharmaceutical, the manufacturer typically

receives a period of “exclusivity” during which it has the sole right to market the drug in the United

States. In addition to the FDA exclusivity period, the brand-name manufacturer typically holds

patent rights that prevent competitors from producing and marketing the same chemical

compound. Because brand-name manufacturers market their drugs under a proprietary name rather

than the name of the drug’s generic active ingredient, they are referred to as “brand-name drugs.”

       128.    After the exclusivity period and patent rights expire, however, other pharmaceutical

manufacturers may submit to the FDA an Abbreviated New Drug Application (“ANDA”) and

receive approval to market a generic version of the brand-name drug.

       129.    Congress has made clear that access to less costly equivalent generic

pharmaceuticals is to be encouraged, and, to that end, in 1984 enacted the Hatch-Waxman Act

(“Hatch-Waxman”), which established an abbreviated pathway for approval of generic

counterparts to non-biologic brand-name drug products.

       130.    A principal goal of Hatch-Waxman was to trigger generic access to originator


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products, many of which had enjoyed longstanding exclusivity. That goal has been achieved:

According to the FDA, the competition spurred by Hatch-Waxman has saved more than $1.6

trillion for patients and the health care system. 73

        131.    A “generic drug,” as that term is commonly understood and referred to by health

care providers and insurers, is a copy of a brand-name drug that is developed and made by a

company other than the company that makes the brand-name drug. A generic drug is the same as

the brand-name drug in active ingredient, conditions of use, dosage form, strength, route of

administration, and (with certain permissible differences) labeling. However, a generic drug may

have certain minor differences from the brand-name product, such as different inactive ingredients.

        132.    To obtain approval of a generic drug, a company must submit an ANDA to FDA

and prove that its product is the same as the brand-name drug in the ways described above, and

that it is “bioequivalent,” meaning it gets to the part of the body where the drug works at the same

time and in the same amount. A generic drug must also meet the same standards of quality and

manufacturing as the brand-name drug. An ANDA applicant is not required to provide independent

evidence of the safety and effectiveness of a proposed generic drug. Instead, the applicant relies

on FDA’s finding that a previously approved drug product is safe and effective. Therefore, it is

generally less costly to obtain approval of a generic drug than a brand-name drug.

        133.    The term “authorized generic” drug is most commonly used to describe an

approved brand-name drug that is marketed without the brand-name on its label. Other than the

fact that it does not have the brand-name on its label, it is the exact same drug product as the brand-



73
   See Kathleen “Cook” Uhl, 2016: A Record-Setting Year for Generic Drugs, U.S. Food & Drug
Administration (Feb. 24, 2017), available at
https://blogs.fda.gov/fdavoice/index.php/2017/02/2016-arecord-setting-year-for-generic-drugs/
(noting that “2016 was a record-setting year for FDA’s generic drug program,” and that “[o]ver
the last 10 years, generic drugs have saved the U.S. healthcare system about $1.68 trillion”).


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name product. An authorized generic may be marketed by the brand-name drug company, or

another company with the brand company’s permission. In some cases, even though it is the same

as the brand-name product, a company may choose to sell the authorized generic at a lower cost

than the brand-name drug.

        134.    An authorized generic drug is the same as the brand-name drug, but does not use

the brand-name on the label. Because an authorized generic drug is marketed under the brand-

name drug’s NDA, it is not listed in FDA’s Approved Drug Products with Therapeutic

Equivalence Evaluations (the “Orange Book”).

        135.    An authorized generic is considered to be therapeutically equivalent to its brand-

name drug because it is the same drug. This is true even if the brand-name drug is “single source,”

meaning there are no ANDAs approved for that product, or coded as non-equivalent by the FDA

in the Orange Book. While a separate NDA is not required for marketing an authorized generic,

FDA requires that the NDA holder notify the FDA if it markets an authorized generic. The NDA

holder may market both the authorized generic and the brand-name product at the same time.

        136.    FDA publishes a list of reported authorized generics and updates that list

quarterly. 74

        137.    To be clear, these are “generics” in name only. In fact, these products are the actual

brand-name medications. They are simply marketed as a generic for price and insurance purposes.

To be clear, these are “generics” in name only. In fact, these products are the same as brand-name

medications, but may have a different color or marking. They are simply marketed as a generic for




74
   See, e.g., FDA Listing of Authorized Generics (April 1, 2020), available at
https://www.fda.gov/about-fda/center-drug-evaluation-and-research-cder/fda-listing-authorized-
generics.



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price and insurance purposes.

        138.    This often happens when the brand-name drug is nearing its patent expiration. 75 For

example, to forestall competition from a generic manufacturer, the brand manufacturer strikes a

deal: in exchange for dismissal of pending patent infringement litigation, the generic manufacturer

(often a division of the brand manufacturer) can market its brand-name drug as an authorized

generic if it delays making its own generics for a certain period of time.

        139.    For the brand company, an authorized generic launch may provide a means to hold

onto some of the monopoly revenue it would lose from the termination of brand-name exclusivity

that would otherwise go to the generic first-filer.




                1. Medicare Part D Relies on Health Plans Competing Vigorously to Drive
                   Adoption of Less Costly Generic Drugs.

        140.    Policymakers have long recognized the need for robust generic competition to help

bring down the cost brand-name prescription drug costs. 76 The Medicare Part D prescription drug

program – which covers 43 million American elderly, ESRD and disabled beneficiaries – relies on

the assumption that health plans like SilverScript would vigorously compete to drive adoption of

less costly generic drugs. 77



75
  Authorized Generic Drugs: Short-Term Effects and Long-Term Impact, Federal Trade
Commission (Aug. 2011).
76
  See, e.g., Minority Staff of the U.S. Senate Committee on Finance, A Tangled Web: An
Examination of the Drug Supply and Payment Chains (June 2018), at viii.
77
  Kaiser Family Foundation, An Overview of the Medicare Part D Prescription Drug Benefit
(October 2018), https://www.kff.org/medicare/fact-sheet/an-overview-of-the-medicare-part-d-
prescription-drug-benefit/.



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         141.    However, Part D plans like SilverScript have instead often preferred higher-cost

brand-name products over lower-cost generics, blocking beneficiary access to generics and

generating additional costs to the Medicare program as well as to elderly, ESRD and disabled

beneficiaries.

         142.    Specifically, CMS has noted there are “instances when Part D sponsors are not

including generic alternatives when available. Instead, sponsors are covering only the brand drugs,

which decreases generic substitution and increases beneficiary costs.” 78

                 2. Medicare Requires PDPs to Advise Beneficiaries of the Cost Differential for
                    the Lowest Price Generic Alternative.

         143.    As part of the requirement that drugs are provided economically to the Government,

Medicare requires PDP Sponsors to have a “cost-effective drug utilization management program.”

This provision specifically requires PDP Sponsors have “incentives to reduce costs when

medically appropriate, such as through the use of multiple source drugs.” 79 Thus, Medicare

explicitly recognizes that generics drugs can provide Medicare and Part D beneficiaries with more

affordable alternatives and should be utilized.

         144.    Medicare Part D not only requires Sponsors to reduce costs through making

multiple source drugs available to beneficiaries, the statute also states that Sponsors are to require

that pharmacies that dispense drugs covered by Part D must advise beneficiaries of any differential

between the price of the drug to the enrollee and the price of the lowest-priced equivalent generic




78
  Centers for Medicare & Medicaid Services, Announcement of Calendar Year (CY) 2020
Medicare Advantage Capitation Rates and Medicare Advantage and Part D Payment Policies
and Final Call Letter (April 2019), https://www.cms.gov/Medicare/Health-Plans/
MedicareAdvtgSpecRateStats/Downloads/Announcement2020.pdf.
79
     42 U.S.C.A. § 1395w-104(c)(1)(A).



                                                  42
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that is therapeutically equivalent and bioequivalent available at the pharmacy. 80

         145.   In its June 28, 2005 Final Regulations, CMS explained this disclosure requirement

as follows:

         Under section 1860D–4(k) of the Act, Part D plans must provide that each
         pharmacy in their networks complies with the requirement to disclose to
         beneficiaries information about less expensive therapeutically equivalent and
         bioequivalent covered Part D drugs. Specifically, Part D plans must provide
         information about the differential between the price of the covered Part D drug to
         the enrollee (factoring in any applicable cost-sharing) and the price of the lowest-
         priced therapeutically equivalent and bioequivalent drug available at that
         pharmacy. 81

         146.   Section § 423.132 makes clear the disclosure requirements: “[A] Part D sponsor

must require a pharmacy that dispenses a covered Part D drug to inform an enrollee of any

differential between the price of that drug and the price of the lowest priced generic version of that

covered Part D drug that is therapeutically equivalent and bioequivalent and available at that

pharmacy, unless the particular covered Part D drug being purchased is the lowest-priced

therapeutically equivalent and bioequivalent version of that drug available at that pharmacy.” 82

         147.   Nor is the disclosure requirement limited only to instances in which the beneficiary

requested the generic pricing information. Industry comments to the proposed regulations asked

that pharmacies not be required to disclose pricing information unless the beneficiary had

requested this information. CMS rejected this suggestion, responding that pharmacies must in all



80
     Medicare Modernization Act § 1860D-4 (k)(1); 42 U.S.C. 1395w-104(k)(1).
81
  Final Regulations, Medicare Program; Medicare Prescription Drug Benefit, 70 Fed. Reg. 4194,
4274 (Jan. 28, 2005).
82
   Id. at 4446. See also CMS, Prescription Drug Benefit Manual, Chapter 5: Benefits and
Beneficiary Protections, at 70 (Sept. 20, 2011), available at
https://www.cms.gov/Medicare/Prescription-Drug-
Coverage/PrescriptionDrugCovContra/Downloads/MemoPDBManualChapter5_093011.pdf.



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instances disclose the price of equivalent generic drugs because this requirement is designed to

protect against withholding “valuable” information of which consumers may not be aware and

“will save money for beneficiaries, PDPs, and Medicare”:

          Comment: One commenter concerned with the burden on pharmacies to disclose
          pricing information stated that the disclosure requirement should be limited to cases
          in which an enrollee asks for this information at the pharmacy.

          Response: . . . Part D plans must require network pharmacies, except for those
          which we have specifically exempted from the requirement, to disclose
          information about price differentials. We cannot limit this requirement to
          circumstances in which an enrollee specifically asks for the information.
          Furthermore, we believe such disclosure will provide enrollees—many of whom
          may not know that less expensive generic equivalents are available—with valuable
          information that will save money for beneficiaries, Part D plans, and
          Medicare. 83

          148.   Likewise, CMS rejected limiting pricing disclosure to only those instances when

the prescriber has stated “Do Not Substitute” (i.e., DAW 2) because disclosing prices for less

costly generics provides “valuable information that will save money for beneficiaries, Part D plans,

and Medicare”:

          Comment: One commenter recommended disclosure only when a brand-name drug
          is prescribed and the prescriber has not stated ‘‘Do Not Substitute.’’

          Response: . . . Part D plans must require network pharmacies, except for those
          which we have specifically exempted from the requirement, to disclose information
          about price differentials. We cannot limit this requirement to circumstances in
          which a prescriber has written a prescription for a brand-name drug and has
          not specifically stated that the pharmacy must not substitute the brand-name
          drug for a generic drug. We believe such disclosure will provide enrollees
          many of whom may not know that less expensive generic equivalents are
          available with valuable information that will save money for beneficiaries,
          Part D plans, and Medicare. 84

          149.   Furthermore, the comments make clear that the Medicare PDP Sponsor is to ensure


83
     Id. at 4725 (emphasis added).
84
     Id. (emphasis added).



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the pharmacies in its network comply with the requirement to disclose price differentials for less

costly generic options: “Under section 1860D–4(k) of the Act, PDPs must provide that each

pharmacy in their networks complies with the requirement to disclose to beneficiaries information

about less expensive, therapeutically equivalent, and bioequivalent covered Part D drugs.

Specifically, PDPs must provide information about the differential between the price of the

covered Part D drug to the enrollee (factoring in any applicable cost sharing) and the price of the

lowest priced therapeutically equivalent and bioequivalent drug available at that pharmacy.” 85

          150.      As recently as May 17, 2018, then CMS Administrator Seema Verma reminded

PDP Sponsors “that they must require their network pharmacies to disclose any differential

between the price of a Part D drug and the price of the lowest cost therapeutically-equivalent

generic version of that Part D drug.” 86




                    1. Plans Must Submit Accurate DAW Coding as Part of Each Claim

          151.      CMS requires Plan Sponsors to submit data, referred to as PDEs, for each

prescription for which the Plan Sponsor has paid. 87 PDE data are used, in part, to validate claims,

monitor quality, and make year-end risk corridor calculations. 88

          152.      When pharmacies dispense drugs to Medicare Part D enrollees, the pharmacies


85
     Id. at 4274.
86
   See Seema Verma letter to PDP Sponsors, Unacceptable Pharmacy Gag Clauses (May 17,
2018), available at https://www.cms.gov/Newsroom/MediaReleaseDatabase/Press-
releases/Other-Content-Types/2018-05-17.pdf.
87
  42 C.F.R. § 423.329(b)(3) (“data collection”); CMS, Updated Instructions: Requirements for
Submitting Prescription Drug Event Data, at 5 (Apr. 27, 2006) (“PDE Instructions”).
88
     Id. at 5-6.



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submit claims electronically to the enrollees’ PDP Sponsor (often via a PBM) comprised of several

pieces of information, including the ingredient cost (the cost of the drug itself), a dispensing fee,

and any sales or similar taxes paid, less any payments received from the enrollee and any rebates

received from the drug's manufacturer or distributor.

           153.   CMS requires PDP Sponsors to submit PDE records containing 36 CMS and 20

NCPDP fields. The PDE Instructions explain that the PDP Sponsor is responsible for the

submission of PDE data. 89 The PDE Instructions also state that, “[a]s a condition of payment, all

Part D plans must submit data and information necessary for CMS to carry out payment provisions

(§1860D-15(c)(1)(C) and (d)(2) of the Act, and 42 CFR §423.322).” 90

           154.   The PDE Instructions make clear that CMS “employ[s] the National Council for

Prescription Drug Programs (NCPDP) industry standard whenever possible. Most data elements

represent existing NCPDP fields where [CMS] employ[s] the same definition and field values that

are currently in use per the NCPDP version D.0 drug claim standard.” 91

           155.   “[E]ach data element and its specific potential use for CMS’s payment process” is

included in the PDE Instructions.

           156.   Field 18 is particularly at issue here. Field 18 is entitled “DAW/Product Selection

Code” and “indicate[s] the prescriber’s instruction regarding substitution of generic equivalents or

order to dispense the specific product written.” 92



89
   Id. at 9 (“For each dispensing event, the plan must submit a prescription drug event or PDE
record.”).
90
     Id. at 5.
91
     Id. at 11.
92
     Id. at 13.



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           157.    Ten numbers (0-9), called DAW codes, may be entered into Field 18 of the PDE

record to indicate information about the prescriber’s generic substitution instructions or lack

thereof. The DAW Code indicates whether a generic drug was substituted for a brand-name one,

and if not, why no substitution was made.

           158.    The 2022 CMS PDE inbound file layout describes the DAW as follows: 93

 FIELD       FIELD           NCPDP      POSITION       PICTURE       NCPDP,       DEFINITION / VALUES
 NO.         NAME            FIELD                                   CMS OR
                                                                     PDFS
                                                                     DEFINED
 18          DISPENSE        408-D8     170 - 170      X(1)          NCPDP        0=No Product Selection Indicated
             AS                                                                   1=Substitution Not Allowed by Prescriber
             WRITTEN                                                              2=Substitution Allowed - Patient
             (DAW)                                                                Requested Product Dispensed
             PRODUCT                                                              3=Substitution Allowed - Pharmacist
             SELECTION                                                            Selected Product Dispensed
             CODE                                                                 4=Substitution Allowed - Generic Drug
                                                                                  Not in Stock
                                                                                  5=Substitution Allowed - Brand Drug
                                                                                  Dispensed as Generic
                                                                                  6=Override
                                                                                  7=Substitution Not Allowed - Brand Drug
                                                                                  Mandated by Law
                                                                                  8=Substitution Allowed Generic Drug
                                                                                  Not Available in Marketplace
                                                                                  9=Other



           159.    NCPDP has defined the ten numbers for filling the DAW Code as: 94

     CODE DESCRIPTION
          No Product Selection Indicated - This is the field default value that is appropriately used for
          prescriptions for single source brand, co-branded/co-licensed, or generic products. For a multi-
     0    source branded product with available generic(s), DAW 0 is not appropriate, and may result in a
          reject.
              Substitution Not Allowed by Prescriber – This value is used when the prescriber indicates, in a
     1        manner specified by prevailing law, that the product is Medically Necessary to be Dispensed As
              Written. DAW 1 is based on prescriber instruction and not product classification.


93
   See CMS, “Prescription Drug Program (Part D)”,
https://www.csscoperations.com/internet/csscw3.nsf/DID/C7NXNZ6PBK
94
   The Proper Use of the NCPDP® Telecommunication Standard Version D.0 as it applies to the
Implementation of Medicaid Reimbursement Methodologies Based on Actual Acquisition Cost
(AAC) Plus a Professional Dispensing Fee Version 1.1 April 2017, available at
https://www.ncpdp.org/NCPDP/media/pdf/wp/NCPDPTelecommMedicaidReimbursement.pdf.


                                                          47
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                 Substitution Allowed-Patient Requested Product Dispensed-This value is used when the prescriber
     2           has indicated, in a manner specified by prevailing law, that generic substitution is permitted and the
                 patient requests the brand product. This situation can occur when the prescriber writes the
                 prescription using either the brand or generic name and the product is available from multiple
                 sources.
                 Substitution Allowed-Pharmacist Selected Product Dispensed-This value is used when the prescriber
     3           has indicated, in a manner specified by prevailing law, that generic substitution is permitted and the
                 pharmacist determines that the brand product should be dispensed. This can occur when the
                 prescriber writes the prescription using either the brand or generic name and the product is available
                 from multiple sources.
                 Substitution Allowed-Generic Drug Not in Stock-This value is used when the prescriber has
     4           indicated, in a manner specified by prevailing law, that generic substitution is permitted and the
                 brand product is dispensed since a currently marketed generic is not stocked in the pharmacy. This
                 situation exists due to the buying habits of the pharmacist, not because of the unavailability of the
                 generic product in the marketplace.
                 Substitution Allowed-Brand Drug Dispensed as a Generic-This value is used when the prescriber has
     5           indicated, in a manner specified by prevailing law, that generic substitution is permitted and the
                 pharmacist is utilizing the brand product as the generic entity.
                 Override-This value is used by various claims processors in very specific instances as defined by that
     6
                 claims’ processor and/or its client(s).
                 Substitution Not Allowed-Brand Drug Mandated by Law-This value is used when the prescriber has
                 indicated, in a manner specified by prevailing law, that generic substitution is permitted but
     7           prevailing law or regulation prohibits the substitution of a brand product even though generic
                 versions of the product may be available in the marketplace.
                 Substitution Allowed-Generic Drug Not Available in Marketplace-This value is used when the
                 prescriber has indicated, in a manner specified by prevailing law, that generic substitution is
     8           permitted and the brand product is dispensed since the generic is not currently manufactured,
                 distributed, or is temporarily unavailable.
                 Substitution Allowed By Prescriber but Plan Requests Brand – Patient’s Plan Requested Brand
     9           Product To Be Dispensed - This value is used when the prescriber has indicated, in a manner
                 specified by prevailing law, that generic substitution is permitted, but the plan’s formulary requests
                 the brand product. This situation can occur when the prescriber writes the prescription using either
                 the brand or generic name and the product is available from multiple sources.



           160.       As the NCPDP has stated, “[p]harmacy systems are coded to maintain compliance

with the HIPAA-named NCPDP Telecommunication Standard and cannot alter the DAW code

logic to support other situations. Manual exception override processes also create significant

barriers to pharmacy workflow processes and negate training and policies that ensure

standardization and compliance with the Telecommunication Standard.” 95

           161.       While Code 0 is the “default,” NCPDP makes clear that, for “a multi-source


95
     Id. at 7.



                                                              48
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branded product with available generic(s), DAW 0 is not appropriate, and may result in a reject.” 96

(emphasis added)

         162.   CVS Caremark’s own “Caremark Participating Pharmacy Administrative Manual”

includes guidance on DAW Codes as well. As the manual says, “CAREMARK supports the

NCPDP standard (Dispense As Written) DAW codes. To ensure accurate reimbursement, always

include the correct (DAW) code when you submit a claim.” 97

         163.   CVS Caremark’s Administrative Manual provides further guidance on DAW

Codes:




96
   Authorized generics are considered single-source if the product is only available from one
labeler. A product with an authorized generic will become multi-source when products are
available from additional labelers.
97
     Exhibit 1 (CVS-002944).


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       164.       If a pharmacy dispenses a brand-name multisource drug (a drug for which there is

a brand-name and approved generic alternative from another labeler), the pharmacy must provide

the basis for its decision not to substitute a generic in the form of a “Dispense as Written/Product

Selection Code,” or “DAW Code.”

       165.       CMS recognizes that “excessive use of certain DAW codes may raise red flags from

an audit perspective, especially the use of DAW 1 on multi-source products. Review acceptable

use of DAW 1 and DAW 9 codes with staff and emphasize appropriate documentation

procedures.” 98

       166.       The PDP Sponsor then is to use the information provided by the pharmacies,

reformat it, and submit it to CMS as part of the PDE record. CMS uses the PDE information at the

end of the payment year when it reconciles its advance payments to the PDP Sponsor with the



98
  Centers for Medicare and Medicaid Services, Pharmacy Self-Auditing: Control Practices to
Improve Medicaid Program Integrity and Quality Patient Care; Booklet 4: Billing Practices,
December 2015, available at: https://www.cms.gov/Medicare-Medicaid-Coordination/Fraud-
Prevention/Medicaid-Integrity-Education/Downloads/pharmacy-selfaudit-booklet4-billing-
practice.pdf.



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costs the Sponsor has incurred throughout the year.

          167.   Medicare Part D requires that, as a condition of payment, all PDP Sponsors must

submit data and information necessary for CMS to carry out Part D’s payment provisions,

including claims information provided by the pharmacy for use in the PDE. 99

          168.   PDP Sponsors like SilverScript are “Health Care Providers” and “Covered Entities”

under the Health Insurance Portability and Accountability Act (“HIPAA”). 100

          169.   As HIPAA Covered Entities, PDP Sponsors and pharmacies are required to comply

with certain electronic data transmission standards that CMS has adopted by regulation for

pharmacy claims processing, including standards developed by NCPDP. 101

          170.   The CVS Pharmacies and all non-CVS owned pharmacies in its networks were also

required by their contracts with CVS Caremark to comply with NCPDP’s standards regarding the

electronic processing of claims. For example, the CVS Caremark standard contract with network

pharmacies required, for “on-line claim submissions,” that the “Pharmacy Provider” “shall submit”

“required fields identified in the NCPDP Telecommunication Standard format.”

          171.   Relying on the integrity of the claim information provided by the PBM and/or the

network pharmacies, PDP Sponsors certify to CMS that the PDE information is accurate,

complete, and truthful. 42 C.F.R. § 423.505(k)(3), entitled “Certification of data that determine

payment,” provides in relevant part:

          CEO, CFO, or an individual delegated with the authority to sign on behalf of one
          of these officers, and who reports directly to the officer, must certify (based on best
          knowledge, information, and belief) that the claims data it submits under §


99
     42 U.S.C. § 1395w-115(c)(l)(C), (d)(2); 42 C.F.R. § 423.32.
100
      42 U.S.C. 1320(d); 45 C.F.R. § 160.103.
101
      See 45 C.F.R. § 162 et seq.



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          423.329(b)(3) ... are accurate, complete, and truthful and acknowledge that the
          claims data will be used for the purpose of obtaining Federal reimbursement. If the
          claims data are generated by a related entity, contractor, or subcontractor of a Part
          D plan sponsor, the entity, contractor, or subcontractor must similarly certify
          (based on best knowledge, information, and belief) the accuracy, completeness,
          and truthfulness of the data and acknowledge that the claims data will be used
          for the purposes of obtaining Federal reimbursement. 102

          172.   Section 423.329(b)(3) thus “relate[s] directly to the payment of Part D claims” and

required the certification by SilverScript and its subcontractors that “the submitted data is accurate,

complete and truthful.” 103

                 2. Inappropriate Use of DAW Codes May Be Indicative of Fraud, Waste and
                    Abuse

          173.   DAW codes are a crucial part of the PDE submission for multiple reasons. As one

state Medicaid system put it, the codes are “an integral part of accurate billing” and provide “the

reason why a specific brand or generic is dispensed based on the prescriber’s instructions. Failure

to accurately use DAW codes results in misinformation to the Pharmacy program and its decision

making process. Misinformation on claims may also result in retrospective pharmacy review

and/or recoupment. Inaccurate usage of DAW codes is among one of the discrepancies found

during an audit . . . .” 104

          174.   CMS has specifically identified as an example of potential pharmacy fraud, waste

and abuse the “inappropriate use of dispense as written (‘DAW’) codes.” 105 Furthermore, in a


102
      42 C.F.R. § 423.505(k)(3) (emphasis added).
103
      U.S. ex rel. Fox Rx, Inc. v. Omnicare, Inc., 38 F.Supp.3d 398, 411 (S.D.N.Y. 2014).
104
   Alabama Medicaid Program, Appropriate Utilization of Dispense As Written (DAW) Codes,
available at https://medicaid.alabama.gov/documents/4.0_Programs/4.3_Pharmacy-
DME/4.3.2_Billing_Policy_Info/4.3.2_Appropriate_Utilization_DAW_Codes_10-3-12.pdf.
105
   Centers for Medicare and Medicaid Services, “Prescription Drug Benefit Manual, Chapter 9 --
Part D Program to Control Fraud, Waste and Abuse,” Rev. 5, 09-26-08 at 51.



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December 2015 guidance document, CMS also asked pharmacies to “[c]onsider the risk for fraud,

waste, or abuse if pharmacy staff members adjudicate claims with inaccurate product selection

[DAW] codes.” 106

       175.    Whether a brand-name or generic drug ultimately is dispensed at the pharmacy

starts with the prescriber writing the prescription. Most of the time a prescriber does not indicate

one way or another whether the pharmacy should dispense the brand-name or the generic drug. In

those cases, except in States that require mandatory generic substitution, the pharmacy is allowed

to, and will typically, dispense the less costly option for the beneficiary and more profitable for

the pharmacy. In limited circumstances, however, the prescriber may determine in his or her

clinical judgment that a brand-name version of a drug is medically necessary. If that is the case,

the prescriber indicates on the prescription in accordance with applicable law that the pharmacy is

to dispense the brand-name product. 107

       176.    Once the prescription is received by the pharmacy, the pharmacy is responsible for




106
   Centers for Medicare and Medicaid Services, Pharmacy Self-Auditing: Control Practices to
Improve Medicaid Program Integrity and Quality Patient Care; Booklet 4: Billing Practices,
December 2015, available at: https://www.cms.gov/Medicare-Medicaid-Coordination/Fraud-
Prevention/Medicaid-Integrity-Education/Downloads/pharmacy-selfaudit-booklet4-billing-
practice.pdf.
107
    While these seventeen state mandatory generic substitution laws differ slightly in how
prescribers may override the obligation to substitute with the generic, they all generally require
prescribers to indicate that the brand is medically necessary, and are explicitly required to write
“dispense as written,” “no substitution allowed,” or similar clear instruction on hard-copy
prescriptions or to select the “dispense as written” field for e-prescriptions.



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selecting at the point of sale the DAW code to include on the PDE record. 108

            177.   When submitting PDE records for reimbursement, however, the PDP Sponsor is

responsible for assuring and certifying that the information in the PDE – such as the DAW Code

– is “accurate, complete, and truthful” and “acknowledge that the claims data will be used for the

purposes of obtaining Federal reimbursement.” 109

            178.   The PDP Sponsor’s responsibility to ensure the accuracy, completeness, and

truthfulness of the data “includes if the claims data are generated by a related entity, contractor, or

subcontractor of a Part D plan sponsor, the entity, contractor, or subcontractor must similarly

certify (based on best knowledge, information, and belief) the accuracy, completeness, and

truthfulness of the data and acknowledge that the claims data will be used for the purposes of

obtaining Federal reimbursement.” 110

            179.   Which DAW code the pharmacy chooses (and which is then certified as accurate

by the PDP Sponsor) is determined by several variables, such as the prescriber’s instructions, the

patient’s request for a brand-name or generic drug, state pharmacy law, and whether there are

different versions of the prescribed drug (e.g., if there is a generic version and a brand-name

version). The combinations of these variables result in scenarios that are reflected in the DAW

Codes submitted as part of the PDE record.



108
   See The Proper Use of the NCPDP® Telecommunication Standard Version D.0 as it applies to
the Implementation of Medicaid Reimbursement Methodologies Based on Actual Acquisition Cost
(AAC) Plus a Professional Dispensing Fee Version 1.1 April 2017, available at
https://www.ncpdp.org/NCPDP/media/pdf/wp/NCPDPTelecommMedicaidReimbursement.pdf.
(“[T]he data field Dispense as Written (DAW)/Product Selection Code (408-D8) is required to be
sent by the pharmacy to the processor/PBM.”).
109
      42 C.F.R. § 423.505(k)(3).
110
      Id.



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          180.   Medicare uses the NCPDP standards to define the proper use of DAW Codes.111

The most up-to-date NCPDP standards, NCPDP Telecommunication Standard Version D.0

(2017), define DAW Code 0 as:

          No Product Selection Indicated - This is the field default value that is appropriately
          used for prescriptions for single source brand, co-branded/co-licensed, or generic
          products. For a multi-source branded product with available generic(s), DAW 0 is
          not appropriate, and may result in a reject.

          181.   While the title of DAW Code 0 indicates that Code 0 is for use when “no product

is selected,” the definition of DAW Code 0 indicates that it should only be used when dispensing

generic products or single source brand-name products – not in every circumstance in which no

product selection is indicated. As the NCPDP definitions make clear, a DAW Code 0 “is not

appropriate” for brand-name drugs with an available generic.

          182.   The conclusion that DAW Code 0 is not the correct DAW code when dispensing a

brand-name product that has an available generic is supported by numerous other sources,

including CVS Health’s own internal guidance:

          CVS Caremark’s Administrative Manual instructs pharmacists to “Use the DAW 0
          code when dispensing a generic drug; that is, when no party (i.e., neither
          Prescribing Provider, nor pharmacist, nor Participant) requests the branded version
          of a multi-source product.” (emphasis added). 112

          183.   CVS’s Provider Manual also includes a Reject Code for using a DAW Code 0 when

dispensing a brand-name drug with available generics: “DAW 0 cannot be submitted on a multi-

source drug with available generics. 407-D7, 408-D8.” 113



111
      See Moeckel v. Caremark, Inc., 622 F. Supp. 2d 663, 683 (M.D. Tenn. 2007).
112
      Exhibit 1 (CVS-002944).
113
    See CVS, “Reject Codes: Provider Manual Appendix B,” at p. 33 (June 1, 2019),
https://www.caremark.com/portal/asset/CVSCaremarkPayerSheetRejectCodes.pdf



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       184.    Use of DAW Code 0 is therefore false when dispensing brand-name products that

have generics available. This means that in the seventeen states where generic substitution is

required, there is no correct DAW Code when a pharmacy chooses not to dispense an available

generic drug in favor of a more expensive brand-name drug. Any DAW Code submitted in those

situations would thus be false.

       185.    It makes sense that the DAW codes would not cover situations in which a pharmacy

chooses to violate state law by not substituting a generic. When substitution of a generic is

mandatory, the correct action is for the pharmacist to substitute the generic product and use DAW

Code 0 (unless there are other extenuating circumstances like the generic not being in stock or the

patient requesting the brand-name specifically). Even if a formulary only covers the brand-name

product, these seventeen mandatory generic substitution States require that, if the generic cash

price is less costly for the beneficiary, the pharmacy must dispense the generic. 114

       186.    Even in states that do not mandate generic substitution, DAW Code 0 is not correct

when dispensing the brand-name product. Simply put, if a pharmacy dispenses a brand-name when

a generic was available, the DAW code needs to reflect an accepted reason why. 115 The DAW

codes provide the acceptable reasons (e.g., prescriber indicates that the brand-name is medically

necessary (DAW Code 1), the patient requests the brand-name (DAW Code 2), the generic drug



114
    In all but four mandatory substitution States (Florida, Minnesota, Nevada, and Tennessee),
there is no requirement that the lower cost generic be on the formulary.
115
   See The Proper Use of the NCPDP® Telecommunication Standard Version D.0 as it applies to
the Implementation of Medicaid Reimbursement Methodologies Based on Actual Acquisition Cost
(AAC)      Plus     a   Professional      Dispensing      Fee      Version     1.1     April   2017,
https://www.ncpdp.org/NCPDP/media/pdf/wp/NCPDPTelecommMedicaidReimbursement.pdf.
(“[The DAW] field was intended to communicate to the processor/PBM the prescriber’s
instructions as to whether generic substitution is allowed, or alternate reasons as to why the multi-
source brand-name product is being dispensed.”).



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is not in stock (DAW Code 4, etc.). The most up-to-date version of the NCPDP DAW codes also

includes DAW Code 9. 116 NCPDP defines DAW Code 9 as:

       Substitution Allowed By Prescriber but Plan Requests Brand – Patient’s Plan
       Requested Brand Product To Be Dispensed - This value is used when the
       prescriber has indicated, in a manner specified by prevailing law, that generic
       substitution is permitted, but the plan’s formulary requests the brand product. This
       situation can occur when the prescriber writes the prescription using either the
       brand or generic name and the product is available from multiple sources.

       187.    Thus, if a pharmacy in a non-mandatory substitution state chooses to dispense a

brand-name version of a drug because of formulary considerations even though there is a generic

available, the proper Code is DAW Code 9 – not DAW Code 0. Because the pharmacy does not

have an obligation to dispense a less costly generic, it can choose to dispense the brand-name

version even though it is more expensive if the plan wishes it to do so. 117 What the pharmacy

cannot do, however, is to mispresent the reason why it chose to dispense the brand-name drug.

       188.    Yet, following the instructions of the plan to dispense the brand-name drug and

submitting the PDE with DAW Code 9 is not always correct. Using DAW Code 9 is incorrect if a

pharmacy is in a mandatory substitution State when there are less costly generics available. Even

though the DAW Code 9 can be used to indicate situations in which the plan requests the brand-

name product instead of the generic, the DAW Code cannot be used to supersede state law. This

Second Amended Complaint contains examples of DAW Code 9 being used when dispensing a




116
   Previous versions just had an “other” category as Code 9. CMS’s 2022 PDE Inbound File
Layout Effective 01/01/2022 also continues to use Code 9 as “Other.”
117
    However, according to the CMS required provisions in the retail pharmacy contract include
“Provisions governing informing the Part D enrollee at the point of sale (or at the point of delivery
for mail order drugs) of the lowest-priced, generically equivalent drug, if one exists for the
beneficiary's prescription, as well as any associated differential in price.” 42 CFR §423.132. One
in fact did exist with the applicable authorized generics and the “enterprise wide benefit” CVS
sought negated pharmacies fulfilling this CMS required contractual element.


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brand-name product in violation of state mandatory substitution laws.

          189.   As part of the PDE record, SilverScript had to submit accurate DAW coding

information indicating that the brand-name versions of the SSG/DNS Drugs were dispensed at the

pharmacy in order to receive the correct – i.e., higher – reimbursement amounts for the brand-

name versions.

          190.   A pharmacy may only lawfully dispense a brand-name product in States requiring

generic substitution in very limited circumstances. These circumstances include when the

prescriber specifies that substitution is not allowed (DAW Code 1), when the generic product is

not in stock (DAW Code 4), when prescriber has indicated that generic substitution is permitted

and the pharmacist is utilizing the brand product as the generic entity (DAW 5), or when there is

no generic product in the marketplace (DAW Code 8).

          191.   There simply is no DAW Code for blocking the dispensing of an available generic

drug in favor of a more expensive brand-name drug when generic substitution is mandated by State

law.




                 1.     State Pharmacy Laws Apply to Determine Whether a Medicare Part D
                        Prescription Is “Valid”

          192.   All contracts between CMS and PDP Sponsors must include the requirement that

the Sponsor agrees to comply with state law. 118

          193.   Under the relevant Medicare Part D regulations, 119 a “Valid Prescription” is a

“prescription that complies with applicable state law requirements constituting a valid


118
      42 C.F.R. § 423.505(b)(15).
119
      42 C.F.R. §§ 423.100, 423.104(h).



                                                   58
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prescription.” As such, the Part D regulations defer, “when applicable, to state law to determine

whether a prescription is valid such that the prescribed drug may be eligible for Part D

coverage.” 120

            194.   This means that “State law applies in determining what constitutes a valid

prescription and that Part D benefits should be available only for otherwise covered drugs that are

dispensed upon a valid prescription.” 121

            195.   Medicare regulations thus explicitly incorporate state law to determine whether a

prescription is valid. The validity of a prescription is a necessary condition precedent for a

prescription to be reimbursable by Medicare. All contracts between CMS and PDP Sponsors must

include the requirement that the Sponsor agrees to comply with state law. 122

            196.   The 2012 changes to Medicare Part D regulations reflect “CMS codification of

longstanding policy merely specifies in regulation that applicable State law applies in determining

whether a prescription is valid.” 123 This means that “State law applies in determining what

constitutes a valid prescription and that Part D benefits should be available only for otherwise

covered drugs that are dispensed upon a valid prescription.” 124



120
   Medicare Program, Changes to the Medicare Advantage and the Medicare Prescription Drug
Benefit Programs for Contract Year 2013 and Other Changes, 77 Fed. Reg. 22072, 22152, 22159
(April 12, 2012), https://www.govinfo.gov/content/pkg/FR-2012-04-12/pdf/2012-8071.pdf. The
2012 changes to Medicare Part D regulations reflect “CMS codification of longstanding policy
merely specifies in regulation that applicable State law applies in determining whether a
prescription is valid.” Id. at 22139.
121
      Id. at 22139.
122
      42 C.F.R. § 423.505(b)(15).
123
      Id. at 22139.
124
      Id.



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            197.   It is the PDP Sponsor’s obligation to ensure that its PBM and contracted network

pharmacies are complying with the Part D requirement that prescriptions be valid under applicable

state law. 125

            198.   Likewise, all pharmacies dispensing drugs to Medicare Part D beneficiaries remain

subject to state pharmacy laws. 126

            199.   As part of their minimum pharmacy standards, seventeen States require that generic

drugs must be substituted for brand-name drugs for all payors, including Medicare Part D, when

the generic version of the brand-name drug is less costly for the beneficiary. 127

            200.   A PDP Sponsor (or its PBM) that submits PDE records to Medicare when it knows

(or should have known) that the pharmacies in its network are not complying with the minimum

pharmacy standards in that state, such as mandatory generic substitution laws, therefore has

knowingly submitted (or caused to be submitted) false PDE records or statements which are

untruthful, inaccurate and incomplete.

            201.   It is the PDP Sponsor’s obligation to ensure that its PBM and contracted network

pharmacies are complying with the Part D requirement that prescriptions be valid under applicable

state law. 128

                   2.     Sponsors Must Require That Pharmacies Comply with State Mandatory
                          Generic Substitution Laws

            202.   Buying generic versions of prescription drugs instead of their brand-name

equivalents can significantly reduce overall prescription drug costs across the health care system.

Generics make up approximately 90% of all prescriptions, but they are only a fraction of overall


125
      Id.
126
      Id.




                                                   60
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costs. Brand-name drugs make up the remaining 10%, but account for 79% of all drug spending.

Furthermore, generic drugs have saved the U.S. health care system $1.67 trillion from 2007 to

2016. 129

        203.   State law dictates whether a pharmacist may substitute a brand-name drug with a

less expensive generic version when dispensing a prescription.

        204.   To increase access to generic drugs and reduce costs, state lawmakers have pursued

allowing a pharmacist to make a generic drug substitution. Nearly every state allows pharmacists

to substitute less costly generic drugs for brand-name drugs in certain circumstances. 130 In fact, as

explained infra, many States have mandated substitution of less costly generic drugs instead of

more expensive brand-name drugs.

        205.   Medicare Part D mandates that the PDP must require that pharmacies providing

services comply with minimum standards for pharmacy practice as established by the States.

        206.   The standard pharmacy contracts such as those between SilverScript and the CVS

Pharmacies require compliance with all state laws of the jurisdiction in which each prescription

service was received, as well as regulations necessary to lawfully perform the duties required under

the contract. Further, the contracts condition any payments thereunder upon the CVS Pharmacies’




129
   National Conference of State Legislatures, Prescription Drug Resource Center, Generic
Substitution Laws (May 3, 2019), available at
https://www.ncsl.org/portals/1/documents/health/Generic_Drug_Substitution_Laws_32193.pdf.
130
    See, e.g., Ariz. Rev. Stat. Ann. § 32-1963.01(A) (“If a medical practitioner prescribes a brand-
name drug and does not indicate an intent to prevent substitution as prescribed in subsection E of
this section, a pharmacist may fill the prescription with a generic equivalent drug.”); Ohio Revised
Code ORC § 4729.38 (“Unless instructed otherwise by the person receiving the drug pursuant to
the prescription, a pharmacist filling a prescription for a drug prescribed by its brand-name may,
subject to the following conditions, select a generically equivalent drug, or in the case of a drug
that is a biological product, select an interchangeable biological product:”).



                                                 61
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compliance with such applicable Federal and State laws, rules and regulations. 131

          207.   As part of their minimum pharmacy standards, seventeen States (hereinafter, the

“States” or “State”) require that generic drugs must be substituted for brand-name drugs for all

payors, including Medicare Part D, when the generic version of the brand-name drug is less costly

for the beneficiary. 132 These States’ laws mandating generic substitution constitute the minimum

standards for pharmacy practice with which Medicare Part D requires compliance. The relevant

State laws include 133:

                            State                         Citation
                  1.   Florida         Fla. Stat. § 465.025
                  2.   Hawaii          Haw. Rev. Stat. § 328-92
                  3.   Kentucky        KRS 217.822
                  4.   Maine           Me. Rev. Stat. Ann. Tit. 32, § 13781
                  5.   Maryland        Md. Code Ann., Health–Gen. § 15-118(a)
                  6.   Massachusetts   Mass. Gen. Laws ch. 112, § 12D
                  7.   Minnesota       Minn. Stat. § 151.21(3)
                  8.   Nevada          Nev. Rev. Stat. § 639.2583
                  9.   New Jersey      N.J. Stat. Ann. §24:6E-7
                 10.   New York        N.Y. Educ. Law §6816-a
                 11.   Pennsylvania    35 Pa. Cons. Stat. § 960.3
                 12.   Puerto Rico     P.R. Laws tit. 20, § 410b
                 13.   Rhode Island    R.I. Gen. Laws § 5-19.1-19
                 14.   Tennessee       Tenn. Code Ann. § 53-10-205
                 15.   Vermont         VT. Stat. Ann. Tit. 18, § 4605(a)
                 16.   West Virginia   W.Va. Code § 30-5-12b

131
      42 C.F.R. § 423.505(h)(15).
132
   Even with mandatory substitution laws, all States allow prescribers to block pharmacist
substitutions. Most involve the prescriber specifically prohibiting a substitution by stating that the
brand-name drug is (medically) necessary for the patient. The prescriber must also use language
such as “no substitution should be made”, “do not interchange” or “dispense as written/D.A.W.”
133
   Certain other states require substitution in particular instances. Michigan and Mississippi
require generic substitution if the patient requests it. See MCL 333.17755; Miss. Code. Ann. § 72-
21-117. Washington requires generic substitution, but only for biologics. See WI ST 450.13.


                                                 62
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                17. Wisconsin        WI ST 450.13

         208.   The failure to substitute generic drugs for more costly brand-name drugs, and the

submission of (or causing the submission of) false PDE records or statements in support of claims

for payment to the Medicare Part D program is a violation of the State laws mandating generic

substitution.

         209.   All such unsubstituted claims so paid by PDP Sponsors like SilverScript were false

as a result of unlawful conduct in refusing to require network pharmacies comply with State laws

requiring mandatory substitution of generic drugs instead of costlier brand-name bioequivalent

drugs.

         210.   PDP Sponsors must certify that the information submitted in their PDE records and

statements is truthful and complies with Medicare Part D’s requirements to follow State laws. By

virtue of their Electronic Data Interchange Agreements with CMS, PDP Sponsors and their

subcontractor PBMs also expressly certify, among other things, that the data they transmitted in

the PDE was “accurate and complete” to their “best knowledge, information and belief.”

         211.   A PDP Sponsor (or its PBM) that submits PDE records to Medicare when it knows

(or should have known) that the pharmacies in its network are not complying with the minimum

pharmacy standards in that State, such as mandatory generic substitution laws, knowingly has

submitted (or caused to be submitted) false PDE records or statements which are untruthful,

inaccurate and incomplete.

VI.      CVS HEALTH HAS ENGAGED IN SYSTEMATIC DECEPTION AND
         ANTICOMPETITIVE CONDUCT




         212.   At all times material hereto, CVS Health was obligated to (i) maintain a compliance




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program to ensure the integrity of their payment data 134; (ii) annually attest to the accuracy and

truthfulness of that data 135; and (iii) “comply with . . . Federal laws and regulations designed to

prevent or ameliorate fraud, waste, and abuse, including, but not limited to, applicable provisions

of Federal criminal law [and] the False Claims Act (31 USC §§ 3729 et seq.).” 136 The CVS Health

compliance program must be effective in detecting, correcting, and preventing Medicare program

noncompliance. 137

          213.   However, even after CVS Health entered into two (2) CIAs with the Office of

Inspector General of the Department of Health and Human Services in 2014 and 2016, wherein it

agreed to enhance its compliance programs, it nonetheless still included insufficient controls to

prevent the SSG/DNS Scheme of deception and outright lies to Medicare and Part D beneficiaries

as alleged herein.

          214.   However, as alleged herein, the CVS Health compliance program and its Code of

Conduct were a sham. In reality, CVS Health has systematically, unethically and illegally

conspired across its subsidiaries to deceive program beneficiaries and the Government through

their SSG/DNS Scheme to deny access to less costly generic drugs.

          215.   Nor did CVS Health have sufficient controls in place to ensure that the CVS

Pharmacies and non CVS Health-owned network pharmacies dispensed generic versions of the

SSG/DNS Drugs as required in those States with mandatory generic substitution laws.




134
      42 C.F.R. § 423.504(b)(4)(vi).
135
      42 C.F.R. § 423.505(k).
136
      42 C.F.R. § 423.
137
      42 C.F.R. § 423.504(b)(4)(vi).



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       216.      The CVS Health Executive Committee was made aware of the potential compliance

risk the company faced by implementing the SSG/DNS Scheme, but determined that

(comparatively) the risk was worth the substantial upside to the company, particularly since the

company faced severe austerity financial measures related to the delay in completing the Aetna

acquisition.

       217.      Likewise, numerous senior executives within CVS Health senior management

(including the Relator) complained that this was highly unethical, and pointed out that this was in

clear violation of its Code of Conduct. Moreover, they were afraid that CVS Health pharmacists

in charge of Medicare Part D coverage determinations would call the CVS Health “Ethics Line”

over fears that they could lose their licenses because they were being asked to deceive

beneficiaries.

       218.      Illustrating that any compliance concerns raised would have fallen on deaf ears, the

SSG/DNS Scheme had the explicit blessing of Patrick Jeswald, SilverScript Compliance Officer

from 2013 through 2018 and current CVS Health Chief Compliance Officer, Medicare. For

example, when Suboxone Film was added to the SSG/DNS Scheme, on March 5, 2019 Bethany

Crotts (Clinical Advisor, Medicare Part D) emailed Jeswald to confirm whether he had any concern

regarding the implementation of a block which would prevent SilverScript beneficiaries from

receiving the Suboxone Film generic. Jeswald responded the same day: “No concerns.”

       219.      Instead of “Doing the Right Thing,” as had been promised in its Code of Conduct,

CVS Health and its subsidiaries have conspired together to engage in a systematic scheme of

dishonest and unethical behavior (a) to violate its obligation under the FTC Consent Order that it

would not, directly or indirectly, make deceptive claims about the price or cost of Medicare Part

D prescription drugs; (b) to violate its obligation under the Federal antitrust laws not to share




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competitively sensitive information between its firewalled subsidiaries, which conduct was aimed

at increasing the cost of the SSG/DNS Drugs, thereby harming elderly, ESRD and disabled

SilverScript beneficiaries; (c) to mislead and deceive Medicare Part D beneficiaries; (d) to submit

false PDE records and statements in support of Medicare Part D claims which it knew were

untruthful, inaccurate and incomplete; (e) to refuse to dispense less costly generic drugs in those

States requiring mandatory generic substitution; and (f) to submit PDE data that was inaccurate,

incomplete and untruthful and thereby made false attestations about compliance with the law.



            220.   CMS encourages Part D sponsors to submit formularies similar to those in

widespread use in the market. CMS will check the formulary to ensure inclusion of a range of

drugs in a broad distribution of therapeutic categories and classes, in order to satisfy the Medicare

Modernization Act (MMA) requirement that a sponsor’s categorization system does not

substantially discourage enrollment by any group of beneficiaries. 138 CMS will consider the

specific drugs, tiering and utilization management strategies employed in each formulary, and will

identify outliers from common benefit management practices for further evaluation. Sponsors may

be asked to provide written clinical justification for unusual benefit features that are identified as

outliers. 139

            221.   A PDP Sponsor such as SilverScript cannot lie to, mislead, or keep critical

information from its beneficiaries to induce them to select a SilverScript plan, nor engage in

deception about the availability of less costly, identical authorized generics after the beneficiary

has enrolled in the plan. This is especially true when doing so results in elderly, ESRD and disabled


138
      Prescription Drug Benefit Manual Chapter 6, Section 30.2.
139
      Id.



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populations not being able to obtain their needed medication.

                 1. SilverScript Failed to Provide Information Regarding the SSG/DNS Scheme
                    to Prospective Part D Beneficiaries

          222.   So that beneficiaries can make informed choices in selecting a Part D plan, under

42 § 423.128(b)(2)(iii), CMS required SilverScript to provide accurate information regarding cost-

sharing (such as copayments, deductibles, and coinsurance). Section 423.128(b)(2)(iv) also

required SilverScript to provide any other conditions associated with receipt or use of benefits.

And, section 423.48 required SilverScript to provide information to allow “current and

potential Part D eligible individuals the information they need to make informed decisions among

the available choices for Part D coverage.”

          223.   Those disclosures did not happen here. To the extent that elderly, ESRD or disabled

beneficiaries would have investigated further, at no time would the SSG/DNS Scheme have been

disclosed in the SilverScript enrollment materials. For example, nowhere does the SilverScript

formulary ever explain to potential members that some of the time, instead of making less costly,

identical authorized generics the formulary choice, SilverScript would instead require them to pay

higher costs for the brand-name product. Instead, the formulary only discloses that SilverScript

would from time to time substitute the lower-cost generic drug, not the other way around. 140 This

is discriminatory and violates the obligation that Part D plans “must offer the Part D benefit

uniformly within the plan’s service area including any segments.” 141

          224.   Truthful, accurate information about the SilverScript formularies was necessary for

beneficiaries to make “informed decisions” about their coverage and plan choice. Yet, for any


140
     SilverScript Choice (PDP) 2020 Formulary (List of                   Covered    Drugs),   at   i,
https://www.silverscript.com/pdf/FORM_2020_CHOICE_EN.pdf
141
      CMS, Reinterpretation of the Uniformity Requirement (April 27, 2018).



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beneficiary who needed one of the SSG/DNS Drugs, SilverScript did not inform them that their

cost share would be higher than if the identical authorized generics were available or that the cash

price would often be less costly than the on-formulary SSG/DNS Drugs. SilverScript also did not

disclose that, as a result of its games, the SSG/DNS Scheme would force them into the Donut Hole

and the Catastrophic Coverage stages faster, nor that the Government’s costs would increase

dramatically.

            225.   A recent Drug Channels article demonstrates how PDPs’ gaming of the pricing of

brand-name drugs induces beneficiaries with the promise of lower premiums. In Adam J. Fein’s

January 22, 2020 Drug Channels article entitled “Why Part D Plans Prefer High List Price Drugs

That Raise Costs for Seniors,” 142 Fein illustrates that, despite drug manufacturers offering

authorized generic products with lower list prices, Medicare Part D plans were rejecting the

therapeutically identical and lower-priced authorized generic versions of these drugs. That

decision significantly affects seniors’ out-of-pocket costs because “Part D plans are needlessly

costing many of them thousands of dollars.” This practice also results in the Government’s

Medicare spending being “unnecessarily higher.” 143

            226.   Especially relevant here, Fein highlights the pricing for Gilead’s two hepatitis C

drugs, Harvoni and Epclusa, as well as the pricing for their identical authorized generics. 144 The

article explains that the less costly authorized generic drugs are not being included on Medicare

Part D formularies. According to Fein, the result has a significant impact for beneficiaries’ cost




142
    Adam Fein, Why Part D Plans Prefer High List Price Drugs That Raise Costs for Seniors, Drug
Channels (Jan. 22, 2020), https://www.drugchannels.net/2020/01/why-part-d-plans-prefer-high-
list-price.html.
143
      Id.



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for these drugs since they are pushed into the catastrophic phase sooner where their additional

costs may be substantial:

          Medicare beneficiaries, unlike those in most private insurance plans, can face
          unlimited out-of-pocket prescription drug costs if they reach the catastrophic
          coverage limit. Medicare covers 80% of the cost in the catastrophic phase, while
          plans pay 15% and the beneficiary pays 5% coinsurance.

          Progression through the Part D benefit tiers is based on the prescription price
          negotiated between the plan and the pharmacy. That negotiated price excludes
          rebates, so beneficiaries reach catastrophic coverage—and its unbounded 5% out-
          of-pocket expense—sooner when using products with higher list prices.



                                145


          227.   Here is a chart Fein shares to illustrate the dramatically increased costs for

beneficiaries:




145
      Fein article (emphasis added).



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            228.   According to Fein’s calculations, a Part D beneficiary’s median out-of-pocket costs

for brand-name Epclusa were $5,283 and $6,338 for brand-name Harvoni. By comparison, if the

less costly and identical authorized generics had been dispensed instead, he estimates that the out-

of-pocket costs would be about $3,300. 146

            229.   As it was required to do under the CVS Caremark deal with Gilead, SilverScript

has systematically preferred the SSG/DNS Drugs like Harvoni and Epclusa with higher list prices

than the identical authorized generics. Requiring them to use expensive drug products like Harvoni

and Epclusa pushes more beneficiaries into the Catastrophic Coverage Stage, where the plan

liability is low, but where Medicare and beneficiary liability could be substantial.

            230.   Fein describes the scheme as “gaming” which they use to reduce premiums,

enabling them to sign up more Part D enrollees on their plans: “Here’s the twist: Plans can use the

additional rebates earned from the high-list price products to reduce monthly premiums and grab

more Part D market share. The weird math of Part D bidding and its benefit structure encourage

this gaming.” 147

            231.   Illustrating how pernicious the Scheme is, it allowed CVS Health to collect more

rebates from the Drug Makers, allowing SilverScript to reduce premiums and actually enabling

SilverScript to sign up even more LIS beneficiaries through automatic enrollment.

            232.   There were an estimated 13 million Part D LIS enrollees in 2021. Beneficiaries who

are LIS qualify for the additional assistance, and CMS automatically enrolls them into PDPs with

premiums at or below the regional average (the LIS “Benchmark”) if they do not choose a plan on




146
      Id.
147
      Id. (emphasis added).



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their own. 148

        233.     To qualify as a Benchmark plan, the PDP premium must be at or below the regional

benchmark premium, calculated based on an enrollment-weighted average of the monthly

premiums between all PDPs offered in the region. LIS beneficiaries are automatically and

randomly assigned evenly between regional Benchmark plans. 149

        234.     Since its exit from the CMS sanctions on December 20, 2013, SilverScript has

relied heavily on auto-enrolling LIS beneficiaries for its growth. Much of its growth was fueled

by the SSG/DNS Scheme with the Drug Makers to block less costly generics on its formularies.

                 2. SilverScript’s Marketing Materials Were Materially Misleading and
                    Deceptive

        235.     The accuracy, completeness and truthfulness of marketing materials used by Part

D Sponsors, allowing beneficiaries to choose and enroll with a particular Part D Sponsor, is very

important for both the Part D beneficiary and the Medicare Part D Program because Part D

beneficiaries are encouraged to choose a plan based on representations which will directly affect

the coverage Medicare Part D will provide.

        236.     However, for the SSG/DNS Scheme to succeed, the deals CVS Caremark had

entered into required SilverScript to engage in systematic lies and deceit, starting with its

representations to potential beneficiaries evaluating what PDP to choose and continuing through

the administration of the plan. Throughout its solicitation materials provided to prospective Part D



148
  Kaiser Family Foundation, An Overview of the Medicare Part D Prescription Drug Benefit
(Oct. 13, 2021), available at https://www.kff.org/medicare/fact-sheet/an-overview-of-the-
medicare-part-d-prescription-drug-benefit/.
149
  Rajul Patel, Mark Alberg, Joseph Woelfel, Michelle Amaral, Paresh Varu, Medicare Part D
Roulette: Potential Implications of Random Assignment and Plan Restrictions, 3 Medicare &
Medicaid Research Review E1, E2 (2013).



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beneficiaries, SilverScript uses a bait-and-switch scheme to emphasize it is “All about you,”

deceptively telling elderly, ESRD and disabled prospective members that it will always act only

on behalf of beneficiaries and not in its own self-interest. Indeed, its marketing materials to

prospective enrollees show happy seniors hiking through the woods, telling them it has “one

focus”: “to deliver Medicare prescription drug coverage that works well every day, in every

way” 150:




           237.   As part of the sales pitch, SilverScript touts its expertise with Medicare Part D as a

reason beneficiaries should trust it to be honest: “We specialize in Medicare Part D — so you

don’t have to.” 151



150
   SilverScript 2020 Plan Decision Guide Your guide to choosing a Medicare Part D plan, at I
(emphasis added), https://www.silverscript.com/pdf/2020-plan-and-enrollment-guide.pdf
151
      Id. at 3.



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          238.   The message was that beneficiaries could trust SilverScript. One marketing piece

states that SilverScript is “[a]ll about quality, reliability and trust” and that “[m]illions of Medicare

beneficiaries choose SilverScript for the coverage, copays . . . and customer care.” 152




This trust in SilverScript was misplaced. In reality, once beneficiaries were enrolled, SilverScript

would not only block access to the generics of the SSG/DNS Drugs, it would mislead them about

their price or cost.

          239.   The SilverScript “Brand Promise” 153 to every Part D beneficiary emphasizes

“confidence,” “comfort,” and “consistency.” Beneficiaries were told SilverScript provided them

with “trust and peace of mind that they have chosen the right plan that cares for them.” Not only

that, but the Brand Promise was that, “[w]ith SilverScript, every prescription is more than a mere

transaction; each is a commitment to demonstrate our expertise and sole focus on delivering Part

D coverage that helps keep participants on their path to better health.”




152
      SilverScript 2019 Plan Decision Guide.
153
   See SilverScript 2016 Plan Year Preview, http://kafl.com/wp-
content/uploads/2015/11/2016cvssilverscriptsneakpeakallstates.pdf.



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What the Brand Promise does not mention is that SilverScript “trust and peace of mind” only went

so far. Often, when it was in CVS Health’s financial interest, rather than having as its “sole focus”

keeping beneficiaries on “their path to better health” through access to less costly (and identical)

generic drugs, CVS Health looked to its own profit instead.

          240.     It used the lure of low premium costs, telling prospective customers: “SilverScript

plans are affordable and comprehensive.” 154

          241.     One SilverScript online direct ad shows an actor portraying a flyfisherman and tells

viewers it will help prospective elderly, ESRD and disabled members “save money”:




154
      Id. at 11.



                                                    74
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           242.   The SilverScript marketing materials have also told prospective enrollees that using

a SilverScript plan will help them “cover the cost” of their expensive prescription drugs:

“Prescription drugs can be expensive. Our plans can help you cover the cost.” 155 And in another

marketing piece, it tells customers they should choose SilverScript because it will “protect your

health savings” through “lower premiums” and “competitive costs.” 156

           243.   These claims are materially inaccurate. If it were being honest, what SilverScript

should have said is that it “[h]elps you save money only some of the time.” Sadly, for the SSG/DNS

Drugs, SilverScript did not help defrauded beneficiaries at all, instead forcing them to take much

costlier brand-name drugs. Rather than giving them the “peace of mind” about their Medicare Part

D plan that they were promised, for any elderly, ESRD or disabled beneficiaries seeking less costly

versions of the SSG/DNS Drugs, its message was, as one 82-year-old woman living in Florida put

it when she was told she could not access the less costly Asacol HD, “tough luck.”

           244.   Nowhere in the promises made in its glossy marketing materials does SilverScript

disclose that for many beneficiaries its SSG/DNS formulary choices would actually drive their


155
      Id. at 6.
156
      Why Choose SilverScript (PDP)?, https://www.silverscript.com/learn/why-choose-silverscript



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costs into the Donut Hole and Catastrophic Coverage Stages much sooner, nor that these decisions

would dramatically increase both their cost, but also the Government’s cost sharing.

          245.   What SilverScript failed to disclose are the warped incentives baked into its

formularies, which allowed it to offer lower premiums to grab more market share of Part D

customers. The SSG/DNS Scheme thus has forced many beneficiaries to face potentially

substantial out-of-pocket prescription drug costs as well as dramatically increasing the

Government’s costs.

          246.   Its marketing materials fail to disclose that, for SilverScript elderly, ESRD and

disabled members seeking access to lower the cost of extremely expensive drugs like Harvoni,

Epclusa, their efforts were doomed from the start because CVS Health had already made the

decision at the highest levels of the company that SilverScript would deny all formulary

exceptions. Not only that, if they got their medications from a CVS Pharmacy, they would soon

find that the less costly authorized generics were not even being stocked on their shelves.

          247.   Beneficiaries’ Medicare rights were denied in every instance when SilverScript

automatically denied formulary exceptions for less costly, lifesaving drugs they needed. Likewise,

the SilverScript (through its PBM CVS Caremark and the CVS Pharmacies) violated the obligation

to “offer the Part D benefit uniformly” 157 in every instance when beneficiaries were unable to

receive the less costly generics because the CVS Pharmacies were not stocking these drugs. These

beneficiaries were thereby deceived about the benefits offered under the SilverScript plan. By not

disclosing this information, CVS Health and its subsidiaries violated the terms of the 2012 FTC

Consent Order because beneficiaries were being provided with deceptive information about their




157
      CMS, Reinterpretation of the Uniformity Requirement (April 27, 2018).



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SilverScript coverage options.

            248.   These claims are in explicit violation of Medicare directives that Plan Sponsors “are

prohibited from distributing communications that are materially inaccurate, misleading, or

otherwise make representations or could confuse beneficiaries.” 158 Plan Sponsors “may not” “[u]se

unsubstantiated absolute or qualified superlatives . . . .” 159

            249.   Not only has SilverScript engaged in a bad faith bait-and-switch scheme to induce

beneficiaries to select its plans, once they were enrolled, it has routinely lied to them about the cost

and availability of the SSG/DNS Drugs in order to prevent them from getting less costly, identical

alternatives – i.e., before the PDE is ever submitted. In doing so, as alleged herein, SilverScript

has thereafter (a) violated State mandatory substitution laws and/or (b) created false PDE claim

records which included false DAW coding (see discussion below). These misrepresentations and

lies to beneficiaries have violated numerous laws and regulations.




                   1. CVS Health and Its Subsidiaries Breached the 2007 Firewall

            250.   As a part of its 2007 agreement with the FTC, the merged entity would maintain

“stringent firewall protections between [its] CVS Pharmacy retail business and [its] CVS




158
    Medicare Communications and Marketing Guidelines (MCMG), section 30.7 (July 20, 2018),
at 6.
159
      Id.



                                                    77
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Caremark PBM business to prevent any anti-competitive activity.” 160 For example, in its Code of

Conduct, CVS Health claims that it “maintains firewalls between select businesses within the

Company to separate and protect certain competitively sensitive information that each business

possesses.” 161 One of the main reasons for requiring a firewall between these subsidiaries is to

prevent the very type of illegal activity being complained of herein.

       251.    With regard to sharing of sensitive competitive information between SilverScript

and CVS Caremark specifically, CVS Health in 2018 told one Insurance Department that its long-

standing “firewall policy prevents SilverScript employees from accessing competitively sensitive

information Caremark has collected from health plans that compete with SilverScript in the

Medicare Part D area. There are robust compliance protocols in place at CVS Health to prevent




160
    See Press Release, CVS Health Statement on PA Auditor General’s Report on PBMs (Dec. 11,
2018), available at https://cvshealth.com/newsroom/press-releases/cvs-health-statement-on-pa-
auditor-generals-report-on-pbms; see Press Release, CVS Health Statement on Ohio Auditor of the
State’s Report on Pharmacy Benefit Managers (Aug. 16, 2018) (“CVS Health maintains stringent
firewall protections between our CVS Pharmacy retail business and our CVS Caremark PBM
business to prevent any anti-competitive activity by either side of our enterprise”), available at
https://cvshealth.com/newsroom/press-releases/cvs-health-statement-on-ohio-auditor-of-the-
states-report. Moreover, at least one insurance department has ordered CVS Health to maintain a
strict firewall policy. See Order of the Insurance Commissioner of the Commonwealth of
Pennsylvania, Order No. ID-RC-18-14 (CVS Health ordered to “develop, implement, monitor the
operation of and enforce strict compliance with a firewall policy that is applicable to the Domestic
Insurers.”).
161
   CVS Health Code of Conduct (November 2019) (“Such information includes contract terms,
pricing and other financial arrangements. These firewalls become important in contract
negotiations, in which the businesses must compete on the same terms as their competitors.”),
available at https://cvshealth.com/sites/default/files/cvs-health-code-of-conduct.pdf



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any improper exchanges of information across its business units.” 162

          252.      On June 4, 2018, Melissa Schulman, CVS Health Senior Vice President,

Government Relations, testified at a hearing before the New York Standing Committees on

Insurance and Health, assuring that CVS Health maintains a “firewall around business sensitive

information and so the decision of the folks who look at pharmacy purchasing would have had no

[insight] into the business information as to what was happening with the reimbursement on the

Caremark side.” 163 Schulman reassured the Committees that the firewall had been part of its

promise to the FTC in 2007 at the time of the merger between CVS and Caremark, as well as part

of its Code of Conduct:

          It’s part of a commitment that we made to the FTC when CVS and Caremark came
          together. It is part of our code of conduct. It is part of our training. That’s where
          that’s what that’s based in. There are also computer safeguards that information is
          not inappropriately shared when it comes to business sensitive information as well.
          There’s additional training. There are essentially waiting periods so people can’t be
          employed in one side and then be employed in the other without essentially a
          cleansing period. We have a number of procedures around this. 164

          253.      When questioned whether firewalls would ever prevent “all those components from

working together to maximize the power and profit of CVS [Health],” Schulman swore that



162
   CVS Health Form A, Statement Regarding The Acquisition Of Control Of Or Merger With A
Domestic Insurer Aetna Life Insurance Company, Aetna Insurance Company Of Connecticut,
Aetna Health And Life Insurance Company, Aetna Health Inc. (A Connecticut Corporation) And
Aetna Better Health Inc. (A Connecticut Corporation) Subsidiaries Of Aetna Inc., Connecticut
Insurance Department (Amended Aug. 13, 2018), available at
https://www.cidverifylicense.ct.gov/portalApps/viewFile.aspx?F=435.
163
   See also Testimony of Melissa A. Schulman, CVS Health Senior Vice President, Government
Relations before the New York State Assembly Standing Committees On Insurance and Health
Public Hearing CVS Health’s Acquisition of Aetna Inc. (June 4, 2018), at 106, available at
https://nystateassembly.granicus.com/DocumentViewer.php?file=nystateassembly_169e83e0d60
0bff7e5d3d9e8ad6f1e98.pdf&view=1.
164
      Id. at 107.



                                                   79
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“[t]here are, there will be and there are protections around that.” 165

          254.      Schulman’s pledge was demonstrably false even then. The firewall protections

allegedly in place had already failed to prevent CVS Health from conspiring across its three wholly

owned and vertically integrated subsidiaries to engage in the illegal SSG/DNS Scheme with the

Drug Makers to block competition from less costly generic drugs. In fact, as alleged herein, the

SSG/DNS Scheme was only made possible because the parent corporation CVS Health owned and

controlled the Medicare PDP (SilverScript), the PBM that administers the pharmacy benefit on

behalf of SilverScript as the Plan (CVS Caremark), and the retail, mail order, and specialty

pharmacies that dispense the SSG/DNS Drugs (CVS Pharmacies).

                    2. CVS Health and Its Subsidiaries Violated the 2012 Consent Order

          255.      CVS Health’s use of its position in the market to mislead and deceive has been the

focus of enforcement actions and government concern since the consolidation of the various CVS

Health entities in 2007. For example, CVS Caremark in 2008 entered into a $41 million settlement

and Consent Decree with 28 state Attorneys General with regard to its deceptive drug substitution

business practices. 166

          256.      Again in 2009, two years after the merger, CVS Caremark’s conduct caught the

attention of health plans, independent pharmacists, and consumer groups, along with five U.S.

Senators and over a dozen members of the House of Representatives, who asked the FTC to

investigate the potential anti-competitive effects of the merged retail-PBM business model and



165
      Id. at 108.
166
   See, e.g., Washington State Office of Attorney General, Attorney General McKenna Announces
Caremark to Pay $41 Million to Resolve Multistate Consumer Protection Claims (Feb. 14, 2008),
https://www.atg.wa.gov/news/news-releases/attorney-general-mckenna-announces-caremark-
pay-41-million-resolve-multistate.



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evaluate the potential risks for consumers and health plans when such a large portion of the

pharmaceutical supply chain was controlled by one company. 167 Among the concerns raised was

that the combination of a PBM and a retail pharmacy posed an inherent conflict of interest which

would harm consumers.

       257.    According to Change to Win, a partnership of six million union members:

       As a PBM, CVS Caremark is expected to save health plans money by negotiating
       lower drug prices with manufacturers and by promoting lower-cost drugs to
       participants, while ensuring that plan participants have access to medicine in a
       broad pharmacy network. As a retailer, CVS Pharmacy has an incentive to drive
       plan participants into its stores so it can fill the maximum number of prescriptions,
       particularly those with high markups, and has little incentive to help save health
       plans money. 168

       258.    The concerns raised led to a three-year FTC investigation into whether CVS

Caremark was gaming its position as owner of a PBM and retail pharmacy to increase the cost of

drugs to its members.” 169

       259.    At the conclusion of its investigation, the FTC levied penalties against CVS for its



167
    Reed Abelson, Natasha Singer, 5 Groups Call for the Breakup of CVS Caremark: Pressure
Grows to Unwind CVS Merger, New York Times (April 24, 2011) (“CVS Caremark has been
accused by consumer advocates of not fulfilling promises made at the time of the merger;
executives said then they would erect a firewall between the CVS and Caremark businesses and
would be agnostic about where consumers filled their prescriptions.”); Providence Business
Journal.    FTC       competition     unit    to    examine    CVS    (June    24,    2009),
http://www.pbn.com/detail/43167.html. Letters to the Federal Trade Commission calling for a
review of the CVS Caremark merger came from more than 17 members of Congress, six health
plans and purchasing coalitions, and three consumer groups.
168
   CVS Caremark: An Alarming Merger, Two Years Later – How the CVS-Caremark merger
increases health plan costs, creates obstacles to oversight, and threatens patient privacy (Nov.
2009), liye.info-cvs-caremark-prescription-drug-discounts-
pr_13fed139fc3c7b9073a110d8f2b83c3a (1).pdf.
169
   Id. at 3 (“Now, in addition to collecting the health plan’s payment for an expensive brand-name
drug, Caremark may be able to manipulate the reimbursement rate to CVS Pharmacy in order to
collect a higher profit.”)



                                                81
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conduct. On January 3, 2012, as part of closing its investigation, the FTC entered into a settlement

and consent order with CVS, which admitted liability and agreed to pay $5 million to resolve

allegations that it had lied about the pricing of drugs to induce beneficiaries to select Medicare

Part D coverage from its subsidiary RxAmerica. As the FTC explained in its press release

announcing the settlement:

        In January 2012, the FTC had charged that CVS Caremark misrepresented the
        prices of certain Medicare Part D prescription drugs – including drugs used to treat
        breast cancer symptoms and epilepsy – at CVS and Walgreens pharmacies. The
        claims caused many seniors and disabled consumers to pay significantly more for
        their drugs than they expected and pushed them into the “donut hole” – a term
        referring to the coverage gap where none of their drug costs are reimbursed – sooner
        than they anticipated or planned. The settlement barred the deceptive claims and
        required CVS Caremark to pay $5 million to reimburse affected Medicare Part D
        consumers for the price discrepancy. 170

        260.    In the January 2012 FTC Complaint against CVS, it alleged that CVS as a matter

of company policy had misrepresented, both expressly and by implication, its Medicare Part D

pricing to beneficiaries. 171

        261.    In the Agreement and Consent Order which issued on the same day, CVS agreed

for a period of twenty (20) years 172 that it would not “misrepresent, in any manner, or assist others

in misrepresenting, in any manner, directly or indirectly, expressly or by implication, the prices or

costs associated with Medicare Part D prescription drug plans.”:

        IT IS ORDERED that Respondent, directly or through any corporation,
        partnership, subsidiary, division, trade name, or other device, and those persons in


170
     Press Release, https://www.ftc.gov/news-events/press-releases/2012/09/ftc-return-money-
victims-allegedly-deceptive-drug-price-claims.
171
   FTC Complaint, In the Matter of CVS Caremark Corporation, Dkt. No. C-4357, ¶¶ 7, 11-16,
17, 18.
172
  FTC Agreement Containing Consent Order, In the Matter of CVS Caremark Corporation, File
No: 112 3210, at Section VIII, p. 8.



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          active concert or participation with them who receive actual notice of this order by
          personal service or otherwise, in connection with the marketing, advertising,
          promotion, distribution, offer for sale, sale or administration of Medicare Part D
          prescription drugs and Medicare Part D prescription drug plans, in or affecting
          commerce, shall not misrepresent, or assist others in misrepresenting, in any
          manner, expressly or by implication, the price or cost of Medicare Part D
          prescription drugs or other prices or costs associated with Medicare Part D
          prescription drug plans. 173

          262.    At the time, in response to a question from the District of Columbia Attorney

General about what would happen if CVS violated the terms of the Consent Order, the FTC

explained that “to the extent that [CVS Health] and/or any of its subsidiaries . . . violates the terms

of the Commission’s final order, such as by misrepresenting the price or cost of Medicare Part D

prescription drugs, it would be liable for civil monetary penalties of up to $16,000 per violation,

pursuant to Section 5(l) of the FTC Act.” 174

          263.    Yet, despite this clear prohibition and the potential liability the Company faced,

CVS Health’s Executive Committee has used its position across the vertically integrated enterprise

to coordinate the SSG/DNS Scheme, once again misleading beneficiaries “expressly or by

implication” about the prices or costs (in addition to access) of the SilverScript plan. And what has

enabled CVS Health to mislead beneficiaries has been its improper and illegal sharing of sensitive

competitive information between the CVS Health entities.

                  3. The SSG/DNS Scheme Was Only Possible Because of Anticompetitive
                     Conduct by CVS Health and Its Subsidiaries

          264.    The typical arms-length structure between vertical competitors would have

normally provided a competitive check and balance against the corrupt behaviors in the SSG/DNS

Scheme. For example, pharmacies would ordinarily be incentivized to dispense generic drugs,


173
      Id. at Section I, p. 3 (emphasis added).
174
  FTC Letter to the Honorable Irvin B. Nathan, Attorney General for the District of Columbia
(May 3, 2012).


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rather than brand-name drugs, because the reimbursement is greater for the pharmacies on the

generics and, because the cost to the pharmacy customers is lower for generics, customer

satisfaction is higher. But under the SSG/DNS Scheme, even though some components of the

business, like the CVS Pharmacies, would lose money (by not stocking the more profitable

authorized generic drugs) or face potential compliance scrutiny, the vast profits to be made by

CVS Health through the CVS Caremark rebate deals outweighed those concerns.

       265.    The SSG/DNS Scheme worked because the highest levels of CVS Health

leadership had determined that it provided what they euphemistically called an “enterprise-wide

benefit” despite some in senior management (including the Relator) complaining that it was

“highly unethical.”

       266.    Generally, there would be compelling commercial incentives on the part of

vertically-integrated firms like CVS Health to ensure the confidentiality of their customers’ or

suppliers’ competitively-sensitive information. Losing the trust of, and potentially the commercial

relationships with, its customers or suppliers of one business unit within an enterprise in order to

gain competitive advantage for another unit would in most circumstances have been economic

suicide for CVS Health. In this instance, in order to reduce the risk of customer pushback,

beginning in 2019, CVS Health made the calculated business decision not to deploy its Scheme

with its employer customers contracting with CVS Caremark (where it might face considerable

member complaints) and instead would begin restricting the illegal SSG/DNS Scheme only to its

SilverScript Medicare Part D business (because it viewed the Government as not actively

monitoring its conduct).

       267.    CVS Health management thus concluded the minimal risk of being caught by the

Government was worth the upside profits it would reap from its PDP Sponsor (SilverScript)




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coordinating with the CVS Pharmacies and PBM CVS Caremark to prevent beneficiaries from

having access to less costly generic drugs. Moreover, the profits the enterprise hoped to pocket

would make up for any financial losses any subsidiary would suffer – even if its conduct was not

only a money-loser, but potentially illegal.

        268.    Meanwhile, in order to blunt any potential scrutiny, CVS Health has publicly

insisted it designs “formularies that encourage the use of generics and biosimilars, and [created]

new tools to help bring escalating drug prices under control.”

        269.    CVS Health Executive VP and CVS Caremark President Derica Rice even

maintained in a 2019 article posted on the CVS Health website that the company used its “proven”

strategies to control the cost of expensive drugs like Harvoni even after Gilead had introduced

authorized generic copies of these extremely expensive Hep C drugs. Rice proclaimed that the

CVS Caremark deals with Gilead and other SSG Drug makers would help its customers because

it had “been able to use our proven cost management strategies and negotiated with manufacturers

to help ensure plan members had access to appropriate therapies while clients could focus on

controlling plan costs.” 175

        270.    These were lies meant to deflect attention from its illegal conduct. What Rice failed

to mention is that the “proven cost management strategies” CVS Health had used for Harvoni and

the other SSG/DNS Drugs did not provide “access” to the less costly authorized generic versions

for elderly, ESRD, and disabled SilverScript members.          Instead, covertly, the CVS Health

leadership had taken advantage of its enterprise-wide control of CVS Caremark, SilverScript and




175
   Derica Rice, Why the Time is Right for a New Pricing Model: As Market Trends Evolve, Payors
Need an Adaptable Approach (March 19, 2019),
https://payorsolutions.cvshealth.com/insights/why-the-time-is-right-for-a-new-pricing-model.



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the CVS pharmacies to garner huge profits for itself by making the more expensive brand-name

Harvoni and the other SSG/DNS Drugs the only SilverScript formulary options, thus driving

beneficiaries’ costs much faster into the Donut Hole and Catastrophic Coverage Stages.

        271.   Likewise, CVS Health management knew that in seventeen states its pharmacies

must dispense the generic versions of drugs according to State mandatory generic substitution

laws. Yet, the CVS Health Executive Committee made the deliberate decision that CVS Caremark

would require its CVS Pharmacies to dispense the brand-name drugs instead of the less costly

authorized generics. In doing so, the Executive Committee knew this would be at the expense of

beneficiaries and Medicare, and would be in violation of State mandatory generic substitution

laws.

        272.   The Scheme would not have been possible had the CVS entities (CVS Caremark,

SilverScript, and the CVS pharmacies) been truly operating at arm’s length as they had promised

repeatedly since the 2007 merger. If they had operated at arm’s length, the CVS subsidiaries would

have ensured that each entity’s business objectives, financial goals, pricing, and compensation

would not be connected with the performance of the firewalled organization.

        273.   Through its breaches of the firewalls, CVS Health has facilitated coordinated

collusive activities between its subsidiaries and the SSG/DNS Drug Makers, which harmed Part D

beneficiary access to less costly generic drugs.

        274.   CVS Health’s unified control over the vertically integrated enterprise has thus

ensured that the fraudulent scheme could be successful because it viewed the risk of being caught

was worth the significant profits it would garner. So, even though the fraudulent scheme violated

its promised firewalls and the FTC Consent Order, as well as State laws requiring pharmacies to

substitute generic medications for the costlier brand-name versions, because CVS Health owned




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and therefore controlled the CVS Caremark PBM, the SilverScript PDP, and the CVS Pharmacies,

any potential discord between what it wanted (dispensing of more expensive brand-name

SSG/DNS Drugs) and what the law required could be easily swept aside.

         275.   Had the CVS Health entities been truly operating behind a firewall, they would

have been unable to carry out the SSG/DNS Scheme. Because it would have been administering

the Medicare Part D benefit in the best interests of its beneficiaries (instead of the interests of its

corporate parent CVS Health), PDP Sponsor SilverScript would have had operated a robust and

effective compliance program which would have ensured that beneficiaries had access to a full

and fair grievance and coverage determinations process, and were fully informed of less costly

generic options that should have been available to them.

         276.   Likewise, had the firewall restricted access to business sensitive information,

SilverScript would have (a) required the CVS Pharmacies and non-CVS Health owned network

pharmacies disclose to beneficiaries accurate differential prices available for less costly (often

identical) generic drugs; (b) required the CVS Pharmacies and non-CVS Health owned network

pharmacies to substitute the less costly generic drugs as mandated by State generic substitution

laws; (c) would have “submitted [PDE] data [that] is accurate, complete and truthful”; and (d)

made truthful attestations about its compliance with the law.

         277.   The harm alleged goes directly to the quality of healthcare the SilverScript

beneficiaries have received. CVS Health itself recognizes that, “when prescriptions are more

affordable, patients are more likely to keep taking them – and that leads to healthier people and

communities.” 176 Despite this recognition, and in violation of the promised firewalls between these




176
      Exhibit 2 (CVS-001427).



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entities, CVS Health and its wholly owned subsidiaries conspired to carry out the SSG/DNS

Scheme and thus recklessly disregarded the adverse health impact it has had on Medicare Part D

beneficiaries.

VII.      CVS HEALTH FRAUDULENT SINGLE SOURCE GENERIC SCHEME

          278.   The SSG/DNS Scheme was initially offered for SilverScript and other Medicare

PDP Sponsors which contracted with CVS Caremark for PBM Services. 177 Beginning in 2019,

however, out of concerns that other PDP Sponsors (which had far fewer LIS beneficiaries) would

have far more members push back on the illegality of the conduct, CVS Health made the

intentional decision to restrict the SSG/DNS Scheme only to its SilverScript standalone PDP where

(because it had a high percentage of LIS members whose copayments would see little impact) it

would encounter very few complaints.

          279.   Until 2018, even though it had engaged in systematic misinformation and deception

in its coverage determination process, CVS Health still routinely had approved all SilverScript

SSG formulary exceptions, thus still allowing beneficiaries access to less costly generic drugs,

even in situations where the beneficiary would be receiving the clinically equivalent authorized

generic.

          280.   Only in late 2018 with the CVS Caremark’s addition of Gilead’s Harvoni and

Epclusa to the SSG/DNS Scheme (as alleged below) did SilverScript begin its blanket denials of

formulary exceptions for the SSG/DNS Drugs. Likewise, in violation of its obligation that it “must

offer the Part D benefit uniformly,” 178 the CVS Caremark deals required that the CVS Pharmacies

no longer stock the authorized generics of: (a) Gilead’s Harvoni and Epclusa, and (b) GSK’s


177
      Exhibit 3 (CVS-002069).
178
      CMS, Reinterpretation of the Uniformity Requirement (April 27, 2018).



                                                88
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Advair Diskus and Ventolin HFA. Most alarming is that this has meant not only that the authorized

generics were unavailable to SilverScript beneficiaries who fill scripts at the CVS Pharmacies, but

also would not have been available to the 45 million Part D beneficiaries, many of whom would

have filled their prescriptions at a CVS Pharmacy. In 2019, some 34.55% of all prescriptions filled

in the U.S. were filled at a CVS Pharmacy.



          281.   In total, SilverScript is one of the largest standalone Medicare Part D Program

plans, having 5.994 million beneficiaries in 2019 179 and 6.134 million beneficiaries in 2018. 180 For

2019, SilverScript offered three plans: SilverScript Choice, SilverScript Plus, and SilverScript

Allure.

          282.   For the SilverScript plans, the drugs included on its formularies are categorized into

five cost-sharing tiers. The formulary tiers indicate the level of cost-sharing for a covered drug. In

general, the higher the tier (e.g., Tier 5), the higher the beneficiary’s out-of-pocket cost for the

covered drug. The 5 tiers are: Cost-Sharing Tier 1: Preferred Generic; Cost-Sharing Tier 2:

Generic; Cost-Sharing Tier 3: Preferred Brand; Cost-Sharing Tier 4: Non-Preferred Drug; Cost-

Sharing Tier 5: Specialty Tier.

          283.   The majority of the SilverScript beneficiaries are in the SilverScript Choice Plan,

while approximately 180,000 beneficiaries are in the SilverScript Plus Plan, and approximately

10,000 beneficiaries are in the Allure plan. About 40-50% of the Choice Plan are LIS beneficiaries

receiving Extra Help from Medicare resulting in subsidized costs for prescriptions; very few

beneficiaries in the Plus and Allure plans are subsidized. SilverScript has more LIS beneficiaries



179
      CVS Health 2020 Annual Report, at 80.
180
      CVS Health 2019 Annual Report, at 71.


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than any other Medicare Part D plan in the U.S.

       284.    For those SilverScript LIS beneficiaries who receive Extra Help, all or some of the

copayments and cost-sharing usually paid by beneficiaries is instead subsidized by Medicare.

       285.    This fact made SilverScript particularly susceptible to abuse through the SSG/DNS

Scheme. Because the LIS beneficiaries did not see large differences in their out-of-pocket

expenses, CVS Health senior leadership overseeing the SSG/DNS Scheme concluded these

beneficiaries were less likely to be price sensitive and therefore would be less concerned with the

large copayment differences between the brand-name drugs and their generic versions.

       286.    The costs for subsidizing low-income beneficiaries are significant. The Federal

Government pays approximately 18% of the drug cost of Medicare Part D for non-low income

beneficiaries. The Federal Government subsidizes on average 65% of the drug cost of Medicare

Part D for each beneficiary receiving the low income subsidy benefit. 181

       287.    Even though the Executive Committee members understood there would be

significant impact on non-LIS beneficiaries whose Catastrophic Coverage Stage was not

subsidized by Medicare, they concluded that the few complaints they would receive from non-LIS

beneficiaries would not be enough to offset the significant profits that CVS Caremark would garner

from the illegal scheme.




       288.    The SSG/DNS Scheme also required CVS Health to make what it knew were



181
   2012 Annual Report of the Boards of Trustees of the Federal Hospital Insurance and Federal
Supplementary Medical Insurance Trust Funds, April 23, 2012, p. 167, available at
www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-
andReports/ReportsTrustFunds/Downloads/TR2012.pdf.



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outright false public statements to conceal its illegal scheme. For example, CVS Health Vice

President for Government and Public Affairs Melissa Schulman on March 5, 2019 publicly

professed that CVS Health aimed to get the “right drug at the lowest possible cost for patients. . .

.” and allow patients to “stay on the medications they need”:

            At CVS Health, we believe the high price of prescription drugs is among the most
            pressing health care issues facing Americans today. We are committed to finding
            the right drug at the lowest possible cost for patients to ensure they are able to
            access and stay on the medications they need.

            289.   Schulman also claimed that its PBM, CVS Caremark, was “focused” on “help[ing]

lower costs for clients and their plan members” and “negotiating for greater discounts from

manufacturers on their behalf”:

            As a PBM, CVS Caremark is focused on developing strategies that help lower
            costs for clients and their plan members, and negotiating for greater discounts
            from manufacturers on their behalf. In 2017 despite a nearly 10 percent increase by
            manufacturers on brand list prices, CVS Caremark kept drug price growth nearly
            flat (0.2 percent) and lowered member monthly out-of-pocket costs, which helped
            improved adherence.

            CVS Health is proud of our proven record of using innovative tools to hold down
            net costs. However, more can, and must, be done to provide prescription drug price
            relief and we support the Trump administration’s focus on this important issue. 182

            290.   Even more troublesome, Schulman touted that CVS Health was in favor of

eliminating pharmaceutical manufacturer efforts to block competition: “We actively support

policies that would eliminate practices by drug manufacturers to block competition, which limit

our ability to secure more affordable medications for consumers and clients.” 183




182
   March 5, 2019 Statement of CVS Vice President for Government and Public Affairs,“HHS
Rebate Rule 101: What Payors Need to Know,” available at
https://payorsolutions.cvshealth.com/insights/hhs-rebate-rule-101.
183
      Id.



                                                    91
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          291.     In reality, the CVS Health SSG/DNS Scheme became the centerpiece in enabling

the Drug Makers’ anticompetitive strategies to block competition, including through deals which

facilitated product hopping, patent evergreening, sham patent infringement suits, sham Citizen’s

Petitions, authorized generics and other schemes. The SSG/DNS Scheme of blocking generics

became a key tool to impede generic competition in the marketplace, and was aimed at harming

elderly, ESRD and disabled Medicare Part D beneficiaries.

          292.     In a piece by Derica Rice (Executive Vice President, CVS Health, and President,

CVS Caremark) posted on the CVS Health website on March 19, 2019, discussing PBM pricing

models, he mentions various examples of “Changing Market Trends” in drug pricing. According

to Rice, “[a]fter years of double-digit list price inflations, as public outcry grew, manufacturers

began to adopt new strategies either to maintain market share, or simply avoid having to drop drug

list prices outright to a sustainable level.” 184

          293.     One of the examples Rice provides is that the makers of Harvoni had introduced an

authorized generic of the drug in 2018. He then says that CVS Caremark has “been able to use

our proven cost management strategies and negotiated with manufacturers to help ensure

plan members had access to appropriate therapies while clients could focus on controlling

plan costs.” 185

          294.     This was a lie. What Rice fails to mention is that the “proven cost management

strategies” CVS Caremark used for Harvoni provided neither “access” to the less costly generic




184
   Derica Rice, Why the Time is Right for a New Pricing Model: As Market Trends Evolve,
Payors Need an Adaptable Approach (March 19, 2019), available at
https://payorsolutions.cvshealth.com/insights/why-the-time-is-right-for-a-new-pricing-model.
185
      Id. (emphasis added).



                                                    92
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version of Harvoni, nor did it control plan costs. Instead, behind the scenes CVS Caremark had

entered into a secret rebate agreement with Gilead to take advantage of its position to reap huge

profits for itself by blocking the less costly authorized generics and making the more expensive

brand-name Harvoni and Epclusa the only options.

          295.   Three weeks later, on April 9, 2019 in testimony before the United States Senate

Committee on Finance, Rice told members of the Senate that CVS Caremark’s goal was simple:

“to reduce costs and improve health outcomes. We do this by negotiating discounts with

manufacturers, designing formularies that encourage the use of generics and biosimilars, and

creating new tools to help bring escalating drug prices under control.” 186

          296.   Likewise, in a bit of sleight of hand, Rice told the Committee in his written

comments how important access to generic drugs was to ensuring patient adherence and healthy

outcomes, saving lives: “[W]e encourage the use of generics . . . because they are proven to

improve adherence and outcomes, while also lowering costs. Our research shows that use of

generics actually improves outcomes and saves lives, largely because they are more

affordable for patients and therefore increase patient adherence to their medicines.” 187

          297.   There were those on the Committee who challenged what Rice was saying. During

the hearing, Senator Wyden asked Rice why CVS Caremark was putting “artificial barriers

between patients and less costly medicines” by not allowing access to identical authorized




186
    Drug Pricing in America: A Prescription for Change, Part III: Hearing Before the S. Comm.
on Finance, 116th Congress (2019) (Written Testimony of Derica Rice), available at:
https://www.finance.senate.gov/imo/media/doc/CVS%20Health%20SFC%2004%2009%2019%
20Final.pdf.
187
      Derica Rice written comments to the Senate Finance Committee at 2 (emphasis added).



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generics, and asked whether it is “because you get a bigger rebate on a more expensive drug?”188:

          [Senator Wyden] [You as a pharmacy benefit manager] consistently say— this is
          your message: you bring value and fight for the lowest price. So I am going to use
          a couple of examples to try to see how that works in the real world. . . . [One drug
          maker] recently launched an identical version of [its brand-name] drug that cost 60
          percent less than the original. Now here is a copy of a prior authorization form that
          CVS requires doctors to fill out if the doctor wants to prescribe a less costly version
          of this cholesterol drug. I am going to ask unanimous consent to enter this document
          into the record.

          . . . The CVS forms says, and I quote: “The two products are the exact same, and
          they are made in the same manufacturing facility.” But they ask the doctor to
          answer detailed questions about the patient’s medical history. Mr. Rice, why is
          CVS—based on this form—putting arbitrary barriers between patients and
          less costly medicine? Is it because you get a bigger rebate on a more expensive
          drug?

          298.   In response, Rice dodged the question, instead testifying that what CVS “tend[s] to

do” is to look at the net savings to members “to keep out-of-pocket costs low, . . . And in that

particular scenario, the branded drug was still the lowest cost” 189:

          Mr. RICE. Senator, I understand your question, and the short answer is, absolutely
          not. What you may find is that, in many cases, the highest list price drug, or the
          lowest list price drug in the particular example you cite, may not be the absolute
          lowest-cost drug. So what we tend to do is, we look at the drug’s cost after all
          discounts have been taken into account, because that then is what allows members
          to keep out-of-pocket costs low as well as the plans to keep their premiums low for
          their members. And in that particular scenario, the branded drug was still the
          lowest cost for——

Not true. It does not keep member out-of-pocket costs low at all.

          299.   According to CVS, members “win” on net price. 190

          Senator WYDEN. You are making the argument the consumer somehow, by your
          analysis, wins on net price. Is that the argument you are making?


188
      Id. at 15 (emphasis added).
189
      Id. (emphasis added).
190
      Id. (emphasis added).



                                                    94
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          Mr. RICE. Yes, Senator.

          300.    And, in response to similar questioning from Senator Menendez, who asked about

how long it would take CVS to add an authorized generic to its formulary, and challenging the

excuse of the authorized generic having “different national [drug] codes,” Rice again dissembled,

insisting again CVS would “absolutely” put the authorized generic as a “preferred drug” on its

formulary when it resulted in the “lowest net cost for the patient as well as for the plan” 191:

          Senator MENENDEZ. Finally, when a drug company does lower their list price,
          how long does it take for the patient at the pharmacy counter to see that savings, if
          ever? Let me give you an example. Last fall, you may have read in the news that
          the list price for one . . . . drug, went down by 60 percent. Despite the price decrease,
          putting the drug’s price below the threshold for specialty tier status, I recently read
          that PBMs have kept the drug on a specialty tier, which means it is more expensive
          for Medicare beneficiaries. [C]an you tell me in one or two sentences why a list
          price cut would not lead to lower prices for consumers? And if you are going to tell
          me it is the different national codes, then if you get guidance on how to handle this
          NDC issue, can we expect lower list prices leading to immediate tier changes? . . .
          .

          Mr. RICE. Senator, when those lower list prices result in the lowest net cost
          for the patient as well as for the plan, then absolutely, that is the preferred
          drug on formulary.

          301.    As alleged herein, Rice’s “lowest net cost” explanation was simply false. There are

numerous examples set out herein where CVS Caremark’s clandestine deals with the Drug Makers

to block less costly generics (many of them identical authorized generics) resulted in higher costs

to the SilverScript beneficiary and to Medicare.

          302.    Likewise, even though Rice touted CVS Caremark’s efforts to improve patient

adherence to their medications by increasing utilization of generic drugs, in fact as alleged herein,

there are tens of thousands of instances in which its SSG/DNS Scheme did exactly the opposite.




191
      Id. (emphasis added).


                                                     95
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Rather than “simplifying prescription management for patients” and increasing adherence to

generic medications so that patients would be able to afford their medications, the SSG/DNS

Scheme in many instances has resulted in patients ceasing altogether their drug treatment due to

the significant increases they faced in the cost of these drugs in addition to the barriers to access

the needed drugs.

            303.   When confronted directly with questions about the SSG/DNS Scheme, CVS

Caremark has simply lied. According to a story jointly written by ProPublica and the New York

Times, the authors disclose that in December 2016 CVS Caremark had “sent a memo to pharmacies

informing them that some of its Medicare prescription drug plans would cover only brand-name

versions of 12 drugs. Some of the drugs, such as the antipsychotic medication Invega, have had

generic competitors for over a year.” 192 Access to needed medications is a primary and critical

concern of CMS’s for Medicare beneficiaries.

            304.   The authors then tell the story of Lisa Hopkins, a 50-year-old disabled food and

nutrition supervisor from Eagleville, Pennsylvania (located in this District), who had attempted to

fill a prescription for Voltaren Gel, and was told by her pharmacist that her drug plan, SilverScript,

denied her claim because it was for a generic. 193 “I said to the lady at the insurance company,

‘That’s really, really odd to me,’” Hopkins said. “She said, ‘Yes. It’s happening more and more




192
   Charles Ornstein, Katie Thomas, Take the Generic Drug, Patients Are Told — Unless
Insurers Say No, ProPublica (Aug. 6, 2017), https://www.propublica.org/article/take-the-generic-
drug-patients-are-told-unless-insurers-say-no; see also Charles Ornstein, Katie Thomas, Take the
Generic, Patients Are Told. Until They Are Not, New York Times (Aug. 6, 2016),
https://www.nytimes.com/2017/08/06/health/prescription-drugs-brand-name-generic.html.
193
      Id.



                                                  96
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that the name brand is covered but the generic isn’t.’” 194 Hopkins has osteoporosis and bulging

spinal disks and has been on disability for almost a decade. She is covered through Medicare and

receives extra help subsidy from the government for her medications, lowering her out-of-pocket

costs. That means that when her drugs cost a lot, taxpayers pay the bill. 195 Even for subsidized

beneficiaries, the cost share differential between a generic/multisource drug and a brand name drug

can be substantial for them, usually in the range of $5-6 per prescription.

            305.   When questioned by the ProPublica/Times reporters, a spokeswoman for CVS

Caremark, Christine Cramer (Senior Director, Public Relations), responded that consumers would

never pay more in the rare instances in which the company favors a brand-name drug over a

generic: “This generally occurs when there is limited or no competition among generics,” she

said. 196 This was an outright lie. Not only was the brand-name Voltaren Gel already more

expensive than the less costly authorized generic, because the pharmacy was in Pennsylvania, a

mandatory generic substitution State, CVS Health deprived Hopkins’ right under State law to have

the less costly generic prescription substituted.

            306.   While CVS Health hypes in public statements the cost savings that generics offer,

in actuality its SSG/DNS Scheme operates exactly counter to this. Instead of providing savings for

members and Medicare, CVS Health has coordinated efforts of its vertically integrated subsidiaries

to line its pocket with huge profits from the SSG/DNS Drugs.




            307.   At least initially in 2014 when the SSG Strategy started, it worked legitimately as


194
      Id.
195
      Id.
196
      Id. (emphasis added).


                                                    97
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a program aimed at saving the PDPs and beneficiaries money by taking advantage of the fact that,

when first released, the first ANDA and therefore single source generic drugs may not offer

significantly lower pricing than the brand-name option due to the 180-day first applicant ANDA

generic marketing exclusivity. So, with only a single generic competitor, the brand-name option

could be an economically more viable option, particularly when coupled with manufacturer

rebates. Only when multiple generic options are introduced does the competition between multiple

options often lower prices significantly. This is consistent with the FTC’s analysis of so-called

“House Brand Strategies,” 197 and the FDA’s analysis of the impact of generic competition. 198

       308.    When the SSG Strategy began, as part of making it more palatable to its customers,

CVS Health had ensured that it would be cost neutral to beneficiaries and Medicare, meaning that

it made sure preferring the higher-cost SSG/DNS Drugs would not increase costs to beneficiaries

or to Medicare.

       309.    However, by 2015, CVS Health management had decided not to share all of the

savings generated through the SSG Strategy, and instead they would conceal the fact that many of

the SSG/DNS Drugs would no longer be cost neutral for SilverScript beneficiaries. Thus began

the illegitimate SSG/DNS Scheme alleged herein.

       310.    The SSG Strategy, as initially envisioned in 2014, sought to exploit the economics

to prefer brand-name options only when a single generic alternative existed. In numerous customer

presentations throughout the United States, including to PDPs contracting with CVS Caremark,



197
   Pharmacy Benefit Managers: Ownership of Mail-Order Pharmacies, Federal Trade
Commission, at 78-80 (Aug. 2005).
198
    Report: Generic Competition and Drug Prices: New Evidence Linking Greater Generic
Competition and Lower Generic Drug Prices, U.S. Food & Drug Administration (Dec. 2019), at
2-3.



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CVS Health touted that Single Source Generics were not always more cost effective than the

brand-name drug:




                                                                                199

            311.   CVS Health told PDPs contracting with CVS Caremark throughout the United

States, that they could “maximize” savings using brand-name drugs 200:




199
      Exhibit 4 (CVS-002524).
200
      Id.


                                               99
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          312.   Likewise, CVS Health pitched to PDPs contracting with CVS Caremark throughout

the United States that it had a “dedicated team” which engaged in “continuous surveillance and

analysis of market events and pricing” to determine when to enter into a Single Source Generic

agreement with a brand-name drug manufacturer. It reassured customers concerning the legality

of the SSG program because CVS Health had the “operational infrastructure” in place to “ensure

that all systems and processes align, including applicable regulations” 201:




201
      Id. (emphasis added).



                                                100
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         313.   According to the sales pitch, by keeping the brand-name drug as the only formulary

option and excluding the generic options, PDPs contracting with CVS Caremark would have

available the brand-name drug at similar pricing as the generic. As one CVS Health presentation

put it: “Members and clients generally save when plan designs encourage generic use. However,

single source generics challenge this model.” 202

         314.   CVS Health even went so far as to claim that the SSG Strategy would benefit

beneficiaries financially: “Once a generic is available, CVS will apply one of two strategies, based

on financial benefits to members: Do not include the SSG on the formulary; maintain the brand-

name drug in the existing tier OR Do not include the SSG on the formulary; down tier the brand-

name and reduce the member copay. Note: the typical period of exclusivity for the first generic




202
      Exhibit 5 (CVS-002536).



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manufacturer is 180 days.” 203

         315.   What CVS Health did not tell its PDP customers contracting with CVS Caremark

was that, under the illegal SSG/DNS Scheme it initiated in June 2015, there would be no financial

benefit to members. Instead, the SSG/DNS Drugs would in fact often be much more expensive

than the generic versions which were being blocked. The result was that for the SSG/DNS Drugs

CVS Health was choosing the more (often much more) expensive brand-name drug.

         316.   Even though PDPs contracting with CVS Caremark were unaware that, for some

of the SSG/DNS Drugs, the brand-name drug would be more expensive than the generic to the

Part D beneficiary, CVS Health’s wholly owned standalone Part D plan SilverScript was very

much aware of the price impact the Scheme would have on its Part D beneficiaries.

         317.   Confidential Informant No. 1 (“CI-1”), a former CVS Medicare Part D actuary for

SilverScript from 2017 until 2019, explained that beneficiaries and Medicare were often the losers,

pointing in particular to the SSG drug Copaxone, a drug that cost $85,000 a year. CI-1

acknowledged that “there are winners and losers,” admitting that SilverScript marketing claims

that its “always” looks out for its beneficiaries were often inaccurate: “Marketing folks don’t

understand the details — there should be asterisks everywhere — maybe 70% of the time what

they say is true, but they can’t asterisk everything. Marketers don’t get into the nitty-gritty.”

         318.   Initially, when the SSG Strategy began in 2014 up through 2018, SilverScript

beneficiaries who requested formulary exceptions through the coverage determination process

were universally approved. Even while it tried to keep beneficiaries in the dark about the other,

less costly options, SilverScript did not block the beneficiaries from getting the non-formulary



203
      Exhibit 3 (CVS-002069) (emphasis added).



                                                 102
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options as long as they were specifically requested and supported by the requisite information.

         319.   This all changed when CVS Caremark entered into the agreements in late 2018 with

Gilead for Harvoni and Epclusa whereby it agreed it would require SilverScript to deny all

coverage determinations and appeals. Not only had CVS Caremark agreed SilverScript would

universally block all coverage determinations and appeals for the Gilead drugs, its agreements

required as well that the CVS Pharmacies would not stock the Gilead drugs as well as the GSK

drugs Advair Diskus and Ventolin HFA on their shelves.

         320.   Publicly, CVS Health has championed the SSG Strategy as beneficial both to

beneficiaries and Medicare. For example, CVS Health has told its customers that a drug will be

“eligible for consideration in the SSG Strategy if including the drug will, on average and in the

aggregate, result in equal or lower cost to the plan and members, versus use of the newly

introduced SSG.” (emphasis added). 204 Elsewhere, CVS Health has similarly touted potential

savings in a presentation example: “Based on review of your membership, participation in the SSG

strategy would yield a per prescription savings of $42.30 to $123.25.” 205

         321.   Although the SSG Strategy was initially set up in 2014 to save monies for Medicare

and for beneficiaries, since the inception of the illegal SSG/DNS Scheme in June 2015, for certain

SSG/DNS drugs the only winner has been CVS Health. Medicare and the SilverScript beneficiaries

have been the losers. The SSG/DNS Scheme was turned into a fraudulent scheme designed to

block competition by keeping prices artificially high for certain SSG/DNS Drugs while CVS

Health passed on the increased cost to elderly, ESRD and disabled SilverScript beneficiaries and

to U.S. taxpayers.



204
      Exhibit 6 (CVS-002488).
205
      Exhibit 7 (CVS-002513).


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       322.    Out of the some forty drugs that have been active in the SSG program up through

2019, the following brand-name drugs in the illicit SSG/DNS Scheme have caused significant

increased costs to both Medicare and SilverScript beneficiaries alike:

                          1. Copaxone (Teva)

                          2. Exelon (Novartis)

                          3. Voltaren Gel (Endo)

                          4. Invega (Janssen)

                          5. Asacol HD (Allergan)

                          6. Xopenex HFA (Sunovion)

                          7. Renvela Packets (Sanofi)

                          8. Renvela Tablets (Sanofi)

                          9. Istalol (Bausch & Lomb)

                          10. Harvoni (Gilead)

                          11. Epclusa (Gilead)

                          12. Ventolin HFA (GSK)

                          13. Canasa Rectal Suppository (Allergan)

                          14. Advair Diskus (GSK)

                          15. Suboxone Sublingual Film (Indivior)

       323.    These drugs account for significant claims dollars. In 2018 alone, SilverScript had

3,800,171 claims for these drugs, with total costs to SilverScript of some $1,574,283,814.75:

       Generic Name                   Brand Name              Number of          Total Cost
                                                               Claims
 Glatiramer-Sofote            Copaxone Syn 40Mg/Ml-                25638
                                                                                  $147,414,508.39
                              ML*



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 Glatiramer-Sofote           Copaxone Syn 20Mg/Ml-               7803
                                                                               $53,870,483.11
                             ML*
 Rivastigmine                Exelon 4.6 MG/24                   34338          $23,957,768.11
 Rivastigmine                Exelon 9.5 MG/24                   47227          $32,644,966.40
 Rivastigmine                Exelon 13.3 MG/24                  20671          $14,759,200.84
 Diclofenac Sodium           Voltaren Gel 1%                   764512
                                                                               $72,390,304.15
 (Topical)
 Paliperidone-Sofoidone      Invega Tab 9Mg-9MG*                22935          $36,652,397.03
 Paliperidone-Sofoidone      Invega Tab 3Mg-3MG*                22259          $23,855,848.81
 Paliperidone-Sofoidone      Invega Tab 1.5Mg-5MG*               4122           $4,094,059.39
 Paliperidone-Sofoidone      Invega Tab 6Mg-6MG*                37831          $50,290,584.36
 Mesalamine-Sofoamine        Asacol HD Tab 800Mg-               18314
                                                                               $21,079,720.09
                             800MG*
 Levalbuterol Artrate        Xopenex INH HFA 200                85862           $7,556,471.22
 Sevelamer-Sofoate           Renvela Pow 2.4Gm-4GM*              6087          $12,404,198.73
 Sevelamer-Sofoate           Renvela Pow 0.8Gm-8GM*              4028           $7,062,090.35
 Sevelamer-Sofoate           Renvela Tab 800Mg-                188590
                                                                              $286,846,157.87
                             800MG*
 Timolol-Sofo(ophth)         Istalol Sol 0.5% Op-OP*             7140           $2,421,727.25
 Ledipasvir-Sofobuvir        Harvoni Tab 90-400MG*               5799         $186,167,824.22
 Sofosbuvir-Sofotasvir       Epclusa Tab 400-100*                4815         $121,064,301.23
 Albuterol Sulfate           Ventolin INH HFA 200             1734708         $109,387,787.39
 Albuterol Sulfate           Ventolin INH HFA 60                 5947             $152,366.24
 Mesalamine-Sofoamine        Canasa Sup 1000Mg-                  5390
                                                                                $6,294,657.70
                             1000MG
 Fluticasone-salmeterol      Advair Diskus INH 250/50          385562         $189,769,808.04
 Fluticasone-salmeterol      Advair Diskus INH 500/50          130831          $85,347,888.82
 Fluticasone-salmeterol      Advair Diskus INH 100/50           78870          $31,647,453.54
 Buprenorphine HCL-Sofol-    Suboxone Mis 12-3MG                    8
                                                                                    $2,654.28
 naloxone HCL dehydrate
 Buprenorphine HCL-Sofol-    Suboxone Film Sl 8-2MG            135416
                                                                               $43,611,284.47
 naloxone HCL dehydrate
 Buprenorphine HCL-Sofol-    Suboxone Film Sl 2-0.5              8086
                                                                                $1,339,153.90
 naloxone HCL dehydrate
 Buprenorphine HCL-Sofol-    Suboxone Film Sl 4-1MG              7382
                                                                                $2,198,148.82
 naloxone HCL dehydrate
                                     TOTALS:                 3,800,171      $1,574,283,814.75




       324.    The claim records for the SSG/DNS Drugs show two things clearly. First, CVS is

forcing CVS Pharmacies and non-CVS pharmacies alike to dispense brand-name drugs illegally



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in States with laws requiring mandatory generic substitution. 206 Thus, without the required generic

substitution, the prescription was not a valid prescription under State pharmacy law and cannot be

reimbursed by Medicare. Second, even in states without mandatory generic substitution laws, the

SilverScript claims records show that the DAW codes submitted on claims for the SSG/DNS Drugs

were inaccurate when dispensing the brand-name drug instead of the generic. Causing claims to

be submitted with inaccurate DAW codes constitutes the submission (or causing the submission)

of false claims.

       325.    Even though its contract with CMS required it to follow State mandatory generic

substitution laws, SilverScript has failed to require the CVS Pharmacies and non-CVS owned

network pharmacies to substitute generic drugs for much costlier brand-name SSG/DNS Drugs,

and has submitted to CMS untruthful, inaccurate and incomplete PDE records and statements in

support of those false claims for payment of the SSG/DNS Drugs. Furthermore, in order to ensure

that only the brand-name SSG/DNS Drugs were being dispensed, CVS Health through CVS

Caremark has blocked claims from non-CVS-owned network pharmacies in States where

mandatory generic substitution is required.

       326.    As a result, all such untruthful, inaccurate, and incomplete PDE records or

statements so submitted to CMS were false and as a result violated the condition of payment that

the SilverScript Plan reimburse only valid generic prescriptions (as required by State mandatory

generic substitution laws), instead dispensing tens of thousands of high-cost invalid prescriptions

for brand-name SSG/DNS Drugs.

       327.    This deception across multiple CVS Health vertically integrated business units to



206
    Most of the time the DAW Code is “0” on those records. As such, CVS cannot explain away
its failure to substitute because the pharmacy was out of stock of the generic or the prescriber
indicated the brand was necessary as those conditions necessitate a different DAW Code.


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implement the fraudulent scheme (and in violation of its promised firewall) can be seen in its

sample answers to customers’ questioning whether the SSG/DNS Scheme complies with State

generic substitution laws. CVS Health recognized that many States require generic substitution

and those laws could cause issues for success of the SSG/DNS Scheme. But, instead of complying

with those laws, SilverScript claimed it was instead only a dispensing pharmacy issue.

          328.    The CVS Health document entitled “Health Plan Client Strategy and FAQs”

demonstrates its canned response to questions regarding State mandatory generic substitution

laws 207:




          329.    This response is problematic at least for the following reasons:

      •   First, CVS Health’s statement to its customers that the mandatory generic substitution issue

          is a not a PDP Sponsor issue, and instead a pharmacy issue is contrary to SilverScript’s

          obligation to follow State law and to ensure that its pharmacy network and PBM did as

          well.

      •   Second, what cannot be lost is the fact that SilverScript, CVS Caremark and the CVS

          Pharmacies all just happen to be wholly owned subsidiaries of CVS Health. What this

          obfuscation does do, though, is to ensure that the fraudulent behavior would be concealed


207
      Exhibit 8 (CVS-001794) (emphasis added).


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       behind a veneer that SilverScript somehow operates at arm’s length from CVS Caremark

       and the CVS Pharmacies. The reality remains that, and in spite of its firewall obligations,

       CVS Health needed the complicity of all three CVS Health subsidiaries for the SSG/DNS

       Scheme to succeed.

   •   Third, this response suggests that the intent of mandatory substitution laws to provide

       consumer access to less costly generic drugs is consistent with the goal of the SSG Strategy.

       What this does not explain is the hundreds of thousands of prescriptions where CVS

       Caremark network pharmacies (including numerous of its CVS Pharmacies) have filled

       more expensive brand-name SSG/DNS Drugs for SilverScript beneficiaries in States where

       mandatory substitution is required by law. There is thus no “economic advantage” to the

       SilverScript beneficiaries from this Scheme.

       330.   As explained supra, the CVS Caremark network pharmacies are required to

dispense generic versions of brand-name drugs in seventeen mandatory generic substitution States.

Such substitution is mandatory and required under both State law and Medicare laws and

regulations that require the prescription to be valid under State law in order to be eligible for

reimbursement.

       331.   Not only has SilverScript certified that the PDE records submitted to document the

claims for payment of the SSG/DNS Drugs were truthful, compliant with State mandatory generic

substitution laws, and compliant with Medicare’s requirements to follow such State laws, it also

expressly certified that the data transmitted in the PDE was “accurate and complete” to its “best

knowledge, information and belief.”

       332.   At all times material hereto, in all instances in which SilverScript submitted PDE

claims with the default DAW Code 0 when dispensing a brand-name product even when there




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were available generics, such information was clearly false. As the NCPDP guidelines make clear,

a DAW Code 0 “is not appropriate” for brand drugs with an available generic, and “may result in

a reject” of the PDE record. 208

          333.   Lest there was any doubt, in Call Letters and in regulations, CMS has made clear

that authorized generics are to be considered “generic” drugs and not brand-name drugs. 209

          334.   CVS Caremark’s own Administrative Manual also instructs pharmacists to “Use

the DAW 0 code when dispensing a generic drug; that is, when no party (i.e., neither Prescribing

Provider, nor pharmacist, nor Participant) requests the branded version of a multi-source

product.” 210 (emphasis added). CVS Caremark’s Manual thus does not allow use of DAW Code 0

for anything other than dispensing generic drugs.

          335.   The CVS Health entities thus submitted numerous PDE claims that show violations

of State mandatory generic substitution laws and with the default DAW Code 0, in violation of the

requirement to submit “accurate, complete and truthful” PDE records. For example:

      •   The 2019 record for a paid Copaxone claim attached hereto as Exhibit 9 indicates that the

          “Dispense As Written” field was submitted as “0 – NO DAW.” 211 As the record makes




208
    U.S. ex rel. Fox Rx, Inc. v. Omnicare, Inc., holds that the submission of DAW Code 0 in
connection with the dispensing of a brand-name product when a generic should have been
substituted pursuant to state law is not factually false because DAW Code 0 simply means that
there was “No Product Selection Code Indicated.” See 38 F.Supp.3d 398, 411 (S.D.N.Y. 2014).
But the 2017 version of NCPDP updates the definition of DAW Code 0 to make that conclusion
of the Fox court inapplicable because the new DAW Code 0 definition makes it clear that it is not
to be used when dispensing brand drugs if a generic is available.
209
      See CMS Call Letter (April 3, 2017); 82 Fed. Reg. 56372 (Nov. 28, 2017).
210
      Exhibit 1 (CVS-002944).
211
      Exhibit 9 (CVS-001893).



                                                109
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          clear, Copaxone (i.e., the brand product), was dispensed and billed at a total plan cost

          allowed of $5,878.66, with a beneficiary copayment of $1,901.46, instead of the less costly

          generic despite the clear instruction that there was no Dispense as Written instruction

          indicated by the prescriber. Furthermore, the claim record shows that the brand Copaxone

          was dispensed at a pharmacy located in Florida, thus violating the obligation to dispense

          the less costly generic in a State requiring mandatory generic substitution (Florida).

      •   The 2019 record for a paid Renvela Tablets claim attached hereto as Exhibit 10 indicates

          that the “Dispense As Written” field was submitted as “0 – NO DAW.” 212 As the record

          makes clear, Renvela Tablets (i.e., the brand product), was dispensed and billed at a total

          plan cost allowed of $4,290.08, with a beneficiary copayment of $291.09, instead of the

          less costly generic despite the clear instruction that there was no Dispense as Written

          instruction indicated by the prescriber. Furthermore, the claim record shows that the brand

          Renvela Tablets was dispensed at the CaremarkPCS Pennsylvania Mail Pharmacy, 1 Great

          Valley Blvd. Wilkes-Barre, Pennsylvania, thus violating the obligation to dispense the less

          costly generic in a State requiring mandatory generic substitution (Pennsylvania).

      •   The 2019 record for a paid Suboxone Film claim attached hereto as Exhibit 11 indicates

          that the “Dispense As Written” field was submitted as “0 – NO DAW.” 213 As the record

          makes clear, Suboxone Film (i.e., the brand product), was dispensed and billed at a total

          plan cost of $240.10, with a beneficiary copayment of $91.91, instead of the less costly

          generic despite the clear instruction that there was no Dispense as Written instruction




212
      Exhibit 10 (CVS-001845).
213
      Exhibit 11 (CVS-002759).



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         indicated by the prescriber. Furthermore, the claim record shows that the brand Suboxone

         Film was dispensed at the CVS Pharmacy, 230 E. Ashland St, Cary Hill Plz,

         Brockton, Massachusetts, thus violating the obligation to dispense the less costly generic

         in a State requiring mandatory generic substitution (Massachusetts).

         336.   Moreover, in all instances in which the SilverScript submitted PDE claims with a

DAW 5 code (“Substitution allowed – brand drug dispensed as a generic”), such information was

materially false and misleading because it was, in fact, not dispensing the SSG/DNS Drugs as

“generic drugs” at all, but as the far more expensive brand-name drugs. In order to comply with

State mandatory generic substitution laws, a DAW 5 code would only have been permissible in

those instances in which it was dispensing the brand-name drug at the less costly, generic price. 214

That is exactly how it described the SSG Strategy in 2014 to its customers – i.e., a drug would be

“eligible for consideration in the SSG Strategy if including the drug will, on average and in the

aggregate, result in equal or lower cost to the plan and members, versus use of the newly

introduced SSG.” 215 Unfortunately, on average and in aggregate is not the intent of DAW 5. DAW

5 is where a brand is priced as a generic meaning the actual cost for the beneficiary is generic




214
    Moeckel v. Caremark, Inc., 622 F. Supp. 2d 663, 683 (M.D. Tenn. 2007) (“Thus, where a
physician prescribes a drug and authorizes substitution, the standard across the retail and mail
pharmacy industry (including Caremark’s mail order pharmacies) is to utilize the DAW 5 code
where the pharmacy uses, as a function of its business operations, the brand product as its generic
for that drug, and it is then reimbursed at the generic rate. As the dispensing pharmacy, it can
utilize any manufacturers’ product to fill a prescription for the generic drug (one of whom might
be the branded manufacturer of that drug). The DAW 5 code indicates to the payer that the
pharmacy uses the branded item as its generic product.”); Teva Pharm. Indus. Ltd. v. SmithKline
Beecham Corp., No. CIV.A.08CV3706DMC, 2009 WL 1687457, at *2 (D.N.J. June 16, 2009)
(“If a pharmacy uses the DAW 5 code, it will be reimbursed the amount usually reimbursed for
the generic, even though it actually dispensed a branded product.”).
215
      Exhibit 6 (CVS-002488) (emphasis added).



                                                 111
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pricing at the point-of-service. However, that is a far cry from using DAW 5 routinely to dispense

much more expensive brand-name drugs that are, in fact, much costlier to Medicare and the

member. In all instances in which SilverScript submitted PDE claims with the DAW Code 5 in

States requiring mandatory substitution, such information therefore was false. It also means a drug

dispensed with a DAW 5 that is not priced as a generic for the beneficiary does not meet the

legitimate meaning of the DAW 5.

          337.   Likewise, at all times material hereto, in those instances in which the SilverScript

submitted PDE claims with the DAW Code 9 (Plan requests brand), such information was false in

States that require generic substitution. Even though the DAW Code 9 can be used to indicate

situations in which the plan requests the brand instead of the generic, the DAW Code cannot

supersede State law. Nor can the SilverScript deny a beneficiary his rights and due process under

Medicare Part D to access needed Part D drugs. For example:

      •   The 2019 record for a paid Asacol HD claim attached hereto as Exhibit 12 indicates that

          the “Dispense As Written” field was submitted as “9 – PLAN REQ BRAND.” 216 As the

          record makes clear, Asacol HD (i.e., the brand product) was dispensed and billed at a total

          plan cost allowed of $190.01, with a beneficiary copayment of $96.25, instead of the less

          costly generic. Furthermore, the claim record shows that the brand Asacol HD was

          dispensed at a pharmacy located in Maryland, thus violating the obligation to dispense the

          less costly generic in a State requiring mandatory generic substitution (Maryland).

      •   The 2019 record for a paid Istalol 5ml claim attached hereto as Exhibit 13 indicates that




216
      Exhibit 12 (CVS-001698).



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         the “Dispense As Written” field was submitted as “9 – PLAN REQ BRAND.” 217 As the

         record makes clear, Istalol (i.e., the brand product) was dispensed and billed at a total plan

         cost allowed of $1042.70, with a beneficiary copayment of $129.00, instead of the less

         costly generic. Furthermore, the claim record shows that the brand Istalol was dispensed at

         a CVS Pharmacy located in Philadelphia, violating the obligation to dispense the less costly

         generic in a State requiring mandatory generic substitution (Pennsylvania).

         338.   In submitting claims records supporting the dispensing of the brand-name

SSG/DNS Drugs, CVS Health has routinely utilized untruthful, inaccurate and incomplete DAW

Codes, such as DAW Code 0, DAW1, DAW 2, DAW Code 5, or DAW Code 9, because it has

chosen not to substitute a generic for the SSG/DNS Drugs under circumstances required to do so

by Medicare Part D through incorporation of State mandatory generic substitution laws. Thus, the

CVS Health entities’ certification its PDE information was “accurate, complete and truthful” was

intentionally false and therefore fraudulent.

         339.   CVS Health through SilverScript and CVS Caremark has thus submitted (or caused

to be submitted) false PDE records or statements to CMS in violation of the mandatory generic

substitution laws of the States of Florida, Hawaii, Kentucky, Maine, Maryland, Massachusetts,

Minnesota, Nevada, New Jersey, New York, Pennsylvania, Puerto Rico, Rhode Island, Tennessee,

Vermont, West Virginia, and Wisconsin.

         340.   Likewise, even in states without mandatory generic substitution laws, the claims

records show that the DAW codes submitted on claims for SSG/DNS Drugs were improper when

dispensing the brand-name SSG Drug instead of the generic. Causing claims to be submitted with




217
      Exhibit 13 (CVS-001830).



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improper DAW codes constitutes the submission (or causing the submission) of false PDE records

or statements.




       341.      CVS Health and its wholly owned subsidiaries violated the terms of its 2012

Consent Order with the FTC, the antitrust laws, and the False Claims Act by engaging in

anticompetitive conduct to deceive SilverScript beneficiaries concerning accurate differential

pricing of less costly generic drugs. Specifically, CVS Health conceived and directed a centrally-

controlled scheme to conceal less costly differential prices in lieu of the SSG/DNS Drugs sold to

SilverScript beneficiaries.

       342.      CVS Health was only able to implement the SSG/DNS Scheme by utilizing its

control of its PDP Sponsor SilverScript, its PBM CVS Caremark and the CVS Pharmacies to

ensure that it would be able to block beneficiaries from receiving accurate information about and

access to less costly medications.

       343.      CVS Health chose to ignore its obligations under the FTC Consent Order, its

obligations under its firewall, and the clear, literal instructions in CMS regulations, that it provide

accurate information to elderly, ESRD and disabled beneficiaries of their choices so they might be

able to choose to receive lower drug prices.

       344.      The deception of SilverScript beneficiaries was not only cynical (particularly

because it was aimed at vulnerable elderly, ESRD and disabled patients), this was particularly the

case for the SSG/DNS Drugs for which there was a less costly generic.

       345.      In those instances when the SSG drug had an authorized generic available as an

alternative, the fraud was even more flagrant. There can be no argument that the authorized generic

drug is somehow in any way inferior to the brand-name drug. The authorized generics being sold



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are, in fact, identical to thirteen (13) of the fifteen (15) SSG brand-name drugs (Exelon, Voltaren

Gel, Invega, Asacol HD, Xopenex HFA, Renvela Packets, Renvela Tablets, Istalol, Harvoni,

Epclusa, Ventolin HFA, Advair Diskus, and Suboxone Sublingual Film), including the exact same

active and inactive ingredients.       The only difference between brand-name version and the

authorized generic is superficial – i.e., the label, which references the different seller and different

National Drug Code (“NDC”) assigned to authorized generic. The only difference CVS Health

cared about was that the brand-name drug was much more expensive, allowing it to reap huge

profits (while driving up the cost for taxpayers and elderly, ESRD and disabled SilverScript

beneficiaries).

        346.      Having a different NDC allows for significantly lower prices associated with the

authorized generic. According to the February 2019 GoodRx.com pricing for these drugs, the price

differences between the brand-name SSG/DNS Drugs and the identical authorized generics at CVS

Pharmacies ranged between 227% (Xopenex HFA) to 4,206% (Istalol) more expensive:

               Brand            Brand Cash Price           Authorized             Percentage
                                                          Generic Cash            Difference
                                                             Price
     Exelon                                  $726.18              $117.39                   618%
     Voltaren Gel                             $61.84               $19.95                   309%
     Invega                                 $1240.44              $265.25                   467%
     Asacol HD                               $893.48              $243.65                   366%
     Xopenex HFA                              $80.98               $35.67                   227%
     Renvela Packets                       $1,686.98              $466.85                   361%
     Renvela Tablets                         $540.35              $146.45                   368%
     Istalol                                 $391.58                $9.31                 4,206%
     Harvoni                              $32,704.50          $10,087.51                    324%
     Epclusa                              $25,874.46            $6,727.50                   385%
     Ventolin HFA                             $67.79               $28.99                   233%
     Advair Diskus                           $436.81              $123.49                   354%
     Suboxone                                $134.92               $39.80                   338%
     Sublingual Film

        347.      SilverScript’s failure to disclose accurate differential prices for these authorized



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generic drugs is thus particularly troubling in this instance because these less costly alternatives

are in fact the exact same drugs as the brand-name versions.

       348.    Not only that, but illustrating that it had long ago forgone any honest interest in

having SilverScript shift to the generic once there was more competition from other generic drug

makers to drive prices lower, as of November 2020 its formularies nevertheless still retained a

number of the drugs as part of the SSG/DNS Scheme despite these SSG/DNS Drugs having more

than one generic competitor beyond the authorized generic:

   •   Copaxone (Mylan, Sandoz)

   •   Exelon (Sandoz, Alvogen, Amneal, Breckenridge, Mylan, Zydus)

   •   Voltaren Gel (Amneal, Akorn, Perrigo)

   •   Invega (Actavis, Amneal, Inventia, Mylan, Sun)

   •   Xopenex HFA (Teva, Aurobindo, Cipla, Impax, Mylan)

   •   Renvela Packets (Aurobindo, Dr. Reddys)

   •   Renvela Tablets (Amneal, Anxin, Aurobindo, Dr. Reddys, Impax, Invagen, TWI, Wilshire)

   •   Istalol (Akorn, Apotex, E Fougera, FDC, Hi Tech Pharmacal, Pacific, Sandoz, Valeant,

       Wockhardt)

   •   Canasa (Mylan, Sandoz, PSP, Inc., and Zydus)

   •   Advair Diskus (Prasco, Mylan)

   •   Suboxone (Alvogen, Dr. Reddys, Mylan)

       349.    The availability of multiple generic competitors completely undermines CVS

Health’s stated explanation for the SSG/DNS Scheme – i.e., a single generic competitor does not

bring prices lower than the brand-name drug.

       350.    The fact that many of the SSG/DNS Drugs remained a part of the SSG/DNS



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Scheme despite the presence of multiple generic competitors demonstrates that this was merely a

pretext used to enrich CVS Health (while enabling the Drug Makers’ anticompetitive conduct) and

not really a strategy to keep drug prices affordable for Medicare and elderly, ESRD and disabled

SilverScript beneficiaries.

          351.   The SSG/DNS Scheme relied on systematic deception of SilverScript beneficiaries,

blocking access to the less costly generic. This is exactly the point made in a 2021 JAMA Internal

Medicine study which featured Medicare Part D coverage for Harvoni and Epclusa and two other

drugs. According to the study, there would be substantial savings if Part D beneficiaries had access

to lower priced authorized generics of these drugs. However, “[f]or patients to take advantage of

these lower list prices, they must be aware that the authorized generic drug is available, be on a

plan that provides coverage for the product, and find a pharmacy that has this product in stock.

These requirements represent substantial barriers to getting authorized generic drugs to

patients.” 218

          352.   The “substantial barriers” to a competitive market erected by the deals between

CVS Caremark and the Drug Makers include:

      •   SilverScript’s systematic denial of beneficiary rights regarding pricing and costs of

          authorized generics;

      •   Significant additional costs for the more expensive brand-name drugs, often driving

          beneficiaries into the Catastrophic Coverage Stage of their Medicare Part D benefits, where

          these drugs were frequently unaffordable;




218
   Stacie B. Dusetzina, et al., Patient and Payer Incentives to Use Patented Brand-Name Drugs
vs Authorized Generic Drugs in Medicare Part D, 181 JAMA Internal Medicine 1605, 1609 (Dec.
2021) (emphasis added).



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      •   SilverScript’s denial of all formulary exceptions for authorized generics forms of Harvoni

          and Epclusa; and

      •   By virtue of the CVS Pharmacies not stocking the authorized generics for Harvoni,

          Epclusa, Advair Diskus, and Ventolin HFA, it failed to offer uniform benefits to all Part D

          members.

          353.   CVS Health’s unlawful acts in violation of the FCA, as alleged herein, arise from

its (a) violation of the FTC Consent Order that it would not, directly or indirectly, make deceptive

claims about the price or cost of Medicare Part D prescription drugs, and is thereby liable for civil

monetary penalties of up to $10,000 per violation, pursuant to Section 5(l) of the FTC Act 219; (b)

obligation under the Federal antitrust laws not to share competitively sensitive information

between its firewalled subsidiaries, which conduct was aimed at harming elderly, ESRD and

disabled SilverScript beneficiaries; (c) use of materially false PDE records and statements in

support of false claims; (d) submission of (or causing the submission of) hundreds of thousands of

false PDE records and statements in support of SSG/DNS Drug reimbursement claims for the

purpose of unlawfully obtaining fraudulent reimbursement payments higher than those authorized

by law; and (e) knowingly (and systematically) deceiving SilverScript beneficiaries, blocking

access to equivalent, frequently identical and less costly generic drugs, often despite being required

to do so by State law.

VIII. CVS HEALTH SYSTEMATICALLY DECEIVED SILVERSCRIPT
      BENEFICIARIES

          354.   CVS Health has been explicit internally about its intentional preference for the

brand-name medications in the SSG/DNS Scheme and has made clear that it takes a coordinated



219
  FTC Letter to the Honorable Irvin B. Nathan, Attorney General for the District of Columbia
(May 3, 2012); see 15 U.S.C. § 45(l).


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effort across its subsidiaries to implement the SSG strategy of maximizing rebates. As CVS Health

writes: “Implementation of the Single Source Generic (SSG) Strategy includes several operational

pieces to ensure exclusion of the generic product(s) and maximize the utilization of the rebated

brand product.” 220

         355.   A key part of the corrupt SSG/DNS Scheme has been the use of deceptive verbatim

scripts developed by SilverScript for use in training its Customer Care Representatives (“CCRs”)

how to respond to beneficiary inquiries calling in to understand why they could not get access to

the less costly generic.

         356.   The elaborate coordination across the enterprise to execute the Scheme is illustrated

by the detailed training call center representative received for how to answer beneficiary inquiries

received. Confidential Informant No. 2 (“CI-2”), a former superviser and Medicare Part D lead at

CVS Health from 2014 to 2020, described CCR training as being “robust,” almost two months of

full-time classroom work. During the training program, SilverScript CCRs were expected to learn

everything from phone manners to CMS rules. In addition, they learned the required disclaimers

established under Medicare and how to answer plan member questions using CVS’s “call flow.”

         357.   “It was almost like taking a college class, where we had a lecture, and we took

notes, and then we’re tested on it,” CI-2 said.

         358.   SilverScript CCRs were expected to master use of the SSG/DNS Drug scripts in

responding to beneficiaries, were regularly evaluated by their managers to ensure they were doing

so, and indeed would be fired if they were not.

         359.   Instead of providing accurate information to encourage the use of less costly




220
      Exhibit 14 (CVS-002622).



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generics, SilverScript CCRs were trained to follow these directives which systematically misled

beneficiaries into believing there was no less costly generic option available.

       360.    The SilverScript CCRs thus often became unwitting foot soldiers in the carefully

coordinated deceptive activities to block access to less costly generics. Not infrequently, because

the SSG/DNS Scheme ran counter to how they had been trained generally in most instances to

encourage the use of less costly generics, during these calls with beneficiaries the SilverScript

CCRs themselves overtly express confusion and concern with what they were being directed to

do.

       361.    Here is a sampling of: (a) the false and deceptive SilverScript Customer Care

responses SilverScript CCRs were trained to give for the SSG/DNS Drugs, and (b) instances where

CCRs thereby deceived elderly, ESRD and disabled SilverScript beneficiaries, blocking access to

less costly generics:



       362.    Glatiramer acetate is an immunomodulator medication used to treat multiple

sclerosis. Teva Pharmaceutical Industries, Ltd. manufactures glatiramer acetate under the brand-

name Copaxone, which was first approved by the FDA in the daily 20 mg dose in 1996 and in the

three times weekly 40 mg dose in 2014.

       363.    Medicare Part D costs for MS drugs like Copaxone have risen dramatically in the

last decade. Between 2009 and 2019, rising prices for multiple sclerosis drugs including Copaxone

caused Medicare spending for these medicines to increase more than 10 times, while Part D

beneficiaries saw their out-of-pocket costs increase more than sevenfold. Specifically, Part D

spending on multiple sclerosis drugs jumped from on average nearly $7,800 in 2006 to more than

$79,400 in 2016. Meanwhile, out-of-pocket average patient spending rose from $372 to nearly

$2,700 for patients with multiple sclerosis during that same period of time. And the annual cost of


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treatment for those patients climbed from about $18,600 to almost $75,900, or 12.8% a year. 221

       364.   In the year ending August 31, 2018, Copaxone had U.S. brand sales of $527 million

for the 20 mg/mL dose and $2.86 billion for the 40 mg/mL dose.

       365.   After multiple generic manufacturers filed ANDAs challenging as invalid Teva’s

dosing schedule patents on the 40 mg dose of Copaxone, Teva initiated four patent infringement

lawsuits beginning in 2014. On January 30, 2017, a Delaware federal judge denied Teva’s

infringement claims, invalidating the Teva 40mg Copaxone patents for obviousness. 222 That

decision was affirmed by the Federal Circuit on October 12, 2018. 223

       366.   The first generic glatiramer acetate (the 20 mg Glatopa, manufactured by Sandoz)

came to market in June 2015, priced at $5000 a month, only an $800 a month discount to Teva’s

monthly price for Copaxone at the time, $5800. 224 Mylan later in October 2017 introduced 20 mg

and 40 mg generics, priced the same as Glatopa. By 2018, Mylan had dropped its list price from

$5,000 a month to $1,900 a month. 225



221
   Ed Silverman, Price hikes for multiple sclerosis drugs helped Medicare Part D out-of-pocket
costs to skyrocket, Stat+ (Aug. 26, 2019), available at
https://www.statnews.com/pharmalot/2019/08/26/multiple-sclerosis-prices-medicare/.
222
   Kelcee Griffis, Teva Vows Appeal After 4 Copaxone Patents Invalidated, Law360 (Jan. 31,
2017), available at https://www.law360.com/articles/886765.
223
   Ryan Davis, Fed. Circ. Rules Teva's Copaxone Patents Are Invalid, Law360 (Oct. 12, 2018),
available at https://www.law360.com/articles/1091792/fed-circ-rules-teva-s-copaxone-patents-
are-invalid.
224
   Press Release, Sandoz announces US launch of Glatopa™, the first generic competitor to
Copaxone® 20mg (June 19, 2015), https://www.us.sandoz.com/news/media-releases/sandoz-
announces-us-launch-glatopatm-first-generic-competitor-copaxoner-20mg.
225
   Carly Helfand, Mylan decimates the list price of its Copaxone copy. But why?, Fierce Pharma
(July 9, 2018), https://www.fiercepharma.com/pharma/mylan-decimated-list-price-its-copaxone-
copy-but-why.



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       367.    In response to the entry of generic competitors to Copaxone 20 mg, CVS Caremark

first entered into an agreement with Teva, requiring that SilverScript add Copaxone 20 mg to the

SSG/DNS Scheme on June 22, 2015. Later CVS Caremark entered into an agreement with Teva,

requiring that SilverScript add Copaxone 40 mg injection to the SSG/DNS Scheme on December

1, 2017.

       368.    The high cost associated with Copaxone has driven beneficiaries and Medicare into

the Catastrophic Coverage stage where plan costs are lower (and may be offset altogether with

manufacturer rebates), but beneficiary and Medicare liability could be substantial. 226

       369.    The Copaxone SSG/DNS Scheme was controversial at CVS Health. On multiple

occasions, Confidential Informant No. 1 (“CI-1”), a former SilverScript Medicare Part D actuary

from 2017 to 2019, raised concerns among CVS leadership about the high cost of the SSG

Copaxone scheme on beneficiaries taking the drug. CI-1’s superiors told him that the increased

Copaxone costs for Medicare and Part D beneficiaries “were not an issue” of concern because “on

average 93% of [LIS] members didn’t care” since their coinsurance amounts were subsidized by

the Government. According to CI-1, there was little concern from CVS Health management for

non-LIS members who would be the “losers” in the SSG/DNS Scheme for Copaxone.

               1. CVS Caremark Product Hopping Deal with Teva for Copaxone

       370.    CVS Health insists that it does not participate in product hopping schemes with

drug makers. In written testimony to the Senate Finance Committee, 227 CVS Health Executive



226
   The Flawed Design of Medicare Part D: A Copaxone Case Study, 46brooklyn (August 12,
2020), https://www.46brooklyn.com/research/2020/8/12/copaxone
227
    Drug Pricing in America: A Prescription for Change, Part III: Hearing Before the S. Comm.
on Finance, 116th Congress (2019) (Written Testimony of Derica Rice), at 43, available at:
https://www.finance.senate.gov/imo/media/doc/CVS%20Health%20SFC%2004%2009%2019%
20Final.pdf.


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Vice President and CVS Caremark President Derica Rice responded to questions about product

hopping from Senator Ben Cardin, stating that CVS Health would not do a “product hopping” deal

with a drug maker unless “the [new] product provides a genuine benefit to patients”:

       Question [Senator Cardin]. Do you think the proposed rule anticipates a situation
       where a pharmaceutical company stops producing an older version of a drug when
       a new formulation is available, but the newer formulation is not covered by a Part
       D plan? Why or why not?

       Answer [Mr. Rice]. Brands will sometimes cease production of an older version of
       a product in the interest of promoting a new formulation and preventing uptake of
       impending generic competition for the old formulation. This is commonly referred
       to as “product hopping” and allows them to keep prices artificially high. In
       instances that you are describing, if the newer product provides a genuine benefit
       to patients we would work to get such products on formulary. Otherwise we
       would use traditional utilization management tools to ensure patients have
       access to the appropriate drugs.

       371.    What Rice describes is the Copaxone scheme in which CVS Caremark not only

became a willing participant, but a primary co-conspirator with Teva. His statement that CVS

Health “would use traditional utilization management tools” is thus palpably false with regard to

how it blocked generics of Copaxone.

       372.    Indeed, a House Oversight Committee report investigating drug manufacturer

Teva’s Copaxone tells a quite different story than what Rice had insisted in his testimony to the

Senate Finance Committee. The House Report found evidence Teva had product hopped patients

from the original version of Copaxone 20 mg to a newer increased dosage version of Copaxone 40

mg, creating a 2.5 year delay in generic competition and costing the U.S. health care system

between $4.3 billion and $6.5 billion in excess expenditures. 228

       373.    Internal documents disclosed to the Oversight Committee reveal that Teva



228
   Drug Pricing Investigation: Majority Staff Report, Committee on Oversight and Reform
(December 2021), at 108, 109-113.



                                                123
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developed the new dose to extend its monopoly pricing for Copaxone by shifting patients to the

new dose—which still enjoyed market exclusivity—before the existing 20 mg/mL dose began

facing generic competition. Teva had invested in research to support the less frequent 40 mg/mL

dose of Copaxone, despite considerable internal opposition from Teva’s own Innovative Research

and Development team, which, according to one of Teva’s scientists, was “strongly against”

Teva’s study into the less frequent dosing of Copaxone “since it has no scientific

rationale/value.” 229

          374.      The Oversight Committee Report details how Teva took steps to leverage PBMs

like CVS Caremark into facilitating the product hop “by tying contractual rebates— the discounts

provided to PBMs and payers—on Copaxone 20 mg/mL to adding Copaxone 40 mg/mL to their

formularies.” 230 In anticipation of competing generic versions entering the market in October

2017, the Committee found that “Teva began planning a ‘House Brand Strategy’ to contract with—

and pay rebates to—PBMs and specialty pharmacies to make Copaxone 40 mg/mL the only

version of the drug covered or dispensed. Teva pursued this strategy following its product hop

from Copaxone 20 mg/mL to 40 mg/mL.” 231

          375.      CVS Caremark executed one such “House Brand” deal with Teva, selling access to

its formularies in furtherance of the Teva product hopping scheme, blocking generic competitors

from being covered on its drug formularies. 232




229
      Id. at 174.
230
      Id. at 113.
231
      Id. at 121.
232
      Id. at xii, 108.



                                                  124
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          376.    In a series of emails in January 2018, Teva’s Executive Vice President for North

America, Brendan O’Grady, explained how Teva’s House Brand agreement with CVS Caremark

had successfully prevented generic competition to Copaxone. In one email, a fellow employee

asked Mr. O’Grady whether Teva’s position would be harmed by a health insurer decision to place

Copaxone 40 mg/mL on more restrictive tiers on commercial and Medicare Part D formularies, in

favor of generic alternatives. O’Grady responded that the insurer’s decision had “almost zero

impact on actual prescriptions.” At the time, patients covered by the insurer accessed Copaxone

through a specialty pharmacy (CVS Specialty Pharmacy) that was wholly owned by a PBM (CVS

Caremark) which had entered into a House Brand contract. O’Grady explained: “Because [CVS

Caremark] is getting an additional rebate to fill all ‘glatiramer’ or Copaxone scripts with Copaxone

... if a doctor orders generic glatiramer or the pharmacy benefit [manager] mandates it be filled as

a generic, it will come in a plain box with Copaxone inside. Win-win for all. . . .” 233

          377.    But, many SilverScript beneficiaries were left holding the bag on increased costs

for Copaxone in the Catastrophic Coverage stage of their Part D benefit. Many could not afford

the additional cost, and were forced to skip their treatment. The impact of blocking beneficiaries

from getting access to the less costly generic glatiramer acetate instead of the costlier brand-name

Copaxone has had a dramatic impact not just on the cost of the drug, but on many patients’ care.

The annual cost of Copaxone by 2019 was approximately $85,000. A recent survey by the

National Multiple Sclerosis Society found that 40% of MS patients who take a DMT drug (like

Copaxone) skipped or delayed filling a prescription, took less than prescribed, or stopped taking




233
      Id. at 122-23.


                                                 125
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their medication altogether due to the high cost. 234 Only 11% said they could afford the medication

without financial assistance. 235

            378.   The SSG/DNS Scheme for an expensive, maintenance drug like Copaxone pushed

beneficiaries into the Catastrophic Coverage stage faster, where the SilverScript financial liability

is low, but where beneficiaries and Medicare are forced to pick up significant additional cost. That

is because a Medicare beneficiary’s progression through the Part D benefit stages is based on the

prescription drug list price at the point of sale, which excludes rebates, discounts, and other fees

CVS Caremark receives. This creates the perverse situation where beneficiaries reach the

Catastrophic Coverage Stage (where they face potentially substantial cost sharing) sooner when

using a high-priced product like Copaxone. 236



                   2. SilverScript Deception Blocked Access to the Less Costly Generic Copaxone
                      (glatiramer acetate)

            379.   SilverScript CCRs were provided training materials telling them to inform

beneficiaries that making Copaxone the exclusive formulary option would help “lower out-of-

pocket cost”:

            <Copaxone> is a brand-name prescription drug used to treat multiple sclerosis. This
            prescription drug was recently launched in its generic form <(glatiramer acetate)>.
            Generic prescription drugs are typically the lowest-cost option when compared to
            brand-name prescription drugs. <Client> promotes the use of generic prescription

234
   Multiple Sclerosis Society, Quantifying the Effect of the High Cost of DMTs Market Research
Report August 2019, available at
https://www.nationalmssociety.org/NationalMSSociety/media/MSNationalFiles/Advocacy/NMS
S-Research-Report-Full-Access-to-MS-Medications.pdf.
235
      Id.
236
    Joshua Cohen, More Accountability Needed In Medicare Part D Plan Formulary Decision-
Making, Forbes (March 12, 2020), available at
https://www.forbes.com/sites/joshuacohen/2020/03/12/more-accountability-needed-in-medicare-
part-d-plan-formulary-decision-making/?sh=378c7060779a 1/5


                                                   126
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            drugs to help plan beneficiaries save money. During the initial launch phase for the
            generic, there will be few manufacturers marketing the generic and the cost of the
            generic is expected to be relatively high. To help lower out-of-pocket cost, <Client>
            is passing along a manufacturer discount on the brand <Copaxone>. As a result,
            <Client> will continue to keep the brand version of <Copaxone> on the formulary
            and will NOT be adding the generic version until further notice. 237

While this may have been accurate when Copaxone was added to the SSG/DNS Scheme in 2015,

the CCR statement about lowering out-of-pocket costs was no longer correct by late 2018 when

other generic forms of glatiramer acetate were available at a much lower in cost to the member

and Medicare Part D than the brand Copaxone. Moreover, given the fact that by late 2018 there

were two competing generics (Mylan, Sandoz), there was simply no longer any reasonable

explanation why brand-name Copaxone remained the only SilverScript formulary option.

            380.   SilverScript CCRs were also instructed that they should tell beneficiaries that they

have the option to request a formulary exception, but that it would be at the “highest cost share

level”:

            [t]he generic equivalent, <Glatiramer acetate>, will not be on the formulary during
            this time. Beneficiaries will have the option to request an exception if they wish to
            obtain <glatiramer acetate>. However, exception requests for non-formulary
            prescription drugs, if approved, are typically approved for coverage at the highest
            cost share level. Brand <Copaxone> is available at the current Specialty Tier
            copay/coinsurance, so if the request for the generic is granted, the beneficiary
            would pay the amount associated with the plan’s exception tier. This may be a
            different cost than the brand. 238

The CCR statement about exception requests was deceptive. For 2019, Copaxone was a Tier 5

drug with coinsurance of 33%. A formulary exception would have been approved for Tier 4 with

a coinsurance of 40%. Thus, keeping the brand Copaxone as the only SilverScript formulary option




237
      Exhibit 15 (CVS-000377-87)
238
      Id.



                                                    127
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would not have resulted in lower out-of-pocket costs. Moreover, the discussion about the copay

for the generic of Copaxone, glatiramer acetate, was intended to discourage beneficiaries from

asking for a formulary exception by using misleading terminology “highest cost share level.” This

was deceptive. Even with the higher non-formulary exception tier coinsurance that would apply

to the generic, if approved, due to the dramatically lower price of glatiramer acetate (generic

Copaxone) will always be less expensive for Medicare and the beneficiary.

            381.   If SilverScript CCRs were asked by beneficiaries “[w]ill <Copaxone> cost more

than <glatiramer acetate> in any stage of the Medicare D benefit,” they were told to respond: “This

will vary based on what Plan you are in and which Medicare Part D coverage stage you currently

are in (e.g., Deductible, Initial Coverage Limit, Coverage Gap or Catastrophic).” 239

            382.   For LIS beneficiaries inquiring about whether there would be higher costs at any

stage, SilverScript CCRs were to say that “[i]n the Catastrophic stage of the benefit you will

continue to receive <Copaxone> at no cost. If you have not yet reached the Catastrophic stage,

you might have to pay your brand-name copayment for <Copaxone> until you reach the

Catastrophic stage.” 240 This was misleading because comparative costs are not provided to subsidy

members, leaving them without information to determine actual cost differences. If SilverScript

CCRs had been trained to give a truthful answer, they would have told LIS beneficiaries:

            •   The cost to LIS 1 beneficiaries in the initial coverage stage for CY2019 is $8.50 for the

                brand and $3.40 for the generic. The LIS beneficiary will pay $0 for both the brand

                and the generic glatiramer acetate in the Catastrophic Coverage stage.




239
      Id.
240
      Id.



                                                    128
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            •   Medicare Part D will pay $2,461.55 for the brand ($2,470.05 - $8.50) and $1,528.60

                for the generic glatiramer acetate ($1,532.00 - $3.40) in the ICL stage.

            •   Medicare Part D will pay $1.862.75 for the brand ($1,871.25 - $8.50) and $1,413.70

                for the generic glatiramer acetate ($1,417.10 - $3.40) for the generic in the Coverage

                Gap (where applicable) stage.

            •   Medicare Part D will pay $374.25 for the brand and $191.50 for the generic glatiramer

                acetate in the Catastrophic Coverage stage (full amount of beneficiary’s cost) in

                addition to 80% of the cost of either drug for the Medicare portion of the cost of the

                drugs in this stage.

            383.   If beneficiaries asked SilverScript CCRs “[a]ren’t generics less expensive,” the

canned response was: “When a generic version is first available, it is typically similar in price to

the brand-name version. Eventually, we expect more generic prescription drug companies to start

making and selling <glatiramer acetate>, which could bring down the price.” 241 The CCR

statement about when generic glatiramer acetate prices will be lower than the brand was false and

deceptive. Here generic glatiramer acetate was, in fact, already by 2018 were much lower in price

for all beneficiaries. There was no need to wait for there to be additional generic manufacturers

to bring the price down.

            384.   If asked, “[c]an I get the generic,” they were to tell beneficiaries:

            At this time the generic version, called <glatiramer acetate>, is not on the
            formulary. You do have the option to request a formulary exception. However,
            brand <Copaxone> is available at the current Specialty Tier coinsurance/copay, so
            if the request for the generic is granted, you (the beneficiary) would pay the amount




241
      Id.



                                                    129
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            associated with the Part D plan’s exception tier. This may be a different cost than
            the brand.” 242

This was deceptive. While this statement may have been true for some newly released generics,

the generics for Copaxone were soon available at a lower cost option for all beneficiaries.

Moreover, it was intended to discourage beneficiaries from asking for a formulary exception. A

formulary exception for the generic would have been approved at the highest tier (Tier 4) with a

coinsurance of 40%. However, even with the higher coinsurance, the generic glatiramer acetate

was already much less expensive than the brand due to the dramatic difference in price.

            385.   If they were asked how long would “<COPAXONE> remain on the formulary on

the <Specialty Tier (Tier 5)>,” the scripted response was: “We anticipate that <COPAXONE>

will remain on the formulary on the <Specialty Tier (Tier 5)> in <2018 and 2019> until the price

of the generic form of <COPAXONE> drops. We anticipate it will be a <minimum of six months>,

however that is based on market conditions not within our control and could change.” 243

            386.   This was misleading. As of February 2019, the GoodRx price of the generic

glatiramer acetate was $1,567.18 compared to the brand Copaxone price of $7,170.91, already

making the generic a lower cost option for both the beneficiary and Medicare.

            387.   Thus, the decision to keep the brand Copaxone as the only option on the

SilverScript formulary was not driven by market conditions, but by CVS Health’s own profit

motives. This was even more deceptive by 2020, well past the promised price drop related to

“market conditions.” 244 By then, there were two generics being sold competing against Copaxone



242
      Id.
243
      Id.
244
      Id.



                                                   130
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(Mylan, Sandoz). However, even then the brand-name Copaxone remained the only choice on the

SilverScript Choice and Plus formularies. 245 Likewise, it was a lie and deceptive to say that the

market conditions were not “within our control” when it was CVS Caremark’s agreement with

Teva that was the cause for the delay in the formulary access to the less costly generic drug

glatiramer acetate. The market conditions were thus completely within its control.

       388.    If beneficiaries asked whether they could request a coverage determination for the

less costly generic, they were to be told: “Yes, you as the beneficiary may request a coverage

determination for <glatiramer acetate>. However, exception requests for non-formulary

prescription drugs, if approved, are typically approved for coverage at the highest cost share level.”

This was misleading and intended to discourage beneficiaries from asking for a formulary

exception. A formulary exception for the generic glatiramer acetate would have been approved at

the highest tier (Tier 4) with a coinsurance of 40%. However, even with the higher coinsurance,

the generic glatiramer acetate would have been less expensive than the brand Copaxone due to the

dramatic difference in price.

               3. Beneficiary No. 1

       389.    Beneficiary No. 1’s experience showcases how, despite beneficiary protests,

SilverScript did not provide beneficiaries with information or options about how to reduce their

Copaxone out-of-pocket cost (and also consequently costs to Medicare) by getting access to less

costly generic drugs.

       390.    In late January 2019, Beneficiary No. 1 (a 67-year-old woman from Nebraska) was



245
   See 2020 SilverScript Choice Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_CHOICE_EN.pdf; 2020 SilverScript Plus
Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_PLUS_EN.pdf.



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able to get her prescription for the generic version of Copaxone (glatiramer acetate) under a

transition fill (hereinafter “Transition Fill”), a one-time, short-term fill of a prescription as a

temporary stopgap to ensure beneficiaries get their medication even if it is not otherwise supposed

to be available because it is not on formulary or is not pre-approved. 246

            391.   The claim record shows that the CVS Specialty Pharmacy filled her glatiramer

acetate prescription and submitted the claims with a “0 – NO DAW” code. 247

            392.   According to the CVS Participating Pharmacy Manual, the CVS Specialty

Pharmacy could only “[u]se the DAW 0 code when dispensing a generic drug; that is, when no

party (i.e., neither Prescribing Provider, nor pharmacist, nor Participant) requests the branded

version of a multi-source product.” (emphasis added). 248

            393.   Shortly thereafter, she received a letter from SilverScript dated January 28, 2019

stating that the Transition Fill of the generic was only a one-time fill because the drug was not

covered on the formulary. 249

            394.   After receiving the letter from SilverScript, Beneficiary No. 1 contacted

SilverScript Customer Care to figure out what she needed to do in order to keep getting the less

costly medication. Over the course of two different calls, the SilverScript CCRs never gave

Beneficiary No. 1 the option to request a coverage determination for the formulary exception. To

the contrary, the solution SilverScript CCRs offered was for them to contact her doctor to have the

doctor specify in the prescription that the brand-name Copaxone was required. So, instead of


246
      Exhibit 16 (CVS-001933).
247
      Id.

248
      Exhibit 1 (CVS-002944).
249
      Exhibit 17 (CVS-001934).



                                                  132
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offering her a formulary exception, CVS Health forced the doctor to write a prescription for the

brand-name Copaxone despite there being no clinical reason to use the brand-name over the

generic.

         395.   This is non-compliant with CMS rules and regulations, and was by definition a

coverage determination request for the generic Copaxone. What happened to Beneficiary No. 1 is

exemplary of thousands of instances where SilverScript denied beneficiaries access to their rights

under Medicare.

         396.   Beneficiary No. 1’s claims history demonstrates how denying the option of a

formulary exception made her medication more expensive to both this senior and Medicare. Given

the high price of Copaxone, merely three fills pushed her into the Catastrophic Coverage Stage. In

the Catastrophic Coverage Stage, the cost difference between the brand-name Copaxone and the

generic are stark: 250

                                           Generic                             Brand
                                           (Glatiramer Acetate)                (Copaxone)
  Plan allowed drug cost                   $4,718.67                    $5,892.65
  Member Co-pay                            $235.93                      $294.65
  Plan Cost (SilverScript Cost)            $707.80                      $883.89
  Medicare Cost (Catastrophic              $3,775.43                    $4,714.61
  Coverage Stage)
  Total Medicare Cost                      $3,775.43                    $4,714.61

         397.   Illustrating the contortions to which the SSG/DNS Scheme has required

SilverScript to make, here, as evidenced by Beneficiary No. 1’s use of the generic version of

Copaxone and continued requests for it, there was no medically valid reason her physician would

have required that she needed to receive the brand-name drug instead of the less costly generic that




250
      Exhibit 18 (CVS-001923).



                                                133
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had been requested. Not only had she specifically requested the generic, the generic glatiramer

acetate she received was less costly and was therapeutically equivalent. Thus, a DAW 1 code in

the PDE record in support of the SilverScript payment for Beneficiary No. 1 was untruthful,

inaccurate and incomplete.

           398.   Furthermore, requiring her to use the brand-name Copaxone was invalid because

the prescription was filled at a CVS pharmacy in Pennsylvania, a mandatory generic substitution

State. SilverScript thus violated the State law requirement that the prescription be substituted with

the less costly generic.



           399.   Paliperidone is an atypical antipsychotic used to treat schizophrenia and

schizoaffective disorder. Janssen Pharmaceuticals, Inc., a wholly-owned subsidiary of Johnson &

Johnson, manufactures paliperidone under the brand-name Invega. Paliperidone is a “me, too”

active metabolite version of its drug risperidone (Risperdal), which had lost patent protection years

earlier.

           400.   As of the year ending June 30, 2015, Invega Extended-Release Tablets 1.5 mg, 3

mg, 6 mg and 9 mg, had U.S. sales of approximately $606.2 million.

           401.   On August 3, 2015, the FDA approved a generic version of Invega manufactured

by Allergan, which announced it had launched sales of the generic tablets on September 25,

2015. 251 On September 28, 2015, Mylan announced the launch of its own generic versions of




251
    Da Hee Han, First Generic Version of Invega Launched, MPR (September 25, 2015), available
at https://www.empr.com/home/news/generics-news/first-generic-version-of-invega-launched/



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Invega tablets. 252

         402.   In response to the competing Allergan and Mylan generics, on September 24, 2015,

a wholly owned subsidiary of Janssen, Patriot Pharmaceuticals, LLC (located in Horsham,

Pennsylvania, within this District) announced it would begin selling the authorized generic version

of Janssen’s Invega (paliperidone), available as 1.5 mg, 3 mg, 6 mg, and 9 mg extended-release

tablets. 253

         403.   The authorized generic for Invega was manufactured by Janssen and was identical

to the brand-name drug. The only difference was the assigned National Drug Code (NDC).

         404.   Patriot’s website describes authorized generics as “the innovator’s prescription

drug, approved under a New Drug Application (NDA) by the FDA, and are either marketed and

distributed by an authorized generic distributor or have sales and supplies managed by an entity

like Patriot with a generic product label.” 254

         405.   In addition, Patriot’s website says that there are no differences between the

authorized generic and the brand product it is selling for Janssen: “Patients will have the same

product experiences with Authorized Generics as they did with the brand-name products in areas




252
    Mylan Launches Generic Invega® Tablets, PR Newswire (Sep. 28, 2015), available at
https://www.prnewswire.com/news-releases/mylan-launches-generic-invega-tablets-
300149726.html
253
   OptumRx, “Invega (paliperidone) – First-Time Generic” available at
https://professionals.optumrx.com/content/dam/optum3/professional-
optumrx/vgnlive/HCP/Assets/RxNews/New%20Generics_Invega_2015-0925.pdf (last accessed
June 6, 2019).
254
    Patriot Pharmaceuticals, “About Authorized Generics”
https://www.patriotpharmaceuticals.com/patriotpharmaceuticals/faqs.html (last accessed on June
9, 2019).



                                                  135
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such as taste, color, mouth feel, size and shape.” 255

            406.   CVS Caremark shortly thereafter entered into an agreement with Janssen, requiring

that SilverScript add Invega to the SSG/DNS Scheme on November 6, 2015.

                   1. SilverScript Deception Blocked Access to Generic Invega (paliperidone
                      tablets)

            407.   After Invega was added to the SSG/DNS Scheme, SilverScript CCRs were told to

tell beneficiaries:

            During the initial launch phase for the generic, there will be few manufacturers
            marketing the generic and the cost of the generic is expected to be relatively high.
            To help keep out-of-pocket costs low, SilverScript is retaining brand INVEGA
            TABLET on its formulary on the Preferred Brand Tier (Tier 3). INVEGA TABLET
            is eligible for a manufacturer discount in the coverage gap. 256

This was misleading. Authorized generics are eligible for the Coverage Gap discount program

since they are NDA “applicable” drugs. 257 The generic drug paliperidone tablet option(s) were

lower cost to the member and Medicare than the brand for the SilverScript Allure Plan in the ICL

stage and for all SilverScript plans in the Coverage Gap (where applicable) and Catastrophic

Coverage Stage. Moreover, given the fact that there were as of 2019 five competing generics

(Actavis, Amneal, Inventia, Mylan, Sun), there was simply no longer any reasonable explanation

why Invega remained the only SilverScript formulary option.

            408.   SilverScript CCRs were also to tell beneficiaries:

            Retaining brand INVEGA TABLET on the Preferred Brand Tier (Tier 3) can help
            keep out-of-pocket costs low for SilverScript beneficiaries. . . . Beneficiaries will



255
      Id.
256
      Exhibit 19 (CVS-000324-33).
257
    CMS, Medicare Coverage Gap Discount Program Beginning in 2011: Revised Part D Sponsor
Guidance and Responses to Summary Public Comments on the Draft Guidance (May 21, 2010),
at 4.


                                                    136
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            have the option to request a formulary exception if they wish to obtain paliperidone
            tablet.

               •   However, exception requests for non-formulary prescription drugs, if
                   approved, are typically approved for coverage at the highest non-specialty
                   cost share level (Tier 4) in 2018 and 2019.

               •   Brand INVEGA TABLET is available at Preferred Brand Tier (Tier 3)
                   copay in 2018 and 2019, so if the request for the generic is granted, the
                   beneficiary would most likely pay a higher out-of-pocket cost as the
                   medication will pay as a Tier 4 coinsurance. As the cost of the generic is
                   expected to be higher, the coinsurance amount will also be higher for the
                   generic. 258

The statement about keeping out-of-pocket costs low was misleading. Invega was at the time a

Tier 3 drug. A formulary exception would have been approved for Tier 4. This would result in a

higher cost for the generic paliperidone tablet in the ICL stage only (Choice, Plus) and a lower

cost for the generic (Allure). For the Coverage Gap and Catastrophic Coverage Stages, the generic

paliperidone tablet would be less expensive in all plans.

            409.   If SilverScript CCRs were asked whether “INVEGA TABLET [will] cost more

than paliperidone tablet in any phase of the Medicare Part D benefit,” they were to tell non-LIS

beneficiaries:

            No. The Coverage Gap Stage (also called the “donut hole”) is where you will
            receive significant savings on brand INVEGA TABLET. The brand-name would
            have been less expensive than the generic version because of the manufacturer
            discount on brand-name prescription drugs. In 2018, your cost share in the
            Coverage Gap Stage is 35% on the price of brand INVEGA TABLET. If the generic
            were included at this time on the formulary, your cost share would be 44%. In 2019,
            your cost share in the Coverage Gap Stage is 25% on the price of brand INVEGA
            TABLET. If the generic were included at this time on the formulary, your cost
            share would be 37%..” 259




258
      Id.
259
      Id.



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This was false. The reference to the higher generic cost share was misleading because, even with

the higher copayment, the generic paliperidone tablet was already less costly. If they were being

truthful, SilverScript CCRs would say that, in all non-subsidy scenarios across all three plans, the

cost of the generic paliperidone tablet would in almost all situations always be lower.

            410.   If asked why beneficiaries cannot get the generic, SilverScript CCRs were trained

to respond:

            When a generic version is first available, it is typically similar in price to the brand
            version. At this time the generic version, called paliperidone tablet, is not on the
            formulary. You do have the option to request a formulary exception. However,
            exception requests for non-formulary prescription drugs, if approved, are typically
            approved for coverage at the highest cost share level (excluding the Specialty Tier
            - Tier 4) in 2018 and 2019. Brand INVEGA TABLET is available at the Preferred
            Brand Tier (Tier 3) in 2018 and 2019, so even if an exception is granted to allow
            coverage of the generic, you might pay more out-of-pocket for the generic version
            paliperidone tablet than for brand INVEGA TABLET. Eventually, we expect more
            generic prescription drug companies to start making and selling paliperidone tablet,
            and this should bring down the price. 260

It was misleading to tell beneficiaries that the generic paliperidone tablet is not less costly than the

brand-name Invega. While this statement may have been true for some newly released generics,

the generic paliperidone tablet was already much lower in price for some beneficiaries in the ICL

stage and all beneficiaries in the Coverage Gap (where applicable) and Catastrophic Coverage

Stages. There was no need to wait for there to be multiple generic manufacturers for the price to

come down since the generic was already less costly than the brand-name Invega. Likewise, it

was deceptive to discourage beneficiaries from asking for a formulary exception. Only in the ICL

stage of the plan would the generic paliperidone tablet be more expensive than the brand in the

Choice and Plus plans, but it would always be less expensive in the Allure plan.




260
      Id.



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            411.   If asked by beneficiaries how long Invega would be the exclusive formulary choice,

SilverScript CCRs were to respond: “We anticipate that INVEGA TABLET will remain on the

formulary in Preferred Brand Tier (Tier 3) in 2018 and 2019 until the price of the generic form of

INVEGA TABLET drops. We anticipate it will be a minimum of six months, however that is

based on market conditions not within our control and could change.” 261

            412.   This was misleading. By February 2019, the GoodRx price of the generic

paliperidone tablet was $265.25 compared to the price of the brand Invega of $1,240.44, making

the generic already a much lower cost option for both the beneficiary and Medicare in many

scenarios.

            413.   Thus, the decision to keep the brand Invega as the only choice on the SilverScript

formulary was not driven by purported market conditions, but by CVS Health’s own profit

motives. This was even more deceptive by 2020, well past the promised price drop related to

“market conditions.” 262 By then, there were six generic paliperidone tablet products being sold

competing against Invega (Actavis, Amneal, Inventia, Mylan, Patriot and Sun). However, even

then the brand-name Invega remained the only option on the SilverScript Choice and Plus




261
      Id.
262
      Id.



                                                  139
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formularies. 263

         414.      Likewise, it was a lie and deceptive to say that the market conditions were not

“within our control” when it was CVS Caremark’s agreement with Janssen that was the cause for

the delay in the formulary access to the less costly generic drug paliperidone tablet. The market

conditions were thus completely within its control.

         415.      If SilverScript CCRs were asked by beneficiaries whether they could request a

coverage determination for the less costly generic, they were to tell them:

         Yes, you as the beneficiary may request a coverage determination for paliperidone
         tablet. However, exception requests for non-formulary prescription drugs, if
         approved, are typically approved for coverage at a higher cost share level
         (excluding the specialty tier). Brand INVEGA TABLET is available at the
         Preferred Brand Tier (Tier 3) copay in 2018 and 2019, so you might pay more out-
         of-pocket for the generic than for the brand at this time. 264

This was misleading as to the Allure beneficiaries and was intended to discourage them from

asking for a formulary exception. Only in the ICL stage of the plan (where this exception would

be used), the generic paliperidone tablet would be more expensive than the brand in the Choice

and Plus plans, but less expensive in the Allure plan.

                   2. Beneficiary No. 2

         416.      When Beneficiary No. 2 (a 34-year-old man living in Missouri) sought to fill a



263
   See 2020 SilverScript Choice Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_CHOICE_EN.pdf; 2020 SilverScript Plus
Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_PLUS_EN.pdf; Allure formulary, available at
https://q1medicare.com/PartD-BrowseMedicare-
2019PlanFormulary.php?letter=I&formulary=00019296&contractId=S5601&planId=154&segm
entId=0&zipCountyCode=0&ccountyName=Statewide&stateReg=12TN&zip=&planType=P&m
ode=state&prAuth=&stepTh=&qtyLmt=&tier1=&tier2=&tier3=&tier4=&tier5=&tier6=&sort=d
rugNameasc.
264
      Exhibit 19 (CVS-000324).



                                                 140
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prescription for the generic Invega (paliperidone tablets) on February 22, 2019, he was able to get

his prescription under a Transition Fill at his pharmacy. 265

         417.   Shortly thereafter, he received a letter from SilverScript dated February 26, 2019,

stating that the Transition Fill of the generic was only a one-time fill because the drug was not

covered on the formulary, and was required to use the brand Invega thereafter. 266 The letter from

SilverScript failed to notify Beneficiary No. 2 that there was an identical, less costly authorized

generic for the brand Invega.

         418.   After Beneficiary No. 2 filed a grievance on March 4, 2019, SilverScript failed to

address his request for a coverage determination within that grievance for the generic paliperidone,

presumably because it was not covered under the plan. Despite the fact that SilverScript had for

years granted all formulary exceptions whenever beneficiaries requested the less costly generic,

there is no indication from the grievance notes that the representative offered him a formulary

exception, which SilverScript was required to offer and which had been routinely granted up until

late 2018.

         419.   This is non-compliant with CMS rules and regulations, and was by definition a

grievance and a coverage determination request for the generic Invega. What happened to

Beneficiary No. 2 is exemplary of thousands of instances where SilverScript denied beneficiaries

access to their rights under Medicare.

         420.   While the decision to require Beneficiary No. 2 to use the brand Invega did not

increase his costs since his coinsurance was subsidized (his copayment was $3.40 for both the




265
      Exhibit 20 (CVS-002333).
266
      Exhibit 21 (CVS-002334).



                                                 141
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brand and the generic), it did drive up the costs for taxpayers considerably. The paid claim record

for his paliperidone ER indicates the plan allowed drug cost for the generic paliperidone was

$401.97 compared to the plan allowed cost for Invega of $607.83, a 151% increase. 267 These costs

would only increase as Beneficiary No. 2 proceeded to the Catastrophic Coverage Stage of his

benefit.



         421.   Mesalamine is used to treat inflammatory bowel disease, including ulcerative

colitis and Crohn’s disease. Allergan manufactures mesalamine delayed-release tablets under the

brand-name Asacol HD.

         422.   By 2014, Asacol HD’s annual sales in the U.S. were $488 million.

         423.   CVS Caremark entered into an agreement with Allergan, requiring that SilverScript

add Asacol HD added to the SSG/DNS Scheme on September 23, 2016.

                1. The Asacol HD SSG/DNS Deal Facilitated Allergan’s “Pay-for-Delay”
                   Tactics, Delaying Generic Competition

         424.   CVS Health has insisted that it opposes so-called “pay-for-delay” tactics from drug

makers. For example, CVS Health Executive Vice President Jon Roberts posted an article on the

company website on February 7, 2017, stating that the company “supports passing laws that end”

pay-for-delay deals. 268

         425.   In a letter to then HHS Secretary Alex Azar dated July 16, 2018, CVS Health stated

that, “[b]y prohibiting pay-for-delay agreements, the Trump Administration can curb anti-



267
      Exhibit 22 (CVS-002332).
268
   Jon Roberts, Bending the Prescription Drug Cost Curve: How Policy Reform Can Help, CVS
Health website (Feb. 7, 2017), available at https://payorsolutions.cvshealth.com/insights/bending-
prescription-drug-cost-curve.



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competitive practices and help bring lower cost, clinically-equivalent generic medications to

market more quickly.” 269

       426.    Likewise, in testimony before the Senate Finance Committee on April 9, 2019, CVS

Health Executive Vice President and President of CVS Caremark Derica Rice insisted that CVS

Health supports “ending ‘pay-for-delay,’ a tactic that allows brand manufacturers to pay generic

competitors to keep products off the market and extend market exclusivity.” 270

       427.    What CVS Health has failed to admit was that, in fact, the SSG/DNS Scheme had

for years actually aided and abetted pay-for-delay Drug Maker tactics.

       428.    One example of this is Asacol HD. In order to protect its Asacol franchise, Allergan

had engaged in numerous schemes to delay generic competition, including a product hop from

Asacol to Asacol HD; a so-called “hard switch” to Asacol HD (ceasing the sale of Asacol in April

2013); a reverse payment settlement with first generic maker Zydus (effectively bottlenecking all

other generics), paying it not to compete with a generic form of Asacol HD; “ever-greening” sham

patent infringement litigation against generic makers to obtain a 30-month Hatch Waxman stay;

and the introduction of an authorized generic version of Asacol HD.

       429.    In September of 2011, generic maker Zydus Pharmaceuticals had filed the first

ANDA seeking FDA approval for generic Asacol HD. As the first generic filer, Zydus was

potentially entitled to 180 days of restricted competition from other generics (other than




269
    Press Release, CVS Health Responds to Request for Information on Trump Administration's
Blueprint to Lower Drug Prices, CVS Health website (July 16, 2018), available at
https://www.cvshealth.com/news-and-insights/press-releases/cvs-health-responds-to-request-for-
information-on-trump.
270
  See Drug Pricing In America: A Prescription For Change, Part III, Hearing Before the
Committee on Finance, U.S. Senate, S. Hrg. 116-415 (April 9, 2019).



                                               143
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“authorized generics” sold by the brand company itself). In November of 2011 Warner Chilcott

(later acquired by Allergan) filed a patent infringement suit in order to prevent Zydus from entering

the market.

       430.    After two years of litigation, in late 2013 and early 2014 Warner Chilcott entered

into an unlawful non-competition agreement with Zydus. In the agreement, Warner Chilcott agreed

to pay Zydus tens of millions of dollars annually in exchange for Zydus’s agreement to quit its

challenge to Warner Chilcott’s patent and assist in delaying the entry of a less costly generic

version of Asacol HD until at least November 15, 2015, but likely by or beyond July 1, 2016. As

part of the reverse payment agreement, Warner Chilcott promised (i) not to launch an authorized

generic version of Asacol HD to compete against Zydus’s generic, and (ii) to deter other generic

manufacturers from entering the market before Zydus.

       431.    According to a press release issued by Allergan in 2014, it had finalized the reverse

payment settlement agreement with Zydus related to Asacol HD:

       Under the terms of the agreement, Actavis will grant Zydus an exclusive license to
       market its generic Asacol® HD beginning on November 15, 2015, or earlier under
       certain circumstances, following receipt by Zydus of final approval from the U.S.
       Food and Drug Administration (FDA) on its Abbreviated New Drug Application
       (ANDA) for generic Asacol® HD. Alternatively, if Zydus does not
       gain FDA approval of its generic Asacol® HD by July 1, 2016, Zydus will be
       permitted to launch an authorized generic version of Actavis’ product beginning
       on July 1, 2016. 271

       432.    As part of the settlement, Zydus agreed to turn over 75 percent of its authorized

generic profits to Actavis (which changed its named to Allergan when it bought the company in




271
    June 9, 2014 Press Release, “Actavis Finalizes Agreement Related to Asacol® HD Patent
Challenge Litigation,” available at
https://www.allergan.com/news/news/thomson-reuters/actavis-finalizes-agreement-related-to-
asacol-hd-p.



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2015). 272

        433.   On August 1, 2016, Zydus Pharmaceuticals announced it would begin selling an

authorized generic version of Allergan’s Asacol HD (mesalamine) 800 mg delayed-release tablets,

using Asacol HD tablets supplied by Allergan. 273

        434.   Even though publicly CVS Health has been an outspoken critic of drug maker pay-

for-delay deals, privately its SSG/DNS deals actually did exactly the opposite, actually facilitating

the Drug Maker’s tactics.

        435.   For Asacol HD, shortly after Zydus began marketing the authorized generic, CVS

Caremark entered into an anticompetitive “rebate wall” agreement with Allergan, 274 requiring that

SilverScript add Asacol HD added to the SSG/DNS Scheme on September 23, 2016, thus blocking

elderly, ESRD and disabled SilverScript members’ access to the less costly generic.

               2. SilverScript Deception Blocked Access to the Less Costly Generic Asacol HD
                  (mesalamine-sofoamine)

        436.   After Asacol HD was added to the SSG/DNS Scheme, SilverScript CCRs were

provided materials and training instructing them to inform beneficiaries that:

        [d]uring the initial launch phase for the generic, there will be few manufacturers
        marketing the generic and the cost of the generic is expected to be relatively high.
        To help keep out-of-pocket costs low, SilverScript is retaining brand ASACOL®
        HD DELAYED-RELEASE TABLETS on its formulary on Non-Preferred Drug
        Tier (Tier 4). SilverScript will continue to keep the brand version of ASACOL HD

272
   Joe Nocera, How Allergan Continues to Make Drug Prices Insane, Bloomberg (Jan. 9, 2018),
https://www.bloomberg.com/opinion/articles/2018-01-09/how-allergan-continues-to-make-drug-
prices-insane.
273
   Zydus to sell Asacol HD's generic in US market, Business Standard (July 14, 2016), available
at https://www.business-standard.com/article/pti-stories/zydus-to-sell-asacol-hd-s-generic-in-us-
market-116071401279_1.html.
274
   Joshua Cohen, Rebate Walls Stifle Prescription Drug Competition, Forbes (March 1, 2021),
available at https://www.forbes.com/sites/joshuacohen/2021/03/01/rebate-walls-stifle-
prescription-drug-competition/?sh=40443b866ae9.



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            DELAYED-RELEASE TABLETS on the formulary and will NOT be adding the
            generic version until further notice. 275

The CCR statement about keeping out-of-pocket low was false. The generic drug option(s) were

lower cost to the member and Medicare Part D than the brand.

            437.   They were also to tell beneficiaries that:

            Retaining brand ASACOL HD DELAYED-RELEASE TABLETS on Non-
            Preferred Drug Tier (Tier 4) can help keep out-of-pocket costs low for SilverScript
            beneficiaries. Note: The generic equivalent mesalamine delayed-release tablets is
            not on the formulary until further notice. Beneficiaries have the option to request
            an exception if they wish to obtain mesalamine delayed-release tablets. However,
            exception requests for non-formulary prescription drugs, if approved, are typically
            approved for coverage at the highest cost share level. Brand ASACOL HD
            DELAYED-RELEASE TABLETS is available at the Non-Preferred Drug Tier
            (Tier 4) copay/coinsurance, so if the request for the generic is granted, the
            beneficiary would pay the amount associated with the plan’s exception tier. This
            may be a different cost than the brand. 276

This, too, was false. Asacol HD was at the time a Tier 4 drug. A formulary exception would also

have been approved for Tier 4. Keeping the brand as the only SilverScript formulary option would

not have resulted in lower out-of-pocket costs. Moreover, the exception request language was

intended to discourage beneficiaries from asking for a formulary exception by using misleading

terminology “highest cost share level.” A formulary exception would always result in a lower

beneficiary and Medicare cost for the generic mesalamine delayed-release tablets.

            438.   If SilverScript CCRs were asked whether Asacol HD Delayed Release Tablets

would cost more in any stage for LIS beneficiaries, they were to tell them:

            In the Catastrophic Coverage Stage of the benefit, you will continue to receive
            ASACOL HD DELAYED-RELEASE TABLETS at no cost. If you have not yet
            reached the Catastrophic Coverage Stage, you might have to pay your brand-name



275
      Exhibit 23 (CVS-000272-82).
276
      Id.



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            copayment for ASACOL HD DELAYED-RELEASE TABLETS until you reach
            the Catastrophic Coverage Stage. 277

This was misleading because comparative costs are not provided to subsidy members, leaving

them without information to determine actual cost differences.             If they had been truthful,

SilverScript CCRs would have informed LIS beneficiaries:

      •     The cost to LIS 1 beneficiaries in the initial coverage stage for CY2019 is $8.50 for the

            brand and $3.40 for the generic mesalamine delayed-release tablets. Beneficiaries will pay

            $0 for both the brand and the generic in the Catastrophic Coverage stage.

      •     Medicare Part D will pay $518.95 for the brand ($527.45 - $8.50) and $344.70 for the

            generic mesalamine delayed-release tablets ($348.10- $3.40) in the ICL stage.

      •     Medicare Part D will pay $321.16 for the brand ($329.66 - $8.50) and $318.60 ($322.00 -

            $3.40) for the generic mesalamine delayed-release tablets in the Coverage Gap (where

            applicable) stage.

      •     Medicare Part D will pay $65.93 for the brand and $43.51 for the generic mesalamine

            delayed-release tablets in the Catastrophic Coverage stage (full amount of beneficiary's

            cost) in addition to 80% of the cost of either drug for the Medicare portion of the cost of

            the drugs in this stage.

            439.    If asked by beneficiaries “[w]hy is the brand-name ASACOL HD DELAYED-

RELEASE TABLETS on the formulary when there is now a generic available,” they were to

respond:

            In this case, the price of the generic version of ASACOL HD DELAYED-
            RELEASE TABLETS will likely be similar to the price of the brand version for a
            minimum of six months, and perhaps longer. There are few manufacturers of the
            generic version of ASACOL HD DELAYED-RELEASE TABLETS to drive the
            price down. Until there are competitors and the price of the generic version goes

277
      Id.


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            down, your plan will continue to cover brand-name ASACOL HD DELAYED-
            RELEASE TABLETS at the Non-Preferred Drug Tier (Tier 4) cost share in
            2019. 278

The CCR statement about how long it will take for the generic price to come down was false. The

generic mesalamine 800 mg delayed-release tablets are already much lower in price for most

beneficiaries. There was no need to wait for there to be multiple generic manufacturers to drive

the price down.

            440.   If they were asked why they could not get a generic mesalamine delayed-release

tablets, they were trained to respond:

            When a generic version is first available, it is typically similar in price to the brand
            version. At this time the generic version, called mesalamine delayed-release tablets,
            is not on the formulary. You do have the option to request a formulary exception.
            However, exception requests for non-formulary prescription drugs, if approved, are
            typically approved for coverage at the highest cost share level. 279

The CCR statement about generic pricing was misleading. While this statement may have been

true for newly released generics, the generic mesalamine delayed-release tablets has been on the

market for almost three years and is at a lower cost option for beneficiaries. And, it was deceptive.

The exception request language was intended to discourage beneficiaries from asking for a

formulary exception. A formulary exception for the generic mesalamine delayed-release tablets

would have been approved at the highest tier (Tier 4) which is the same tier/cost share (40%) as

the brand.

            441.   If asked how long Asacol HD would be the only SilverScript formulary option, they

were expected to tell beneficiaries:

            We anticipate that ASACOL HD DELAYED-RELEASE TABLETS will remain
            on the formulary on the Non-Preferred Drug Tier (Tier 4) in 2019 until the price of

278
      Id.
279
      Id.



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            the generic form of ASACOL HD DELAYED-RELEASE TABLETS drops. We
            anticipate it will be a minimum of six months, however that is based on market
            conditions not within our control and could change. 280

            442.   The CCR template statement about generic pricing was misleading. By February

2019, the GoodRx price of the generic mesalamine delayed-release tablets was $240.96 compared

to the price of the brand Asacol HD of $885.91, already making the generic a lower cost option

for both the beneficiary and Medicare Part D.

            443.   Thus, the decision to keep brand-name Asacol HD as the only choice on the

SilverScript formulary was not driven by market conditions at all. Likewise, it was a lie and

deceptive to say that the market conditions were not “within our control” when it was CVS

Caremark’s agreement with Allergan that was the cause for the delay in the formulary access to

the less costly generic drug mesalamine delayed-release tablets. The market conditions were thus

completely within its control.

            444.   If beneficiaries asked whether they could submit a coverage determination,

SilverScript CCRs were to respond: “Yes, you as the beneficiary may request a coverage

determination for mesalamine delayed-release tablets. However, exception requests for non-

formulary prescription drugs, if approved, are typically approved for coverage at the highest cost

share level.” 281 This was misleading and intended to discourage beneficiaries from asking for a

formulary exception. A formulary exception for the generic would have been approved at the

highest tier (Tier 4) which is the same tier/cost share 40% as the brand-name Asacol HD.

                   3. Beneficiary No. 3

            445.   When Beneficiary No. 3 (an 82-year-old woman living in Florida) sought to fill a


280
      Id.
281
      Id.



                                                 149
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prescription for the generic Asacol HD (mesalamine-sofoamine) on November 8, 2018, she was

able to get the prescription filled under a tiering exception at her pharmacy. 282

            446.   She later received a Notice of Approval letter from SilverScript telling her that her

Asacol HD prescription had been approved under a tiering exception to receive Asacol HD at the

copay level for a Tier 2 drug, $17.00. 283 This tiering exception was approved from August 10,

2018 to November 8, 2019. What the letter failed to tell her was that tiering exceptions only apply

in the Initial Coverage Stage, and they do not allow for a lower price in the Coverage Gap (where

applicable) or the Catastrophic Coverage Stage.

            447.   On February 9, 2019, she again filled the Asacol HD prescription at her pharmacy,

again with a member copay of $17.00. 284

            448.   A month later on March 12, 2019, she attempted to fill the Asacol HD prescription

again, but this time the copay had increased to $345.73. She thereafter filed a grievance seeking

the low $17.00 copay, which was declined because the generic mesalamine was non-formulary.

There is no indication from the grievance notes that the representative, Andrea Jarmon, discussed
                                                                                              285
the less costly authorized generic or offered a Beneficiary No. 3 a formulary exception.

            449.   Beneficiary No. 3 was then transferred to the Care Exception Representative (CER)

team to discuss why she could no longer get the $17.00 copay for Asacol HD. After being putting

on hold and being bounced from representative to representative, she was eventually told she was




282
      Exhibit 24 (CVS-001712)
283
      Id.
284
      Exhibit 25 (CVS-001708).
285
      Exhibit 26 (CVS-001709).



                                                   150
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no longer eligible for the tiering exception, and should discuss other medications with her doctor

in the meantime.

         450.   During the call, Beneficiary No. 3 had explained that she was very frustrated,

particularly because she would run out of her Asacol HD prescription the following day, telling

the CER she would call her doctor to discuss alternatives and asking the CER Cartier: “SilverScript

is telling me ‘tough luck for my medicine beyond tomorrow,’ right?” CER Cartier confirmed on

the call that her understanding was correct. 286

         451.   The advice CER Cartier gave Beneficiary No. 3 is consistent with his training,

which specifically instructs the CER representatives they are not proactively to advise

beneficiaries of alternatives that are not on the formulary. As he had been trained to do, at no time

did he tell her about the less costly authorized generic or offer her a formulary exception.

         452.   If a formulary exception had been offered for the authorized generic and processed

as an expedited Coverage Determination, she would have been able to fill the generic with her

current prescription (A/B rated authorized generic) instead of having to contact the doctor for a

new prescription for one of the alternative medications.

         453.   In the Coverage Gap Stage, members will pay 37% for mesalamine and 25% for

Asacol HD, resulting in a slightly higher cost for the member: member cost for the generic would

be $463.23 while the member cost for the brand would be $426.51. However, when the member

hits the Catastrophic Coverage stage, mesalamine-sofoamine would be less expensive than Asacol

HD for both the member (who will pay 5% for either the brand or the generic) and for Medicare

which will pay the balance. Given the cost of Asacol HD, Beneficiary No. 3 should progress to

the Catastrophic Coverage stage after a few fills where her cost would be $62.60, the SilverScript



286
      Exhibit 27 (CVS-002993).


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cost would be $187.79, and the Medicare cost would be $1001.59.

       454.    Illustrating that only CVS Health is the winner here (because it pockets a significant

share of the brand Asacol HD rebates), since Beneficiary No. 3 was not offered the less costly

authorized generic, the brand Asacol HD would cost her $85.30, cost SilverScript $255.90, and

cost Medicare $1364.84.

       455.    Furthermore, because the prescription was filled in Florida, a mandatory generic

substitution State, SilverScript violated the State law requirement that the prescription be

substituted with a less costly generic.



       456.    Sevelamer carbonate is a phosphate binding drug used to treat hyperphosphatemia

in patients with chronic kidney disease. Sanofi-Aventis U.S. LLC manufactures sevelamer

carbonate under the brand-name Renvela.

       457.    In April 2009, Genzyme Corporation (the manufacturer of Renvela, which was later

acquired by Sanofi) filed suit against Impax Laboratories, alleging patent infringement for the

filing of the its ANDA relating to Sevelamer Carbonate Tablets, 800 mg, generic to Renvela®.

       458.    On July 2, 2010, Genzyme filed suit against Impax a second time, this time alleging

patent infringement of its patents relating to Sevelaner Carbonate Powder, 2.4 g and 0.8 g packets.

       459.    On September 4, 2012, Impax announced that it had settled the patent infringement

litigation with Genzyme, 287 and would commence shipment of the authorized generic of Sanofi’s

drug Renvela 400 mg and 800 mg tablets as well as the generic oral suspension version of Renvela



287
    Impax Laboratories Announces Settlement of Litigation Relating to RENVELA® and
RENAGEL®, Fierce Pharma (Sept. 4, 2012), https://www.fiercepharma.com/pharma/impax-
laboratories-announces-settlement-of-litigation-relating-to-renvela%C2%AE-and-
renagel%C2%AE.



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packets beginning on September 16, 2014. 288 Under the terms of the settlement, Impax would

continue to pursue its pending ANDAs for generic Renvela with the FDA.

          460.   Impax at the time stated the authorized generics to Renvela would be manufactured

by a division of Sanofi: “[A]n authorized generic drug is the exact same in all aspects as a

brand-name drug, except that it is marketed without the brand-name on its label. Choosing

Winthrop US sevelamer carbonate ensures that you will get the exact same drug product as

branded Renvela. Winthrop US’s [a division of Sanofi Aventis] sevelamer carbonate uses the

same manufacturing process as Renvela. It is identical to Renvela in shape, active ingredients, size,

and inactive ingredients.” 289

          461.   Likewise, Sanofi-Aventis’ subsidiary Winthrop US includes a chart on its

website 290 to show that the authorized generic “is identical” to the brand Renvela “in shape, active

ingredients, size, and inactive ingredients”:




288
     PRNewswire, “Impax Launches Authorized Generic RENVELA®” available at
https://www.prnewswire.com/news-releases/impax-launches-authorized-generic-renvela-
255473571.html (last accessed June 6, 2019).
289
     “Sevelamer carbonate—the authorized generic identical to Renvela®” available at
http://www.renvela.com/authorized-generic (last accessed June 6, 2019) (emphasis added).
290
      See https://www.renvela.com/authorized-generic.



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       462.    Despite the loss of Renvela exclusivity, in its 2016 Form 20-F, Sanofi-Aventis

announced sales of Renvela actually had risen by 18.9%, “reflecting reduced competition from

Impax which for a few months beginning April 2014 had the right to sell a limited number of

authorized generics of Renvela.”

       463.    For the 12 months ended July 2017, the drug had U.S. sales of roughly $1.88 billion.

       464.    On October 2, 2017, Dr. Reddy’s announced launched Sevelamer Carbonate

Tablets, 800 mg, a therapeutic equivalent generic version of Renvela tablets, approved by the

FDA. 291

       465.    On October 23, 2017, Impax announced it had received final FDA approval on its

ANDA for a generic version of Renvela tablets, 800 mg and would immediately initiate

commercialization activities. 292

       466.    Shortly before, CVS Caremark had entered into an agreement with Sanofi-Aventis,

requiring that SilverScript add Renvela Packets to the SSG/DNS Scheme on August 1, 2017 and

Renvela Tablets to the SSG/DNS Scheme on August 22, 2017.

               1. CVS Blocked Access to the Less Costly Generic Version of the Brand-Name
                  Renvela Packets (sevelamer carbonate)

       467.    After Renvela Packets were added to the SSG/DNS Scheme, SilverScript CCRs

were trained to tell beneficiaries:



291
   Dr. Reddy’s Laboratories announces the launch of sevelamer carbonate tablets in the U.S.
market, Pharmaceutical Processing World (Oct. 2, 2017),
https://www.pharmaceuticalprocessingworld.com/dr-reddys-launches-generic-version-of-
genzyme-corp-s-renvela-in-u-s/.
292
   Press Release, Impax Announces FDA Approval and Launch of Generic Renvela® (Sevelamer
Carbonate) Tablets, 800 mg (Oct. 23, 2017), https://www.prnewswire.com/news-releases/impax-
announces-fda-approval-and-launch-of-generic-renvela-sevelamer-carbonate-tablets-800-mg-
300541365.html.



                                               154
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            Generic prescription drugs are typically the lowest-cost option when compared to
            branded prescription drugs. SilverScript promotes the use of generic prescription
            drugs to help plan beneficiaries save money. During the initial launch phase for the
            generic, there will be few manufacturers marketing the generic and the cost of the
            generic is expected to be relatively high. To help keep out-of-pocket costs low,
            SilverScript is retaining brand RENVELA ORAL PACKETS on its formulary on
            Preferred Brand Tier (Tier 3). RENVELA is eligible for a manufacturer discount in
            the coverage gap. 293

The is misleading. Authorized generics are eligible for the Coverage Gap discount program since

they are NDA “applicable” drugs. 294 The generic sevelamer carbonate option(s) were lower cost

to the member and Medicare than the brand for LIS (subsidized) members across all “applicable”

stages and for non-subsidized members in the SilverScript Allure Plan in the ICL stage and for all

SilverScript plans in the Coverage Gap (where applicable) and Catastrophic Coverage Stage.

Moreover, given the fact that in addition to Sanofi’s authorized generic there were as of 2019 two

competing generics (Aurobindo, Dr. Reddys), there was simply no longer any reasonable

explanation why Renvela Packets remained the only SilverScript formulary option.

            468.   SilverScript CCRs were also trained to tell beneficiaries:

            Retaining brand RENVELA ORAL PACKETS on Preferred Brand Tier (Tier 3)
            can help keep out-of-pocket costs low for SilverScript beneficiaries. . . .
            Beneficiaries have the option to request an exception if they wish to obtain
            sevelamer carbonate oral packets. However, exception requests for non-formulary
            prescription drugs, if approved, are typically approved for coverage at the highest
            cost share level. Brand RENVELA ORAL PACKETS is available at the Preferred
            Brand Tier (Tier 3) copay/coinsurance, so if the request for the generic is granted,
            the beneficiary would pay the amount associated with the plan’s exception tier. This
            may be a different cost than the brand. 295



293
      Exhibit 28 (CVS-000220-29).
294
    CMS, Medicare Coverage Gap Discount Program Beginning in 2011: Revised Part D Sponsor
Guidance and Responses to Summary Public Comments on the Draft Guidance (May 21, 2010),
at 4.
295
      Id.



                                                    155
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This was misleading. Renvela Oral Packets was at the time a Tier 3 drug. A formulary exception

would have been approved for Tier 4. This would result in a higher cost for the generic in the ICL

stage only (Choice, Plus) and a lower cost for the generic (Allure). For the Coverage Gap and

Catastrophic Coverage Stages, the generic would be less expensive in all plans. Generic would be

less expensive than the brand for LIS (subsidized) members in all stages. Moreover, given the fact

that in addition to the authorized generic there were as of 2019 five competing generics (Actavis,

Amneal, Inventia, Mylan, Sun), there was simply no longer any reasonable explanation why

Renvela Packets remain the only SilverScript formulary option.

            469.   If asked whether Renvela Oral Packets would cost more than the generic in any

coverage stage of the Medicare Part D benefit, SilverScript CCRs were to tell LIS beneficiaries:

“In the Catastrophic Coverage Stage of the benefit, you will continue to receive RENVELA ORAL

PACKETS at no cost. If you have not yet reached the Catastrophic Coverage Stage, you might

have to pay your brand-name copayment for RENVELA ORAL PACKETS until you reach the

Catastrophic Coverage Stage.” 296 This was misleading. Costs are not provided leaving subsidy

beneficiaries without information to determine the actual impact. If they had provided truthful

information to LIS beneficiaries, SilverScript CCRs would have told them:

      •     The cost to LIS 1 beneficiaries in initial coverage stage for CY2019 is $8.50 for the brand

            and $3.40 for the generic. Beneficiaries will pay $0 for both the brand and the generic

            sevelamer carbonate oral packets in the Catastrophic Coverage stage.

      •     Medicare will pay $26.50 for the brand ($35.00 - $8.50) and $158.19 for the generic

            sevelamer carbonate oral packets ($161.59 - $3.40) in the ICL stage.




296
      Id.



                                                   156
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      •     Medicare will pay $388.86 for the brand ($397.36 - $8.50) and $146.07 ($149.47 - $3.40)

            for the generic sevelamer carbonate oral packets in the Coverage Gap (where applicable).

      •     Medicare will pay $79.47 for the brand and $20.20 for the generic sevelamer carbonate

            oral packets in the Catastrophic Coverage stage (full amount of beneficiary's cost) in

            addition to 80% of the cost of either drug for the Medicare portion of the cost of the drugs

            in this stage.

            470.    If asked why Renvela Oral Packets remain the exclusive formulary choice when

there is a generic available, they were to tell beneficiaries:

            In this case, the price of the generic version of RENVELA ORAL PACKETS will
            likely be similar to the price of the brand version for a minimum of six months, and
            perhaps longer. There are few manufacturers of the generic version of RENVELA
            ORAL PACKETS to drive the price down. Until there are competitors and the price
            of the generic version goes down, your plan will continue to cover brand-name
            RENVELA at the Preferred Brand Tier (Tier 3) copay/coinsurance in 2018 and
            2019. 297

This was false. The generic sevelamer carbonate oral packets was, in fact, already much lower in

price for many beneficiaries in the Coverage Gap (where applicable) and Catastrophic Coverage

Stages. There was no need to wait for there to be multiple generic manufacturers to drive the price

down.

            471.    If SilverScript CCRs were asked by beneficiaries why they could not get the generic

sevelamer carbonate oral packets, according to their training they were to respond:

            When a generic version is first available, it is typically similar in price to the brand
            version. At this time the generic version, called sevelamer carbonate oral packets,
            is not on the formulary. You do have the option to request a formulary exception.
            However, exception requests for non-formulary prescription drugs, if approved, are
            typically approved for coverage at the highest cost share level. 298

297
      Id.
298
      Id.



                                                     157
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The statement about generic pricing was misleading. While this statement may have been true for

some newly released generics, the generic sevelamer carbonate oral packets was already much

lower in price for some beneficiaries in the ICL stage and all beneficiaries in the Coverage Gap

(where applicable) and Catastrophic Coverage Stages. There was no need to wait for there to be

multiple generic manufacturers for the price to be lower. The statement about the formulary

exception was intended to discourage beneficiaries from asking for a formulary exception when

the generic would be less expensive for many subsidy members in the Choice plan and all members

in the Allure plan.

            472.   If asked how long Renvela Packets would remain the only SilverScript formulary

option, they were to say: “We anticipate that RENVELA ORAL PACKETS will remain on the

formulary on the Preferred Brand Tier (Tier 3) in 2018 and 2019 until the price of the generic form

of RENVELA drops. We anticipate it will be a minimum of six months, however that is based on

market conditions not within our control and could change.” 299

            473.   This was misleading. By February 2019, the GoodRx price of the generic was

$403.98 compared to the brand Renvela Oral Packets price of $1,589.42, already making the

generic a lower cost option for both the beneficiary and Medicare.

            474.   Thus, the decision to keep the brand Renvela Oral Packets as the only choice on the

SilverScript formulary was not driven by market conditions, but by CVS Health’s own profit

motives. This was even more deceptive in 2020, well past the promised price drop related to

“market conditions.” 300 There were then two generics (beyond the authorized generic) being sold



299
      Id.
300
      Id.



                                                   158
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competing against Renvela Packets (Aurobindo, Dr. Reddys). Even then the brand-name Renvela

Packets remained the only choice on the SilverScript Choice and Plus formularies. 301 Likewise, it

was a lie and deceptive to say that the market conditions were not “within our control” when it

was CVS Caremark’s agreement with Sanofi that was the cause for the delay in the formulary

access to the less costly generic drug sevelamer carbonate oral packets. The market conditions

were thus completely within its control.

            475.   If asked whether beneficiaries could obtain a coverage determination for the generic

sevelamer carbonate oral packets, SilverScript CCRs were to tell beneficiaries: “Yes, you as the

beneficiary may request a coverage determination for sevelamer carbonate oral packets. However,

exception requests for non-formulary prescription drugs, if approved, are typically approved for

coverage at the highest cost share level.” 302 This was misleading and was intended to discourage

beneficiaries from asking for a formulary exception.

                   2. SilverScript Deception Blocked Access to the Less Costly Generic for the
                      Brand-Name Renvela Tablets

            476.   After Renvela Tablets were added to the SSG/DNS Scheme, SilverScript CCRs

were told to tell beneficiaries:

            Generic prescription drugs are typically the lowest-cost option when compared to
            branded prescription drugs. SilverScript promotes the use of generic prescription
            drugs to help plan beneficiaries save money. During the initial launch phase for the
            generic, there will be few manufacturers marketing the generic and the cost of the
            generic is expected to be relatively high. To help keep out-of-pocket costs low,
            SilverScript is retaining brand RENVELA TABLETS on its formulary on Preferred



301
   See 2020 SilverScript Choice Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_CHOICE_EN.pdf; 2020 SilverScript Plus
Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_PLUS_EN.pdf.
302
      Id.



                                                    159
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            Brand Tier (Tier 3). RENVELA TABLETS is eligible for a manufacturer discount
            in the coverage gap. 303

This is misleading. Authorized generics are eligible for the Coverage Gap discount program since

they are NDA “applicable” drugs. 304 The generic drug option(s) were lower cost to the member

and Medicare in most scenarios in the Coverage Gap (where applicable) and the Catastrophic

Coverage Stages.

            477.   SilverScript CCRs were also trained to say:

            Retaining brand RENVELA TABLETS on Preferred Brand Tier (Tier 3) can help
            keep out-of-pocket costs low for SilverScript beneficiaries. Beneficiaries have the
            option to request an exception if they wish to obtain sevelamer carbonate tablets.
            However, exception requests for non-formulary prescription drugs, if approved, are
            typically approved for coverage at the highest cost share level. 305

This was false. Keeping the brand as the only option would not have resulted in lower out-of-

pocket costs for most beneficiaries and Medicare in the Coverage Gap (where applicable) and

Catastrophic Coverage Stages. It also intentionally is meant to discourage beneficiaries from

asking for a formulary exception by using the language “highest cost share level.”

            478.   If SilverScript CCRs were asked whether Renvela Tablets would cost more than

the generic at any stage of the Medicare Part D benefit, they were to tell subsidy members:

            Maybe. In the Catastrophic Coverage Stage of the benefit, you will continue to
            receive RENVELA TABLETS at no cost. If you have not yet reached the
            Catastrophic Coverage Stage, you might have to pay your brand-name copayment
            for RENVELA TABLETS until you reach the Catastrophic Coverage Stage. 306


303
      Exhibit 29 (CVS-000241-51).
304
    CMS, Medicare Coverage Gap Discount Program Beginning in 2011: Revised Part D Sponsor
Guidance and Responses to Summary Public Comments on the Draft Guidance (May 21, 2010),
at 4.
305
      Id.
306
      Id.



                                                   160
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This was deceptive because cost comparisons are not provided, leaving beneficiaries without

information to determine the actual impact.             If they had been directed to provide truthful

information, SilverScript CCRs would have told LIS beneficiaries: The cost to LIS 1/LIS 2

beneficiaries in the initial coverage stage for CY2019 is $8.50/$3.80 for the brand and $3.40/$1.25

for the generic. Beneficiaries will pay $0 for both the brand and the generic in the Catastrophic

Coverage stage. In ICL for LIS 1 & 2 in 2019, the brand would have been less expensive for

Medicare. In the Coverage Gap (where applicable) and Catastrophic coverage scenarios for LIS 1

& 2 in 2019, the generic would have been less expensive for the beneficiary and Medicare.

            479.   When beneficiaries inquired about why Renvela Tablets were still the only

SilverScript formulary option when there is a generic available, the response they were directed to

provide was:

            In this case, the price of the generic version of RENVELA TABLETS will likely
            be similar to the price of the brand version for a minimum of six months, and
            perhaps longer. There are few manufacturers of the generic version of RENVELA
            TABLETS to drive the price down. Until there are competitors and the price of the
            generic version goes down, your plan will continue to cover brand-name
            RENVELA TABLETS at the Preferred Brand Tier (Tier 3) copay/coinsurance in
            <2018 and 2019>. 307

This was false. The generic sevelamer carbonate tablets was, in fact, already much lower in price

for many beneficiaries in the Coverage Gap (where applicable) and Catastrophic Coverage Stages.

There was no need to wait for there to be multiple generic manufacturers to drive the price down.

            480.   When beneficiaries asked why they could not get the generic, SilverScript told them

to say:

            When a generic version is first available, it is typically similar in price to the brand
            version. At this time the generic version, called sevelamer carbonate tablets, is not
            on the formulary. You do have the option to request a formulary exception.


307
      Id.



                                                     161
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            However, exception requests for non-formulary prescription drugs, if approved, are
            typically approved for coverage at the highest cost share level. 308

This was misleading. While this statement may have been true for some newly released generics,

the generic was already much lower in price for some beneficiaries in the ICL stage and most

beneficiaries in the Coverage Gap (where applicable) and Catastrophic Coverage Stages. There

was no need to wait for there to be multiple generic manufacturers. It was intended to discourage

beneficiaries from asking for a formulary exception where the generic would be less expensive for

many subsidy members in the Choice plan and all members in the Allure plan.

            481.   If asked how long Renvela Tablets would be the only option on the SilverScript

formulary, the response was deceptive: “We anticipate that RENVELA TABLETS will remain

on the formulary on the Preferred Brand Tier (Tier 3) in 2018 and 2019 until the price of the

generic form of RENVELA TABLETS drops. We anticipate it will be a minimum of six months,

however that is based on market conditions not within our control and could change.” 309

            482.   This was misleading. As of February 2019, the GoodRx price of the generic was

$135.65 compared to the brand Renvela Tablets price of $540.35, already making the generic a

lower cost option for both the beneficiary and Medicare Part D in the Coverage Gap (where

applicable) and Catastrophic Coverage Stages.

            483.   The decision to keep the brand Renvela Tablets as the only choice on the

SilverScript formulary was not driven by market conditions, but by CVS Health’s own profit

motives. This was even more deceptive by 2020, well past the promised price drop related to

“market conditions.” There were then eight generics being sold competing against Renvela Tablets



308
      Id.
309
      Id.



                                                   162
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(Amneal, Anxin, Aurobindo, Dr. Reddys, Impax, Invagen, TWI, Wilshire). However, even then

the brand-name Renvela Tablets remained the only choice on the SilverScript Choice and Plus

formularies. 310 Likewise, it was a lie and deceptive to say that the market conditions were not

“within our control” when it was CVS Caremark’s agreement with Sanofi that was the cause for

the delay in the formulary access to the less costly generic drug sevelamer carbonate tablets. The

market conditions were thus completely within its control.

         484.   If beneficiaries asked whether they could request a coverage determination for the

less costly generic, the response was deceptive: “Yes, you as the beneficiary may request a

coverage determination for sevelamer carbonate tablets. However, exception requests for non-

formulary prescription drugs, if approved, are typically approved for coverage at the highest cost

share level.” 311 The use of “highest cost share level” was intended to discourage beneficiaries

from asking for a formulary exception which would help reduce the cost of the generic vs the brand

in the Coverage Gap (where applicable) and Catastrophic Coverage Stages.

                3. Beneficiary No. 4

         485.   When Beneficiary No. 4 (a 66-year-old man living in Kentucky) sought to fill a

prescription for the generic Renvela (sevelamer carbonate tablets) on September 20, 2018, he was

able to get his prescription with a Transition Fill at his pharmacy.

         486.   Shortly thereafter, he received a letter from SilverScript dated September 24, 2018,

stating that the Transition Fill of the generic was only a one-time fill because the drug was not



310
   See 2020 SilverScript Choice Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_CHOICE_EN.pdf; 2020 SilverScript Plus
Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_PLUS_EN.pdf.
311
      Exhibit 29 (CVS-000241).



                                                163
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covered on the formulary, and he was required to use the brand Renvela 800 mg tablets

thereafter. 312 SilverScript failed to notify Beneficiary No. 4 that there was an identical, less costly

authorized generic for the brand Renvela.

         487.   He later received a Notice of Approval letter from SilverScript dated October 2,

2018, telling him that his generic sevelamer carbonate tablet prescription had been approved under

a tiering exception. This tiering exception was approved from September 1, 2019 through October

2, 2019. 313 SilverScript again failed to notify Beneficiary No. 4 that there was an identical, less

costly authorized generic for the brand Renvela. The letter also failed to tell him that tiering

exceptions only apply in the Initial Coverage Stage, and they do not allow for a lower price in the

Coverage Gap (where applicable) Stage or the Catastrophic Coverage Stage.

         488.   Beneficiary No. 4, thereafter filled the sevelamer carbonate prescription at the

pharmacy. The claim record shows that the pharmacy filled his sevelamer prescription and

submitted the claims with a “0 – NO DAW” code. 314

         489.   When he later learned that the tiering exception would not apply when he was in

the Donut Hole, he then filled the Renvela prescription. The claim record shows that the CVS

Pharmacy filled his prescription and submitted the claims with a “1 – PHYSICIAN DAW” code,

meaning the physician requested the brand. 315

         490.   Here, as evidenced by Beneficiary No. 4’s prior use of the generic sevelamer

carbonate tablets, there is little reason to believe his physician had actually stated it was medically



312
      Exhibit 30 (CVS-002679).
313
      Exhibit 31 (CVS-002675).
314
      Exhibit 32 (CVS-002678).
315
      Exhibit 33 (CVS-002677).


                                                 164
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necessary for him to use the brand Renvela instead of the generic, but was required to choose the

brand only because CVS Health did not include the generic on its formulary. Thus, a DAW 1 code

in the PDE record in support of the SilverScript payment for Beneficiary No. 4 appears to be

untruthful, inaccurate and incomplete.

       491.    The decision to require Beneficiary No. 4 to use the brand drove up the costs for

both the Government and Beneficiary No. 4. At the time, the total plan cost of the generic was

$170.70 while the total plan cost of Renvela was $989.54, a 579% increase in cost. While the

copayment for Beneficiary No. 4 was $119.80 for the generic sevelamer carbonate and for $35.00

for Renvela, the high cost of Renvela would drive him into the Catastrophic Coverage Stage

sooner, where both the Beneficiary No. 4’s copay and the Government’s cost would be much

greater than it would have been for the generic.

       492.    Not only had SilverScript inexplicably reversed the tiering exception he had been

offered, at no time was he offered the authorized generic, which would have been less costly for

Beneficiary No. 4 and the Government.



       493.    Ledipasvir/SofosBuvir is a fixed-dose combination of ledipasvir, a hepatitis C virus

(HCV) NS5A inhibitor, and sofosbuvir, an HCV nucleotide analog NS5B polymerase inhibitor,

and is indicated for the treatment of chronic hepatitis C virus (HCV) in adults with genotype 1, 4,

5, or 6 infection. Gilead Sciences, Inc. manufactures Ledipasvir/SofosBuvir under the brand-name

Harvoni.

       494.    Sofosbuvir/Velpatasvir is a fixed-dose combination of sofosbuvir, a hepatitis C

virus (HCV) nucleotide analog NS5B polymerase inhibitor, and velpatasvir, an HCV NS5A

inhibitor, and is indicated for the treatment of adult patients with chronic HCV genotype 1, 2, 3,

4, 5, or 6 infection. Gilead Sciences, Inc. manufactures Sofosbuvir/Velpatasvir under the brand-


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name Epclusa.

            495.   Asegua Therapeutics was formed in 2018 by Gilead as a wholly owned subsidiary

to provide “greater access to therapies.” 316 On September 24, 2018, Gilead announced that Asegua

would launch authorized generic versions of Harvoni and Epclusa. 317 On November 27, 2018,

Asegua launched an authorized generic version of Epclusa and on January 1, 2019, Asegua

launched an authorized generic versions of Harvoni. 318

            496.   At the time, Gilead claimed that “dynamic and complicated insurance contracts

were the reason it was forming a new business unit to offer versions of the drug at lower list

prices.” 319 According to the press release Gilead issued at the time: “Due to the complexity and

structure of the U.S. healthcare system, however, these discounts provided by Gilead may not

always translate into lower costs for patients. Further, existing contracts, together with laws

associated with government pricing policies, make it challenging to quickly lower a product’s

list price once it is on the market.” 320 (emphasis added)



316
   “Authorized Generic Hepatitis C Drugs & Treatment: Asegua Therapeutics,”
https://www.asegua.com.
317
      Id.
318
   Silverman, “Looking to bolster dwindling hepatitis C sales, Gilead plans to sell generic
versions,” Pharmalot, Sept. 24, 2018, available at
https://www.statnews.com/pharmalot/2018/09/24/gilead-hepatitis-authorized-generics/.
319
   Spalding, “Gilead to Sell Less Costly Versions of Drug That Sparked Cost Debate,” Bloomberg,
Sept. 24, 2018, available at https://www.bloomberg.com/news/articles/2018-09-24/gilead-to-sell-
less costly-versions-of-drug-that-sparked-cost-debate.
320
   Press Release, “Gilead Subsidiary to Launch Authorized Generics of Epclusa®
(Sofosbuvir/Velpatasvir) and Harvoni® (Ledipasvir/SofosBuvir) for the
Treatment of Chronic Hepatitis C,” Sept. 24, 2018, available at https://www.gilead.com/news-and-
press/press-room/press-releases/2018/9/gilead-subsidiary-to-launch-authorized-generics-of-
epclusa-sofosbuvirvelpatasvir-and-harvoni-ledipasvirsofosbuvir-for-the-treatment-of-chronic.



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            497.   CVS Caremark shortly thereafter entered into an agreement with Gilead, requiring

that SilverScript add Epclusa to the SSG/DNS Scheme on November 27, 2018 321 and add Harvoni

to the SSG/DNS Scheme on January 1, 2019.

            498.   The fraudulent SSG/DNS Scheme’s ethical low point came with the 2018 decision

to apply it to Gilead’s brand-name hepatitis C drugs Harvoni and Epclusa where CVS Health

Executive Committee leadership had deemed the fact that some 84% of SilverScript beneficiaries

were receiving the LIS subsidy meant the risk of detection by CMS was relatively low.

            499.   The fact that a high percentage of SilverScript beneficiaries have their cost-sharing

subsidized by Medicare (and who were therefore highly unlikely to complain about the SSG/DNS

Scheme) has only emboldened CVS Health leadership to expand its efforts to block generic

versions of medications and instead fill only the more expensive brand-name options.

            500.   As part of its agreement with Gilead regarding Harvoni and Epclusa, CVS

Caremark agreed to require SilverScript to adopt an explicit policy to go beyond just deceiving

SilverScript beneficiaries about the cost of the authorized generic drugs. Instead, SilverScript was

required to deny any and all formulary exceptions and appeals for the less costly authorized generic

versions. And, were that not enough, the CVS Caremark agreement with Gilead required that the

CVS Pharmacies would no longer stock the authorized generic versions of Harvoni and Epclusa

on their shelves. This has meant not only that the authorized generics for Harvoni and Epclusa

were unavailable to SilverScript beneficiaries who fill scripts at the CVS Pharmacies, but also

would not have been available to the 45 million Part D beneficiaries, many of whom would have

filled their prescriptions at a CVS Pharmacy.




321
      Id.



                                                   167
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       501.    The SSG/DNS Scheme blocking strategy is particularly insidious for very

expensive drugs like the drugs Harvoni and Epclusa. For each of the three treatments patients

received with these drugs, Harvoni costs around $32,127.27 per treatment and Epclusa costs

around $25,184.05 per treatment. The authorized generic versions cost over 300% less per

treatment: approximately $12,265.92 for ledipasvir-sofosbuvir (generic Harvoni) and $8,083.20

for sofosbuvir-velpatasvir (generic Epclusa).

       502.    Despite public statements by CVS Health about favoring access to less costly

generics, in reality it pursued its own bottom line over cost savings to Medicare and Part D

beneficiaries, particularly for Harvoni and Epclusa which had together an average of 1604

SilverScript claims each month.

       503.    The SSG Harvoni/Epclusa strategy was very controversial within the walls of the

company. Even though its Executive Committee had approved the scheme because the financial

benefit to the company was simply too tempting to pass up, some in CVS Health senior

management (including the Relator) complained that it was “highly unethical.” For example, CVS

Health Vice President of Medicare Operations Emily Pefanis complained of this in multiple

conversations with Amy Moyer-Carey, CVS Health Vice President Coverage Determinations.

Even though Moyer-Carey was reportedly “sick over this,” she was told by Mitch Betses (CVS

Health Executive Vice President, Member Services), Todd Meek (President of SilverScript), and

Patrick Jeswald (CVS Health Chief Compliance Officer, Medicare Part D) that they were to do

this, nonetheless.

       504.    The first year of the SSG Harvoni/Epclusa Scheme shows how CVS Health had no

intention of actually passing through to the beneficiaries and Medicare any of the manufacturer

rebates for those drugs. Medicare requires Prescription Drug Programs (“PDPs”) such as




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SilverScript who wish to enter into contracts to offer prescription drug coverage to submit bids

over the summer before the next plan year (e.g., for plan year 2020 the bids are due in June 2019).

The PDP applications include information about plan design, premium costs, and the value of

rebates. Yet, the authorized generic versions of Harvoni and Epclusa were not announced until

September of 2018, well after the SilverScript bid was submitted for the following year. This

means that SilverScript could not have included in its information provided to CMS the value of

any rebates from Gilead in its 2019 PDP design and costs.

                1.      SilverScript Deception Blocked Access to the Less Costly Generic for the
                        Brand-Name Epclusa

         505.   At the time the Epclusa SSG/DNS Scheme was initiated, SilverScript CCRs were

provided materials and training telling them that they should explain to beneficiaries that

         [r]etaining brand EPCLUSA TABLETS on Specialty Tier (Tier 5) can help keep
         out-of-pocket costs low for SilverScript beneficiaries. NOTE: The generic
         equivalent sofosbuvir/velpatasvir 400MG-100MG tablets is not on the formulary
         until further notice. Beneficiaries have the option to request an exception if they
         wish to obtain sofosbuvir/velpatasvir 400MG-100MG tablets. However, exception
         requests for non-formulary prescription drugs, if approved, are typically approved
         for coverage at the highest cost share level. Brand EPCLUSA TABLETS is
         available at the Specialty Tier (Tier 5) copay/coinsurance, so if the request for the
         generic is granted, the beneficiary would pay the amount associated with the Part
         D plan’s exception tier. This may be a different cost than the brand. 322

The stated rationale for keeping “out-of-pocket costs low” was false and deceptive. Epclusa was

at the time a Tier 5 drug with coinsurance of 33%. A formulary exception would have been

approved for Tier 4 with a generic coinsurance of 40%. Even with the higher percentage

copayment, the generic sofosbuvir/ velpatasvir 400MG-100MG tablets is still less costly. Keeping

the brand Epclusa as the only SilverScript formulary option would not have resulted in lower out-

of-pocket costs. In addition, telling beneficiaries that a formulary exception may result in higher


322
      Exhibit 34 (CVS-000476-87).



                                                 169
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costs is meant to discourage them from asking for a formulary exception by using misleading

terminology ‘highest cost share level.’ Moreover, it was deceptive to fail to tell them that, even if

beneficiaries request formulary exceptions, CVS has put into place a “block” where these requests

would be automatically denied. Likewise, even with the higher coinsurance for the generic

exception, due to the dramatic difference in drug pricing the generic sofosbuvir/velpatasvir

400MG-100MG tablets will always be less expensive.

            506.   If SilverScript CCRs were asked “[w]ill EPCLUSA TABLETS cost more than

sofosbuvir/velpatasvir 400MG-100MG tablets in any stage of the Medicare D benefit,” they were

to say: “This will vary based on your Plan and which Medicare Part D coverage stage you

currently are in (e.g., Deductible, Initial Coverage Limits, Coverage Gap or Catastrophic).” 323 For

LIS beneficiaries, SilverScript CCRs were to say “Maybe. In the Catastrophic Coverage Stage of

the benefit, you will continue to receive EPCLUSA TABLETS at no cost. If you have not yet

reached the Catastrophic Coverage Stage, you might have to pay your brand-name copayment for

EPCLUSA TABLETS until you reach the Catastrophic Coverage Stage.” 324 This was misleading.

Costs are not provided to subsidy members, leaving them without information to determine the

actual impact. Had SilverScript CCRs been truthful, they would have been trained to tell LIS

beneficiaries:

            •   The cost to LIS 1 beneficiaries in the initial coverage stage for CY2019 is $8.50 for the

                brand and $3.40 for the generic sofosbuvir/velpatasvir 400MG-100MG tablets.

                Beneficiaries will pay $0 for both the brand and the generic in the Catastrophic

                Coverage stage.



323
      Id.
324
      Id.


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            •   Medicare Part D will pay $7,998.43 for the brand ($8,006.93 - $8.50) and $3,277.90

                for the generic sofosbuvir/velpatasvir 400MG-100MG tablets ($3,281.30 - $3.40) in

                the ICL stage.

            •   Medicare Part D will pay $6,057.32 for the brand ($6,065.85 - $8.50) and $3,031.81

                for the generic sofosbuvir/velpatasvir 400MG-100MG tablets ($3,035.21 - $3.40) for

                the generic in the Coverage Gap (where applicable).

            •   Medicare Part D will pay $1,213.17 for the brand and $410.16 for the generic

                sofosbuvir/velpatasvir 400MG-100MG tablets in the Catastrophic Coverage stage (full

                amount of beneficiary's cost) in addition to 80% of the cost of either drug for the

                Medicare portion of the cost of the drugs in this stage.

            507.   If SilverScript CCRs were asked by beneficiaries “[w]hy is the brand-name

EPCLUSA TABLETS on the formulary when there is now a generic available,” they were trained

to say:

            In this case, the price of the generic version of EPCLUSA TABLETS will likely be
            similar to the price of the brand version for a minimum of six months, and perhaps
            longer. There are few manufacturers of the generic version of EPCLUSA
            TABLETS to drive the price down. Until there are competitors and the price of the
            generic version goes down, your plan will continue to cover brand-name
            EPCLUSA TABLETS at the Specialty Tier (Tier 5) cost share in 2018 and 2019.325

The CCR statement about how long it will take for the generic price to come down was false. The

generic sofosbuvir/velpatasvir 400MG-100MG tablets was, in fact, already much lower in price

for most beneficiaries. There was no need to wait for there to be multiple generic manufacturers

to drive the price down.

            508.   If SilverScript CCRs were asked “[w]hy can’t I get the generic? Aren’t generics


325
      Id.



                                                    171
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less expensive,” they were trained to respond:

            When a generic version is first available, it is typically similar in price to the brand
            version. At this time the generic version, called sofosbuvir/velpatasvir 400MG-
            100MG tablets, is not on the formulary. You do have the option to request a
            formulary exception. However, exception requests for non-formulary prescription
            drugs, if approved, are typically approved for coverage at the highest cost share
            level.” 326

The CCR statement about the generic typically being at a similar price to the brand was misleading.

While this statement may have been true for some newly released generics, the generic

sofosbuvir/velpatasvir 400MG-100MG tablets was already at a lower cost option for beneficiaries.

Moreover, the statement about exception requests was intended to discourage beneficiaries from

asking for a formulary exception. A formulary exception for the generic sofosbuvir/velpatasvir

400MG-100MG tablets would have been approved at the highest tier (Tier 4) with a coinsurance

of 40%. However, even with the higher coinsurance, the generic is much less expensive than the

brand due to the dramatic difference in price. Adding insult to injury, in the case of Epclusa, CVS

Health has taken the extra step to automatically deny any formulary exception requests, something

CVS Health fails to mention here.

            509.   If SilverScript CCRs were asked how long Epclusa Tablets would remain on the

formulary on Specialty Tier (Tier 5), they expected to respond: “We anticipate that EPCLUSA

TABLETS will remain on the formulary on the Specialty Tier (Tier 5) in 2018 and 2019 until the

price of the generic form of EPCLUSA TABLETS drops. We anticipate it will be a minimum of

six months, however that is based on market conditions not within our control and could

change.” 327



326
      Id.
327
      Id.



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            510.   The CCR statement about generic pricing was misleading. By February 2019, the

GoodRx price of the generic was $8,083.79 compared to the brand Epclusa price of $25,184.05,

already making the generic a lower cost option for both the beneficiary and Medicare Part D.

            511.   Thus, the decision to keep the brand Epclusa as the only choice on the SilverScript

formulary was not driven by “market conditions,” but by CVS Health’s own profit motives.

Likewise, it was a lie and deceptive to say that the market conditions were not “within our control”

when it was CVS Caremark’s agreement with Gilead that was the cause for the delay in the

formulary access to the less costly generic drug sofosbuvir/velpatasvir 400MG-100MG tablets.

The market conditions were thus completely within its control.

            512.   If asked whether the beneficiary could request a coverage determination for the

generic, they were to say: “Yes, you as the beneficiary may request a coverage determination for

sofosbuvir/velpatasvir 400MG-100MG tablets. However, exception requests for non-formulary

prescription drugs, if approved, are typically approved for coverage at the highest cost share

level.” 328 The exception request statement was misleading and intended to discourage beneficiaries

from asking for a formulary exception. A formulary exception for the generic would have been

approved at the highest tier (Tier 4) with a coinsurance of 40%. However, even with the higher

coinsurance, the generic is much less expensive than the brand-name Epclusa due to the dramatic

difference in price. It was also deceptive. What beneficiaries were not to be told is that, in the

case of Epclusa, CVS has taken the extra step to automatically deny any formulary exception

requests.




328
      Id.



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                   2.     SilverScript Deception Blocked Access to the Less Costly Generic for the
                          Brand-Name Harvoni

            513.   SilverScript CCRs were to explain to beneficiaries, “[t]o help keep out-of-pocket

costs low, SilverScript is retaining brand HARVONI® TABLETS on its formulary on Specialty
                                                                                              329
Tier (Tier 5). HARVONI is eligible for a manufacturer discount in the coverage gap.”                This is

misleading. Authorized generics are eligible for the Coverage Gap discount program since they

are NDA “applicable” drugs. 330 Likewise, the rationale of keeping “out-of-pocket costs low” was

false. The generic drug option ledipasvir/sofosbuvir 90MG-400MG tablets was already much

lower cost to the member and Medicare Part D than the brand-name Harvoni.

            514.   SilverScript CCRs were also told that they should tell beneficiaries that “[r]etaining

brand HARVONI TABLETS on Specialty Tier (Tier 5) can help keep out-of-pocket costs low for

SilverScript beneficiaries.” 331 This, too, was false. Keeping the brand Harvoni as the exclusive

formulary choice would not have resulted in lower out-of-pocket costs.

            515.   SilverScript CCRs were told to tell SilverScript beneficiaries that they “have the

option to request an exception if they wish to obtain ledipasvir/sofosbuvir 90MG-400 MG tablets.

However, exception requests for non-formulary prescription drugs, if approved, are typically
                                                               332
approved for coverage at the highest cost share level.”              This was deceptive and is meant to

discourage beneficiaries from asking for a formulary exception by using misleading terminology



329
      Exhibit 35 (CVS-000210-19).
330
    CMS, Medicare Coverage Gap Discount Program Beginning in 2011: Revised Part D Sponsor
Guidance and Responses to Summary Public Comments on the Draft Guidance (May 21, 2010),
at 4.
331
      Exhibit 35 (CVS-000210-19).
332
      Id.



                                                    174
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“highest cost share level.” Even if a beneficiary were to request a formulary exception, what

beneficiaries were not to be told is that CVS had put into place a “block” where these requests

would be automatically denied. Moreover, even with the higher percentage coinsurance for the

generic exception, due to the dramatic difference in drug pricing the generic ledipasvir/sofosbuvir

90MG-400MG tablets will always be less expensive.

            516.   If   asked    whether     “HARVONI        TABLETS       [will]   cost    more    than

ledipasvir/sofosbuvir 90MG-400 MG tablets in any stage of the Medicare D benefit for non-LIS

beneficiaries,” SilverScript CCRs were to tell beneficiaries “[t]his will vary based on your Plan

and which Medicare Part D coverage stage you currently are in (e.g., Deductible, Initial Coverage

Limits, Coverage Gap or Catastrophic).” 333 This was deceptive and false. SilverScript CCRs were

trained to not to provide generic subsidy members costs in comparison to the cost of the brand-

name Harvoni, leaving beneficiaries without information to determine actual cost differences. If

they were being truthful, here is what CCR’s should have told LIS beneficiaries:

            •   The cost to LIS 1 beneficiaries in the initial coverage stage for CY2019 is $8.50 for the

                brand and $3.40 for the generic ledipasvir/sofosbuvir 90MG-400MG tablets.

            •   Beneficiaries will pay $0 for both the brand and the generic ledipasvir/sofosbuvir

                90MG-400MG tablets in the Catastrophic Coverage stage.

            •   Medicare Part D will pay $10,661.89 for the brand ($10,670.39- $8.50) and $4,973.88

                for the generic ledipasvir/sofosbuvir 90MG-400MG tablets ($4,977.28 - $3.40) in the

                ICL stage.

            •   Medicare Part D will pay $8,075.13 for the brand ($8,083.63 - $8.50) and $4,600.58




333
      Id.



                                                    175
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                for the generic ledipasvir/sofosbuvir 90MG-400MG tablets ($4,603.98 - $3.40) in the

                Coverage Gap (where applicable).

            •   Medicare Part D will pay $1,616.73 for the brand and $622.16 for the generic

                ledipasvir/sofosbuvir 90MG-400MG tablets in the Catastrophic Coverage stage (full

                amount of beneficiary's cost) in addition to 80% of the cost of either drug for the

                Medicare portion of the cost of the drugs in this stage.

            517.   If SilverScript CCRs were asked “[w]hy is the brand-name HARVONI TABLETS

on the formulary when there is now a generic available,” they were trained to say:

            In this case, the price of the generic version of HARVONI TABLETS will likely
            be similar to the price of the brand version for a minimum of six months, and
            perhaps longer. There are few manufacturers of the generic version of HARVONI
            TABLETS to drive the price down. Until there are competitors and the price of the
            generic version goes down, your plan will continue to cover brand-name
            HARVONI TABLETS at the Specialty Tier (Tier 5) cost share in 2019. 334

The CCR statement about how long it will take for the price of generic ledipasvir/sofosbuvir

90MG-400MG tablets to come down was false. The generic ledipasvir/sofosbuvir 90MG-400

MG tablets was, in fact, already much lower in price for most beneficiaries. There was no need

to wait for there to be multiple generic manufacturers to drive the price down.

            518.   If SilverScript CCRs were asked by a beneficiary “[w]hy can’t I get the generic?

Aren’t generics less expensive,” they were directed to say:

            When a generic version is first available, it is typically similar in price to the brand
            version. At this time the generic version, called ledipasvir/sofosbuvir 90MG-400
            MG tablets, is not on the formulary. You do have the option to request a formulary
            exception. However, exception requests for non-formulary prescription drugs, if
            approved, are typically approved for coverage at the highest cost share level. 335



334
      Id.
335
      Id.



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The CCR statement about generic pricing was misleading. While this statement may have been

true for some newly released generics, the generic ledipasvir/sofosbuvir 90MG-400 MG tablets

was a much lower cost option for all beneficiaries. It was also deceptive because it was intended

to discourage beneficiaries from asking for a formulary exception by deceiving them. A formulary

exception for the generic ledipasvir/sofosbuvir 90MG-400 MG tablets would have been approved

at the highest tier (Tier 4) with a coinsurance of 40%. However, even with the higher coinsurance,

the generic is much less expensive than the brand due to the dramatic difference in price.

            519.   If SilverScript CCRs were asked by beneficiaries “[h]ow long will HARVONI

TABLETS remain on the formulary on the Specialty Tier (Tier 5),” they were trained to respond:

“We anticipate that HARVONI TABLETS will remain on the formulary on the Specialty Tier

(Tier 5) in 2019 until the price of the generic form of HARVONI TABLETS drops. We anticipate

it will be a minimum of six months, however that is based on market conditions not within our

control and could change.” 336

            520.   The CCR statement about generic pricing was misleading. By February 2019, the

GoodRx price of the generic ledipasvir/sofosbuvir 90MG-400 MG tablets was $12,117.14

compared to the brand Harvoni price of $32,127.27, already making the generic a lower cost option

for both the beneficiary and Medicare Part D.

            521.   Thus, the decision to keep brand-name Harvoni as the only choice on the

SilverScript formulary was not driven by market conditions, but CVS Health profit. Likewise, it

was a lie and deceptive to say that the market conditions were not “within our control” when it

was CVS Caremark’s agreement with Gilead that was the cause for the delay in the formulary




336
      Id.



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access to the less costly generic drug ledipasvir/sofosbuvir 90MG-400 MG tablets. The market

conditions were thus completely within its control.

            522.   If SilverScript CCRs were asked by a beneficiary if they could request a coverage

determination for the less costly generic, they were to respond: “Yes, you as the beneficiary may

request a coverage determination for ledipasvir/sofosbuvir 90MG-400 MG tablets. However,

exception requests for non-formulary prescription drugs, if approved, are typically approved for

coverage at the highest cost share level.” 337 This was misleading. It was intended to discourage

beneficiaries from asking for a formulary exception. A formulary exception for the generic would

have been approved at the highest tier (Tier 4) with a coinsurance of 40%. However, even with the

higher coinsurance, the generic is still much less expensive than the brand-name Harvoni due to

the dramatic difference in price. This is also deceptive. What beneficiaries are not to be told is

that, in the case of Harvoni, CVS has taken the extra step to automatically deny any formulary

exception requests.

                   3. Beneficiary No. 5

            523.   When CVS Health realized how much more profit could be made if higher-priced

drugs were only filled instead of less costly identical authorized generic versions, CVS Health

went beyond just withholding of information about the right to seek a formulary exception and

began making outright denials of all formulary exceptions and appeals for certain of the SSG/DNS

Drugs, including Gilead’s expensive drugs Harvoni and Epclusa.

            524.   The misleading and false information often had a chilling effect on beneficiaries

filling their prescriptions for potentially life-saving drugs.

            525.   One such instance that Relator remembers distinctly involved a seriously ill


337
      Id.



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member from Nebraska. A nurse caring for Beneficiary No. 5 called requesting the less costly

generic version of Epclusa, sofosbuvir/velpatasvir 400MG-100MG tablets. The nurse made

numerous calls on behalf of Beneficiary No. 5, doing everything she could to get the member the

generic for completion of therapy because, as she indicated in the calls, the member would not be

able to afford to continue therapy with the much more expensive brand drug Epclusa.

       526.    As Relator heard on recorded CCR calls, the nurse was continually lied to and

blocked from getting the less costly, generic Epclusa despite the nurse’s best efforts.          On

information and belief, because he never was given the option to request a coverage determination

for the less costly sofosbuvir/velpatasvir 400MG-100MG tablets, Beneficiary No. 5 interrupted

his Epclusa therapy because he could not afford it.

       527.    As part of its assessment of whether the Harvoni/Epclusa SSG fraudulent scheme

would be detected, the CVS Health Executive Committee considered that the risk would be low

because of its forecast that, of the 1604 Harvoni/Epclusa SilverScript prescriptions it projected per

month, some 84% of the impacted SilverScript beneficiaries were on LIS subsidy and thus any

higher copayments resulting from the Scheme would be absorbed by Medicare.

       528.    As such, because these LIS members would not be seeing the much higher copays

at the point of sale, they were less likely to be concerned about the drastic differences in SSG Drug

pricing being passed on to Medicare Part D.

       529.    So, even if the difference in price between the generic and the brand-name drug

would often be many thousands of dollars, for an LIS beneficiary the out-of-pocket cost would be

essentially the same. With the out-of-pocket cost thus minimally affected, the Executive

Committee determined the SSG/DNS Scheme was a “low risk” of detection because these

SilverScript beneficiaries (the majority of whom are LIS members) had much less incentive to file




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complaints or grievances to get a less costly generic drug.

         530.   CVS Health has thus required its subsidiary SilverScript resort not only to

misleading, but in outright lying to beneficiaries and having its CVS Pharmacies intentionally not

stocking the generic medications on their shelves. For CVS Health to coordinate with its

subsidiaries to mislead, lie, and otherwise deceive beneficiaries violated its fundamental

obligations under the FTC Consent Order that it would not, directly or indirectly, make deceptive

claims about the price or cost of Medicare Part D prescription drugs as well as its obligation of

good faith and fair dealing in all its dealings with Medicare and Part D beneficiaries. Nothing in

the law countenances such conduct.

                4. Beneficiary No. 6

         531.   Another way CVS Health accomplished its goal of preventing beneficiaries from

getting the less costly generic was having its subsidiary SilverScript provide misleading

information about the true cost of the drugs, implying that the generic would be more expensive

when it was not, thus intentionally deceiving beneficiaries about whether they should seek

formulary exceptions.

         532.   On February 4, 2019, Beneficiary No. 6 (a 67-year-old man from New Mexico)

attempted to fill a prescription for sofosbuvir-velpatasvir (authorized generic for brand-name

Epclusa) at his pharmacy. The allowed cost for the drug was $8,083.20 with a total cost to

Medicare for the authorized generic fill estimated to be $734.09. But, the order was reversed and

not filled, apparently because Beneficiary No. 6 was concerned about the cost of the drug. 338

         533.   On February 11, 2019, Beneficiary No. 6 attempted to fill a prescription for brand-

name Epclusa. The allowed cost for the drug was $25,179.17 with a total cost to Medicare for the


338
      Exhibit 36 (CVS-002294).



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brand-name fill estimated to be $13,865.12. But, the order was reversed and not filled, again

apparently because he was concerned about the cost of the drug.

            534.   On the same day, Beneficiary No. 6 and his spouse placed a call to CVS Health

Customer Care to ask what happened. Beneficiary No. 6 and his wife wanted to “get a price” for

the drug so they could “know how much it’s going to cost, if we can afford it.” 339

            535.   On the call, the SilverScript CCRs gave incorrect information to prevent

Beneficiary No. 6 from getting the authorized generic sofosbuvir-velpatasvir. Beneficiary No. 6

was incorrectly told that Epclusa was at the time a Tier 4 drug (it was at the time a Tier 5 drug).340

            536.   Beneficiary No. 6 was eventually transferred to a different CCR to discuss

alternatives. The representative did not inform Beneficiary No. 6 that there was a less costly

authorized generic alternative to her Epclusa prescription.

            537.   Beneficiary No. 6 was transferred yet again to another CCR. This time the

representative misled Beneficiary No. 6 about the true cost of filling the brand-name versus the

authorized generic by only giving the price for the first fill of the sofosbuvir-velpatasvir and the

brand-name Epclusa. While the cost would be similar for the first fill (only approximately a $400

difference), the costs for subsequent fills would be very different given that the Beneficiary No. 6

would be pushed into the Catastrophic Coverage stage of the Part D benefit where he would be

responsible for 5% of either drug. This was especially misleading because Beneficiary No. 6 called

inquiring about an 84-day supply of the drug – a total of three 28-day fills. 341




339
      Exhibit 37 (CVS-001608).
340
      Id.
341
      Id.



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       538.    The situation involving Beneficiary No. 6 demonstrates how not informing patients

about less costly generic options to the SSG/DNS Drugs and their right to request a coverage

determination for the formulary exceptions has resulted in many thousands of SilverScript

beneficiaries being forced to choose the much more expensive brand-name drug instead of less

costly, equivalent (identical) alternative (and therefore affordable) generic.

       539.    It also underscores yet again how CVS Health violated its obligations in the FTC

Consent Order that it would not, directly or indirectly, make deceptive claims about the price or

cost of Medicare Part D prescription drugs as well as its obligation of good faith and fair dealing

in all its dealings with Medicare and Part D beneficiaries.

               5. Beneficiary No. 7

       540.    Beneficiary No. 7’s story illustrates how CVS Health’s subsidiary SilverScript

began to outright deny all requests for less costly versions of brand-name medication, regardless

of merit. It also highlights how the SSG/DNS Scheme is particularly egregious for LIS

beneficiaries who are in need of high-priced, life-saving drugs. With high-priced drugs for LIS

beneficiaries, Medicare is subsidizing most of the cost and the LIS beneficiaries often pay

relatively small co-pay amounts making them less likely to complain about the higher-priced

brand-name drugs. For those beneficiaries who do still try to get the authorized generic version,

however, they are thwarted by CVS Health as a matter of company policy.

       541.    Beneficiary No. 7 (a 66-year-old man from Arkansas) was a SilverScript

beneficiary receiving the low-income subsidy. He got a prescription for Epclusa to treat his

hepatitis C, and filled it with brand-name Epclusa on November 5, 2018 at his pharmacy. The total

cost to Medicare for the brand-name medication was $20,872.59. As an LIS beneficiary, his cost

was subsidized by Medicare during both the initial coverage and coverage gap (where applicable)

for a total of $5,364.29 in addition to covering the cost of the drug in the catastrophic coverage


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stage ($15,335.87). Beneficiary No. 7 paid a copay of $8.35. 342

          542.   Even though his copayment was relatively low in comparison with the overall cost

of Harvoni, on January 10, 2019 Beneficiary No. 7 nevertheless requested a formulary exception

to get Sofosbuvir-Velpatasvir (authorized generic Epclusa). But, pursuant to the fraudulent

scheme, the very same day SilverScript automatically denied the formulary exception request

using language specifically developed for the Epclusa authorized generics.

          543.   The formulary exception denial letter dated January 11, 2019 that was sent to

Beneficiary No. 7 had been specifically modified from the SilverScript standard language to

include the new blanket denial of formulary exceptions implemented for Epclusa authorized

generics. It included language denying a formulary exception to Beneficiary No. 7 unlike any

language SilverScript had ever used for any SSG/DNS Drug before, stating it denied the exception

for the generic version of Harvoni (ledipasvir/sofosbuvir) – i.e., the fact that they are authorized

generic to Harvoni. The newly modified “same effectiveness” language in the denial letter reads:

          Both the brand Harvoni and generic version of this drug, Ledipasvir/sofosbuvir,
          would be expected to have the same effectiveness in treating your condition.
          The brand drug on the formulary and its generic contain the same active
          medications. They both contain the same inactive ingredients such as dyes, and
          would be expected to have the same risk of causing adverse effects (side
          effects). Talk to your prescriber to see if any of the formulary alternative(s) would
          be right for you. 343

          544.   The letter was configured only as an attempt to meet CMS requirements so as not

to draw attention in an audit. There are psychological factors to consider as well. All generics

have the same active ingredient and all would have the same effectiveness. But, if the beneficiary




342
      Exhibit 38 (CVS-002272).
343
      Exhibit 39 (CVS-002280). (emphasis added).



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does not initiate therapy because he cannot afford the drug, the denial would ignore altogether the

“Social Determinants of Health” (also called “SDoH”). 344

       545.    While SDoH can impact people from across the economic spectrum, low-income

individuals are particularly likely to face challenges related to housing, food, and transportation.

LIS beneficiaries are low-income by definition and would be key target populations for addressing

social needs. There is strong evidence pointing to SDoH interventions as being cost effective,

improving health outcomes.

       546.    CVS Health claims it supports use of SDoH. As a public relations effort to conceal

its conduct, CVS Health has announced initiatives targeting SDoH. 345 Here is an advertisement

showing a young, smiling boy who has a CVS bandage on this arm, alongside the CVS Health

claim that it is “working to provide you with resources to live a healthier life” 346:




344
   See Josh Lee, Melissa Majerol, Jeff Burke, Addressing the social determinants of health for
Medicare and Medicaid enrollees Leading strategies for health plans, Deloitte Insights; Innovative
Approaches to Addressing Social Determinants of Health for Medicare Advantage Beneficiaries,
Better Medicare Alliance (Aug. 2021); Tany Feke, How Medicare Addresses Social Determinants
of Health Economics, Education, Health Care, Location, and Social Supports, verywell health
(Oct. 25, 2020).
345
   See, e.g., Paige Minemyer, CVS announces new initiatives targeting the social determinants
of health, Fierce Healthcare (July 24, 2019), available at
https://www.fiercehealthcare.com/payer/cvs-announces-new-initiatives-targeted-social-
determinants-health.
346
   CVS Health, Social Determinants of Health, available at https://www.cvshealth.com/health-
with-heart/building-healthy-communities/social-determinants-of-health.



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        547.     This was just lip service. While CVS Health touts its support of SDoH initiatives,

its SSG/DNS Scheme did exactly the opposite, making less costly authorized generic versions of

wildly expensive drugs like Harvoni unavailable for thousands of SilverScript benefit who could

not afford it.

        548.     What the SilverScript letter failed to tell Beneficiary No. 7 was that the brand

Harvoni and the generic are the identical drug. Instead of telling Beneficiary No. 7 that they were

in fact the same drug, the letter utilizes the clinical equivalency of the authorized generic

ledipasvir/ sofosbuvir and brand-name Harvoni to obfuscate that there would be no legitimate

reason to allow the formulary exception to obtain the less costly authorized generic version of the

drug. The SilverScript letter to Beneficiary No. 7 concealed the real (and shadier) reason why the

formulary exception would not be granted – the less costly price for Ledipasvir/sofosbuvir meant

that CVS Health would not make as much money.

        549.     Beneficiary No. 7 then on January 14, 2019 attempted to obtain the generic

sofosbuvir-velpatasvir (authorized generic for brand-name Epclusa) at the Hot Springs, Arkansas

Smith Drug. The total cost to Medicare for the generic would have been $6,871.15. However, the




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claim was later reversed, indicating that the beneficiary never received the medication. 347

         550.   The reversed claim was recorded in the CVS Health claim system, though, so the

costs of the authorized generic versus the fill Beneficiary No. 7 have received on November 5,

2018 for Epclusa can be compared. The cost difference is dramatic:

                                        Generic                         Brand
                                        (sofosbuvir-velpatasvir)        (Epclusa)
      Plan allowed drug cost            $8,083.20                       $25,253.93
      Member Co-pay                     $0                              $8.35
      Plan Cost (SilverScript Cost)     $1,212.55                       $4,373.49
      Medicare Cost (Initial Coverage + $404.18                         $5,508.30
      Coverage Gap Stage)
      Medicare Cost (Catastrophic $6,466.97                             $15,364.29
      Coverage Stage)
      Total Medicare Cost               $6,871.15                       $20,872.59

         551.   The SSG/DNS blocking strategy worked, however. Still needing this lifesaving

medication despite being denied access to the identical drug (albeit the authorized generic),

Beneficiary No. 7 filled the brand-name Epclusa medication three times: on January 21, 2019 at a

cost to Medicare of $19,988.92; on February 18, 2019 at a cost to Medicare of $21,402.72; and in

March at a cost to Medicare of $21,402.72. Every fill for the brand-name Epclusa came at a much

greater cost to Medicare. 348

         552.   Not only that, but all the prescriptions for Beneficiary No. 7 were coded as “0 – NO

DAW.” CVS Caremark’s Administrative Manual instructs pharmacists to “Use the DAW 0 code

when dispensing a generic drug; that is, when no party (i.e., neither Prescribing Provider, nor

pharmacist, nor Participant) requests the branded version of a multi-source product.” (emphasis




347
      Exhibit 40 (CVS-002287).
348
      Exhibit 41 (CVS-002273); Exhibit 42 (CVS-002274); Exhibit 43 (CVS-002275).



                                                186
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added). 349

         553.   CVS Caremark’s Provider Manual also includes a Reject Code for using a DAW

Code 0 when dispensing a brand drug with available generics: “DAW 0 cannot be submitted on a

multi-source drug with available generics. 407-D7, 408-D8.” 350

         554.   Thus, a DAW 0 code in the PDE record in support of the SilverScript payment for

Beneficiary No. 7 was untruthful, inaccurate and incomplete.

                6. Beneficiary No. 8

         555.   Another SilverScript beneficiary’s story illustrates how the CVS Health scheme

ensured only brand-name medications were dispensed despite a beneficiary’s considerable efforts

to get less costly generics. SilverScript repeatedly blocked Beneficiary No. 8’s efforts to fill her

prescription for the less costly authorized generic (ledipasvir-sofosbuvir). Ultimately, Beneficiary

No. 8 would give up because SilverScript forced her to fill the prescription with the more expensive

brand-name medication.

         556.   Starting in early February 2019, Beneficiary No. 8 (a 77-year-old woman living in

New Jersey) made multiple attempts to fill ledipasvir-sofosbuvir at her pharmacy, but was rebuffed

each time by SilverScript. The first instance SilverScript denied Beneficiary No. 8 access to the

authorized generic version was in early February 2019 when WestRiver would not fill Beneficiary

No. 8’s prescription for the authorized generic ledipasvir-sofosbuvir despite her submitting

multiple requests. 351



349
      Exhibit 1 (CVS-002944).
350
    See CVS, “Reject Codes: Provider Manual Appendix B,” at p. 33 (June 1, 2019),
https://www.caremark.com/portal/asset/CVSCaremarkPayerSheetRejectCodes.pdf
351
      Exhibit 44 (CVS-002175).



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            557.   Given that her attempts to fill the authorized generic were denied, Beneficiary No.

8 contacted SilverScript and got a prior authorization for the brand-name medication, Harvoni, on

February 11, 2019.

            558.   Yet, despite getting a prescription for the brand-name drug, Beneficiary No. 8 did

not give up on trying to get the less costly authorized generic option. On February 12, 2019,

Beneficiary No. 8 requested a formulary exception in order to get the authorized generic. 352

            559.   Normally, SilverScript approved such exceptions with appropriate information

from the prescriber. Until CVS Caremark entered into the Gilead deal, SilverScript had always

granted formulary exceptions allowing beneficiary access to less costly generics. In this case,

however, the exception was denied using the new SilverScript blanket denial that the authorized

generic was not covered, with the new excuse that the brand-name drug and the generic were

clinically equivalent drugs (ledipasvir-sofosbuvir and Harvoni). 353

            560.   Beneficiary No. 8’s additional attempts to fill her prescription with the authorized

generic version were again denied at the pharmacy.

            561.   Nearly two weeks after initially trying to fill her first prescription (during which

time she had delayed initiating her hepatitis C treatment), on February 19, 2019, Beneficiary No.

8 received a prior authorization for brand-name Epclusa, the brand-name version of sofosbuvir-

velpatasvir, which is a similar drug as Harvoni and also would help cure Beneficiary No. 8’s

Hepatitis C. That same day, Beneficiary No. 8 finally relented and filled her prescription for the




352
      Id.
353
      Exhibit 45 (CVS-002210).



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brand-name Epclusa at a total cost to Medicare of $19,952.86. 354

          562.   Beneficiary No. 8 later attempted to refill her prescription on March 19, 2019 at her

pharmacy, and requested the generic Epclusa, sofosbuvir-velpatasvir. This time, only because of

a flaw in the claims logic (which was later eliminated), Beneficiary No. 8 was able to get the

authorized generic version because of a Transition Fill. The authorized generic sofosbuvir-

velpatasvir fill was at a cost of only $6,854.74. 355

          563.   Beneficiary No. 8’s fills for the authorized generic and the brand-name Epclusa

show just how large the price differences were: 356

                                                    Generic                        Brand
                                            (sofosbuvir-velpatasvir)             (Epclusa)
 Plan allowed drug cost                                      $8,064.00                  $25,119.76
 Member Co-pay                                                      $0                       $3.80
 Plan Cost (SilverScript Cost)                               $1,209.66                   $5,163.10
 Medicare Cost (Initial Coverage +                             $403.22                   $5,935.66
 Coverage Gap Stage)
 Medicare Cost (Catastrophic                                 $6,451.52                  $14,017.20
 Coverage Stage)
 Total Medicare Cost                                         $6,854.74                  $19,952.86


          564.   After the fill for the authorized generic, Beneficiary No. 8 received a letter from

SilverScript dated March 20, 2019 advising her that, although she had been able to receive a

temporary one-time Transition Fill for sofosbuvir-velpatasvir, the generic drug is not covered on

the formulary and would not be covered in the future. 357 The letter did not mention that the generic


354
      Exhibit 46 (CVS-002181).
355
      Exhibit 47 (CVS-002230).
356
      Exhibits 46 & 47.
357
      Exhibit 48 (CVS-002235).



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sofosbuvir-velpatasvir is identical to the much more expensive brand-name Epclusa.

         565.     On April 15, 2019, Beneficiary No. 8 again attempted to fill her prescription for the

generic sofosbuvir-velpatasvir, but it was denied again because there was no formulary exception

approval. That same day, Beneficiary No. 8’s request for a formulary exception for the authorized

generic sofosbuvir-velpatasvir was also denied. Beneficiary No. 8 submitted a formulary exception

redetermination the next day on April 16, 2019 and was denied yet again with language indicating

that the same “effectiveness in treating your condition” would be expected. 358 This is new language

that was crafted specifically for the CVS Caremark deal with Gilead to block the authorized

generics ledipasvir-sofosbuvir and sofosbuvir-velpatasvir. Illustrating the scope of CVS Health’s

deception, no other SSG/DNS formulary exception approvals had ever before been held to the

same standard by SilverScript. In every other instance prior to this, SilverScript had granted the

SSG/DNS formulary exception.

         566.     On April 18, 2019, Beneficiary No. 8 tried one last time to get sofosbuvir-

velpatasvir filled and was denied once more. However, after days of obfuscation by CVS Health

aimed at wearing down her determination to get the less costly drug, the same day she finally

surrendered and got a prescription for brand-name Epclusa. The total cost for the fill of Epclusa is

$21,351.80. 359

         567.     Beneficiary No. 8’s experience demonstrates SilverScript’s repeated blocking of

the less costly authorized generic versions of both Epclusa and Harvoni. The blocking happened

despite the numerous requests from the beneficiary to have the authorized generic covered through




358
      Exhibit 49 (CVS-002224).
359
      Exhibit 50 (CVS-002180).



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a formulary exception. She was never told by SilverScript that the brand-name Harvoni and

Epclusa were in fact identical to the less costly authorized generic.

            568.   Beneficiary No. 8’s story again clearly illustrates the substantial difference in cost

covered by Medicare for the brand-name version of the drug ($19,952.86) and the authorized

generic version ($6,854.74). Even if the manufacturer of Epclusa (Gilead) had paid substantial

rebates on the list price, Medicare is still picking up a higher cost versus the authorized generic

version for a beneficiary like Beneficiary No. 8 given the price of the drug and her LIS status. For

the February fill, Medicare paid the higher LIS amount regardless of any rebates.

            569.   The claim record shows that the pharmacy filled Beneficiary No. 8’s Epclusa

prescriptions and submitted the claim with DAW Code 0. 360

            570.   CVS Caremark’s Administrative Manual instructs pharmacists to “Use the DAW 0

code when dispensing a generic drug; that is, when no party (i.e., neither Prescribing Provider, nor

pharmacist, nor Participant) requests the branded version of a multi-source product.” (emphasis

added). 361

            571.   CVS’s Provider Manual also includes a Reject Code for using a DAW Code 0 when

dispensing a brand drug with available generics: “DAW 0 cannot be submitted on a multi-source

drug with available generics. 407-D7, 408-D8.” 362

            572.   Thus, a DAW 0 code in the PDE record in support of the SilverScript payment for

Beneficiary No. 8 was untruthful, inaccurate and incomplete.




360
      Id.
361
      Exhibit 1 (CVS-002944).
362
    See CVS, “Reject Codes: Provider Manual Appendix B,” at p. 33 (June 1, 2019),
https://www.caremark.com/portal/asset/CVSCaremarkPayerSheetRejectCodes.pdf.


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          573.   In addition to rebuffing Beneficiary No. 8’s numerous attempts to get the less costly

authorized generic, Beneficiary No. 8’s Epclusa prescription was filled in violation of New York

State law requiring generic substitution, causing false claims to be submitted because the

unsubstituted claims are invalid prescriptions under State law and thus not eligible for

reimbursement by the SilverScript.

          574.   This illustrates graphically that, by not allowing substitution of the less costly

generic authorized version of the Beneficiary No. 8’s prescription, CVS Health and its subsidiary

SilverScript had violated the terms of the Consent Order that it would not, directly or indirectly,

make deceptive claims about the price or cost of Medicare Part D prescription drugs.

                 7. Beneficiary No. 9

          575.   Beneficiary No. 9’s story demonstrates how SilverScript’s policy of denying all

formulary exceptions for Epclusa drove beneficiaries into the Catastrophic Coverage stage after

only one fill of the drug. Like the other beneficiaries who tried to obtain formulary exceptions in

order to get less costly versions of Harvoni or Epclusa, Beneficiary No. 9’s request was summarily

denied.

          576.   On January 14, 2019, Beneficiary No. 9 (an 83-year-old woman from California)

attempted to fill a prescription for sofosbuvir-velpatasvir (authorized generic for brand-name

Epclusa), but the claim was rejected because Beneficiary No. 9 did not have a formulary

exception. 363

          577.   The same day, Beneficiary No. 9 requested a formulary exception, but the request

was denied the following day, using the new SilverScript blanket denial letter. 364


363
      Exhibit 51 (CVS-002262).
364
      Exhibit 52 (CVS-002264).



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         578.   As a result of the formulary exception denial, Beneficiary No. 9 had no option but

to fill her prescription for the brand-name drug, Epclusa, at her pharmacy.

         579.   For fills of Epclusa in January and February, the cost for the brand-name Epclusa

to Medicare was $20,459.82 and $21,351.80 respectively – over three times higher cost than it

would have been for the authorized generic version. 365

         580.   According to Beneficiary No. 9’s January 31, 2019 Explanation of Benefits, 366

together with the other medications she was receiving (Irbesartan tab 300 mg, Olapatadine SOL

0.2%, Xiidra drops 55, Fluticasone SPR 50 mcg, and Levocetirizi tab 5 mg), she was pushed into

the Catastrophic Coverage stage after only one fill of Epclusa in January. However, because her

yearly income and resources were below certain limits, she was entitled to “Extra Help” as an LIS

beneficiary, meaning that the high cost of Epclusa alone would end up making Medicare would

subsidize all her drugs earlier than if the generic had been dispensed throughout the rest of 2019.

                8. Beneficiary No. 10

         581.   The story of Beneficiary No. 10, a 63-year-old woman from Oregon, illustrates how

beneficiaries have attempted to receive the less costly authorized generic version of Harvoni, only

to be repeatedly turned down by SilverScript.

         582.   Beneficiary No. 10 first filled a prescription for Harvoni on January 14, 2019 at her

pharmacy. The plan allowed cost for Harvoni was $32,198.04, of which her LIS copay was $3.80

and the Medicare cost was between $29,000 and $30,000.

         583.   On February 5, 2019, Beneficiary No. 10 successfully received a prescription for

the generic ledipasvir-sofosbuvir due to a flaw in the Transition Fill logic (which was later



365
      Exhibit 53 (CVS-002242) and Exhibit 54 (CVS-002243).
366
      Exhibit 55 (CVS-002254).


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eliminated). The plan allowed cost was $12,265.92, the member copay was $0, and the total

Medicare cost was $10,426.46. 367

         584.   Soon after the fill for the authorized generic, Beneficiary No. 10 received a letter

from SilverScript dated February 7, 2019, advising her that, although she had been able to receive

a temporary one-time Transition Fill for ledipasvir-sofosbuvir, the generic drug was not covered

on the formulary and would not be covered in the future. 368 The letter did not mention that the

ledipasvir-sofosbuvir is a less costly authorized generic to the brand-name Harvoni. While the

letter tells her that she has the right to request a coverage determination, including a formulary

exception to receive the generic, it does not tell her that because of the clandestine deal CVS

Caremark had struck with Gilead, the right to a formulary exception was illusory and it would be

summarily denied by SilverScript.

         585.   The result for Beneficiary No. 10 was that the SilverScript deception had denied

her request to receive the less costly (and identical) generic, increasing not only her copayment,

but the Medicare cost by over $20,000 per prescription.

                9. Beneficiary No. 11

         586.   The story of Beneficiary No. 11 illustrates how CVS Health’s gamesmanship

resulted in a patient being repeatedly blocked from receiving access to necessary care. Ultimately,

it appears that Beneficiary No. 11 may never have completed treatment for his Hepatitis C, an

illness that can cause serious health problems, including liver damage, cirrhosis (scarring of the

liver), liver cancer, and even death.

         587.   On March 6, 2019 and again on March 11, 2019, Beneficiary No. 11 (a 38-year-old


367
      Exhibit 56 (CVS-002166).
368
      Exhibit 57 (CVS-002169).



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male from Maryland) attempted to fill a prescription for generic Harvoni (ledipasvir-sofosbuvir),

at his pharmacy. The prescription was reversed (i.e., never completed) three times by CVS Health,

suggesting that Beneficiary No. 11 was looking for lower cost options than Harvoni.

         588.   On March 14, 2019, Beneficiary No. 11 called SilverScript, complaining that he

“cannot afford” the more expensive brand-name Harvoni prescription, and requested a price

reduction. SilverScript at first treated his request as a grievance and transferred his call to

Coverage Exception Review (“CER”) for a tiering exception to receive the less costly generic, but

the exception was denied according to the new SilverScript standard for blocking all such requests

for Harvoni and Epclusa. As he had been trained, at no time did the CER representative advise

Beneficiary No. 11 there were alternatives that are not on the formulary, including the less costly

authorized generic ledipasvir-sofosbuvir. 369

         589.   Later that same day, Beneficiary No. 11 called again seeking the less costly generic.

Initially, the call was treated as a grievance, but this time he was transferred to Coverage

Determinations & Appeals, where his request for a formulary exception to receive the less costly

generic was denied. Consistent with CCR training, the representative failed to tell him that, even

though he was seeking access to the identical formulation of the drug, no matter the merits of the

formulary exception request for the generic ledipasvir-sofosbuvir, it would be summarily denied.

         590.   Thereafter, on that same day, Beneficiary No. 11 filled the prescription for Harvoni

at his pharmacy with a member copay (subsidy level 1) of $8.50, SilverScript cost of $4,556.84,

and total Medicare cost of $27,633.20.

         591.   The claim record shows that his pharmacy filled Beneficiary No. 11’s Harvoni




369
      Exhibit 58 (CVS-002887).



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prescription and submitted the claim with DAW Code 0. 370

         592.   CVS Caremark’s Administrative Manual instructs pharmacists to “Use the DAW 0

code when dispensing a generic drug; that is, when no party (i.e., neither Prescribing Provider, nor

pharmacist, nor Participant) requests the branded version of a multi-source product.” (emphasis

added). 371

         593.   CVS’s Provider Manual also includes a Reject Code for using a DAW Code 0 when

dispensing a brand drug with available generics: “DAW 0 cannot be submitted on a multi-source

drug with available generics. 407-D7, 408-D8.” 372

         594.   Thus, a DAW 0 code in the PDE record in support of the SilverScript payment for

Beneficiary No. 11 was untruthful, inaccurate and incomplete.

         595.   On March 26, 2019, April 4, 2019, and April 5, 2019, Beneficiary No. 11 again

attempted to fill Harvoni prescriptions at his pharmacy four different times, but none of the four

claims was processed, suggesting he was still looking for lower cost options than Harvoni.

         596.   Most concerning is that, based on the claims record, there is no evidence that

Beneficiary No. 11 ever received his second and third fills for either Harvoni or ledipasvir-

sofosbuvir. Beneficiary No. 11 had made numerous attempts to receive the less costly generic,

doing everything he possibly could to get the less costly generic for completion of his therapy,

apparently because he could not afford Harvoni. Despite his best efforts, Beneficiary No. 11 was

continually lied to and blocked from getting the less costly generic Harvoni.

         597.   On information and belief, because he never was given the option to request a


370
      Exhibit 59 (CVS-002892).
371
      Exhibit 1 (CVS-002944).
372
    See CVS, “Reject Codes: Provider Manual Appendix B,” at p. 33 (June 1, 2019),
https://www.caremark.com/portal/asset/CVSCaremarkPayerSheetRejectCodes.pdf.


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coverage determination for the less costly (and identical) ledipasvir-sofosbuvir, Beneficiary No.

11 interrupted his Harvoni therapy because he could not afford it.

       598.    Furthermore, because the prescription was filled in Maryland, a mandatory generic

substitution State, SilverScript violated the State law requirement that the prescription be

substituted with a less costly generic.

               10. CVS Health Repeatedly Rejected Beneficiaries’ Attempts to Fill Generic
                   Harvoni and Epclusa

       599.    Following the implementation of the SSG/DNS Scheme for Harvoni and Epclusa,

CVS Health has routinely rejected thousands of beneficiary attempts to obtain access to less costly

authorized generic of these drugs. Attached hereto as Exhibit 60 is a representative sampling of

148 denied SilverScript claims for the authorized generic Harvoni and Epclusa prescriptions for

just the month of January 2019, shortly after the SSG/DNS Schemes began. The list includes 51

claims which were denied where the prescriptions for these drugs would have been filled in a

mandatory substitution State.

       600.    Each of these beneficiaries was sent SilverScript’s letter including the blanket

denial of formulary exceptions implemented for Harvoni and Epclusa authorized generics. It

included the new language denying a formulary exception unlike any language CVS Health had

ever used before, stating it denied the exceptions for ledipasvir/sofosbuvir (authorized generic for

brand-name Harvoni) or sofosbuvir/velpastasvir (authorized generic for brand-name Epclusa)

based on their clinical equivalence – i.e., the fact that they are authorized generics to Harvoni and

Epclusa.

       601.    Never before had CVS Health used as an excuse with any other SSG/DNS Drug

that the drugs were clinically equivalent as a basis to deny a formulary exception requested by any

beneficiary requesting the less costly generic to a SSG/DNS brand-name drug.



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       602.    For years, even when the preferred drug was in its SSG/DNS Program, SilverScript

had universally allowed all formulary exceptions to dispense the less costly generic. For the first

time, the rebate deal that CVS Caremark had inked with Gilead required that SilverScript would

deny all formulary exceptions for generic versions of Harvoni and Epclusa.

       603.    The formulary exception letter sent to beneficiaries rejecting their requests for the

less costly (and identical) generic ledipasvir/sofosbuvir or sofosbuvir/velpastasvir is an explicit

violation of the Consent Order that it would not, directly or indirectly, make deceptive claims about

the price or cost of Medicare Part D prescription drugs.

       604.    The letter tells beneficiaries that they had the right to ask for an appeal of the denial

of the formulary exception. What the letter from SilverScript failed to mention was that the result

of any appeal was already predetermined – i.e., CVS Caremark had already agreed with Gilead

that SilverScript would deny all appeals.

       605.    What is even more sinister is that, while the language included in the SilverScript

denial letters for Epclusa and Harvoni formulary exceptions appears to track the Medicare

guidance on formulary exceptions, the guidance language it was modeled after appears to have

been intended for the opposite situation – i.e., a patient was requesting a formulary exception for

a more expensive brand drug instead of a less costly on-formulary generic.

       606.    Illustrating how perverse its new-found insistence that clinical equivalence would

become a sufficient reason to deny all formulary exceptions for Harvoni and Epclusa, for years

SilverScript has used DAW 1 (physician requests brand) as a justification to switch from the

identical authorized generic to the brand-name SSG Drug, even requiring physicians to request the

brand in those instances when there was no medical reason for dispensing the brand instead of the

identical generic.




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       607.    However, under the NCPDP standards, DAW Code 1 may only be “used when the

prescriber indicates, in a manner specified by prevailing law, that the product is Medically

Necessary to be Dispensed As Written.” (emphasis added) 373 Even though there was no medical

necessity requiring use of the brand instead of the generic, there are tens of thousands of examples

where SilverScript required the beneficiary seeking access to an authorized generic to switch to

the preferred brand, coding the claim as DAW 1. The only reason for coding these “clinically

equivalent” prescriptions as DAW 1 was the fact that the SSG/DNS Scheme was blocking the

generic.

       608.    With the Harvoni and Epclusa denial letters, however, SilverScript has engaged in

the pretense of using an ethically questionable, technical loophole to keep patients and Medicare

paying for the more expensive brand-name drugs instead of using the less costly authorized

generics. This is not only wholly contrary to the intent of the formulary exception criteria and the

purpose of the Medicare guidance language, it is completely at odds with its own position about

the “Social Determinants of Health” and its commitment to making less costly drugs available to

ensure patient adherence and healthy outcomes.

       609.    The result of this charade not only deceived beneficiaries, it has resulted in

significant increased profits to CVS Health while dumping huge additional costs for Harvoni and

Epclusa onto taxpayers and Part D beneficiaries, thereby violating the FTC Consent Order that it

would not, directly or indirectly, make deceptive claims about the price or cost of Medicare Part



373
   CMS recognizes that “excessive use” of DAW Code 1 on multi-source products may raise “red
flags from an audit perspective.” See Centers for Medicare and Medicaid Services, Pharmacy Self-
Auditing: Control Practices to Improve Medicaid Program Integrity and Quality Patient Care;
Booklet 4: Billing Practices, December 2015, available at: https://www.cms.gov/Medicare-
Medicaid-Coordination/Fraud-Prevention/Medicaid-Integrity-Education/Downloads/pharmacy-
selfaudit-booklet4-billing-practice.pdf.



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D prescription drugs.

        610.    HHS and CMS have expressly addressed the very concerns at issue in this case in

its November 30, 2020 final rulemaking (the “Rebate Rule”), stating that “rebates also may create

a perverse incentive that rewards manufacturers for increasing their list price, while subjecting

consumers to higher out-of-pocket costs. Since beneficiary out-of-pocket costs are often calculated

based on the list price of the drug (i.e., before rebates are paid), beneficiaries pay higher cost-

sharing than they would if discounts were reflected at the point of sale. Furthermore, high list

prices may result in more beneficiaries more quickly reaching the catastrophic phase, where the

Federal government bears 80 percent of the drug costs and the Part D plans only cover 15 percent

of the drug costs.” 374

        611.    In response to industry comments about the impact rebates have on increasing on

Medicare Part D beneficiary costs, the HHS/CMS Rebate Rule cited the Gilead press release that

the company would be introducing authorized generics of Harvoni and Epclusa because it could

not “quickly” lower list prices for the brand-name drugs once already locked into a PBM rebate

agreement. 375 These are the same Gilead authorized generics that SilverScript was blocking in

favor of the more expensive brand-name Harvoni and Epclusa.

        612.    The increased costs for Harvoni and Epclusa in relation to their authorized generics

are also the subject of a soon-to-be-issued 2022 HHS OIG report, How Part D Plans’ Preference




374
   See Final Rule, Removal of Safe Harbor Protection for Rebates Involving Prescription
Pharmaceuticals, 85 Fed. Reg. 76666, 76667 (Nov. 30, 2020).
375
   Id. at 76686, n.34 (citing A perspective from our CEO: Gilead Subsidiary to Launch Authorized
Generics to Treat HCV, Gilead Pharmaceuticals (Sept. 24, 2018), https://www.gilead.com/ news-
and-press/company-statements/authorized-generics-for-hcv.



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for Higher Cost Hepatitis C Drugs Affects Medicare Beneficiaries. 376 The report summary states

that Medicare Part D spent $2.5 billion on hepatitis C drugs in 2019, some 93% of which was spent

on three drugs, Harvoni, Epclusa and Mavyret. According to the summary, “[i]n early 2019,

Gilead—the manufacturer of Harvoni and Epclusa—launched authorized generic versions of both

drugs with the expressed goal of reducing patients’ out-of-pocket costs. The retail price of

authorized generic versions is $24,000, which is significantly less than the prices of Harvoni and

Epclusa . . . .” 377 According to CMS, “[t]hese lower list prices should in turn lead to lower out-of-

pocket costs, as authorized generics are as effective as branded versions but sell for only a fraction

of the cost. However, a preliminary analysis indicates that Medicare utilization has not shifted from

brandname versions of Harvoni and Epclusa to their significantly less costly, authorized generic

versions. . . .” 378



            613.   Albuterol sulfate inhalation aerosol is a short acting beta agonist or so-called

“rescue inhaler” approved for the treatment or prevention of bronchospasm in patients aged 4 years

and older with reversible obstructive airway disease and for the prevention of exercise-induced

bronchospasm in patients aged 4 years and older.

            614.   Bronchospasms are the tightening and narrowing of the airways in the lungs

causing difficulty in breathing. Asthma attacks can lead to death, but can be avoided with proper

treatment and care. Access to affordable albuterol inhalers is a critical pharmacologic therapy


376
   See HHS OIG, How Part D Plans' Preference for Higher Cost Hepatitis C Drugs Affects
Medicare Beneficiaries, OIE-BL-21-00200, https://oig.hhs.gov/reports-and-
publications/workplan/summary/wp-summary-0000579.asp.
377
      Id.
378
      Id. (emphasis added).



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used to treat asthma symptoms and to ease breathing by opening airways during an asthma attack.

       615.     GSK manufactures albuterol sulfate inhalation aerosol under the brand-name

Ventolin HFA.

                1. CVS Health Entered into SSG/DNS Deal to Facilitate Evergreening of GSK’s
                   Ventolin HFA Product

       616.     Ventolin was first approved by the FDA in 1981, with a generic form approved in

1995. At the time it was approved, Ventolin used chlorofluorocarbons (CFCs) as a propellant.

CFCs were banned by the FDA for use as a propellant in 2008 as ozone-depleting substances. 379

GSK thereafter switched to the propellant hydrofluoroalkane (HFA). The FDA 2008 change all

but eliminated generic competition for albuterol inhalers like Ventolin HFA, substantially

increasing out-of-pocket costs for the drug, resulting in huge profits for GSK. 380

       617.     GSK engaged in patent “evergreening” with Ventolin HFA, obtaining 15 secondary

patents on the product delivery mechanism, artificially recycling and repurposing its Ventolin

product with a new delivery mechanism to extend the product’s patent cliff. 381 GSK’s primary

patent on Ventolin HFA eventually expired on February 24, 2019.

       618.     As part of its efforts to extend its exclusivity, on January 15, 2019, GSK announced


379
   Making the Switch: Prepare your patients for the phase-out of CFC-propelled albuterol
inhalers, FDA (Dec. 4, 2015), https://www.fda.gov/drugs/resources-you-drugs/making-switch-
prepare-your-patients-phase-out-cfc-propelled-albuterol-inhalers.
380
   Anupam Jena, Oliver Ho, Dana Goldman, The Impact of the US Food and Drug
Administration Chlorofluorocarbon Ban on Out-of-pocket Costs and Use of Albuterol Inhalers
Among Individuals With Asthma, 175 JAMA Intern Med. 1171-1179 (July 2015),
https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/2293081.
381
   Reed Beall, Jason Nickerson, Warren Kaplan, Amir Attaran, Is Patent “Evergreening”
Restricting Access to Medicine/Device Combination Products?, 11 PLOS One (Feb. 24, 2016),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4766186/; Robin Feldman, May your drug price
be evergreen, 5 Journal of Law and the Biosciences 590 (Dec. 7, 2018),
https://academic.oup.com/jlb/article/5/3/590/5232981.



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that Prasco would begin selling an authorized generic version of its Ventolin HFA (albuterol)

inhalation aerosol. The authorized generic would be manufactured by GSK and sold by Prasco. 382

The only difference would be that there would be a different name on the label.

        619.   Prasco’s authorized generic for Ventolin HFA had a wholesale acquisition cost

(WAC) of $36.00, representing a ~35% reduction in WAC cost compared to Ventolin HFA.

        620.   Prasco promotes itself as a leading manufacturer of authorized generics. It states
that:

        An Authorized Generic (AG) is the brand prescription product sold in private label
        packaging at generic prices. The AG is identical to the brand in every way; meaning
        that unlike standard generics, it contains the exact same active and inactive
        ingredients as the brand. And with the same shape, color, size, smell, taste and
        mouth feel, the AG provides a patient with the same overall experience as the brand
        product.

        621.   Publicly, CVS Health claims it is opposed to evergreening. On April 10, 2019, in

written comments to questions from Representative Jeff Duncan (R-SC) before the House

Oversight Committee, Thomas Moriarty, Executive VP, Chief Policy and External Affairs Officer,

and General Counsel, had testified that: “[CVS Health] believes that patent evergreening is a

problem generally in the pharmaceutical industry. For that reason we have recently endorsed a bill

introduced by Senators Cornyn and Blumenthal, the Affordable Prescriptions for Patients Act,

which would give FTC the authority to review pharmaceutical patenting practices.” 383

        622.   Executive VP Rice made similar comments before the Senate Finance Committee




382
   OptumRx, Ventolin® HFA (albuterol) – First-time generic, available at
https://professionals.optumrx.com/content/dam/optum3/professional-optumrx/news/rxnews/new-
generics/newgenerics_ventolinhfa_2019-0117.pdf.
383
   Written comments of Thomas Moriarty, Priced Out of Lifesaving Drugs: Getting Answers on
the Rising Cost of Insulin, Committee on Energy and Commerce Subcommittee on Oversight
(April 10, 2019).



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the day before, telling the Committee that Congress should prevent “evergreening,” which “would

prevent brand manufacturers from artificially maintaining monopolies and lower costs long

term.” 384

        623.   Even though CVS Health claims it supports ending evergreening, 385 arguing it had

PBM “tools to lower drug prices,” privately it has entered into anticompetitive agreements with

SSG/DNS Drug Makers which in actuality have enabled these practices to continue, blocking

access to less costly generics in favor of more expensive brand-name drugs.

        624.   Ventolin HFA is one such example. Two months before Moriarty and Rice had

testified to Congress that CVS Health opposed evergreening, CVS Caremark had entered into an

agreement with GSK, requiring SilverScript add Ventolin HFA to the SSG/DNS Scheme effective

February 7, 2019. Not only were prescription claims for the generic albuterol to be blocked by

SilverScript, the Executive Committee decided on February 18, 2019 that the CVS Pharmacies

would stop stocking the generic as well. This has meant not only that the authorized generic of

Ventolin HFA was unavailable to SilverScript beneficiaries who filled scripts at the CVS

Pharmacies, but also would not have been available to the 45 million Part D beneficiaries, many

of whom would have filled their prescriptions at a CVS Pharmacy.

        625.   These blocking measures were highly controversial among the CVS Health

leadership, with Relator and numerous others complaining that this could create serious access

issues for patients needing the less costly generic version of the rescue inhaler Ventolin HFA.



384
     Written comments of Derica Rice, Drug Pricing In America: A Prescription For Change, Part
Iii, Committee On Finance United States Senate, S. Hrg. 116-415 (April 9, 2019).
385
   Lowering drug prices for consumers and clients, CVS Health,
https://www.cvshealth.com/about-cvs-health/public-policy/lower-drug-prices-for-consumers-
and-clients; Making Medications More Affordable, CVS Health website.



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There were concerns that blocking the generic would result in “[h]igher cost share for clients and

members if they fill brand Ventolin” which would drive “questions/issues from clients.” 386 If the

“impact occurs on a weekend, members will be forced to go to another pharmacy or will be without

a rescue inhaler until Dr can be reached” to write a new prescription. 387

            626.   Not only that, but there were concerns that the collusion between SilverScript, CVS

Caremark, and the CVS Pharmacies to block the generic Ventolin HFA could be an explicit

violation of the firewall obligations with the FTC. For example, there were concerns that this

would “cause noise” not just from SilverScript members, but from the rest of CVS Health’s Part

D business managed by CVS Caremark because not only was the generic Ventolin HFA not being

stocked in CVS mail and retail pharmacies, 388 there were concerns with “associated sensitivity

with CMS” 389 and the “increased calls to Customer Care.” 390

            627.   However, because of the richness of the rebate for the brand, CVS Health senior

leadership on the Executive Committee decided it would not stock the Ventolin HFA generic in

its pharmacies – essentially blocking the ability for many beneficiaries in the plan to have access

to the less costly generic versions of this critical drug.

                   2. SilverScript Deception Blocked Access to the Less Costly Generic Ventolin
                      HFA (albuterol sulfate HFA)

            628.   After Ventolin HFA was added to the SSG/DNS Scheme effective February 7,

2019, SilverScript CCRs were directed to tell beneficiaries:


386
      Exhibit 65 (CVS-000020).
387
      Id.
388
      Id (CVS-000015).
389
      Id. at CVS-000016.
390
      Id. at CVS-000018.


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         Generic prescription drugs are typically the lowest-cost option when compared to
         branded prescription drugs. SilverScript promotes the use of generic prescription
         drugs to help plan beneficiaries save money. During the initial launch phase for the
         generic, there will be few manufacturers marketing the generic and the cost of the
         generic is expected to be relatively high. To help keep out-of-pocket costs low,
         SilverScript is retaining brand VENTOLIN® HFA on its formulary on Preferred
         Brand Tier (Tier 3). VENTOLIN is eligible for a manufacturer discount in the
         coverage gap. 391

This is misleading. Authorized generics are eligible for the Coverage Gap discount program since

they are NDA “applicable” drugs. 392 The statement about keeping out-of-pocket costs low is a lie.

The generic drug option(s) are already lower cost to the member and Medicare than the brand

Ventolin HFA in many cases.

         629.   SilverScript CCRs were also trained to say:

         Retaining brand VENTOLIN HFA on Preferred Brand Tier (Tier 3) can help keep
         out-of-pocket costs low for SilverScript beneficiaries. Beneficiaries have the
         option to request an exception if they wish to obtain albuterol sulfate inhalation
         aerosol. However, exception requests for non-formulary prescription drugs, if
         approved, are typically approved for coverage at the highest cost share level. Brand
         VENTOLIN HFA is available at the Preferred Brand Tier (Tier 3)
         copay/coinsurance, so if the request for the generic is granted, the beneficiary
         would pay the amount associated with the plan’s exception tier. This may be a
         different cost than the brand. 393

The statement about keeping out-of-pocket costs low was false. Keeping the brand would not have

resulted in lower out-of-pocket costs for beneficiaries and Medicare Part D. The exception request

statement intentionally is meant to discourage beneficiaries from asking for a formulary exception

by using the language “highest cost share level.”



391
      Exhibit 61 (CVS-000294).
392
    CMS, Medicare Coverage Gap Discount Program Beginning in 2011: Revised Part D Sponsor
Guidance and Responses to Summary Public Comments on the Draft Guidance (May 21, 2010),
at 4.
393
      Exhibit 61 (CVS-000293-302).



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            630.   When beneficiaries asked whether Ventolin HFA would cost more than albuterol

sulfate inhalation aerosol in any stage of the Medicare D benefit, they were to tell subsidy

members: “Maybe. In the Catastrophic Coverage Stage of the benefit, you will continue to receive

VENTOLIN HFA at no cost. If you have not yet reached the Catastrophic Coverage Stage, you

might have to pay your brand-name copayment for VENTOLIN HFA until you reach the

Catastrophic Coverage Stage.” 394          This was misleading because comparative costs are not

provided, leaving beneficiaries without information to determine the actual impact. A truthful

response would have been:

      •     The cost to LIS 1/LIS 2 beneficiaries in the initial coverage stage for CY2019 is

            $8.50/$3.80 for the brand and $3.40/$1.25 for the generic albuterol sulfate inhalation

            aerosol.

      •     Beneficiaries will pay $0 for both the brand and the generic albuterol sulfate inhalation

            aerosol in the Catastrophic Coverage stage.

      •     In all scenarios for LIS 1 & 2 in 2019, the generic albuterol sulfate inhalation aerosol would

            have been less expensive for the beneficiary and Medicare.

            631.   When beneficiaries asked why brand-name VENTOLIN HFA is the only choice on

the SilverScript formulary when there is now a generic albuterol sulfate inhalation aerosol

available, SilverScript CCRs were to respond:

            In this case, the price of the generic version of VENTOLIN HFA will likely be
            similar to the price of the brand version for a minimum of six months, and perhaps
            longer. There are few manufacturers of the generic version of VENTOLIN HFA to
            drive the price down. Until there are competitors and the price of the generic




394
      Id.



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            version goes down, your plan will continue to cover brand-name VENTOLIN HFA
            at the Preferred Brand Tier (Tier 3) cost share in 2019. 395

This is a lie. The generic albuterol sulfate inhalation aerosol was, in fact, already lower in price

for most beneficiaries. There was no need to wait for there to be multiple generic manufacturers

to drive the price down.

            632.   When beneficiaries asked why they cannot get the generic albuterol sulfate

inhalation aerosol, the response they were to give was: “When a generic version is first available,

it is typically similar in price to the brand version. At this time the generic version, called albuterol

sulfate inhalation aerosol, is not on the formulary. You do have the option to request a formulary

exception. However, exception requests for non-formulary prescription drugs, if approved, are

typically approved for coverage at the highest cost share level.” 396 This was false. Keeping the

brand as the only formulary choice would not have resulted in lower out-of-pocket costs for most

beneficiaries in all stages and Medicare (payor) in the ICL and Catastrophic Coverage Stages and

some scenarios for the Catastrophic Coverage Stage. Moreover, beneficiaries were discouraged

from asking for a formulary exception by using the language “highest cost share level.”

            633.   When they were asked how long the brand-name Ventolin HFA would remain the

only SilverScript formulary option, they were to tell beneficiaries:              “We anticipate that

VENTOLIN HFA will remain on the formulary on the Preferred Brand Tier (Tier 3) in 2019 until

the price of the generic form of VENTOLIN HFA drops. We anticipate it will be a minimum of

six months, however that is based on market conditions not within our control and could




395
      Id.
396
      Id.



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change.” 397

            634.   This was deceptive. By February 2019, the GoodRx price of the generic was $52.13

compared to the brand Ventolin HFA price of $63.29, already making the generic a lower cost

option for both the beneficiary and Medicare. The decision to keep the brand Ventolin HFA as

the only choice on the SilverScript formulary was not driven by market conditions, but CVS

Health’s own profit motives. Likewise, it was a lie and deceptive to say that the market conditions

were not “within our control” when it was CVS Caremark’s agreement with GSK that was the

cause for the delay in the formulary access to the less costly generic drug albuterol sulfate

inhalation aerosol. The market conditions were thus completely within its control.

            635.   When beneficiaries asked whether they could request a coverage determination to

receive the less costly generic, SilverScript CCRs were expected to say: “Yes, you as the

beneficiary may request a coverage determination for albuterol sulfate inhalation aerosol.

However, exception requests for non-formulary prescription drugs, if approved, are typically

approved for coverage at the highest cost share level.” 398 This was misleading and intended to

discourage beneficiaries from asking for a formulary exception. A formulary exception for the

generic albuterol sulfate inhalation aerosol would have been approved at the highest tier (Tier 4)

which is the same tier/cost share 40% as the brand.

                   3. Beneficiary No. 12

            636.   On February 9, 2019 (two days after the Ventolin HFA scheme started), Beneficiary

No. 12 (a 74-year-old woman from Michigan) filled a prescription for the generic albuterol HFA

at her pharmacy. Her copay was $18.89 and plan cost was $28.34. The claim record shows that


397
      Id.
398
      Id.



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her pharmacy filled Beneficiary No. 12’s prescription and submitted the claim with DAW Code

0. 399

         637.    Shortly thereafter, she received a letter from SilverScript dated February 12, 2019,

stating that the Transition Fill of the generic was only a one-time fill because the drug was not

covered on the formulary. 400

         638.   When she later filled the Ventolin HFA prescription, the claim record shows that

her pharmacy filled her Ventolin HFA prescription and submitted the claims with a “2 –
                                                                        401
PATIENT” code, indicating that the patient had requested the brand.

         639.   Here, as evidenced by Beneficiary No. 12’s prior use of the generic, there is little

reason to believe she had actually requested the brand Ventolin HFA, but was required to choose

the brand because CVS Health did not include the generic on its formulary. Thus, a DAW 2 code

in the PDE record in support of the SilverScript payment for Beneficiary No. 12 was untruthful,

inaccurate and incomplete.

         640.   Furthermore, because her Ventolin HFA prescription was filled at a pharmacy

located in Michigan, where state law requires that the pharmacy must dispense the generic when

the patient requests it (MCL 333.17755), CVS Health violated the State law requirement that the

prescription be substituted with a less costly generic.

                4. CVS Health Rejected Thousands of Beneficiaries from Receiving Access to
                   the Less Costly Generic Ventolin HFA (albuterol sulfate inhalation aerosol)

         641.   Following the implementation of the SSG/DNS Scheme for Ventolin HFA, CVS

Health has routinely rejected thousands of beneficiary attempts to obtain access to the less costly


399
      Exhibit 62 (CVS-002814).
400
      Exhibit 63 (CVS-002809).
401
      Exhibit 64 (CVS-002813).


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generic.

       642.    Attached hereto as Exhibit 65 is a representative sampling of 502 patients who

sought access to the less costly generic albuterol sulfate inhalation aerosol through a Transition

Fill between February 7, 2019 and February 13, 2019, the first week of the SSG/DNS Scheme,

only to have their subsequent claims blocked in favor of the much more expensive brand-name

Ventolin HFA. The list includes 165 patients where the prescription would have been filled in a

mandatory substitution State.

       643.    Each of these beneficiaries was sent CVS Health’s Transition Fill letter, stating that

the Transition Fill of the generic was only a one-time fill because the drug was not covered on the

formulary, and was required to use the brand Ventolin HFA thereafter.

       644.    The result of this charade not only deceived beneficiaries, it resulted in significant

increased profits to CVS Health while dumping huge additional costs onto taxpayers and Part D

beneficiaries, thereby violating the FTC Consent Order that it would not, directly or indirectly,

make deceptive claims about the price or cost of Medicare Part D prescription drugs.



       645.    Mesalamine rectal suppository or is used to treat inflammatory bowel disease,

including ulcerative colitis and Crohn’s disease. Allergan manufactures mesalamine rectal

suppositories under the brand-name Canasa rectal suppositories 1000 mg.

       646.    Canasa is manufactured by Aptalis Pharma, a wholly owned subsidiary of Allergan,

now owed by AbbVie.

       647.    On November 11, 2015, Aptalis entered into a pay-for-delay settlement agreement

resolving patent infringement litigation with Mylan. Under the terms of the settlement agreement,

Mylan would be able to launch its generic version of Canasa on December 15, 2018, or earlier

under certain circumstances. Aptalis also entered into settlement agreements with Sandoz, PSP,


                                                211
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Inc., and Zydus, allowing them to begin marketing generic versions of Canasa in June 2019.

         648.   Mylan began selling a generic of Canasa on December 17, 2018. Numerous other

generics came on the market shortly thereafter.

         649.   CVS Caremark shortly thereafter entered into an agreement with Allergan,

requiring that SilverScript add Canasa to the SSG/DNS Scheme on February 22, 2019, blocking

access not only to the authorized generic, but to all other generics on that market.

                1. SilverScript Blocked Access to the Less Costly Generic Canasa (mesalamine-
                   sofoamine)

         650.   SilverScript CCRs were provided materials and training telling them to explain the

situation to beneficiaries as follows:

         During the initial launch phase for the generic, there will be few manufacturers
         marketing the generic and the cost of the generic is expected to be relatively high.
         To help keep out-of-pocket costs low, SilverScript is retaining brand CANASA®
         RECTAL SUPPOSITORY on its formulary on Non-Preferred Drug Tier (Tier 4).
         CANASA is eligible for a manufacturer discount in the coverage gap. SilverScript
         will continue to keep the brand version of CANASA RECTAL SUPPOSITORY on
         the formulary and will NOT be adding the generic version until further notice. 402

The CCR statement about cost of the generic mesalamine rectal suppository was false. The generic

drug option(s) were lower cost to the member and Medicare Part D than the brand Canasa.

         651.   SilverScript CCRs were also to tell members that:

             Retaining brand CANASA RECTAL SUPPOSITORY on Non-Preferred Drug
             Tier (Tier 4) can help keep out-of-pocket costs low for SilverScript
             beneficiaries. NOTE: The generic equivalent mesalamine rectal suppository is
             NOT on the formulary until further notice.

                •   Beneficiaries have the option to request an exception if they wish to
                    obtain mesalamine rectal suppository.

                •   However, exception requests for non-formulary prescription drugs, if
                    approved, are typically approved for coverage at the highest cost share


402
      Exhibit 66 CVS-000562-572).



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                       level.

                   •   Brand CANASA RECTAL SUPPOSITORY is available at the Non-
                       Preferred Drug Tier (Tier 4) copay/coinsurance, so if the request for the
                       generic is granted, the beneficiary would pay the amount associated
                       with the plan’s exception tier. This may be a different cost than the
                       brand. 403

The statement in the CCR script about keeping out-of-pocket costs low was false. Canasa was at

the time a Tier 4 drug. A formulary exception would also have been approved for Tier 4. Keeping

the brand-name drug as the only SilverScript formulary option would not have resulted in lower

out-of-pocket costs. In addition, telling beneficiaries that a formulary exception would be at the

“highest cost share level” was intended to discourage them from asking for the exception. This

was deceptive. A formulary exception would also have been available with the Tier 4 coinsurance,

almost always resulting in a lower cost for the generic.

            652.   If SilverScript CCRs were asked whether the Canasa Rectal Suppository would

ever cost more at any stage for LIS beneficiaries, they were to respond:

            Maybe. In the Catastrophic Coverage Stage of the benefit, you will continue to
            receive CANASA RECTAL SUPPOSITORY at no cost. If you have not yet
            reached the Catastrophic Coverage Stage, you might have to pay your brand-name
            copayment for CANASA RECTAL SUPPOSITORY until you reach the
            Catastrophic Coverage Stage. 404

This was misleading because comparative costs are not provided to subsidy members, leaving

them without information to determine actual cost differences.             If they had been truthful,

SilverScript CCRs would have told LIS beneficiaries:

      •     The cost to LIS 1 beneficiaries in the initial coverage stage for CY2019 is $8.50 for the

            brand and $3.40 for the generic mesalamine rectal suppository. Beneficiaries will pay $0



403
      Id.
404
      Id.


                                                   213
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             for both the brand and the generic in the Catastrophic Coverage stage.

      •      Medicare Part D will pay $418.22 for the brand ($426.72 - $8.50) and $312.87 for the

             generic mesalamine rectal suppository ($316.27 - $3.40) in the ICL stage.

      •      Medicare Part D will pay $258.20 for the brand ($266.70 - $8.50) and $289.25 for the

             generic ($292.55 - $3.40) for the generic mesalamine rectal suppository in the Coverage

             Gap (where applicable).

      •      Medicare Part D will pay $53.34 for the brand and $39.53 for the generic mesalamine rectal

             suppository in the Catastrophic Coverage stage (full amount of beneficiary’s cost) in

             addition to 80% of the cost of either drug for the Medicare portion of the cost of the drugs

             in this stage.

             653.    If they were asked why the brand Canasa Rectal Suppository is only choice on the

SilverScript formulary when there is a generic mesalamine rectal suppository available,

SilverScript CCRs were to respond:

             In this case, the price of the generic version of CANASA RECTAL
             SUPPOSITORY will likely be similar to the price of the brand version for a
             minimum of six months, and perhaps longer. There are few manufacturers of the
             generic version of CANASA RECTAL SUPPOSITORY to drive the price down.
             Until there are competitors and the price of the generic version goes down, your
             plan will continue to cover brand-name CANASA RECTAL SUPPOSITORY at
             the Non-Preferred Drug Tier (Tier 4) cost share in 2019. 405

The CCR statement about how long it will take for the generic mesalamine rectal suppository price

to come down was false. The generic mesalamine was already much lower in price for most

beneficiaries. There was no need to wait for there to be multiple generic manufacturers to drive

the price down.




405
      Id..



                                                     214
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            654.   If asked why they could not get a generic, SilverScript CCRs were directed to say:

            At this time the generic version, called mesalamine rectal suppository, is not on the
            formulary. You do have the option to request a formulary exception. However,
            exception requests for non-formulary prescription drugs, if approved, are typically
            approved for coverage at the highest cost share level. 406

This was misleading. While this statement may have been true for some newly released generics,

the generic for Canasa had been on the market for almost three years and was available at a lower

cost option for beneficiaries. The CCR statement about the exception requests is a lie intended to

discourage beneficiaries from asking for a formulary exception. A formulary exception for the

generic mesalamine rectal suppository would have been approved at the highest tier (Tier 4) which

is the same tier/cost share 34% as the brand.

            655.   If asked how long the brand Canasa would be the only SilverScript formulary

option, they were expected to respond:

            We anticipate that CANASA RECTAL SUPPOSITORY will remain on the
            formulary on the Non-Preferred Drug Tier (Tier 4) in 2019 until the price of the
            generic form of CANASA RECTAL SUPPOSITORY drops. We anticipate it will
            be a minimum of six months, however that is based on market conditions not within
            our control and could change. 407

            656.   The CCR statement about generic pricing was misleading. By February 2019, the

GoodRx price of the generic was $332.75 compared to the brand Canasa price of $1,213.43,

already making the generic a lower cost option for both the beneficiary and Medicare Part D.

            657.   The decision to keep the brand Canasa Rectal Suppository as the only choice on the

SilverScript formulary was not driven by market conditions, but by CVS Health’s own profit

motives. Likewise, it was a lie and deceptive to say that the market conditions were not “within



406
      Id.
407
      Id.



                                                    215
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our control” when it was CVS Caremark’s agreement with Allergan that was the cause for the

delay in the formulary access to the less costly generic drug mesalamine rectal suppository. The

market conditions were thus completely within its control. Moreover, given the fact that there were

as of 2019 seven competing generics (Amneal, Amring, Annora, Mylan, Pharmaceutical Sourcing

Partners, Sandoz, Zydus), there was simply no reasonable explanation (other than greed) why

Canasa remained the only SilverScript formulary option.

         658.   If beneficiaries asked whether they could submit a coverage determination for the

generic, they were to respond: “Yes, you as the beneficiary may request a coverage determination

for mesalamine rectal suppository. However, exception requests for non-formulary prescription

drugs, if approved, are typically approved for coverage at the highest cost share level.” This was

deceptive and intended to discourage beneficiaries from asking for a formulary exception. A

formulary exception for the generic would have been approved at the highest tier (Tier 4) which is

the same tier/cost share 40% as the brand.

                2. Beneficiary No. 13

         659.   Even for those who were explicitly looking for less costly options, CVS Health

concealed information about a beneficiary’s right to request the generic version and has flatly

misinformed them that there are no other options.

         660.   For example, Beneficiary No. 13 (a 65-year-old woman) was a cost-conscious

senior from the beginning looking for less costly options. When Beneficiary No. 13 first called to

submit her prescription for Canasa to the pharmacy, she was told that Canasa would cost her $1,711

out of pocket. In response, Beneficiary No. 13 exclaimed “God, that’s terrible, I mean, I’m on

Medicare and stuff.” Beneficiary No. 13 flatly said that she “can’t afford a thousand dollars.” 408


408
      Exhibit 67 CVS-001526.



                                                216
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            661.   Even after being transferred yet again, Beneficiary No. 13 was not told about her

option to apply for a coverage determination for the formulary exception. Instead of telling her

that a formulary exception might be available, the SilverScript CCRs discussed Beneficiary No.

13’s options to apply for Medicare subsidy (Extra Help) or to look for a manufacturer discount

(even though the manufacturer discounts were of no use because they cannot be used with

Medicare). 409

            662.   Throughout the calls, all of the SilverScript CCRs should have been able to see that

there was an alternative and should have known that Beneficiary No. 13 had the right to request a

coverage determination for the formulary exception for any drugs that are not covered by the PDP.

            663.   These were clearly requests for a formulary exception. However, it would appear

SilverScript did not want them filed so it could conceal the SSG/DNS Scheme.

            664.   Eventually, CVS Health’s efforts prevailed and Beneficiary No. 13 gave up trying

to get less costly options. As Beneficiary No. 13 said: “I mean, ‘I’m gonna have to pay it. One way

or the ... If I’m gonna continue on the Canasa, I’m gonna have to pay it…. Right now, it’s over

$1700 for a 3-month supply, which people can’t afford that!” 410

            665.   A large part of her motivation for giving in to the higher price was that her doctor

told her she may develop cancer without the drug. As Beneficiary No. 13 explained to the

SilverScript CCRs: “I know I have to take [Canasa] because she [her doctor] said it could develop

into cancer if I didn’t take it.” Even this did not deter CVS Health. 411




409
      Id.
410
      Exhibit 68 (CVS-001553).
411
      Exhibit 69 (CVS-001568).



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         666.   Throughout, Beneficiary No. 13 repeatedly told the representatives that her doctor

had let her know that Canasa (a drug she had been taking for 10 to 15 years) was her only

alternative, mentioning that her prescription had run out three weeks before. She repeatedly told

the representatives she could not afford her copay, and would have to consider skipping doses

instead of using it daily as required.

         667.   This is non-compliant with CMS rules and regulations, and was by definition a

coverage determination request for the generic Canasa. What happened to Beneficiary No. 13 is

exemplary of thousands of instances where SilverScript denied beneficiaries access to their rights

under Medicare.

         668.   Beneficiary No. 13’s story shows the impact of CVS Health’s scheme to make sure

that its beneficiaries only had access to the brand-name version of the SSG/DNS Drugs. Even

though Beneficiary No. 13 was an elderly beneficiary who battled through multiple phone transfers

between different SilverScript CCRs (all of whom she told she could not afford the medication

that she needed to prevent developing cancer), the CCR response was the same. No one at CVS

Health gave her any less costly options which should have been readily available.

         669.   In addition to failing to provide Beneficiary No. 13 information about availability

and cost of lower-priced generic options, her Canasa prescription was filled in a violation of State

law requiring generic substitution. The claim record shows that CVS Caremark Prescription

Service WBP, was located in Pennsylvania, a mandatory substitution State, filled Beneficiary No.

13’s Canasa prescription and submitted the claim with DAW Code 0. 412

         670.   While Code 0 is the “default,” NCPDP makes clear that, for “a multi-source




412
      Exhibit 70 (CVS-001788).



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branded product with available generic(s), DAW 0 is not appropriate, and may result in a reject.”

(emphasis added)

         671.   CVS Caremark’s own “Caremark Participating Pharmacy Administrative Manual”

includes guidance on DAW Codes as well. As the manual says, “CAREMARK supports the

NCPDP standard (Dispense As Written) DAW codes. To ensure accurate reimbursement, always

include the correct (DAW) code when you submit a claim.” 413

         672.   By not substituting the less costly generic version of the prescription, CVS caused

false claims to be submitted in two ways: (1) the unsubstituted claims are invalid prescriptions

under Pennsylvania state mandatory substitution law and thus not eligible for reimbursement by

the SilverScript PDP, and (2) using DAW Code 0 in this instance makes the PDE record and

statement in support of the SilverScript payment untruthful, inaccurate and incomplete.

                3. Beneficiary No. 14

         673.   On March 20, 2019, Beneficiary No. 14 (a 62-year-old male paraplegic) called

Customer Care to ask about the high cost of Canasa Suppositories. Beneficiary No. 14 explained

to the CCR that the high cost of the medication had prevented him from filling his prescription

previously (“And so, at first, I just didn’t get it filled because I couldn’t afford it.”). Despite his

cost concerns, Beneficiary No. 14 indicated that he needed the medication because other forms of

the medication (i.e., an enema) would not work for him as a wheelchair-bound paraplegic and has

“a lot of medical things.” 414

         674.   On the call, Beneficiary No. 14 said that he wanted to know why his previous efforts

to fill his prescription for mesalamine rectal suppository (the generic version of Canasa) were


413
      Exhibit 1 (CVS-002944).
414
      Exhibit 71 (CVS-001578).



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rejected. The CCR merely said that there is a note in the system to dispense the brand-name Canasa

instead of the generic mesalamine rectal suppository. This was even though the claim detail screen

in the Customer Care system specifically instructed the SilverScript CCRs to “DISCUSS GNRC

SAVINGS OPPORTUNITY W/MBR.” 415

         675.   These conflicting instructions in the CCR script show how the systems used at CVS

Health were often not in alignment given the multiple business units involved. In some areas of its

CVS Health claims system, the representatives could see that less costly generics were available,

but in other areas they were seeing that the brand-name SSG Drug should be dispensed and/or the

generic is not covered. The sheer confusion of this environment acted as a barrier to beneficiaries

getting clear options and information about overall cost impact.

         676.   Instead of working to help Beneficiary No. 14 get the appropriate medication at a

price he could afford, the CCR only offered asking for tiering exception to try to get the brand-

name Canasa at a less costly price. But, Canasa is not eligible for a tiering exception so this request

was ultimately denied. 416 When Beneficiary No. 14 contacted CVS Health yet again, he was told

that the generic mesalamine was not covered under his SilverScript plan.

         677.   Again, despite numerous opportunities, Beneficiary No. 14 was never told about

the option to request a coverage determination to get a formulary exception. This deception

ensured that only the brand-name medication would get filled at an plan cost of $644.32 and patient

copay of $527.16.

         678.   This is non-compliant with CMS rules and regulations, and was by definition a




415
      Exhibit 72 (CVS-001800).
416
      Exhibit 71 (CVS-001578).



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coverage determination request for the generic Canasa. What happened to Beneficiary No. 14 is

exemplary of thousands of instances where SilverScript denied beneficiaries access to their rights

under Medicare.



       679.    Fluticasone-salmeterol inhalation powder is used to control and prevent symptoms

(wheezing and shortness of breath) caused by asthma or ongoing lung disease (chronic obstructive

pulmonary disease-COPD, which includes chronic bronchitis and emphysema). It contains

2 medications: fluticasone and salmeterol. GSK manufactures fluticasone-salmeterol inhalation

powder under the brand-name Advair Diskus.

       680.    Asthma impacts more than 20 million adults and 6 million children in the United

States. 417 Since its arrival on the market in 2001, by 2018 Advair Diskus had surpassed $100 billion

in sales for GSK. 418 Though the medication’s patent had expired in 2010, the company protected

its blockbuster drug by obtaining patents on the diskus delivery system. 419

       681.    Keeping Advair Diskus as the only SilverScript formulary option for SilverScript

beneficiaries has had a direct impact on patient care. The price of Advair Diskus — often more

than $300 a month — has meant that many patients often cannot afford the drug. When patients

have been forced to skip doses because they cannot afford the cost of Advair Diskus, that means



417
   Centers for Disease Control and Prevention,
https://www.cdc.gov/asthma/most_recent_national_asthma_data.htm.
418
    James Paton, Glaxo's Advair Is the $100 Billion Asthma Drug That Won't Die, Bloomberg
(May 4, 2018), https://www.bloomberg.com/news/articles/2018-05-04/glaxo-s-advair-is-the-100-
billion-asthma-drug-that-won-t-die.
419
    Ben Hirschler, In fight for GSK's Advair, generic firms step carefully on price, Reuters (June
3, 2016), https://www.reuters.com/article/us-gsk-advair/in-fight-for-gsks-advair-generic-firms-
step-carefully-on-price-idUSKCN0YP1E0.



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more emergency room visits, use of powerful “rescue” medications and hospitalizations,

said Christopher Fanta, a lung specialist at Harvard-affiliated Brigham & Women’s Hospital in

Boston. 420

            682.   On January 30, 2019, the FDA approved Mylan’s first generic version of Advair

Diskus. 421 Mylan launched its generic on February 12, 2019. 422

            683.   On February 8, 2019, GSK announced that Prasco had launched an authorized

generic version of its Advair Diskus. 423 As part of the launch, Prasco stressed the identical nature

of the authorized generic product: ““The Prasco authorized generic, fluticasone propionate and

salmeterol Inhalation Powder will provide patients with the same quality and experience as the

brand product. A unique and exciting part of this launch is that the DISKUS inhaler itself will also

be identical. . . . We are grateful to expand our relationship with a leader in the industry like

GSK.” 424




420
    James Paton, Glaxo's Advair Is the $100 Billion Asthma Drug That Won't Die, Bloomberg (May
4, 2018), https://www.bloomberg.com/news/articles/2018-05-04/glaxo-s-advair-is-the-100-
billion-asthma-drug-that-won-t-die.
421
     See Press Release, FDA approves first generic Advair Diskus (Jan. 30, 2019),
https://www.fda.gov/news-events/press-announcements/fda-approves-first-generic-advair-
diskus.
422
    Press Release, Mylan Launches Wixela™ Inhub™ (fluticasone propionate and salmeterol
inhalation powder, USP), the First Generic of ADVAIR DISKUS® (fluticasone propionate and
salmeterol inhalation powder), at a List Price 70% Less than the Brand (Feb. 12, 2019),
https://investor.mylan.com/news-releases/news-release-details/mylan-launches-wixelatm-
inhubtm-fluticasone-propionate-and.
423
   Prasco Laboratories, available at https://prasco.com/news/2019/prasco-launches-the-
authorized-generic-of-advair-diskus-(fluticasone-propionate-and-salmeterol-inhalation-
powder).html.
424
      Id.



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         684.   At the time, Mylan’s competing generic was priced on GoodRx at $135.74

compared to $421.27 for the brand, 70% less than Advair Diskus and 67% less than GSK’s

authorized generic product. 425

         685.   CVS Caremark shortly thereafter entered into an agreement with GSK, requiring

that SilverScript add Advair Diskus to the SSG/DNS Scheme on February 27, 2019.

                1. SilverScript Deception Blocked Access to the Less Costly Generic Advair
                   Diskus (fluticasone propionate and salmeterol inhalation powder)

         686.   When Advair Diskus was added to the SSG/DNS Scheme, SilverScript CCRs were

trained to tell beneficiaries that keeping the brand-name as the only SilverScript formulary option

would keep out-of-pocket costs low:

         Generic prescription drugs are typically the lowest-cost option when compared to
         branded prescription drugs. SilverScript promotes the use of generic prescription
         drugs to help plan beneficiaries save money. During the initial launch phase for the
         generic, there will be few manufacturers marketing the generic and the cost of the
         generic is expected to be relatively high. To help keep out-of-pocket costs low,
         SilverScript is retaining brand ADVAIR DISKUS® INHALATION AEROSOL
         POWDER BREATH ACTIVATED on its formulary on Preferred Brand Tier (Tier
         3). ADVAIR DISKUS is eligible for a manufacturer discount in the coverage
         gap. 426

This is misleading. Authorized generics are eligible for the Coverage Gap discount program since

they are NDA “applicable” drugs. 427 The generic drug option(s) were lower cost to the member

and Medicare in the Coverage Gap (where applicable) and Catastrophic Coverage Stages.



425
   Kristen Coppock, Generic Version of Advair Diskus Launched at Discounted List Price,
Pharmacy Times (Feb. 13, 2019), https://www.pharmacytimes.com/view/generic-version-of-
advair-diskus-launched-at-discounted-list-price.
426
      Exhibit 73 CVS-000515.
427
    CMS, Medicare Coverage Gap Discount Program Beginning in 2011: Revised Part D Sponsor
Guidance and Responses to Summary Public Comments on the Draft Guidance (May 21, 2010),
at 4.



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            687.     SilverScript CCRs were also told to say:

            Retaining brand ADVAIR DISKUS on Preferred Brand Tier (Tier 3) can help keep
            out-of-pocket costs low for SilverScript beneficiaries. . . . Beneficiaries have the
            option to request an exception if they wish to obtain fluticasone-salmeterol aerosol
            powder breath activated. However, exception requests for non-formulary
            prescription drugs, if approved, are typically approved for coverage at the highest
            cost share level. Brand ADVAIR DISKUS is available at the Preferred Brand Tier
            (Tier 3) copay/coinsurance, so if the request for the generic is granted, the
            beneficiary would pay the amount associated with the plan’s exception tier. This
            may be a different cost than the brand. 428

            688.     When beneficiaries inquire whether ADVAIR DISKUS will cost more than

fluticasone-salmeterol aerosol powder breath activated in any stage of the Medicare D benefit,

they were expected to provide the scripted misleading answer to LIS members: “Maybe. In the

Catastrophic Coverage Stage of the benefit, you will continue to receive ADVAIR DISKUS at no

cost. If you have not yet reached the Catastrophic Coverage Stage, you might have to pay your

brand-name copayment for ADVAIR DISKUS until you reach the Catastrophic Coverage

Stage.” 429 Because costs are not provided, beneficiaries are left without information to determine

the actual impact. If SilverScript CCRs had provided a truthful response, they would have told

LIS beneficiaries:

      •     The cost to LIS1/LICS2 beneficiaries in the initial coverage stage for CY2019 is

            $8.50/$3.80 for the brand and $3.40/$1.25 for the generic mesalamine rectal suppository.

      •     Beneficiaries will pay $0 for both the brand and the generic in the Catastrophic Coverage

            stage.

      •     In ICL for LIS 1 & 2 in 2019, the brand would have been less expensive for Medicare Part




428
      Id.
429
      Id.



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            D.

      •     In Coverage Gap and Catastrophic coverage scenarios for LIS 1 & 2 in 2019, the generic

            mesalamine rectal suppository would have been less expensive for the beneficiary and

            Medicare.

            689.   When SilverScript CCRs were asked why brand-name Advair Diskus is still the

only SilverScript formulary option when there is a generic available, they were trained to provide

a false answer:

            In this case, the price of the generic version of ADVAIR DISKUS will likely be
            similar to the price of the brand version for a minimum of six months, and perhaps
            longer. There are few manufacturers of the generic version of ADVAIR DISKUS
            to drive the price down. Until there are competitors and the price of the generic
            version goes down, your plan will continue to cover brand-name ADVAIR
            DISKUS at the Preferred Brand Tier (Tier 3) cost share in 2019. 430

Mylan’s generic fluticasone-salmeterol aerosol powder breath activated was, in fact, already much

lower in price for beneficiaries in the Coverage Gap (where applicable) and Catastrophic Coverage

Stages. There was no need to wait for there to be multiple generic manufacturers to drive the price

down.

            690.   In response to inquiries about why beneficiaries could not get the generic, their

canned response was misleading: “When a generic version is first available, it is typically similar

in price to the brand version. At this time the generic version, called fluticasone-salmeterol aerosol

powder breath activated, is not on the formulary. You do have the option to request a formulary

exception. However, exception requests for non-formulary prescription drugs, if approved, are

typically approved for coverage at the highest cost share level.” 431 Mylan’s generic fluticasone-



430
      Id.
431
      Id.



                                                   225
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salmeterol aerosol powder breath activated was already much lower in price for some beneficiaries

in the ICL stage and all beneficiaries in the Coverage Gap (where applicable) and Catastrophic

Coverage Stages. There was no need to wait for there to be multiple generic manufacturers. This

response was also intended to discourage beneficiaries from asking for a formulary exception

where the generic would be less expensive for many subsidy members in the Choice plan and all

members in the Allure plan.

            691.   If the question was how long Advair Diskus would remain the only option on the

SilverScript formulary, SilverScript CCRs were to say that “[w]e anticipate that ADVAIR

DISKUS will remain on the formulary on the Preferred Brand Tier (Tier 3) in 2019 until the price

of the generic form of ADVAIR DISKUS drops. We anticipate it will be a minimum of six months,

however that is based on market conditions not within our control and could change.” 432

            692.   This was misleading. As of February 2019, the GoodRx price of Mylan’s generic

was $135.74 compared to the price of the brand Advair Diskus of $421.27, already making the

generic a lower cost option for both the beneficiary and Medicare in the Coverage Gap (where

applicable) and Catastrophic Coverage Stages.

            693.   The decision to keep the brand Advair Diskus as the only choice on the SilverScript

formulary was not driven by market conditions, but by CVS Health’s own profit motives. As of

February 12, 2019, there were two generics being sold competing against Advair Diskus (Prasco,

Mylan). Even then the brand-name Advair Diskus remained the only choice on the SilverScript

Choice and Plus formularies. 433 Likewise, it was a lie and deceptive to say that the market



432
      Id.
433
   See 2020 SilverScript Choice Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_CHOICE_EN.pdf; 2020 SilverScript Plus



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conditions were not “within our control” when it was CVS Caremark’s agreement with GSK that

was the cause for the delay in the formulary access to the less costly generic drug fluticasone-

salmeterol aerosol powder breath activated. The market conditions were thus completely within

its control.

         694.   When members asked whether they could request a coverage determination to

receive the less costly generic, SilverScript CCRs were expected to respond: “Yes, you as the

beneficiary may request a coverage determination for fluticasone-salmeterol aerosol powder

breath activated. However, exception requests for non-formulary prescription drugs, if approved,

are typically approved for coverage at the highest cost share level.” 434 This was misleading and

intended to discourage beneficiaries from asking for a formulary exception which would help

reduce the cost of the generic vs the brand in the Coverage Gap (where applicable) and

Catastrophic Coverage Stages.

                2. Beneficiary No. 15

         695.   Beneficiary No. 15 is an example of a senior determined to get the less costly Mylan

generic Wixela because cost of the brand Advair Diskus would push her into the Part D Donut

Hole. She was blocked by SilverScript at every turn. She was first told by the CCR she might be

able to get a formulary exception for the generic (which turned out not to be true), then told that

the Wixela might be more expensive for her (in fact, Wixela was 70% less costly than the brand),

and finally told that the reason it was being blocked might be because it was unsafe (untrue).

         696.   On February 27, 2019, Beneficiary No. 15 (a 78-year-old retired nurse from



Comprehensive Formulary, available at
https://www.silverscript.com/pdf/FORM_2020_PLUS_EN.pdf.
434
      Exhibit 73 (CVS-000512-23).



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Massachusetts) had contacted SilverScript Customer Care and spoken with CCR Kandace

Thomas. Beneficiary No. 15 had earlier that day attempted get the generic Advair Diskus at her

pharmacy, but was told it was not covered on her formulary. During the call she asked the CCR

specifically why SilverScript would not give her access to the generic manufactured by Mylan,

Wixela, because she wanted to reduce her costs to avoid going into the Donut Hole on her Medicare

Part D plan. She objected to CVS Health blocking the generic because “that is wrong.” In

response, CCR Thomas told her she might be able to get a formulary exception because the generic

is not covered 435:

         Beneficiary No. 15:     Okay. I went to get my Advair Diskus, and I know that
                                 there's a generic available and it seems like SilverScript
                                 is not covering the generic and because it's not on the
                                 formulary and that is wrong. And I would like the Wixela.

         Kandace Thomas:         Okay. So you would prefer the generic?

         Beneficiary No. 15 : Yes. The pharmacy is supposed to offer me the generic
                              versus the preferred brand and the SilverScript should
                              not have anything to do with my preference with,
                              especially when there's a generic available. . . . And
                              another thing is the cost probably will be less costly and I
                              won't go in the Donut Hole maybe.

         Kandace Thomas:         Okay. Well, in this case, let's see. This brand, yeah so the
                                 generic is not on the formulary. And so I'm looking at it now
                                 and I do see here that the generic is not on the formulary. So
                                 in this case, the brand is preferred. In some cases they prefer
                                 the generics, but in this case, the brand is preferred. So are
                                 you wanting to see about trying to get the generic?

         Beneficiary No. 15:     Yes. Yes.

         Kandace Thomas:         Okay. So let's see. Okay. All right. So that would require, so
                                 what'll have to happen is called a formulary exception
                                 since this one is not on the formulary. We'll have to start
                                 the process to try and get this particular one on the
                                 formulary in your case. Okay. So that means I have to get


435
      Exhibit 74 (CVS-003007).


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                                 our Care Exception Review Team on the line. They'll speak
                                 with you, and then they'll get our Coverage Determination
                                 Team. And they'll let you know the steps from there. Okay?

         697.   CCR Thomas then discussed offline Beneficiary No. 15’s request with Keonna

Harmon on the Coverage Exceptions Review team, who explained that the generic was not

available because “anytime they say dispense brand, it’s something going on with that

medication” 436:

         Kandace Thomas:         She was trying to get her WIXELA INHUB filled, but she
                                 was told at the pharmacy that she had to use the brand-name,
                                 which [is] ADVAIR DISKUS. She's really upset about that.
                                 She wants to use the generic. She's wanting to get an
                                 exception on that one.

         Keonna Harmon:          She cannot use that medication. She has to use the brand.
                                 That's why it's saying dispense her the brand.

         Kandace Thomas:         She was saying it's wrong, and you can't tell me what to buy.
                                 She absolutely cannot get an exception on that WIXELA?

         Keonna Harmon:          No. That one, that medication, anytime they say dispense
                                 brand, it's something going on with that medication.

         698.   CCR Thomas then went back on the line with Beneficiary No. 15 to tell her that her

formulary exception request for Mylan generic would be denied, repeating CER Harmon’s

statement that “there’s something going on with the generic” 437:

         Kandace Thomas:         Yes. So I got the Care Exception Review Team on the line.
                                 And when I explained to them what was going on, you were
                                 wanting to get the Wixela covered, she had let me know
                                 that in cases where the note says dispense brand, you
                                 have to get the brand. She said there's no way you can get
                                 a formulary exception on that, because it's specifically
                                 saying. She said normally when they say that, that means
                                 there's something going on with the generic. So they
                                 prefer the brand.

436
      Exhibit 75 (CVS-003011).
437
      Exhibit 74 (CVS-003007).


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            699.   To deflect the caller’s concerns, CCR Thomas next explained to Beneficiary No.

15 that the generic would be more expensive than the brand Advair Diskus. However, Beneficiary

No. 15 challenged that the cost of the generic was a plausible reason for blocking it, telling CCR

Thomas that she has a friend who is getting the generic Wixela at a less costly price, commenting

SilverScript “just doesn’t want to change because it’s to their benefit… I’m not feeling that they’re

thinking of the consumer and it’s hard for me to believe that the generic is pricier than the Advair.

It shouldn’t be that way.” 438:

            Kandace Thomas:       And actually now that I'm doing it, that Wixela is way more
                                  expensive than the Advair. The Wixela is almost $200.

            Beneficiary No. 15 : $200 for whom?

            Kandace Thomas:       For the Wixela, the generic.

            Beneficiary No. 15 : I pay $38 for Advair myself through SilverScript.

            Kandace Thomas:       Right.

            Beneficiary No. 15 : The plan paid $359.48.

            Kandace Thomas:       Yes ma'am.

            Beneficiary No. 15 : What are you telling me?

            Kandace Thomas:       What I'm telling you is that the Wixela, if you were to get
                                  that one... you can't get an exception on it. But the only good
                                  thing with that is that if you were to pay for the Wixela,
                                  you're going to be paying $128 for it. The brand is actually
                                  less costly.

            Beneficiary No. 15 : I know somebody that gets it and they don't pay that.

            Kandace Thomas:       Well, they. . . .

            Beneficiary No. 15 : Well, it sounds like SilverScript just doesn’t want to
                                 change because it's to their benefit. . . . I'm not feeling


438
      Id.


                                                      230
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                                 that they’re thinking of the consumer and it’s hard for
                                 me to believe that the generic is pricier than the Advair.
                                 . . . It shouldn’t be that way. . . . Well, maybe according
                                 to SilverScript, because they want it to be.

            700.   Remarkably, CCR Thomas then ventured that there’s “something going on” with

the generic – i.e., “where we don’t want to give it to you” – which could be because it “may affect

you,” suggesting CVS was blocking the generic because of safety concerns 439:

            Kandace Thomas:      So if there’s something going on where we don’t want to
                                 give it to you, where it may affect you, then we’re not
                                 going to. We don’t want you to receive anything that’s
                                 not . . . .

            701.   This interchange illustrates the lengths to which CVS Health was willing to go in

deceiving beneficiaries seeking access to less costly medications.

            702.   Because her request for a coverage determination for the 70% less costly generic

Wixela had been rejected, Beneficiary No. 15 then relented and filled the Advair Diskus

prescription at her local pharmacy with a $38.00 copayment and $359.48 plan cost. 440

            703.   Not only that, because the prescription was filled at a pharmacy in Massachusetts,

a mandatory generic substitution State, SilverScript violated the State law requirement that the

prescription be substituted with a less costly generic.

                   3. SilverScript Deception Blocked Access to Thousands of Beneficiaries Seeking
                      Access to Generic Advair Discus

            704.   Following the implementation of the SSG/DNS Scheme for Advair Diskus, CVS

Health has routinely rejected thousands of beneficiary attempts to obtain access to the less costly

generic.

            705.   Attached hereto as Exhibit 77 is a representative sampling of 73 rejected


439
      Id.
440
      Exhibit 76 (CVS-001664).


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SilverScript claims for generic Advair Diskus prescriptions for just one day, January 27, 2019, the

day CVS Health initiated the SSG/DNS Scheme for this drug.

            706.   Each of these beneficiaries was sent SilverScript’s letter denying formulary

exceptions implemented for the Advair Diskus generic. Not one of these letters informed the

recipients that the non-formulary generic Wixela was 70% less costly than the brand drug.

            707.   The formulary exception letter sent to beneficiaries rejecting their requests for the

less costly generic tells them that they had the right to ask for an appeal of the denial of the

formulary exception. What the letter failed to tell them was that the result of any appeal was

already doomed to fail – i.e., CVS Caremark had already agreed with GSK that SilverScript would

summarily deny all appeals.

                   4. CVS Health Senior Management Deception About Its “Proven Cost
                      Management Strategies” To Block Beneficiary Access to the Less Costly
                      Generic Advair Diskus

            708.   Shortly before he testified before the Senate Finance Committee, on March 19,

2019, CVS Health Executive Vice President and President of CVS Caremark Derica Rice issued

a briefing 441 discussing “new trends” in the pharmacy benefit market that require “ongoing

innovation, and evolution of, cost management strategies.” Rice specifically mentioned the

“increasing use of authorized generics” by manufacturers, stating that “[s]ome manufacturers have

chosen to launch an alternative version of the brand product at a lower cost under a different

National Drug Code (NDC), which enables them to continue marketing the brand at a higher

price.” 442


441
   Derica Rice, Why the Time is Right for a New Pricing Model: As Market Trends Evolve, Payors
Need an Adaptable Approach (March 19, 2019),
https://payorsolutions.cvshealth.com/insights/why-the-time-is-right-for-a-new-pricing-model.
442
      Id.



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            709.   In a bit of sleight of hand, Rice touted that CVS Caremark was using its “proven

cost management strategies and [has] negotiated with manufacturers to help ensure members had

access to appropriate therapies while clients could focus on controlling plan costs.” Among the

examples he mentioned where CVS Caremark had used its “formulary tools” to blunt the impact

of drug maker gamesmanship was Advair Diskus. According to Rice, one opportunity for cost

savings “came in the form of two new generics for Advair Diskus launching in February — an

authorized generic by the maker of the brand drug and another one by a different manufacturer.” 443

            710.   But, there were no “cost savings” in the offing for SilverScript beneficiaries. What

Rice failed to mention was that three weeks earlier CVS Caremark had entered into an SSG/DNS

deal with GSK, requiring that SilverScript block access to the 70% less costly generic Wixela,

forcing beneficiaries instead to use only the much more expensive “appropriate” therapy, Advair

Diskus. The result was sadly predictable, impeding access to the less costly generic and driving

up costs for Medicare and Part D patients alike.

            711.   The result of this travesty not only deceived beneficiaries, it resulted in significant

increased profits to CVS Health, while dumping huge additional costs onto taxpayers and

SilverScript beneficiaries, thereby violating the FTC Consent Order that it would not, directly or

indirectly, make deceptive claims about the price or cost of Medicare Part D prescription drugs.

X. COUNTS

                                                COUNT I
            (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1); 31 U.S.C. § 3729(a)(1)(A))

            712.   Relator incorporates herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.


443
      Id.



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       713.    CVS Health, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

United States of America false or fraudulent claims for payment or approval, in violation of 31

U.S.C. § 3729(a)(1) and 31 U.S.C. § 3729(a)(1)(A).

       714.    As a result of CVS Health’s actions, as set forth above, the United States of America

has been, and may continue to be, severely damaged.

                                         COUNT II
      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(2); 31 U.S.C. § 3729(a)(1)(B))

       715.    Relator incorporates herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

       716.    CVS Health, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to the payment of false or fraudulent claims, in

violation of 31 U.S.C. § 3729(a)(2); 31 U.S.C. § 3729(a)(1)(B).

       717.    CVS Health’s false and fraudulent statements, including with respect to the safety

and efficacy, superiority, and medical necessity and appropriateness of its drugs, to the public, to

patients, to the Health Care Providers, were material to the Health Care Providers’ decisions to

prescribe these drugs and the United States’ decisions to pay claims for these drugs and related

services.

       718.    The United States, unaware of the falsity of the claims and/or statements made by

CVS Health, and in reliance on the accuracy of these claims and/or statements, paid and may

continue to be paying or reimbursing for the Drugs prescribed to patients enrolled in Federal


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Programs.

       719.    As a result of CVS Health’s actions, as set forth above, the United States of America

has been, and may continue to be, severely damaged.

                                        COUNT III
     (Violation of False Claims Act, 31 U.S.C. § 3729(a)(3); 31 U.S.C. § 3729(a)(1)(C))

       720.    Relator incorporates herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

       721.    As alleged above, CVS Health and the SSG/DNS Scheme Drug Makers knowingly

conspired, and may still be conspiring, to commit acts in violation of 31 U.S.C. §§ 3729(a)(1) &

(a)(2); 31 U.S.C. §§ 3729(a)(1)(A) & (a)(1)(B). CVS Health and the SSG/DNS Scheme Drug

Makers committed overt acts in furtherance of the conspiracy as alleged above.

       722.    As a result of CVS Health’s and the SSG/DNS Scheme drug makers’ actions, as set

forth above, the United States of America has been, and may continue to be, severely damaged.

                                          COUNT IV
                  (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(G))

       723.    Relator incorporates herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

       724.    As alleged above, CVS Health knowingly made, used, and/or caused to be made or

used, false records or statements material to an obligation to pay or transmit money or property to

the Government, and/or knowingly concealed or knowingly and improperly avoided or decreased

an obligation to pay or transmit money or property to the Government pursuant to § 3729(a)(1)(G).

       725.    As a result of CVS Health’s actions as set forth above, the United States of America

has been, and may continue to be, severely damaged.




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                                      PRAYER FOR RELIEF


          WHEREFORE, Relator prays for judgment against CVS Health as follows:

          A.    That CVS Health be ordered to cease and desist from submitting or causing to be

submitted any more false claims, or further violating 31 U.S.C. §§ 3729 et seq.;

          B.    That judgment be entered in Relator’s favor and against CVS Health in the amount

of each and every false or fraudulent claim, multiplied as provided for in 31 U.S.C. § 3729(a), plus

a civil penalty of not less than eleven thousand one hundred eighty-one ($11,181) or more than

twenty-two thousand three hundred sixty-three dollars ($22,363) per claim as provided by 31

U.S.C. § 3729(a)(1), to the extent such multiplied penalties shall fairly compensate the United

States of America for losses resulting from the various schemes undertaken by CVS Health,

together with penalties for specific claims to be identified at trial after full discovery;

          C.    That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C.

§ 3730(d).

          D.    That CVS Health be ordered to disgorge all sums by which they have been enriched

unjustly by their wrongful conduct;

          E.    That judgment be granted for Relator against CVS Health for all costs, including,

but not limited to, court costs, expert fees and all attorneys’ fees and costs incurred by Relator in

the prosecution of this suit;

          F.    That Relator be granted such other and further relief as the Court deems just and

proper;

          G.    That the Court issue an order enjoining CVS Health from continuing to engage in

the fraudulent conduct alleged herein; and

          H.    That this Court award such further relief as it deems just and proper.


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                                   JURY TRIAL DEMAND

                     Relator demands a trial by jury of all issues so triable.




Dated: February 23, 2022




                                              W. Scott Simmer (pro hac vice)
                                              William G. Powers (PA Bar No. 316876)
                                              Jennifer Connolly (pro hac vice)
                                              BARON & BUDD, P.C.
                                              The Watergate
                                              600 New Hampshire Ave. NW,
                                              10th Floor
                                              Washington, DC 20037
                                              Telephone: (202) 333-4562
                                              Facsimile: (202) 337-1039




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   EXHIBIT 1
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      CAREMARK INC.

           PARTICIPATING PHARMACY
           ADMINISTRATIVE MANUAL




Caremark Participating Pharmacy Administrative Manual V53003              1



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Introduction

The Caremark Pharmacy Administrative Manual (“Manual”) is intended to be a guide for
retail pharmacists to assure the highest quality, efficient, and cost-effective
Pharmaceutical Services are provided to Caremark Participants.

The defined terms in the Agreement will have the same meaning as used in this
Manual. The Manual also provides the pharmacist basic information to prevent
inappropriate billing practices and answers to common billing questions.

The Caremark Pharmacy Administrative Manual is not designed to cover all
circumstances or issues, nor is it a replacement for sound clinical judgement. In the
event that the manual and the Caremark Participating Pharmacy Agreement
(“Agreement”) differ, the Agreement will supersede the Manual.

Although efforts are made to keep the information current, this Manual is subject to
change without notice, and the latest version of the Manual will available at
www.Caremark.com, click Healthcare Professionals, and then click on Retail
Pharmacies. If there are any questions, please contact the retail pharmacy help desk at
1-800-421-2342.




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Section 1: ON-LINE BILLING (Billing Guidelines)
   1.1. Caremark Identification Card
     The Caremark identification card is not a guarantee of Participant eligibility.
     Caremark has standardized its identification card format to assist Pharmacy in
     recognizing a Participant using Caremark’s networks. Below is an example of a
     standard Caremark Identification card.

                      Front                                    Back




      Participant ID and Name    Pharmacy Plan             Plan Participant Help Line
                                 and group inputs


   1.2. Programs with Deductibles or Maximums
   Some Plans include a maximum benefit (when coverage stops) or require
   Participants to meet an annual deductible (before coverage begins). So that
   Caremark can accurately track an unpaid deductible, the pharmacist must transmit
   each claim via the on-line system. Caremark will reimburse the Pharmacy directly for
   claims transmitted, if claim submitted within 30 days of date of service, before a
   maximum benefit is diminished or after a Participant meets the deductible.

   1.3. Plan Limitations
   Claims submitted on-line which exceed Plan limits for days supply or quantity
   dispensed will reject with the message, PLAN LIMITATIONS EXCEEDED or similar
   language. The reject message may include the actual limits.
   For example: Maximum days supply 30
   Pharmacists are responsible for entering the correct days supply of medication. For
   example, the days supply for 25 doses of medication, taken 25 per month, is 30
   days. The days supply for 4 patches, applied once weekly, is 28 days.



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                     Example: Premarin 0.625 mg
                     Sig: 1 tab on days 1-25 each month
                     Disp: Number 25
                     This is a 30 days supply of medication.
                     Example: Lariam
                     Sig: One per week
                     Disp: Number 4
                     This is a 28-days supply of medication.

   1.4. Days Supply: The Need for Accuracy
   If the prescribing provider indicates, "as directed," you will need to determine the
   dosing schedule in order to submit the correct days supply with the claim. Talk with
   the Participant or call the Prescribing Provider to determine the appropriate amount
   to dispense. Claim reimbursement is based on quantity dispensed. Moreover, to
   provide appropriate pharmaceutical consultation, you must be sure the Participant
   understands how much and how often the medication is to be taken.

   1.5. Submission of Insulin
   Use actual NDC numbers of insulin dispensed.
   Some Participants require two types of insulin (i.e., NPH or regular). Often both
   medications appear on the same prescription. Since each drug has a unique NDC
   number, separate the prescription into two claims, submit both and collect two
   copays.

   1.6. Dispensing Limitations for Inhalers
   When submitting a claim on-line, enter the quantity to be dispensed exactly as
   written by the Prescribing Provider on the prescription form. Dispensing limitations
   vary widely among Caremark Plans.
   Depending on the Participant’s medical condition, it may be necessary to dispense
   more than one inhaler. If Plan design limitations, allow and the Prescribing Provider
   writes accordingly, the Participant may obtain more than one inhaler per
   prescription.

   1.7. Drugs with Unusual Submission Requirements
   Claims for these drug products frequently result in incorrect reimbursement. To help
   avoid charge backs, see the following examples:




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  Drug Name             Unusual            Commonly            Submit This         Corresponding Days
                        Features           Prescribed          Quantity To          Supply To Submit:
                                            Dosage              Caremark:
          ®
   Elimite          May be ordered      1 treatment          Submit separate    Elimite: 1
    Eurax
          ®         for all members     course               claim for each     Eurax: 2
 (Treatment of      of a family on 1    per person           individual in
    scabies)        prescription                             family
                    blank
          ®
   Lariam           Prophylaxis         4 tablets                    4                       28
                    dosage:             per month
                    1 tablet per week
            ®
  Prevpac           8 pills blister-    1 card per day              14                       14
                    packed on single    for 14 days
                    card; 14 cards in
                    each package
            ®       Kit with 1-day      2 tablets at once;           1                        1
   Preven
                    supply              2 tabs 12 hours
                                        later
                ®   No gm indicated     8 actuations                 1                       25
  Pulmicort
                    on inhaler or       per day
                    package label;
                    200 actuations
                    contained in
                    single inhaler
  Xalantan          Approx. 83 drops    1 drop in each           2.5 MDQ                     30
 Ophth Drops        per vial            eye at bedtime
                ®   Indicated as 2      2 capsules twice               28                    28
  Sporanox
      (Pulse        treatment pulses,   daily for 1 week     Submit claim for
 treatment for      each consisting     at the beginning     refill for 2nd
   fingernails      of 1 week of        of each 4- week      month’s
       only)        treatment and 3     period.              treatment
                    weeks without
                    drug.


   1.8. Quantities
   Using NCPDP Version 3.2A, both metric quantity (MQ) and metric decimal quantity
   (MDQ) can be sent. Using NCPDP Version 5.1 only the MDQ should be sent.
   The billed price must be accurate on a decimal quantity basis regardless of the
   quantity specified in the MQ field.

   1.9. Claim Processing System Transmission Requirements
   See Caremark’s NCPDP version 5.1 payer sheet located on the Web at
   www.Caremark.com, then click Healthcare Professionals, and then click Retail
   Pharmacy for correct methods of claim submission.




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   1.10.     Dispense as Written (DAW)

   CAREMARK supports the NCPDP standard (Dispense As Written) DAW codes. To
   ensure accurate reimbursement, always include the correct (DAW) code when you
   submit a claim.

   Claims submitted to Caremark with DAW codes of 3-6 or 8-9 will be adjudicated
   similarly to a DAW 0. If necessary, contact your software vendor for needed
   alterations to your pharmacy system.

   Claims for code DAW 7 may reject as an “Invalid” DAW code. Contact the
   Prescribing Provider. to see if a generic can be dispensed. If the Prescribing
   Provider instructs you to dispense the brand, then submit the claim with a DAW 1
   code or if the Participant indicates the desire for the brand, submit the claim with a
   DAW 2 code and note the outcome clearly on the hard copy of the prescription.

                                   Dispense As Written (DAW)
       DAW 0 - NO DISPENSE AS WRITTEN (Substitution Allowed) (or no product
       selection indicated)
          • Use the DAW 0 code when dispensing a generic drug; that is, when no
              party (i.e., neither Prescribing Provider, nor pharmacist, nor Participant)
              requests the branded version of a multi-source product.
          • Use the DAW 0 code when dispensing a multi-source generic, even if the
              Prescribing Provider indicates the DAW code for the generic product and
              does not specify a manufacturer.
          • Also, use the DAW 0 code when dispensing single-source brands (e.g.,
              Lipitor®), because generic substitution is not possible.
       DAW 1 – PHYSICIAN writes DISPENSE AS WRITTEN
          • Use when the Prescribing Provider specifies the branded version of a
              drug on the hard copy prescription or in the orally communicated
              instructions.
          • If Participant requests brand, and it is not a Prescribing Provider-initiated
              instruction, transmit the DAW 2 code. (See following instruction.)

       DAW 2 - PATIENT REQUESTED
         • Use this code when the Participant requested the branded drug even
            though the original prescription did not indicate "Dispense As Written".

       DAW 3 - PHARMACIST SELECTED BRAND
       DAW 4 - GENERIC NOT IN STOCK




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                            Dispense As Written (DAW) continued

       DAW 5 - BRAND DISPENSED, PRICED AS GENERIC
         • Use when dispensing a brand as a generic.
         • Claims submitted with DAW 5 will be reimbursed at the generic price.

       DAW 6 - OVERRIDE
       DAW 7 - SUBSTITUTION NOT ALLOWED; BRAND MANDATED BY LAW
       DAW 8 - GENERIC NOT AVAILABLE
       DAW 9 - OTHER
       Remember: Most Participants have a choice between brand and generic
       drugs. However, in some programs, the Participant will pay the difference
       between the cost of the brand and the available generic drug. Accordingly,
       correct DAW submissions indicate if a penalty is applicable.


   1.11.      Drug Utilization Review (DUR)
   DUR edits are designed to support your professional role in providing quality care
   and clinical services to Participants whose prescription benefit is administered by
   Caremark.
   When the DUR program detects a potential therapeutic problem for a Caremark
   claim, you will receive an on-line message via the on-line system. Thus, you have a
   professional obligation to and resolve a potential problem before dispensing the
   drug, which may require consulting the Prescribing Provider.
   Patient drug profiles used for DUR analysis are developed from prescription
   records processed by Caremark. In this way, DUR helps to monitor therapeutic
   conflicts between the prescription you are currently filling and other prescriptions
   received by that Participant, which were processed by Caremark. It is extremely
   important to thoroughly document your DUR-related actions and subsequent
   Prescribing Provider comments and instructions. This is a permanent record of
   your professional follow-through in response to DUR messages.


   1.12.      Formulary Compliance
   Pharmacy is notified via an on-line response when a claim is submitted for formulary
   and non-formulary products. If a non-formulary product is prescribed the Pharmacy
   should (upon consent of the Participant) contact the Prescribing Provider and
   request that the formulary product be prescribed.




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   1.13.      NDC Number (National Drug Code)
   Pharmacies should always submit to Caremark the exact 11-digit NDC number of
   the actual package size of the Product dispensed.


Section 2:          AUDIT GUIDELINES
Caremark has the right to examine prescription information and other related
information, during normal business hours as set forth in the Participating Pharmacy
Agreement. If Caremark is denied admission to the Pharmacy or if Pharmacy does not
present prescription records, signature logs and supporting documentation, Caremark
has the right to charge back 100% of the reimbursed claims.

If Caremark selects your Pharmacy for an audit you will receive a notification letter
approximately two weeks in advance. The notice may be closer to the date in certain
circumstances.

Below is information to help you avoid problems and prepare for the audit.

   2.1 Time Frame
    The time frame for an audit may encompass all retained records; normally, an
    auditor will review claims dispensed during the past three years.
    Caremark will audit claims paid, not necessarily filled during the audit period in
    question.

   2.2 Prescription Hard Copies
       2.2.1 A hard copy of each prescription must be readily retrievable upon request.
       2.2.2 Prescriptions for insulin and/or syringes must contain complete
              documentation of items and quantities dispensed.
       2.2.3 Prescription hard copies must be updated yearly unless state pharmacy
              law in which Pharmacy is located specifically allows a prescription to be
              refilled after more than one year has passed.
       2.2.4 A prescription hard copy must be maintained for every prescription for
              three years or longer as required by state law. The hard copy (original and
              any updates) of the prescription, including telephone prescriptions, must
              contain data elements required by state pharmacy laws in which
              Pharmacy is located and all of the Prescribing Provider’s instructions—
              including DAW code instructions — that support your claim transmission.

   2.3 Signature Log
      2.3.1 Pharmacy shall require the signature of the Participant or the Participant’s
            representative on a permanent record before dispensing any prescription.
      2.3.2 At each Pharmacy location, Pharmacy shall maintain a hard copy or
            electronic signature log which states the following: (i) the prescription
            number; (ii) the date the Product is received by the Participant; and (iii) the
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            signature of each Participant who receives a Product or the signature of
            his/her designee.
      2.3.3 A log in date order must be maintained for all claims submitted on-line to
            Caremark.
      2.3.4 Signature logs must be maintained for three years or longer—
            corresponding to the state pharmacy laws in which Pharmacy is located
            for retaining prescription hard copies. The logs must be available for
            inspection and audit by a representative of Caremark and/or its
            designated agent.

   2.4 Dispensing Limitations
      2.4.1 Enter the quantity to be dispensed exactly as written on the prescription
            form.
      2.4.2 A 30-day supply is no longer standard; some programs permit up to 90-
            day quantities. Always transmit the appropriate days supply and allow the
            on-line system to communicate the allowable days supply.
      2.4.3 Note subsequent changes or refill authorizations approved by the
            Prescribing Provider on the hard copy, or in a readily retrievable electronic
            format, acceptable by the State Board of Pharmacy in which Pharmacy is
            located.

   2.5 Customary Charge
        Customary Charge means the usual and customary price charged by
        Pharmacy to the general public at the time of dispensing, including any
        advertised or sale prices, discounts, coupons or other deductions.

   2.6 Dispense As Written (DAW) Audit Issues
      2.6.1 Incorrect DAW codes are the most common cause of pharmacy charge
            backs and may lead to removal from the network.
      2.6.2 When an auditor cites a prescription for a missing or incorrect DAW code,
            follow-up documentation is not permitted.
      2.6.3 A transmitted DAW 1 code must be supported on the prescription hard
            copy (original and update).
      2.6.4 No DAW 1 code defaults should be set.
      2.6.5 A DAW 2 code should be transmitted when the Participant requests that
            the Prescribing Provider be contacted to obtain approval for a brand drug
            when the Prescribing Provider did not initially mandate dispense as
            written.




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   2.7 Miscellaneous
      2.7.1 Claims are adjudicated based on data provided to Caremark. If a claim is
             adjudicated based on incorrectly submitted data, an adjustment may be
             necessary.
      2.7.2 Transmit the data as listed on the prescription and as ordered by the
             Prescribing Provider. Proper submission of days supply, quantity (obtain
             and document "as directed" instructions), NDC number, eligibility
             information, etc.
      2.7.3 Transmit DAW 1 code only when initially authorized by the Prescribing
             Provider; the prescription hard copy (including hard copies documenting
             phoned-in prescriptions) must support a DAW 1 code.
      2.7.4 Obtain a signature on the signature log.
      2.7.5 Reverse claims that are not dispensed to the Participant or their
             designated agent.
      2.7.6 Transmit proper Participant information, including relationship code, sex
             and proper Prescribing Provider identification number.
      2.7.7 Pharmacy must charge the Participant the Co-payment amount indicated
             in the on-line response.
      2.7.8 Pharmacy has 14 days from the receipt of the audit report to provide
             appropriate documentation to justify the audit discrepancies identified in
             the audit, pursuant to audit guidelines.
      2.7.9 Caremark may deny payment for unsupported claims or missing
             signatures.
      2.7.10 Caremark may satisfy an unpaid audit liability by any of the following
             methods which may include but are not limited to: request for a check,
             offset against future claims payment and use of a collection agency.
      2.7.11 Caremark has the right to assess reasonable fines, penalties and fees to
             cover unexpected costs.

Section 3           Submitting Compounds
One of the items in the compound must be a legend drug. Caremark does not accept
invalid NDCs for any compounds. When prompted for the NDC number, enter the NDC
number of the most expensive legend drug in the compound per unit (capsule, tablet,
gram, or ml). · When prompted for quantity, enter the total quantity of the final product
dispensed.
When submitting for ingredient cost, enter the combined cost of all ingredients. The
combined cost shall not include labor costs, equipment costs, delivery charges,
professional fees, etc.
As with all claims, submit Pharmacy’s Customary Charge.
To prevent audit charge backs, make sure your software is not programmed to place an
amount in the ingredient cost field that is equal to the AWP of the most expensive NDC
multiplied by the final product quantity.



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Change the compound indicator to indicate that the prescription is a compound.
Powdered oral antibiotics that are mixed with distilled or tap water are not considered
compounds.

3.1 Progesterone Compounds
     Caremark does not allow the use of invalid NDC numbers for progesterone
     suppositories, suspensions and vaginal capsules used in compounding. Use the
     actual NDC number and submit the claim as you normally submit a compound.


Section 4: Caremark Help Desk
     The Caremark pharmacy help desk is available 24/7/365 days a year with
     regularly scheduled down times.
     The phone number is 1-800-421-2342.




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                                                                   Welcome back, Alexandra! (Log out)



                                                                  About Our Priorities
advocacy network


  Affordable                                                      Get Involved     FAQ


  Medication
  By increasing competition, we can keep                                   ©0
  drug costs low, making sure our patients

  can afford to take their medications and

  stay healthy.
                                                                          CD
At CVS Health, we believe common sense, market-oriented reforms that promote competition
are key to making prescription drugs affordable and reducing overall health care costs. Healthy
competition in the pharmaceutical industry, it allows us to negotiate lower prescription drug
prices and give less expensive, clinically-equivalent alternatives to patients.

The pharmacy management tools we use lower costs. Thanks to pharmacy benefit managers
like CVS Caremark, American consumers and plan sponsors will save $654 billion from 2016 to
2025. Most importantly, when prescriptions are more affordable, patients are more likely to keep
taking them - and that leads to healthier people and communities.




https://cvsheal thactioncenter.com/issues.aspx?id=Issue2                                  3/14/2019




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                                                    Studies have shown that greater
           $300B                                    medication adherence for chronic



                      m
                      h rm il
                                                    disease could save over $300 billion in
                                                    unnecessary medical costs each year
                                                    and save tens of thousands of lives.



                      (Source: Thinking outside the pillbox, New England Healthcare Institute. August 2009.)


Today, more competition is needed to counter rising drug prices and there are several policies
we can adapt to clear the path for more competition and more affordable drugs:


  Increase Competition in the Marketplace

 1. Speed the Food and Drug Administration’s (FDA) approval of generic drugs.
 2. Expedite FDA review for drugs with no competition.
 3. Increase the availability of biosimilars.
4. Curb anti-competitive practices like “pay-for-delay” agreements that block generic drug
    competition.
 5. Allow generic and biosimilar manufacturers to obtain samples of branded drugs to help
    facilitate competition.

  Increase Competition in Medicare Part D

  Increase Transparency and Support

The simple truth: Patients lose access when they can’t afford their medications. By increasing
competition, we can lower costs, increase access, and drive continued innovation.

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Speaker 1:             Your dialed number was not entered within the allowed period. At the dial tone,
                       please enter your number.

Eric Cartier:          Hello? Hello? Hello?

Beneficiary 3:         Hello.

Eric Cartier:          Yes, ma'am, I'm sorry. I don't know what happened between the phone lines,
                       but hey, my name is Eric. Thank you for calling the care reception review team.
                       May I please have your-

Beneficiary 3:         Hang on a second, Eric. What are you with?

Eric Cartier:          I'm with the care reception review team, ma'am.

Beneficiary 3:         With Silver Script?

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         Okay. I just wanted to make sure I didn't get another company or something.
                       Evidently I was being transferred to you and your transferring didn't go through
                       like it was probably supposed to.

Eric Cartier:          Yes, ma'am, most likely it did, because whoever transferred you was supposed
                       to give me that information as well. But it's okay, [inaudible 00:01:05] stop our
                       process. Could I please have your member ID?

Beneficiary 3:         Member ID                                                  .

Eric Cartier:          Yes, ma'am. And just to verify, that's                                      ,
                       correct?

Beneficiary 3:         No it's                    .

Eric Cartier:          Okay.

Beneficiary 3:         Not F.

Eric Cartier:          Yes, ma'am, no problem. Sorry about that.

Beneficiary 3:         That's okay.

Eric Cartier:          You doing okay today, ma'am?

Beneficiary 3:         Well, yeah, but I've got a problem that I need your help with. That's how I got
                       you, because she must have transferred me. Just didn't tell me I was getting
                       transferred.
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Eric Cartier:          That's okay.

Beneficiary 3:         Do you know my problem? Did she tell you?

Eric Cartier:          No, ma'am, and that was one of the few things that she was supposed to send
                       that information.

Beneficiary 3:         Let me start all over then and tell you what happened, okay.

Eric Cartier:          Okay, ma'am.

Beneficiary 3:         I take a prescription, it's called Asacol, A-S-A-C-O-L.

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         I got a letter from Silver Script that dates November 8th of 2018. And it said that
                       I'd been approved for this drug through November 8th, 2019. And I went to the
                       pharmacy to pick it up, and I've been paying $17, and she told me today it's
                       $340, $350. So what has changed, and who's right, who's wrong?

Eric Cartier:          Yes, ma'am. So what I could do for you ... Okay, what I could do for you ... Well,
                       first, would you like an alternative for this medicine, ma'am?

Beneficiary 3:         Pardon?

Eric Cartier:          Would you like an alternative to this medicine [inaudible 00:03:08]?

Beneficiary 3:         Wait a minute, you're breaking up. I can't hear you. What?

Eric Cartier:          I'm sorry about that, ma'am, you can hear me now?

Beneficiary 3:         Yes.

Eric Cartier:          Yes, ma'am, I asked, would you like an alternative for this medicine or would
                       you like, that's similar to this medicine but a different brand, or would you like
                       to keep this particular medicine?

Beneficiary 3:         Well, that's a question for my doctor.

Eric Cartier:          Yes, ma'am. See, what I could do is I could give you the alternatives for this
                       medicine and you could call and check basis with your doctor concerning of the
                       medicine so he can verify it for you that it will be healthy for you. We could start
                       with that process as soon as you give me the go, ma'am.

Beneficiary 3:         Well, why did I get a letter saying it was settled through November of 2019?
                       And this is like the second or third month I go to get it, and I I've already got a
                       problem.
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Eric Cartier:          That is true, ma'am, that is true. So would you like to proceed with the process
                       of going on board to keep this medicine?

Beneficiary 3:         Well, I don't want to go into it with my doctor, that's for sure. I just had a
                       doctor's appointment that took me almost three hours. It's a very busy doctor's
                       group and it's not easy to get anything worked out. So what is the problem?
                       Why do I have the problem today when I haven't had it for three, four months?

Eric Cartier:          Yes, ma'am. The problem is it's saying that you have to discuss your balance
                       with ... The opportunity to save based on this medicine. I want to say that's the
                       problem, and yes, and you are correct, your prior authorization back on
                       November the 8th of 2019. So that is not the problem. So it seems to be from
                       my information that I have that I'm looking at, that all you need is to talk to a
                       member of my coverage determination team so they could be able to further
                       assist you on this.

Beneficiary 3:         Now, you have totally lost me in what you're explaining. I do not know how
                       Silver Script works since I've never worked for them.

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         So what do I have to do to go to the drug store and get my prescription?
                       Because I've only got medicine for one more day.

Eric Cartier:          Yes, ma'am, no problem. See, what I have to do is, what I'm going to do for you
                       is transfer you to my coverage determination team so they can give you further
                       assistance on keeping this medicine and trying to get a tier section for this
                       medicine so you can have it below price.

Beneficiary 3:         Well, it also says I have a tier change. Wait a minute, where is it? Where does it
                       say that? "This approval authorizes you to receive the medication listed above
                       at tier two, depending upon on the strength and/or formulation of the drug
                       prescribed by your physician."

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         So what do I have ... I don't understand how it's been working for three, four
                       months and all of a sudden now I have a problem. And they've already told me
                       I've got it through November 8th of 2019 unless we notify you otherwise. And I
                       haven't been notified by your company. And it says you were enrolled in the
                       Medicare part D, which I am. My physician or another prescriber continues the
                       medication for me. And I just discussed it with him today, so he did. And the
                       medication continues to be safe for treating my condition. So according to the
                       letter, I don't know why I have a problem today. And I'm not picking on you.

Eric Cartier:          Yes, ma'am, trust me. I understand that you're just in concern of your medicine
                       because you need it. And I'm totally aware that that is the situation. So for us to

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                       go forward so you could keep this medicine, right? You would like to keep this
                       medicine, right?

Beneficiary 3:         Well, I don't see any reason to change. If I'm going to change, I've got to
                       evidently go back to the doctor. I don't know these medicines you're talking
                       about. So I don't know if they're going to be the same for me or not. I'm not a
                       pharmacist, I'm not in any way educated other than how to put them in my
                       mouth and swallow them with water. So I'm not the one that can make the
                       decision about whether or not it can be changed. That has to go through my
                       doctor.

Eric Cartier:          And that is right, ma'am. Do you by chance have a number for your doctor?

Beneficiary 3:         I can give it to you if you want to wait one minute until I get, I think I have his
                       card right here on my desk. Hang on a second.

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         I wasn't picking on you, and I don't mean to be nasty to you, because I know it's
                       not you any more than it's me. We're the pawns in between.

Eric Cartier:          No, ma'am, no problem. I'm here to help, ma'am, I am here to help and I'm here
                       to solve the problem. So that's what I was saying, if you have your doctor's
                       office number, I could give you those alternatives and you could call him to
                       verify with him to see, would that medicine be [inaudible 00:09:09].

Beneficiary 3:         Yeah, but I'm not proficient in discussing medicines. I don't know one from
                       another. What if he doesn't understand which one you're talking about?

Eric Cartier:          Yes, ma'am, because I was going to give you the spelling and every detail of the
                       strength of the medicine.

Beneficiary 3:         Can't the insurance company call the doctor's office to see if it can be
                       substituted?

Eric Cartier:          Yes, ma'am, but the only way I have, the only way that the insurance would
                       have to call the doctor, for my knowledge, is that I have to transfer you to my
                       coverage determination team and they'll give you further assistance.

Beneficiary 3:         Wait a minute, what team is that? What team is that? I'm sorry, I didn't
                       understand that part. Hello?

Eric Cartier:          Yes, ma'am, it's my coverage determination team.

Beneficiary 3:         Determination. Well, see, I'm not going to be able to explain anything to ...

Eric Cartier:          No, ma'am, you won't have to.
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Beneficiary 3:         ... Doctor and a prescription company, and I'm in no position to know what in
                       the hell I'm talking about.

Eric Cartier:          Yes, ma'am, you won't have to tell the coverage determination team anything. I
                       would be the one that would be telling them and updating them on what's
                       going on.

Beneficiary 3:         Now, can they call the doctor? Do they have that ability to call the doctor if they
                       need to talk to their office?

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         Okay. Then I guess you might as well transfer me or do whatever you need to
                       do, because I've only got one more day of medicine and then I'm out.

Eric Cartier:          Yes, ma'am, no problem. Okay, can I please put you on a brief hold for a
                       moment while I contact them?

Beneficiary 3:         Absolutely.

Eric Cartier:          Okay, thank you for your patience too as well, okay, ma'am?

Beneficiary 3:         Okay. Thank you too for not getting upset with me.

Eric Cartier:          No, ma'am, no, ma'am. Like I say, I'm here to help, okay?

Beneficiary 3:         Thank you.

Beneficiary 3:         (silence)

Speaker 4:             Thank you for calling CVS Health. For quality purposes this call may be
                       monitored or recorded.

Cynthia:               Thank you for calling CVS Caremark. My name is Cynthia, CD&E representative.
                       May I have the member ID, please?

Eric Cartier:          Yes, ma'am, it's               .

Cynthia:               Thank you. Name and date of birth?

Eric Cartier:          The date of birth will be, one moment,               .

Cynthia:               And what's the full name?

Eric Cartier:          The full name is, one moment,            .

Cynthia:               Is she on the other line for [inaudible 00:13:59]?
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Eric Cartier:          Yes, ma'am.

Cynthia:               And is she transferred for a tier or a non-formulary exception?

Eric Cartier:          Tier.

Cynthia:               For what medication?

Eric Cartier:          Asacol.

Cynthia:               You said she wants a tier exception for it, right?

Eric Cartier:          Yes, ma'am.

Cynthia:               Could I get your name, initial, and your [inaudible 00:14:36] ID?

Eric Cartier:          Yes, ma'am. My name is Eric. One moment, ma'am, could you please allow me
                       one second to check on the member?

Cynthia:               Sure.

Eric Cartier:          Okay, thank you. Yes, ma'am,                         ?

Beneficiary 3:         Yes?

Eric Cartier:          Yes, ma'am, I am on the other line with the coverage determination team, and
                       all I have to do is give them a [inaudible 00:15:06] and then I'll be able to
                       transfer you over, okay,             ?

Beneficiary 3:         All you have to do is give them what?

Eric Cartier:          All I have to do is give them a few more information, they need a few more
                       information, and then I'll be able to transfer you over, okay?

Beneficiary 3:         Okay. That's fine, I'm waiting. No problem.

Eric Cartier:          Yes, ma'am, thank you for being patient with me, okay?

Beneficiary 3:         Sure.

Eric Cartier:          All right. Yes, ma'am, you here?

Cynthia:               Mm-hmm.

Eric Cartier:          Yes, ma'am, and you was asking for my information, correct?


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Cynthia:              Mm-hmm.

Eric Cartier:         Yes, ma'am, my information is Eric C, Z267972.

Cynthia:              Hm. Okay. For that medication I'm showing there's a case on file that's approved
                      for her already.

Eric Cartier:         Yes, ma'am, but she's saying that when she went in for this medicine
                      particularly, that she usually be paying $17, and today for some reason it was
                      more expensive, it was $343.

Cynthia:              Okay. Did you check and see why it was more expensive or what's going on?

Eric Cartier:         Yes, ma'am, I actually did. One moment so I could pull up back the account. One
                      moment, ma'am, I'm sorry. Yes, ma'am, it says, "Discuss GNRC savings
                      opportunity with member."

Cynthia:              Okay.

Eric Cartier:         And it says prior authorization expires on November the 8th 2019.

Cynthia:              Okay. So what's the reason for the price being so high? I can't explain that to
                      her. We've already approved a tier exception request for that medication, it's
                      approved at a tier two. The price that's coming up, I have no idea why it's doing
                      that. That's not something we can figure out.

Eric Cartier:         So ...

Cynthia:              Do they have a deductible? Is there an amount that they need to meet first?

Eric Cartier:         No, ma'am, [inaudible 00:18:07]. GNRC savings opportunity with member.

Cynthia:              I'm so sorry, I have a bad connection with you. What was that?

Eric Cartier:         Yes, ma'am, the only thing that it says on my end is discuss GNRC savings
                      opportunity with member.

Cynthia:              Okay.

Eric Cartier:         So did you run a test claim, ma'am?

Cynthia:              I'm sorry?

Eric Cartier:         Did you run a test claim?

Cynthia:              For what?

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Eric Cartier:         For the medicine.

Cynthia:              I know, but why, like for what?

Eric Cartier:         So you'll be able to see the information I'm telling you.

Cynthia:              No, I'm getting a paid claim. I'm getting a paid claim, it's going through, it's paid,
                      and it's covered. The pricing, I cannot verify pricing, we have a tier exception
                      approved already for her.

Eric Cartier:         So is the pricing saying $345.73?

Cynthia:              I cannot verify pricing.

Eric Cartier:         So I'm just confused, ma'am, what I'm supposed to tell my ...

Cynthia:              I mean, you need to figure out why the price is so high. I don't figure that out.
                      We already approved a tier exception for the medication. So I don't know what
                      you want me to do. I can't create a new one because there's already one
                      approved until 11/8/2019. It's been approved. Are they in the gap coverage,
                      maybe? I don't know.

Eric Cartier:         Yes, ma'am, one moment while I check into the account, okay?

Cynthia:              Okay.

Cynthia:              (silence)

Eric Cartier:         Yes, ma'am, you here?

Cynthia:              Mm-hmm.

Eric Cartier:         Ma'am?

Cynthia:              Mm-hmm.

Eric Cartier:         You here?

Cynthia:              Yes?

Eric Cartier:         Okay. Yes, ma'am, well, I do see that, yes, you are correct, she is in a gap at the
                      moment. So thank you for your assistance. I'll give her the information that she
                      needs to know, okay?

Cynthia:              Okay. Well, even though we have a tier exception on file and it's approved, it's
                      kind of like it's not even there. It doesn't apply until they meet the gap first.

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Eric Cartier:          Okay. Yes, ma'am.

Cynthia:               All right. You have a great day.

Eric Cartier:          You do too.

Cynthia:               Bye.

Eric Cartier:          Yes, ma'am,                         ?

Beneficiary 3:         Yes?

Eric Cartier:          Yes, ma'am, okay. Yes, ma'am. It appears that you were, you already had, like
                       you said, a tier exception, and I see that you're currently in the, how could I say?
                       You're in a gap. And you may be eligible to get extra help paying for your
                       prescription drugs, the Medicare prescription drug program gives you a choice
                       of prescription plans that offer various various types of coverage. In addition,
                       you may be able to get extra help to pay for the monthly premiums and your
                       deductibles. Excuse me, ma'am, I'm sorry, and copayments related to the
                       Medicare prescription drug program. But before we can help you, you must fill
                       out this application, put it in the enclosed envelope, and mail it today. Or you
                       may complete an online application at www.socialsecurity.gov. We will review
                       your application and send you a letter to let you to let you know if your quantity
                       for extra help. I'm sorry, ma'am, to let you know if you qualify for extra help to
                       use the extra-

Beneficiary 3:         But why did they approve it and send me the letter if they wanted to go through
                       all of this? Why in the hell didn't you do it when it started?

Eric Cartier:          Yes, I'm not sure on that, ma'am.

Beneficiary 3:         No, I got a letter from you saying I'm covered through, what did I tell you the
                       date was? November 8th of 2019. But you did say unless we notify you
                       otherwise. Well, why did you tell my doctor's office then that this was all taken
                       care of?

Eric Cartier:          Yes, ma'am, well, like I said, you are covered for it, you is covered, you just have
                       a copay of ...

Beneficiary 3:         No, the drug store is telling me if I want it it's $350-something.

Eric Cartier:          Yes, ma'am, it's $345.73.

Beneficiary 3:         And that's not what I've been paying. I've been paying $17.

Eric Cartier:          Yes, ma'am.


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Beneficiary 3:         What is the difference? What is going on with your company?

Eric Cartier:          I'm not sure, ma'am. But like I said, if you need help completing this application,
                       you can call the Social Security office, 1-800-

Beneficiary 3:         Tell me what I do after tomorrow when I have no medicine? I have enough for
                       one day. It's the end of the prescription. And I went to pick up the next month.
                       You did not send me a letter telling me anything changed. Don't you think they
                       have to approve the prescription so I at least have a month to figure out what in
                       the hell I'm going to do?

Eric Cartier:          Yes, ma'am, you is correct about that.

Beneficiary 3:         So who can approve it for the drug store so they can sell it to me as they did the
                       previous month, and now all of a sudden I have a problem?

Eric Cartier:          Yes, ma'am. And again, I'm truly sorry about that. But like I say, you may be
                       eligible to get extra help paying for your prescription drugs.

Beneficiary 3:         Yeah, if I fill out papers, mail them in to you, you decide with your
                       determination team or whatever. But what I'm telling you is I have no pills after
                       tomorrow. Don't you think as a company you should have at least given me a
                       month's notice that this was going to happen?

Eric Cartier:          Yes, ma'am, that is correct.

Beneficiary 3:         So who can do something about it to give me a month to get it straightened
                       out?

Eric Cartier:          Well, one moment, ma'am, let me look into the account, okay?

Beneficiary 3:         Yes.

Beneficiary 3:         (silence)

Eric Cartier:          Yes, ma'am, I'm still here. I'm just looking into the account, okay?

Beneficiary 3:         Yes. Okay.

Eric Cartier:          Thank you for your patience, ma'am.

Beneficiary 3:         That's okay. Take your time.

Beneficiary 3:         (silence)

Eric Cartier:          Yes ma'am, you here,

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Beneficiary 3:         I'm here.

Eric Cartier:          Yes, ma'am, I thank you for patiently holding and being patient with me.

Beneficiary 3:         That's okay.

Eric Cartier:          Yes, ma'am, and as I looked into the account, like I said, you are in a coverage ...
                       I'm sorry, ma'am, you will go into the coverage gap. And the only option that I
                       can give you for now is the alternative, or I could give you an alternative maybe
                       for a lower cost of the medication, or I could give you some websites that you
                       could look onto that will be helpful for you as well.

Beneficiary 3:         What are the alternative medicines that you said they were talking about?

Eric Cartier:          Yes, ma'am, one moment as I pull up that information, okay?

Beneficiary 3:         Okay. I'm losing all respect for Silver Script. Why in the hell they send a letter
                       like that and then two months later don't tell you and let you go to the drug
                       store and find out that they're not going to do it any more.

Eric Cartier:          And again, ma'am, I'm sorry that happened to you.

Beneficiary 3:         I know, thank you, but it certainly isn't speaking well of Silver Script. At least
                       they could have sent me a letter that said, "As of this date it's not going to be
                       available as it is," and give me time to figure out what in the heck to do. Instead
                       they wait until I'm out of a prescription and go to buy the new one and then say,
                       "Oh, but you paid $17 for it, now we want $345." I think you'd feel the same
                       way if it was you.

Eric Cartier:          Yes, ma'am. Yes, ma'am.

Beneficiary 3:         Could have been a better way to handle it than to send me the damn letter
                       covering the whole year and then change their mind.

Eric Cartier:          Yes, ma'am. I'm looking into the alternatives, okay?

Beneficiary 3:         Uh-huh (affirmative).

Eric Cartier:          And yes, ma'am, you take this medicine two times a day, correct?

Beneficiary 3:         Three times a day. Two pills three times a day. So that's two, four, six pills a day
                       I take.

Eric Cartier:          Of this medicine?




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Beneficiary 3:         Yes. Yeah, my other prescriptions, they're like $2 a month for 90 days rather
                       than a month. So this is the only medicine that I have to take that is exorbitant
                       in its price. But that's the pharmaceutical companies.

Eric Cartier:          And again, ma'am, like I say, I truly understand your concern of what's going on.
                       So please don't think that I'm just ...

Beneficiary 3:         Yeah, I know. You'd feel the same if you were in my position or if your mother
                       was. You'd feel the same way.

Eric Cartier:          And that is correct.

Beneficiary 3:         The thing of it is that Silver Script didn't think enough of me to send me a damn
                       letter and tell me that they weren't going to supply it.

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         [crosstalk 00:39:11].

Eric Cartier:          Yes, ma'am. So I do have some alternatives here.

Beneficiary 3:         Okay. Could you give me two or three of them?

Eric Cartier:          Yes, ma'am. I have-

Beneficiary 3:         You'll have to spell them for me.

Eric Cartier:          Yes, ma'am. I have one of them is A-P-R-I-S-O.

Beneficiary 3:         Wait a minute. A ...

Eric Cartier:          P-R.

Beneficiary 3:         R.

Eric Cartier:          I-S-O.

Beneficiary 3:         That's it?

Eric Cartier:          Yes, ma'am, cap 0.375.

Beneficiary 3:         Wait a minute. What was it again? I'm sorry. I was talking when you did.

Eric Cartier:          Cap 0.375GM

Beneficiary 3:         0.375?

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Eric Cartier:          GM.

Beneficiary 3:         G-M, G as in George, M as in Mary?

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         Okay. Let me make sure I got this right. A-T-R-I-S-O, cap 0.37, G as in George, M
                       as in Mary?

Eric Cartier:          Yes, ma'am. And it's A-P, P as in Paul.

Beneficiary 3:         P as in Paul, where's that?

Eric Cartier:          It's A-P.

Beneficiary 3:         A-T as in Tom or A-P as in Paul?

Eric Cartier:          A-P as in Paul.

Beneficiary 3:         Okay. Okay. A as Alice, P as in Paul, R as in Robert, I as in Ida, S as in Sam, O as in
                       O?

Eric Cartier:          Correct.

Beneficiary 3:         Okay. That's the first one?

Eric Cartier:          Yes, ma'am. And the second one is sulfadiazine. S-U ...

Beneficiary 3:         Okay, you'll have to spell it for me.

Eric Cartier:          S-U-L-F-A-D.

Beneficiary 3:         S-A-D.

Eric Cartier:          I.

Beneficiary 3:         I as in Ida?

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         Okay.

Eric Cartier:          A as in apple, Z.

Beneficiary 3:         Okay.


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Eric Cartier:          I-N-E.

Beneficiary 3:         Okay. Let me make sure. S as in Sam, A as in Alice, D as in David, I as in Ida, A as
                       in Alice, Z as in zoo, R as in Robert, N as in Nancy, E as in Edward.

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         Okay. And is that a cap also, capsule?

Eric Cartier:          No, ma'am, that's a tab.

Beneficiary 3:         A tab?

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         And what's the dosage on it?

Eric Cartier:          The dosage is 500 milligrams.

Beneficiary 3:         500 milligrams. Okay. Well, what I'll do is call my doctor's office and have them
                       check those two, see if either one will do what the other does. And in the
                       meantime, so Silver Script is telling me tough luck for my medicine beyond
                       tomorrow, right? Right? Did you have-

Eric Cartier:          Oh, I'm sorry, ma'am, no, ma'am, I'm sorry, I had the phone mistakenly on
                       mute. But yes, ma'am, you are correct.

Beneficiary 3:         So in other words, I'm out of luck if the doctor doesn't pick one of these two?

Eric Cartier:          Yes, ma'am.

Beneficiary 3:         All right. Thanks for your help.

Eric Cartier:          You're welcome, ma'am. Is there anything else I could do for you?

Beneficiary 3:         No, Silver Script's done enough. Thanks a lot.

Eric Cartier:          Okay. Yes, ma'am.

Beneficiary 3:         Okay, bye.

Eric Cartier:          Thank you, and have a nice day.




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             IRUPXODU\EXWVXEMHFWWRFHUWDLQOLPLWVDVGHVFULEHGLQPRUHGHWDLOODWHULQWKLVOHWWHU6LOYHU6FULSW&KRLFH 3'3 LV
             UHTXLUHGWRSURYLGH\RXZLWKDWHPSRUDU\VXSSO\RIWKLVGUXJ,I\RXUSUHVFULSWLRQLVZULWWHQIRUIHZHUWKDQ
             GD\VZH¶OODOORZPXOWLSOH¿OOVWRSURYLGHXSWRDPD[LPXPGD\VXSSO\RIPHGLFDWLRQ
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             GHWHUPLQDWLRQV'RQ¶WDVVXPHWKDWDQ\FRYHUDJHGHWHUPLQDWLRQLQFOXGLQJDQ\H[FHSWLRQ\RXKDYHUHTXHVWHGRU
             DSSHDOHGKDVEHHQDSSURYHGMXVWEHFDXVH\RXUHFHLYHPRUH¿OOVRIDGUXJ,IZHDSSURYHFRYHUDJHWKHQZH¶OO
             VHQG\RXDQRWKHUZULWWHQQRWLFH
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             ,I\RXQHHGDVVLVWDQFHLQUHTXHVWLQJDFRYHUDJHGHWHUPLQDWLRQLQFOXGLQJDQH[FHSWLRQRULI\RXZDQWPRUH
             LQIRUPDWLRQDERXWZKHQZHZLOOFRYHUDWHPSRUDU\VXSSO\RIDGUXJFRQWDFWXVDW77<XVHUV
             VKRXOGFDOO/LYHUHSUHVHQWDWLYHVDUHDYDLODEOHKRXUVDGD\GD\VDZHHN<RXFDQDVNXVIRUD
             FRYHUDJHGHWHUPLQDWLRQDWDQ\WLPH,QVWUXFWLRQVRQKRZWRFKDQJH\RXUFXUUHQWSUHVFULSWLRQKRZWRDVN
             IRUDFRYHUDJHGHWHUPLQDWLRQ LQFOXGLQJDQH[FHSWLRQ DQGKRZWRDSSHDODGHQLDOLI\RXGLVDJUHHZLWK
             RXUFRYHUDJHGHWHUPLQDWLRQDUHGLVFXVVHGDWWKHHQGRIWKLVOHWWHU
             
             7KHIROORZLQJLVDVSHFL¿FH[SODQDWLRQRIZK\\RXUGUXJLVQRWFRYHUHGRULVOLPLWHG
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             KDYHUHFHLYHGWKHPD[LPXPGD\V¶WHPSRUDU\VXSSO\WKDWZHDUHUHTXLUHGWRFRYHUXQOHVV\RXREWDLQD
             IRUPXODU\H[FHSWLRQIURPXV
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             +RZGR,FKDQJHP\SUHVFULSWLRQ"
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             RWKHUGUXJXVHGWRWUHDW\RXUPHGLFDOFRQGLWLRQLVRQRXUIRUPXODU\DVNXVWRDSSURYHFRYHUDJHE\VKRZLQJWKDW
             \RXPHHWRXUFULWHULDRUDVNXVIRUDQH[FHSWLRQ:HHQFRXUDJH\RXWRDVN\RXUSUHVFULEHULIWKLVRWKHUGUXJWKDW
             ZHFRYHULVDQRSWLRQIRU\RX<RXKDYHWKHULJKWWRUHTXHVWDQH[FHSWLRQIURPXVWRFRYHU\RXUGUXJWKDWZDV
             RULJLQDOO\SUHVFULEHG,I\RXDVNIRUDQH[FHSWLRQ\RXUSUHVFULEHUZLOOQHHGWRSURYLGHXVZLWKDVWDWHPHQW
             H[SODLQLQJZK\DSULRUDXWKRUL]DWLRQTXDQWLW\OLPLWRURWKHUOLPLWZHKDYHSODFHGRQ\RXUGUXJLVQRWPHGLFDOO\
             DSSURSULDWHIRU\RX
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             +RZGR,UHTXHVWDFRYHUDJHGHWHUPLQDWLRQLQFOXGLQJDQH[FHSWLRQ"
             <RXRU\RXUSUHVFULEHUPD\FRQWDFWXVWRUHTXHVWDFRYHUDJHGHWHUPLQDWLRQLQFOXGLQJDQH[FHSWLRQ7KHWROO
             IUHHSKRQHQXPEHULV 77<XVHUVVKRXOGFDOO RU\RXPD\ID[WRRU\RX
             PD\ZULWHWRXVDW6LOYHU6FULSW,QVXUDQFH&RPSDQ\3UHVFULSWLRQ'UXJ3ODQV&RYHUDJH'HFLVLRQVDQG$SSHDOV
             'HSDUWPHQW32%R[0&3KRHQL[$=:HDUHDYDLODEOHKRXUVDGD\GD\VD
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             ,I\RXDUHUHTXHVWLQJFRYHUDJHRIDGUXJWKDWLVQRWRQRXUIRUPXODU\RUDQH[FHSWLRQWRDFRYHUDJHUXOH\RXU
             SUHVFULEHUPXVWSURYLGHDVWDWHPHQWVXSSRUWLQJ\RXUUHTXHVW,WPD\EHKHOSIXOWREULQJWKLVQRWLFHZLWK\RXWR
             WKHSUHVFULEHURUVHQGDFRS\WRKLVRUKHURI¿FH,IWKHH[FHSWLRQUHTXHVWLQYROYHVDGUXJWKDWLVQRWRQRXU
             IRUPXODU\WKHSUHVFULEHU¶VVWDWHPHQWPXVWLQGLFDWHWKDWWKHUHTXHVWHGGUXJLVPHGLFDOO\QHFHVVDU\IRUWUHDWLQJ
             \RXUFRQGLWLRQEHFDXVHDOORIWKHGUXJVRQRXUIRUPXODU\ZRXOGEHOHVVHIIHFWLYHWKDQWKHUHTXHVWHGGUXJRU
             ZRXOGKDYHDGYHUVHHIIHFWVIRU\RX,IWKHH[FHSWLRQUHTXHVWLQYROYHVDSULRUDXWKRUL]DWLRQRURWKHUFRYHUDJH
             UXOHZHKDYHSODFHGRQDGUXJWKDWLVRQRXUIRUPXODU\WKHSUHVFULEHU¶VVWDWHPHQWPXVWLQGLFDWHWKDWWKH
             FRYHUDJHUXOHZRXOGQ¶WEHDSSURSULDWHIRU\RXJLYHQ\RXUFRQGLWLRQRUZRXOGKDYHDGYHUVHHIIHFWVIRU\RX
             
             :HPXVWQRWLI\\RXRIRXUGHFLVLRQQRODWHUWKDQKRXUVLIWKHUHTXHVWKDVEHHQH[SHGLWHGRUQRODWHUWKDQ
             KRXUVLIWKHUHTXHVWLVDVWDQGDUGUHTXHVWIURPZKHQZHUHFHLYH\RXUUHTXHVW)RUH[FHSWLRQVWKH
             WLPHIUDPHEHJLQVZKHQZHREWDLQ\RXUSUHVFULEHU¶VVWDWHPHQW<RXUUHTXHVWZLOOEHH[SHGLWHGLIZHGHWHUPLQH
             RU\RXUSUHVFULEHUWHOOVXVWKDW\RXUOLIHKHDOWKRUDELOLW\WRUHJDLQPD[LPXPIXQFWLRQPD\EHVHULRXVO\
             MHRSDUGL]HGE\ZDLWLQJIRUDVWDQGDUGGHFLVLRQ
             
             :KDWLIP\UHTXHVWIRUFRYHUDJHLVGHQLHG"
             ,I\RXUUHTXHVWIRUFRYHUDJHLVGHQLHG\RXKDYHWKHULJKWWRDSSHDOE\DVNLQJIRUDUHYLHZRIWKHSULRUGHFLVLRQ
             ZKLFKLVFDOOHGDUHGHWHUPLQDWLRQ<RXPXVWUHTXHVWWKLVDSSHDOZLWKLQFDOHQGDUGD\VIURPWKHGDWHRIRXU
             ZULWWHQGHFLVLRQRQ\RXUFRYHUDJHGHWHUPLQDWLRQUHTXHVW:HDFFHSWVWDQGDUGDQGH[SHGLWHGUHTXHVWVE\
             WHOHSKRQHDQGLQZULWLQJ&RQWDFWXVDW6LOYHU6FULSW,QVXUDQFH&RPSDQ\3UHVFULSWLRQ'UXJ3ODQV&RYHUDJH
             'HFLVLRQVDQG$SSHDOV'HSDUWPHQW32%R[0&3KRHQL[$=SKRQH
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             LQIRUPDWLRQDERXWZKHQZHZLOOFRYHUDWHPSRUDU\VXSSO\RIDGUXJFRQWDFWXVDWKRXUVD
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             ZHHN<RXFDQDVNXVIRUDFRYHUDJHGHWHUPLQDWLRQDWDQ\WLPH<RXFDQDOVRYLVLWRXUZHEVLWHDW
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                           SilverScript® Insurance Company complies with applicable Federal civil rights laws and does not
                           discriminate on the basis of race, color, national origin, age, disability, or sex. SilverScript
                           Insurance Company does not exclude people or treat them differently because of race, color,
                           national origin, age, disability, or sex.

                           SilverScript Insurance Company:
                               x Provides free aids and services to people with disabilities to communicate effectively
                                  with us, such as:
                                      o Written information in other formats (large print, audio, accessible electronic
                                           formats, other formats)

                                  x      Provides free language services to people whose primary language is not English, such
                                         as:
                                             o Qualified interpreters
                                             o Information written in other languages

                           If you need written information in other formats or free language services, please contact
                           Customer Care. This number can be found on the back of your member ID card or on the letter
                           that accompanied this notice.

                           If you believe that SilverScript Insurance Company has failed to provide these services or
                           discriminated in another way on the basis of race, color, national origin, age, disability, or sex,
                           you can file a grievance with: SilverScript Insurance Company, Grievance Department,
                           P.O. Box 30016, Pittsburgh, PA 15222-0330. Fax: 1-866-217-3353.

                           You can file a grievance by mail, or by fax. If you need help filing a grievance, the SilverScript
                           Grievance Department is available to help you.

                           You can also file a civil rights complaint with the U.S. Department of Health and Human
                           Services, Office for Civil Rights electronically through the Office for Civil Rights Complaint
                           Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
                           U.S. Department of Health and Human Services, 200 Independence Avenue SW., Room 509F,
                           HHH Building, Washington, DC 20201, 1-800-368-1019, 1-800-537-7697 (TDD). Complaint
                           forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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/HDYHWKLVWH[WDQGWH[WER[KHUH7KLVWH[WLVQHHGHGIRUWKHSRVWSURFHVV
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                                        Case 2:19-cv-02553-JMY Document 18 Filed 03/28/22 Page 560 of 680


                  E'>/^,                                                      &ZE,ZK>
                  ddEd/KE͗/ĨǇŽƵƐƉĞĂŬŶŐůŝƐŚ͕ůĂŶŐƵĂŐĞ                    dE^zKE͗^ŝǁƉĂůĞ<ƌĞǇžůǇŝƐǇĞŶ͕ŐĞŶƐğǀŝƐ
                  ĂƐƐŝƐƚĂŶĐĞƐĞƌǀŝĐĞƐ͕ĨƌĞĞŽĨĐŚĂƌŐĞ͕ĂƌĞĂǀĂŝůĂďůĞ           ğĚƉŽƵůĂŶŐŬŝĚŝƐƉŽŶŝďŐƌĂƚŝƐƉŽƵŽƵ͘ZĞůĞ
                  ƚŽǇŽƵ͘ĂůůϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘                      ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘
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                  ^WE/^,                                                      &ZE,
                  dE/ME͗^ŝƵƐƚĞĚŚĂďůĂĞƐƉĂŹŽů͕ƚĞŶĞŵŽƐ                    ddEd/KE͗^ŝǀŽƵƐƉĂƌůĞǌĨƌĂŶĕĂŝƐ͕ĚĞƐƐĞƌǀŝĐĞƐ
                  ƐĞƌǀŝĐŝŽƐĚĞĂƐŝƐƚĞŶĐŝĂůŝŶŐƺşƐƚŝĐĂĚŝƐƉŽŶŝďůĞƐ              ŐƌĂƚƵŝƚƐĚ͛ŝŶƚĞƌƉƌĠƚĂƚŝŽŶƐŽŶƚăǀŽƚƌĞ
                  ƉĂƌĂƵƐƚĞĚƐŝŶĐŽƐƚŽĂůŐƵŶŽ͘>ůĂŵĞĂů                       ĚŝƐƉŽƐŝƚŝŽŶ͘sĞƵŝůůĞǌĂƉƉĞůĞƌůĞϭͲϴϲϲͲϮϯϱͲϱϲϲϬ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘                                   ;ddz͗ϳϭϭͿ͘
                                                                               
                  ,/E^                                                      WK>/^,
                  ᑠ崛ኈ㸸ዴᯝᝍ寛ᬑ㏻寄㸪㬉㏄౑⏝ච崠寔                                           ht'͗ůĂŽƐſďŵſǁŝČĐǇĐŚƉŽƉŽůƐŬƵ
                  ゝ⌶ຓ᭹⊈ࠋ寞㋏ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗                                 ĚŽƐƚħƉŶĂũĞƐƚďĞǌƉųĂƚŶĂƉŽŵŽĐũħǌǇŬŽǁĂ͘
                  ϳϭϭͿࠋ                                                        ĂĚǌǁŽŷƉŽĚŶƵŵĞƌϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘
                                                                               
                  s/dED^                                                   WKZdh'h^
                  ,j|͗EұƵƋƵǇǵǀŝ าŶſŝƚŝġǵŶŐsŝҵƚ͕ƚŚŞĐſƐҬŶĐĄĐ         dEK͗^ĞĨĂůĂƉŽƌƚƵŐƵġƐ͕ĞƐƚĆŽĚŝƐƉŽŶşǀĞŝƐ
                  ĚҷĐŚǀӅƚƌӄŐŝƷƉŶŐƀŶŶŐӋŵŝҴŶƉŚşĚăŶŚĐŚŽ                  ƐĞƌǀŝĕŽƐŐƌĂƚƵŝƚŽƐĚĞĂƐƐŝƐƚġŶĐŝĂůŝŶŐƵşƐƚŝĐĂŶĂ
                  ƋƵǇǵǀŝ า͘,ĆǇŐҸŝƐƀǵϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘            ƐƵĂůşŶŐƵĂ͘dĞůĞĨŽŶĞƉĂƌĂϭͲϴϲϲͲϮϯϱͲϱϲϲϬ
                                                                               ;ddz͗ϳϭϭͿ͘
                  <KZE                                                       
                  ߊս͗ଞ˲߭ձଜ‫ݤ‬Еˁࡉ‫ה‬Վ੼ࠇ                                        /d>/E
                  ۰‫ݛٸ‬ɼࣱ‫ٸ‬Ѹ߭࢑‫ݡ‬ТЬ͘                                             ddE/KE͗^ĞůĞŝƉĂƌůĂŝƚĂůŝĂŶŽ͕ƐŽŶŽ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿԻࠉԃ࣯‫̛ݤ‬                             ĚŝƐƉŽŶŝďŝůŝƐĞƌǀŝǌŝŐƌĂƚƵŝƚŝĚŝĂƐƐŝƐƚĞŶǌĂůŝŶŐƵŝƐƚŝĐĂ
                                                                                ŶĞůůĂƐƵĂůŝŶŐƵĂ͘ŚŝĂŵŝϭͲϴϲϲͲϮϯϱͲϱϲϲϬ
                  ‫؂‬ԇТЬ͘
                                                                                ;ddz͗ϳϭϭͿ͘
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                  d'>K'
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                  WE^/E/E͗<ƵŶŐŶĂŐƐĂƐĂůŝƚĂƉŽŬĂǇŽŶŐdĂŐĂůŽŐ͕
                  ŵĂŐĂŐĂŵŝƚŶŝŶǇŽĂŶŐŵŐĂƐĞƌďŝƐǇŽŶŐƚƵůŽŶŐƐĂ                 ࠾▱ࡽࡏ͗᪥ᮏㄒ࡛ࡢᑐᛂࢆᮃࡲࢀࡿ᪉࡟
                  ǁŝŬĂŶŐǁĂůĂŶŐďĂǇĂĚ͘dĂǁĂŐĂŶƉŽĂŶŐ                         ࡣࠊ↓ᩱ࡛㏻ヂࢧ࣮ࣅࢫࢆࡈ฼⏝࡟࡞ࢀࡲ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘                                   ࡍࠋ㟁ヰ␒ྕϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿࡲ࡛
                                                                               ࠾ၥ࠸ྜࢃࡏୗࡉ࠸ࠋ
                  Zh^^/E                                                      
                  ʦʻʰʺʤʻʰʫ͗ʫ̛̭̣̼̏̨̨̛̬̯̖̐̏̦̌̡̨̬̱̭̭̥                        'ZDE
                  ̡̼̖͕́̚̥̏̌̱̱̯̍̔̨̖̭̪̣̯̦̍̌̨̪̬̖̭̯̣̖̦̼̔̌̏                     /dd,dE͗tĞŶŶ^ŝĞĞƵƚƐĐŚƐƉƌĞĐŚĞŶ͕
                  ̛̱̭̣̱̐̸̨̡̛̪̖̬̖̏̔̌͘ʯ̨̛̦̯̖̏̨̪̴̨̯̖̣̖̦̱͗                    ƐƚĞŚĞŶ/ŚŶĞŶƵŶƐĞƌĞŽůŵĞƚƐĐŚĞƌƵŶƚĞƌĚĞƌ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;̯̖̣̖̯̜̪̌͗ϳϭϭͿ͘                              EƵŵŵĞƌϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿŬŽƐƚĞŶůŽƐ
                                                                               ǌƵƌsĞƌĨƺŐƵŶŐ͘
                  Z/                                                        
                 ΓΪϋΎδϤϟ΍ΕΎϣΪΧήϓϮΘΗˬΔϴΑήόϟ΍ΙΪΤΘΗΖϨϛ΍Ϋ·ΔψΣϼϣ            &Z^/
                 ϭϴϲϲϮϯϱϱϲϲϬϢϗήϟΎΑϞμΗ΍ϚϠΟ΃ϦϣΎ˱ϧΎΠϣΔϳϮϐϠϟ΍               ΕΎϣΪΧˬΪϴϨ̶̯ϣΖΒΤλ̶γέΎϓϥΎΑίϪΑϪ̪ϧΎϨ̩ϪΟϮΗ
                                                  ϳϭϭϲμϨϟ΍ϒΗΎϬϟ΍               έ΍ήϗΎϤηέΎϴΘΧ΍έΩˬϥΎ̴ϳ΍έΕέϮλϪΑˬ̶ϧΎΑί̮Ϥ̯
                                                                                     ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz: ϩέΎϤηΎΑΖϓή̳Ϊϫ΍ϮΧ
                                                                                                                  Ϊϳήϴ̴ΑαΎϤΗϳϭϭ)




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EXHIBIT 58
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EXHIBIT 59
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EXHIBIT 60
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               Harvoni & Epclusa Gx Rejected Claims
                      (for the month of January 2019)

Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   AL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AR          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AZ          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AZ          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AZ          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/14/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/10/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/29/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/29/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/15/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CO          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CO          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL


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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   CO          1/14/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CT          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/15/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/21/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/24/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   GA          1/25/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   GA          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   GA          1/16/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   GA          1/28/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IN          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL



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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   IN          1/18/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IN          1/18/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IN          1/28/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   KS          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   KY          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/10/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MD          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   ME          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/18/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MI          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MI          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MO          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL



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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   MO          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MO          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MO          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MO          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MO          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MS          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MS          1/29/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MS          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   NC          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   NC          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   NY          1/10/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   NY          1/21/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   NY          1/21/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   NY          1/28/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   OR          1/7/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   PA          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   PA          1/9/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   RI          1/3/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   SC          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL



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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   TN          1/21/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/7/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TX          12/21/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TX          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   VA          1/25/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   VT          1/24/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   VT          1/24/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WA          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          12/18/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          12/18/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          12/18/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          1/2/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   WI          1/21/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   WV          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL




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        Generic Ventolin HFA Transition Fill Claims
                      (2019.02.07 to 2019.02.13)

STATE     DATE FILL     NDC                DRUG
LA        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
ID        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
OK        20190207      66993001968        ALBUTEROL   AER HFA
WA        20190207      66993001968        ALBUTEROL   AER HFA
MO        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
OK        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
NH        20190207      66993001968        ALBUTEROL   AER HFA
NC        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
MO        20190207      66993001968        ALBUTEROL   AER HFA
CO        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
NJ        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
NM        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
MD        20190207      66993001968        ALBUTEROL   AER HFA
PA        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
OH        20190207      66993001968        ALBUTEROL   AER HFA
OR        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
KS        20190207      66993001968        ALBUTEROL   AER HFA
MA        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
WV        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
PA        20190207      66993001968        ALBUTEROL   AER HFA
AL        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
CO        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
MN        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
KS        20190207      66993001968        ALBUTEROL   AER HFA
MD        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
MI        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
WI        20190207      66993001968        ALBUTEROL   AER HFA
KY        20190207      66993001968        ALBUTEROL   AER HFA
NE        20190207      66993001968        ALBUTEROL   AER HFA
OK        20190207      66993001968        ALBUTEROL   AER HFA
ID        20190207      66993001968        ALBUTEROL   AER HFA
VT        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
NC        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
NJ        20190207      66993001968        ALBUTEROL   AER HFA
AZ        20190207      66993001968        ALBUTEROL   AER HFA
OR        20190207      66993001968        ALBUTEROL   AER HFA
MO        20190207      66993001968        ALBUTEROL   AER HFA
MN        20190207      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
WI        20190207      66993001968        ALBUTEROL   AER HFA
WI        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
IA        20190207      66993001968        ALBUTEROL   AER HFA
MD        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
NE        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
PA        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
VA        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
WA        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
NM        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
NM        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
NH        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
WA        20190208      66993001968        ALBUTEROL   AER HFA
IA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
NJ        20190208      66993001968        ALBUTEROL   AER HFA
WA        20190208      66993001968        ALBUTEROL   AER HFA
MD        20190208      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
AZ        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
OH        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
FL        20190208      66993001968        ALBUTEROL   AER HFA
WY        20190208      66993001968        ALBUTEROL   AER HFA
IA        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
OR        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
TN        20190208      66993001968        ALBUTEROL   AER HFA
SC        20190208      66993001968        ALBUTEROL   AER HFA
KS        20190208      66993001968        ALBUTEROL   AER HFA
OH        20190208      66993001968        ALBUTEROL   AER HFA
GA        20190208      66993001968        ALBUTEROL   AER HFA
WV        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
NC        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CO        20190208      66993001968        ALBUTEROL   AER HFA
MO        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CO        20190208      66993001968        ALBUTEROL   AER HFA
SC        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
KY        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190208      66993001968        ALBUTEROL   AER HFA
MA        20190208      66993001968        ALBUTEROL   AER HFA
AR        20190208      66993001968        ALBUTEROL   AER HFA
GA        20190208      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
MN        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
MS        20190208      66993001968        ALBUTEROL   AER HFA
FL        20190208      66993001968        ALBUTEROL   AER HFA
NJ        20190208      66993001968        ALBUTEROL   AER HFA
IN        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
MD        20190208      66993001968        ALBUTEROL   AER HFA
IN        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
NC        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
FL        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
NC        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
IN        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190208      66993001968        ALBUTEROL   AER HFA
KS        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
TN        20190208      66993001968        ALBUTEROL   AER HFA
TN        20190208      66993001968        ALBUTEROL   AER HFA
GA        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190209      66993001968        ALBUTEROL   AER HFA
DE        20190209      66993001968        ALBUTEROL   AER HFA
FL        20190209      66993001968        ALBUTEROL   AER HFA
NY        20190209      66993001968        ALBUTEROL   AER HFA
TX        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
NM        20190209      66993001968        ALBUTEROL   AER HFA
SD        20190209      66993001968        ALBUTEROL   AER HFA
VA        20190209      66993001968        ALBUTEROL   AER HFA
AR        20190209      66993001968        ALBUTEROL   AER HFA
WA        20190209      66993001968        ALBUTEROL   AER HFA
IL        20190209      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
NC        20190209      66993001968        ALBUTEROL   AER HFA
TN        20190209      66993001968        ALBUTEROL   AER HFA
LA        20190209      66993001968        ALBUTEROL   AER HFA
NM        20190209      66993001968        ALBUTEROL   AER HFA
MN        20190209      66993001968        ALBUTEROL   AER HFA
CA        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
NV        20190209      66993001968        ALBUTEROL   AER HFA
MN        20190209      66993001968        ALBUTEROL   AER HFA
NY        20190209      66993001968        ALBUTEROL   AER HFA
IA        20190209      66993001968        ALBUTEROL   AER HFA
OH        20190209      66993001968        ALBUTEROL   AER HFA
WI        20190209      66993001968        ALBUTEROL   AER HFA
VA        20190209      66993001968        ALBUTEROL   AER HFA
MI        20190209      66993001968        ALBUTEROL   AER HFA
MO        20190209      66993001968        ALBUTEROL   AER HFA
OH        20190209      66993001968        ALBUTEROL   AER HFA
CA        20190209      66993001968        ALBUTEROL   AER HFA
AR        20190209      66993001968        ALBUTEROL   AER HFA
IN        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
IN        20190209      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
CA        20190210      66993001968        ALBUTEROL   AER HFA
MI        20190210      66993001968        ALBUTEROL   AER HFA
RI        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
NC        20190210      66993001968        ALBUTEROL   AER HFA
NC        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
NC        20190210      66993001968        ALBUTEROL   AER HFA
MS        20190210      66993001968        ALBUTEROL   AER HFA
CA        20190210      66993001968        ALBUTEROL   AER HFA
AR        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
OR        20190210      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
AR        20190210      66993001968        ALBUTEROL   AER HFA
CA        20190210      66993001968        ALBUTEROL   AER HFA
TN        20190210      66993001968        ALBUTEROL   AER HFA
IL        20190210      66993001968        ALBUTEROL   AER HFA
MA        20190210      66993001968        ALBUTEROL   AER HFA
PA        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
AZ        20190211      66993001968        ALBUTEROL   AER HFA
IN        20190211      66993001968        ALBUTEROL   AER HFA
HI        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
IA        20190211      66993001968        ALBUTEROL   AER HFA
NJ        20190211      66993001968        ALBUTEROL   AER HFA
IA        20190211      66993001968        ALBUTEROL   AER HFA
RI        20190211      66993001968        ALBUTEROL   AER HFA
MO        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
NE        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
VA        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
PA        20190211      66993001968        ALBUTEROL   AER HFA
NH        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
NM        20190211      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
KY        20190211      66993001968        ALBUTEROL   AER HFA
AR        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
VA        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
ID        20190211      66993001968        ALBUTEROL   AER HFA
NE        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
OR        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
SD        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
CA        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
KY        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
CA        20190211      66993001968        ALBUTEROL   AER HFA
IA        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
OH        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
WA        20190211      66993001968        ALBUTEROL   AER HFA
LA        20190211      66993001968        ALBUTEROL   AER HFA
LA        20190211      66993001968        ALBUTEROL   AER HFA
MO        20190211      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
PA        20190211      66993001968        ALBUTEROL   AER HFA
WA        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
KS        20190211      66993001968        ALBUTEROL   AER HFA
HI        20190211      66993001968        ALBUTEROL   AER HFA
AZ        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
KY        20190211      66993001968        ALBUTEROL   AER HFA
SD        20190211      66993001968        ALBUTEROL   AER HFA
PA        20190211      66993001968        ALBUTEROL   AER HFA
OH        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
CA        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
WI        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
GA        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
OK        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
OH        20190211      66993001968        ALBUTEROL   AER HFA
PA        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
NC        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
IL        20190211      66993001968        ALBUTEROL   AER HFA
ME        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
SD        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
WI        20190211      66993001968        ALBUTEROL   AER HFA
LA        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
GA        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
GA        20190212      66993001968        ALBUTEROL   AER HFA
LA        20190212      66993001968        ALBUTEROL   AER HFA
AL        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
NJ        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
NC        20190212      66993001968        ALBUTEROL   AER HFA
VT        20190212      66993001968        ALBUTEROL   AER HFA
TN        20190212      66993001968        ALBUTEROL   AER HFA
NC        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
OH        20190212      66993001968        ALBUTEROL   AER HFA
ID        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
WV        20190212      66993001968        ALBUTEROL   AER HFA
NC        20190212      66993001968        ALBUTEROL   AER HFA
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NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
CT        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
OK        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
GA        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
OR        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA
MN        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
WA        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
MO        20190212      66993001968        ALBUTEROL   AER HFA
OH        20190212      66993001968        ALBUTEROL   AER HFA
IA        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
MA        20190212      66993001968        ALBUTEROL   AER HFA
KS        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
MS        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
NJ        20190212      66993001968        ALBUTEROL   AER HFA
NM        20190212      66993001968        ALBUTEROL   AER HFA
MI        20190212      66993001968        ALBUTEROL   AER HFA
FL        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
MT        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
MI        20190212      66993001968        ALBUTEROL   AER HFA
WV        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
WI        20190212      66993001968        ALBUTEROL   AER HFA
WV        20190212      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
TX        20190212      66993001968        ALBUTEROL   AER HFA
GA        20190212      66993001968        ALBUTEROL   AER HFA
SD        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
TN        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
ID        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
FL        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
OK        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
MN        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
LA        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
OH        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA
VA        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA
MO        20190212      66993001968        ALBUTEROL   AER HFA
OR        20190212      66993001968        ALBUTEROL   AER HFA
NM        20190212      66993001968        ALBUTEROL   AER HFA
CO        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
MD        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
IA        20190213      66993001968        ALBUTEROL   AER HFA
KY        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
IL        20190213      66993001968        ALBUTEROL   AER HFA
PA        20190213      66993001968        ALBUTEROL   AER HFA
AL        20190213      66993001968        ALBUTEROL   AER HFA
MS        20190213      66993001968        ALBUTEROL   AER HFA
GA        20190213      66993001968        ALBUTEROL   AER HFA
WI        20190213      66993001968        ALBUTEROL   AER HFA
MA        20190213      66993001968        ALBUTEROL   AER HFA
PA        20190213      66993001968        ALBUTEROL   AER HFA
KS        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
NY        20190213      66993001968        ALBUTEROL   AER HFA
OH        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
GA        20190213      66993001968        ALBUTEROL   AER HFA
OH        20190213      66993001968        ALBUTEROL   AER HFA
MI        20190213      66993001968        ALBUTEROL   AER HFA
IL        20190213      66993001968        ALBUTEROL   AER HFA
NC        20190213      66993001968        ALBUTEROL   AER HFA
CA        20190213      66993001968        ALBUTEROL   AER HFA
IA        20190213      66993001968        ALBUTEROL   AER HFA
SC        20190213      66993001968        ALBUTEROL   AER HFA
KY        20190213      66993001968        ALBUTEROL   AER HFA
NY        20190213      66993001968        ALBUTEROL   AER HFA
WA        20190213      66993001968        ALBUTEROL   AER HFA




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Kandace Thomas :      Thank you for calling Customer Care. My name is Candace. Can I have the
                      member's first and last name?

Beneficiary 15:                         .

Kandace Thomas :      Okay, spell your first name for me.

Beneficiary 15:                     .

Kandace Thomas :      All right. And what is your date of birth?

Beneficiary 15:                 .

Kandace Thomas :      Okay. And Ms. George, can you give me your zip code?

Beneficiary 15:             .

Kandace Thomas :      Perfect. And just one of the medications that you take.

Beneficiary 15:       Advair Diskus.

Kandace Thomas :      All right. Perfect. And thank you so much for that. How can I assist you today?

Beneficiary 15:       Pardon?

Kandace Thomas :      How can I assist you today?

Beneficiary 15:       Okay. I went to get my Advair Diskus, and I know that there's a generic available
                      and it seems like SilverScript is not covering the generic and because it's not on
                      the formulary and that is wrong. And I would like the Wixela.

Kandace Thomas :      Okay. So you would prefer the generic?

Beneficiary 15:       Yes. The pharmacy is supposed to offer me the generic versus the preferred
                      brand and the SilverScript should not have anything to do with my preference
                      with, especially when there's a generic available.

Beneficiary 15:       Right. Okay. Well-

Beneficiary 15:       And another thing is the cost probably will be cheaper and I won't go in the
                      donut hole maybe.

Kandace Thomas :      Okay. Well, in this case, let's see. This brand, yeah so the generic is not on the
                      formulary. And so I'm looking at it now and I do see here that the generic is not
                      on the formulary. So in this case, the brand is preferred. In some cases they
                      prefer the generics, but in this case, the brand is preferred. So are you wanting
                      to see about trying to get the generic?
                                                                                          Page 1 of 4
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Beneficiary 15:       Yes. Yes.

Kandace Thomas :      Okay. So let's see. Okay. All right. So that would require, so what'll have to
                      happen is called a formulary exception since this one is not on the formulary.
                      We'll have to start the process to try and get this particular one on the
                      formulary in your case. Okay. So that means I have to get our Care Exception
                      Review Team on the line. They'll speak with you, and then they'll get our
                      Coverage Determination Team. And they'll let you know the steps from there.
                      Okay?

Beneficiary 15:       Okay.

Kandace Thomas :      All right. So bear with me one moment here and let me get them on the line.

Beneficiary 15:       Who will I be speaking with?

Kandace Thomas :      I'm going to get our Care Exception Review Team on the line.

Beneficiary 15:       Our what? It's hard to understand you for some reason.

Kandace Thomas :      Okay. I do apologize. It's called the Care Exception Review Team.

Beneficiary 15:       Care reception Review Team.

Kandace Thomas :      Yes, ma'am.

Beneficiary 15:       Something like that.

Kandace Thomas :      Except, uh-huh (affirmative), yeah. They're going to offer alternatives, that is
                      their stage in the process. And if you just want this particular one, then at that
                      point, they'll get our Coverage Determination Team. Okay.

Beneficiary 15:       Okay.

Kandace Thomas :      All right. So bear with me one moment. Let me get them on the line for you.

Beneficiary 15:       Okay.

Kandace Thomas :      All right.             ?

Beneficiary 15:       Yeah.

Kandace Thomas :      Yes. So I got the Care Exception Review Team on the line. And when I explained
                      to them what was going on, you were wanting to get the Wixela covered, she
                      had let me know that in cases where the note says dispense brand, you have to
                      get the brand. She said there's no way you can get a formulary exception on
                      that, because it's specifically saying. She said normally when they say that, that
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                      means there's something going on with the generic. So they prefer the brand.
                      And actually now that I'm doing it, that Wixela is way more expensive than the
                      Advair. The Wixela is almost $200.

Beneficiary 15:       $200 for whom?

Kandace Thomas :      For the Wixela, the generic.

Beneficiary 15:       I pay $38 for Advair myself through SilverScript.

Kandace Thomas :      Right.

Beneficiary 15:       The plan paid $359.48.

Kandace Thomas :      Yes ma'am.

Beneficiary 15:       What are you telling me?

Kandace Thomas :      What I'm telling you is that the Wixela, if you were to get that one... you can't
                      get an exception on it. But the only good thing with that is that if you were to
                      pay for the Wixela, you're going to be paying $128 for it. The brand is actually
                      cheaper.

Beneficiary 15:       I know somebody that gets it and they don't pay that.

Kandace Thomas :      Well, they-

Beneficiary 15:       Well, it sounds like SilverScript just doesn't want to change because it's to their
                      benefit and I'm not feeling that they're thinking of the consumer and it's hard
                      for me to believe that the generic is pricier than the Advair.

Kandace Thomas :      Yes, ma'am.

Beneficiary 15:       It shouldn't be that way. Well, maybe according to SilverScript, because they
                      want it to be. So there is no exception, right? Is that what you're telling me?

Kandace Thomas :      That is what I was told by our Care Exception Review member. When it says to
                      dispense the brand, normally in cases when it says specifically dispense the
                      brand, that means we're giving you the brand instead of the generic because
                      something is going on with that generic. And that's actually looking-

Beneficiary 15:       What?

Kandace Thomas :      If I knew, I promise I would tell you. I really don't know that it's just what she
                      said, but it has a specific note. And even when they pulled it up at the
                      pharmacy, it literally says dispense brand. So if there's something going on

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                      where we don't want to give it to you, where it may affect you, then we're not
                      going to. We don't want you to receive anything that's not-

Beneficiary 15:       Well, I will talk with my doctor about this and I will find out other things and-

Kandace Thomas :      Okay.

Beneficiary 15:       If I don't like what SilverScript is doing, I won't have script in the future. So I will
                      find out on my own what the scoop is. But I don't like personally what
                      SilverScript is doing.

Kandace Thomas :      Okay. Now if you're wanting to talk to somebody and maybe see if they can do
                      the exception, I was just told-

Beneficiary 15:       But you just told me that there are no exceptions.

Kandace Thomas :      That is what I just told you, but what I'm asking you now, well... There's no.
                      Okay.

Beneficiary 15:       Pardon?

Kandace Thomas :      No, you're right. There's no exception on that. So was there anything else I
                      could assist you with today other than discussing that Advair and that Wixela?

Beneficiary 15:       No, not right now.

Kandace Thomas :      Perfect. Well, thank you so much for calling and you enjoy the rest of your day.




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Recording:            You have reached the CD specialized team. Please hold for the next
                      representative. Your call may be monitored or recorded to ensure quality.

Kiana:                Thank you for calling the care center review team. My name is Kiana. Can I have
                      your first name, last initial?

Kandace Thomas:       Candace T., like Tom.

Kiana:                All right. What's your ZID?

Kandace Thomas:       My ZID is 260714.

Kiana:                Site location?

Kandace Thomas:       Jonesboro.

Kiana:                Who is the supervisor?

Kandace Thomas:       Thomas B., like boy.

Kiana:                What is the members ID?

Kandace Thomas:       That is             .

Kiana:                Members name, date of birth, and client code?

Kandace Thomas:                                                       .

Kiana:                Do you need a code for the member for the authenticate?

Kandace Thomas:       Yes.

Kiana:                Okay. What's the reason for the call?

Kandace Thomas:       She was trying to get her WIXELA INHUB filled, but she was told at the pharmacy
                      that she had to use the brand name, which ADVAIR DISKUS. She's really upset
                      about that. She wants to use the generic. She's wanting to get an exception on
                      that one.

Kiana:                She can not use that medication. She has to use the brand. That's why it's saying
                      dispense her to brand.

Kandace Thomas:       She was saying it's wrong, and you can't tell me what to buy. She absolutely
                      cannot get an exception on that WIXELA?




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Kiana:                No. That one, that medication, anytime they say dispense brand, it's something
                      going on with that medication. We have to dispense her the brand. Her doctor
                      actually wrote her a prescription for the brand. We have to give her.

Kandace Thomas:       Right. She knows that she was wrote that prescription. She is wanting it... I'll just
                      let her know that she has to get that one.

Kiana:                Right. If she was to get that medication, it's going to be higher than the one she
                      has, it's almost $100.00. That medication, she has to be dispensed the brand.
                      That's what she has to have.

Kandace Thomas:       Okay. All right. Sounds good. Thank you so much.

Kiana:                You're welcome. Anything else I can assist you with today?

Kandace Thomas:       No, that's it.

Kiana:                All right. Thank you. Have a good day.

Kandace Thomas:       You, too.




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         2019.02.27 Advair Diskus Gx Rejected Claims
  Date of      RxClaim Claim #       Drug Label Name       Claim        Local Msg
  Service                                                  Status   (Custom Message)
 (Fill Date)
02/27/2019     190644495902010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495940010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495948010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495964010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495970010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495987010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495993010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496009010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496015010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496032010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496038010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496054010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496061010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496077010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496084010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496100010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496106010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496122010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496129010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496145010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS


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  Date of      RxClaim Claim #       Drug Label Name       Claim        Local Msg
  Service                                                  Status   (Custom Message)
 (Fill Date)
02/27/2019     190644496151010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496168010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496174010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496190010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496196010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496212010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496219010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496234010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496241010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496257010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496263010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496280010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496286010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496302010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496308010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496323010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496330010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496345010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496351010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496367010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496373010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496389010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS

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  Date of      RxClaim Claim #     Drug Label Name       Claim        Local Msg
  Service                                                Status   (Custom Message)
 (Fill Date)
02/27/2019     190644496395010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496411010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496417010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496433010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496439010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496455010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496461010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496476010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496482010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496498010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496504010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496520010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496526010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496542010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496548010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496564010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496570010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496586010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496592010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496609010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496615010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496630010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS

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  Date of      RxClaim Claim #     Drug Label Name       Claim        Local Msg
  Service                                                Status   (Custom Message)
 (Fill Date)
02/27/2019     190644496636010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496652010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496658010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496674010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496680010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496697010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496703010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496719010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS




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